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                                       February 13, 2023

   Lyle W. Cayce, Clerk
   United States Court of Appeals for the Fifth Circuit
   600 S. Maestri Place
   New Orleans, LA 70130-3408

   Via ECF

   Re: U.S. Navy SEALs 1-26 v. Biden, No. 22-10077 consolidated with 22-10534

   Dear Mr. Cayce,

   Pursuant to Federal Rule of Appellate Procedure 28(j), Plaintiffs-Appellees submit
   the attached additional authority. At oral argument on February 6, the Court asked
   Defendants’ counsel whether Defendants contend that the entire case is moot.
   Defendants’ counsel declined to answer that question, though Defendants were due
   to file a brief on that topic that day in the district court. Defendants did, in fact, file a
   suggestion of mootness that afternoon shortly before 4:00 p.m. Defendants’
   supporting brief and appendix, as well as Plaintiffs’ response in opposition and
   appendix (filed today) is attached.

   Additionally, during oral argument, the Court requested record citations for Admiral
   Lescher’s deposition testimony. The deposition transcript and exhibits can be found
   at ROA.5837-6149.



                                                       Respectfully submitted.
                                                       /s/Heather Gebelin Hacker
                                                       Heather Gebelin Hacker
                                                       Counsel for Plaintiffs-Appellees


   cc: All counsel of record via ECF



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Defendants’ Brief in Support of
 Suggestion of Mootness and
     Appendix in Support
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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS

NAVY SEALs 1-3, et al.,

                             Plaintiffs,
                                                   Case No. 4:21-cv-01236-O
       v.

LLOYD J. AUSTIN, III in his official capacity as
United States Secretary of Defense, et al.,

                             Defendants.

 MEMORANDUM IN SUPPORT OF DEFENDANTS’ ASSERTION OF MOOTNESS
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                                        INTRODUCTION

       On December 23, 2022, the President signed into law the James M. Inhofe National Defense

Authorization Act for Fiscal Year 2023 (“NDAA”). See Pub. L. No. 117-263, § 525, 136 Stat. 2395,

2571-72 (2022). Section 525 of the NDAA directs the Secretary of Defense, within 30 days, to rescind

the August 2021 memorandum requiring vaccination of service members for COVID-19. On January

10, 2023, the Secretary rescinded the mandate as directed. See ECF No. 214-1. The rescission

memorandum prohibits separations based solely on refusal of the COVID-19 vaccine by service

members who sought an exemption from the mandate and directs the Services to “remove any adverse

actions solely associated with denials of such requests.” The memorandum also halts the processing

of religious accommodation requests (“RARs”) for an exemption to the now-defunct mandate.

Following Secretary Austin’s memo, the Navy released NAVADMIN 005/23 and ALNAV 009/23,

which canceled NAVADMIN 190/21 and ALNAV 062/21—the Navy’s implementation of the

Department of Defense’s mandatory COVID-19 vaccination requirement. Plaintiffs’ challenges to

the Department of Defense’s COVID-19 vaccination requirement and the Navy’s implementation of

that requirement are therefore moot, in their entirety, and the case should be dismissed.

                                PROCEDURAL BACKGROUND

       Thirty-five pseudonymous service members in the Naval Special Warfare community filed this

lawsuit in November 2021, alleging that the Department of Defense (DoD) COVID-19 vaccination

requirement and the Navy’s policies implementing that requirement violated the Religious Freedom

Restoration Act (RFRA), the First Amendment, and the Administrative Procedure Act (APA). ECF

No. 1. On January 3, 2022, this Court granted a preliminary injunction barring the Navy from

“applying MANMED § 15- 105([4])(n)(9); NAVADMIN 225/21; Trident Order #12; and

NAVADMIN 256/21 to Plaintiffs,” as well as from “taking any adverse action against Plaintiffs on

the basis of Plaintiffs’ requests for religious accommodation.” ECF No. 66. The Navy appealed and



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sought a partial stay of the injunction insofar as it prevented the Navy from considering Plaintiffs’

vaccination status in making deployment, assignment, and operational decisions. Although the district

court and the Fifth Circuit Court of Appeals denied that relief, the Supreme Court granted the partial

stay the government had requested. Austin v. U.S. Navy SEALs 1-26, 142 S. Ct. 1301 (2022).

        On January 24, 2022, Plaintiffs amended their complaint to seek class-wide relief, again

claiming the DoD’s COVID-19 vaccination requirement and the Navy’s policies implementing that

requirement violated RFRA and the First Amendment. ECF No. 84. Pseudonymous Plaintiffs Navy

SEAL 1, Navy SEAL 2, Navy SEAL 3, and Explosive Ordinance Technician 1 were named class

representatives. Id. The other thirty-one pseudonymous Plaintiffs remained parties to the litigation.

Id. Plaintiffs proposed a series of allegedly common questions each concerning the now-defunct Navy

implementation of the DoD COVID-19 vaccine requirement. See id. ¶ 58 a – h; ¶ 59 a – p. Plaintiffs

asserted that the “individual questions, if any, pale in comparison to the numerous common questions

of fact and law presented in this lawsuit.” Id. ¶ 57. Plaintiffs also dropped their APA claim and their

claims against the individual-capacity Defendants. See ECF No. 84.

        On March 28, 2022, this Court certified a class of all Navy service members who had submitted

religious-accommodation requests and granted a class-wide preliminary injunction barring the Navy

“from applying MANMED § 15-105([4])(n)(9); NAVADMIN 225/21; Trident Order #12; and

NAVADMIN 256/21” to the class members. ECF No. 140 at 27. This Court found that Plaintiffs

satisfied the requirements of Federal Rule of Civil Procedure 23, because, inter alia, the potential class

members have suffered the same injury arising from the denial or assumed denial of their religious

accommodation request to the COVID-19 vaccine requirement. See id.; see also id. at 17 (“Without

relief, each servicemember faces the threat of discharge and the consequences that accompany it.”).

        This Court immediately stayed its own injunction “insofar as it precludes the Navy from

considering [class members’] vaccination status in making deployment, assignment, and other



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operational decisions.” ECF No. 140 at 27 (quoting U.S. Navy SEALs 1-26, 142 S. Ct. at 1301). The

government again appealed, and the Fifth Circuit consolidated the two appeals. During the pendency

of the appeal and the district court litigation the challenged requirements were rescinded by statute.

Accordingly, Defendants now move to dismiss this case as moot.

                                   FACTUAL BACKGROUND

       A.      The DoD Mandate. On August 24, 2021, the Secretary of Defense directed the

Secretaries of the Military Departments to ensure that all members of the Armed Forces were fully

vaccinated against COVID-19. Sec’y of Def. Mem. (Aug. 24, 2021), https://perma.cc/N759-S758.

The Navy subsequently issued orders implementing that requirement. See ECF No. 44-1 at 75-76

(ALNAV 062/21, setting deadlines for vaccination); ECF No. 44-1 at 83-87 (NAVADMIN 225/21,

providing procedures for disciplining and, if necessary, separating service members who refuse

vaccination without an exemption); ECF No. 44-1 at 89-96 (NAVADMIN 256/21, providing for

“temporary reassignment[]” of unvaccinated service members); ECF No. 44-1 at 98-99 (Trident Order

#12, implementing the requirement for Special Warfare personnel); see also ECF No. 44-2 at 122-131

(MANMED § 15-105(4)(n)(9), a general Navy policy, providing that Naval Special Warfare service

members who “refus[e] to receive recommended vaccines … based solely on personal or religious

beliefs are disqualified” from Special Operations duty assignments).

       B.      The NDAA. On December 23, 2022, the President signed the NDAA into law.

Section 525 directs the Secretary of Defense, within 30 days, to rescind the August 2021 memorandum

requiring vaccination of service members against COVID-19. An explanatory statement in the

Congressional Record notes that DoD “has mechanisms to correct a servicemember’s military record

for discharge due to failure to receive the COVID-19 vaccine” and that “the military departments

have the ability to consider applications for reinstatement of servicemembers who were previously

separated for refusing the vaccine.” See 168 Cong. Rec. H9425, H9441 (Dec. 8, 2022).



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        On January 10, 2023, the Secretary of Defense rescinded the mandate as directed. ECF No.

214-1. The rescission memorandum directs that currently serving service members who sought an

exemption may not be “separated solely on the basis of their refusal to receive the COVID-19

vaccination” and directs the Services to “update the records of such individuals to remove any adverse

actions solely associated with denials of such requests.” Id.1 It further directs that decisionmakers

should “cease any ongoing reviews” of requests for accommodation from the COVID-19 vaccination

requirement. Id. The Secretary’s memorandum preserved “the ability of Commanders to consider, as

appropriate, the individual immunization status of personnel in making deployment, assignment, and

other operational decisions.” Id.

        On January 11, the Navy issued implementing guidance “[c]ancel[ing]” it’s implementation of

the August 2021 vaccination requirement. See Ex. 1 (App. 001-002) (NAVADMIN 005/23 cancelling

NAVADMIN 091/21 and “suspend[ing],” the derivative enforcement policies, NAVADMIN 225/21

and NAVADMIN 256/21).               The Navy directed commands to “immediately discontinue

administrative separation processing of Navy Service Members solely for refusing the COVID-19

vaccine, including those with approved separation letters,” and to “immediately suspend any new

adverse administrative actions associated with refusing the COVID-19 vaccine.” Id. And on January

20, the Secretary of the Navy ordered the Navy to “cease any ongoing reviews of current Service

Members’ religious, administrative, or medical accommodation requests solely for exemption from

the COVID-19 vaccine or appeals of denials of such requests,” and he clarified that “[n]o currently

serving Sailor … shall be separated solely on the basis of their failure to receive the COVID-19



1
 Former service members administratively discharged on the sole basis that the service member failed
to obey a lawful order to receive a vaccine for COVID-19, “may petition their Military Department’s
Discharge Review Boards and Boards for Correction of Military or Naval Records to individually
review and correct personnel records, including records regarding the characterization of their
discharge.” Id.



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vaccination if they sought an accommodation on religious, administrative, or medical grounds.” Ex.

2 (App. 003-005) (ALNAV 009/23, “cancel[ing]” ALNAV 062/21).2 On February 3, 2023, the Navy

changed the language of MANMED § 15-105(4)(n)(9) to remove any distinction between service

members who are unvaccinated for religious reasons as opposed to medical reasons to align with the

practice previously described by the Force Medical Officer of Naval Warfare Command. Ex. 3 (App.

006-008) (MANMED Change 168 dated Feb. 3, 2023); ECF No. 87 at 36-40. The Commander of the

Naval Special Warfare community had previously rescinded Trident Order #12 on May 23, 2022. Ex.

4 (App. 009-011) (Trident Order #12 Closeout dated May 23, 2022).

       On January 30, 2023, the Under Secretary of Defense issued a memorandum titled

“Consolidated Department of Defense Coronavirus Disease 2019 Force Health Protection Guidance

– Revision 4.” Ex. 5 (App. 012-033) (DoD Force Health Protection Guidance (FHPG) of January 30,

2023, Rev. 4). This memorandum updated the Consolidated DoD Coronavirus Disease 2019 Force

Health Protection Guidance. Ex. 6 (App. 034-095) (DoD FHPG, current as of Jan. 30, 2023). Among

other things, the updated guidance rescinds the provision that previously limited travel for those not

fully vaccinated to “mission-critical official travel.” Id. at 47–48. The new travel policies do not

distinguish between those fully vaccinated against COVID-19 and those who are not. Ex. 5 at 2, 4, 5,

7-10, 13-16, 18-19 (App. 14, 16, 17, 19-22, 25-28, 30-31).

       C.      Plaintiffs. Under the rescission memorandum, neither the named Plaintiffs nor the

class members are subject to the August 2021 DoD COVID-19 vaccine requirement nor the




2
 In light of these actions and similar actions taken by the Marine Corps and Coast Guard, the district
court in a related class action challenging the Marine Corps’ rescinded vaccination requirement and a
related putative class action challenging the Coast Guard’s rescinded vaccination requirement stayed
further proceedings until the issue of mootness can be fully briefed. Order, ECF No. 277, Col. Fin.
Mgmt. Off. v. Austin, No. 8:22-cv-1275-SDM-TGW (M.D. Fla. Jan. 20, 2023); Order, ECF No. 216,
Pilot v. Austin, No. 8:22-cv-1278-SDM- TGW (M.D. Fla. Jan. 27, 2023).



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subsequent Navy implementation of that requirement. The 35 pseudonymous Plaintiffs have not had

adverse action taken against them and they have not been subject to involuntary administrative

separation. Ex. 7 (App. 096-102) (Declaration of Gareth J. Healy, (“Healy Decl.”) ¶¶ 8-10). However,

ten of the 35 pseudonymous Plaintiffs had previously chosen to withdraw their religious

accommodation requests and voluntarily separate or retire from the Navy. Healy Decl. ¶¶ 3-4.

Processing for involuntary administrative separation has been permanently halted and no new adverse

actions will be taken against Plaintiffs for failure to receive the COVID-19 vaccine. Healy Decl. ¶ 8.

        Similarly, for class members, pursuant to the rescission memorandum, involuntary

administrative separation is permanently halted and any adverse action reflecting that process will be

removed from the record of each of the class members. ECF No. 214-1; Healy Decl. ¶ 8. Any class

member who had a record of past adverse action based solely on COVID-19 vaccine refusal will also

have that action removed from their record. Healy Decl. ¶ 9. No new adverse action based on

COVID-19 vaccine refusal will be taken against class members. Id.

                                            ARGUMENT

  I.    The Court Should Dismiss This Action as Moot Because the Challenged Vaccination
        Requirement Has Been Repealed and No Remaining Relief is Available to Plaintiffs.

        “Plaintiffs must maintain their personal interest in the dispute at all stages of

litigation.” TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2208 (2021). “Even when a plaintiff has

standing at the outset ‘[t]here must be a case or controversy through all stages of a case.’” Fontenot v.

McGraw, 777 F.3d 741, 747 (5th Cir. 2015) (quoting K.P. v. LeBlanc, 729 F.3d 427, 438 (5th Cir. 2013)).

“A case becomes moot—and therefore no longer a ‘Case’ or ‘Controversy’ for purposes of Article

III—when the issues presented are no longer ‘live’ or the parties lack a legally cognizable interest in

the outcome.” Id. (quoting Already, LLC v. Nike, Inc., 568 U.S. 85, 91 (2013) (citation omitted)).

        “Generally, any set of circumstances that eliminates actual controversy after the

commencement of a lawsuit renders that action moot.” Id. (quoting Ctr. for Individual Freedom v.


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Carmouche, 449 F.3d 655, 661 (5th Cir. 2006)). The mootness doctrine “ensures federal courts are only

deciding live cases or controversies.” Spell v. Edwards, 962 F.3d 175, 179 (5th Cir. 2020). Because a

challenge is moot when the court cannot grant effectual relief to the prevailing party, “a case

challenging a [government policy] usually becomes moot if the challenged [policy] has expired or been

repealed.” Id. After all, “[o]nce the law is off the books, there is nothing injuring the plaintiff and,

consequently, nothing for the court to do.” Id. In short, “[n]o matter how vehemently the parties

continue to dispute the lawfulness of the conduct that precipitated the lawsuit, the case is moot if the

dispute is no longer embedded in any actual controversy about the plaintiffs’ particular legal rights.”

Yarls v. Bunton, 905 F.3d 905, 909 (5th Cir. 2018) (quotation marks omitted).

        Consistent with these principles, the Fifth Circuit and other circuits have repeatedly confirmed

that when a statute or regulation is amended or repealed after plaintiffs bring a lawsuit challenging the

legality of that statute or regulation, mootness is “the default.” Freedom From Religion Found., Inc. v.

Abbott, No. 21-50469, 2023 WL 565082, at *4 (5th Cir. Jan. 27, 2023); Houston Chronicle Publ’g Co. v.

League City, 488 F.3d 613, 619 (5th Cir. 2007) (“It goes without saying that disputes concerning

repealed legislation are generally moot.”); Fantasy Ranch Inc. v. City of Arlington, 459 F.3d 546, 564 (5th

Cir. 2006) (“[S]tatutory changes that discontinue a challenged practice are ‘usually enough to render a

case moot, even if the legislature possesses the power to reenact the statute after the lawsuit is

dismissed.’” (citation omitted)); McCorvey v. Hill, 385 F.3d 846, 849 (5th Cir. 2004) (“Suits regarding

the constitutionality of statutes become moot once the statute is repealed.”); Johnson v. Mississippi, 586

F.2d 387, 388 (5th Cir. 1978) (per curiam) (“[T]he enactment of a superseding statute which satisfies

all the principles sought in an attack on the prior statute simply moots the case.”); see also, e.g., Keister v.

Bell, 29 F.4th 1239, 1250 (11th Cir. 2022) (“[W]hen a government fully repeals a challenged law, a case

challenging that law is almost surely moot.”), pet. for cert. filed, No. 22-388 (U.S. Oct. 25, 2022); Bd. of

Trs. of Glazing Health & Welfare Tr. v. Chambers, 941 F.3d 1195, 1198 (9th Cir. 2019) (“[T]he repeal,



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amendment, or expiration of challenged legislation is generally enough to render a case moot and

appropriate for dismissal.”); Am. Bar Ass’n v. FTC, 636 F.3d 641, 643 (D.C. Cir. 2011) (“It is well

established that a case must be dismissed as moot if new legislation addressing the matter in dispute

is enacted while the case is still pending.”); Log Cabin Republicans v. United States, 658 F.3d 1162, 1166–

68 (9th Cir. 2011) (finding moot a challenge to the military’s don’t-ask-don’t-tell policy when the policy

was repealed by statute after judgment).

        The Court should follow that ordinary practice here. The NDAA is intervening legislation

that terminates the challenged vaccination requirement, rendering moot Plaintiffs’ requests for

declaratory relief and injunctive relief barring enforcement of that requirement. The NDAA as

implemented through the rescission memorandum gives Plaintiffs the relief sought in their complaint.

        Under the terms of the rescission, Defendants can no longer enforce the August 2021 DoD

COVID-19 requirement nor the Navy’s implementation of that requirement with respect to the

named Plaintiffs or any member of the class, nor may Defendants take adverse action against them

based on that defunct policy. ECF No. 214-1. The declaratory and injunctive relief sought by

Plaintiffs is thus no longer available, as there is no requirement from which an exemption can be

sought, or a determination made by the Defendants. Indeed, the Secretary’s rescission memorandum

halts the processing of requests for exemption to the now-defunct mandate as there is no longer a

requirement to be exempted from. Id.

        More specifically, the operative complaint requests that the Court issue a declaration that the

“COVID-19 Vaccine Mandate violates Plaintiffs’ and the class members’ rights under the First

Amendment. . . . and the [RFRA].” ECF No. 84 at 29-30. As explained above, the mandate has been

rescinded and the religious accommodation process discontinued, so any opinion as to either would

be advisory and impermissible. The complaint also requests a preliminary and permanent injunction

“prohibiting” Defendants from “enforcing the COVID-19 Vaccine Mandate as to the Plaintiffs and



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the class members[.]” Id. at 30. But the rescission itself provides such relief as the Navy is already

prohibited from enforcing the prior mandate against Plaintiffs and the class members.

        As to Plaintiffs’ causes of action, they also seek to have the DoD COVID-19 vaccination

requirement and certain Navy policies involved in the implementation of that requirement enjoined

and declared unlawful as to the 35 Plaintiffs and as to the class—NAVADMIN 190/21, ALNAV

062/21, NAVADMIN 225/21, NAVADMIN 256/21, Trident Order #12, and MANMED § 15-

105(3)(n)(9). ECF No. 84 at 20-29; ECF No. 104 at 2-3. The Navy has expressly cancelled

NAVADMIN 190/21 and ALNAV 062/21, and the derivative enforcement policies—NAVADMIN

225/21 and NAVADMIN 256/21—are similarly withdrawn in accordance with the direction of the

Secretary of Defense. Ex. 1 & 2 (App. 001-005). Trident Order #12 was previously withdrawn and

cancelled. Ex. 4 (App. 009-011). The specific language of MANMED § 15-105(4)(n)(9) that Plaintiffs

challenge, see ECF No. 84 ¶¶ 51, 75, 111, has been rescinded. Ex. 3 (App. 006-008). And that

requirement no longer applies to vaccination against COVID-19. There is accordingly no live dispute

regarding any of the policies challenged in this litigation. The Court therefore can no longer provide

plaintiffs with “any effectual relief.” Spell, 962 F.3d at 179 (quoting Knox v. Serv. Emps. Int’l Union, Local

1000, 567 U.S. 298, 307 (2012)). To the extent Plaintiffs seek an injunction against other possible

future adverse acts, they do not have standing to seek relief where there is no “real and immediate

threat” of future injury. See City of Los Angeles v. Lyons, 461 U.S. 95, 111 (1983) (“The equitable remedy

is unavailable absent a showing of irreparable injury, a requirement that cannot be met where there is

no showing of any real or immediate threat that the plaintiff will be wronged again . . . .”); see also Staley

v. Harris County, 485 F.3d 305, 309 (5th Cir. 2007) (en banc).

        Plaintiffs’ only remaining request, besides a request for attorneys’ fees, includes a catch-all

request for “relief under law or equity to which Plaintiffs and the class members may be entitled.”

ECF No. 84 at 30. The Secretary’s rescission memorandum confirms that the 25 pseudonymous


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service member Plaintiffs remaining in the Navy3 will not be discharged based on their previous refusal

to comply with the vaccination requirement and that no new adverse actions for declining the

COVID-19 vaccination will be issued to them. Healy Decl. ¶ 4. And because no adverse action was

ever entered into the records of any of the pseudonymous Plaintiffs, no adverse action need be

removed from their records. Id. ¶¶ 8-10; see also ECF No. 66 at 4 (acknowledging that at the time of

the issuance of the initial preliminary injunction “[t]he Navy ha[d] made no final determinations on

appeal.”). As to Plaintiff class members, they also will not be discharged based on their previous

refusal to comply with the vaccination requirement and no new adverse actions for declining COVID-

19 vaccination will be issued to them. Healy Decl. ¶ 4. Further, any preexisting adverse action issued

based solely on a refusal to comply with the vaccination requirement—if there is any—will be removed

from their records. Id. ¶¶ 8-10; see also NAVADMIN 083/22, https://perma.cc/YL6UUELQ (Navy

policy immediately implementing the district court’s class-wide preliminary injunction, “suspend[ing]

separation processing and adverse administrative consequences of COVID-19 vaccine refusal for

Navy service members who submitted requests for religious accommodation from the COVID-19

vaccine requirement”).4 Accordingly, Plaintiffs have no further relief to be gained in law or equity by



3
 Ten of the pseudonymous Plaintiffs withdrew their RARs and voluntarily retired or separated from
the Navy during the pendency of this litigation. Healy Decl. ¶¶ 3-4.
4
  Plaintiffs claim that because NAVADMIN 005/23—which immediately paused separations and
adverse action against Navy service members solely for refusing the COVID-19 vaccine—refers only
to “new” adverse actions the Navy does not intend to remove prior adverse action from class member
records. ECF No. 274 at 3. But there is no question that the Navy must do so. The Secretary of
Defense has directed the military Services, including the Navy, to “remove any adverse actions solely
associated with denial of [requests for accommodation on religious, administrate, or medical grounds],
including letters of reprimand.” ECF No. 214-1 at 1. And Plaintiffs ignore that NAVADMIN 005/23
further provides that the Navy will issue supplemental guidance regarding implementation of the
Secretary’s direction. Thus, Plaintiffs’ request for the Court to issue an injunction to the same effect
seeks a remedy that they have already obtained from the Secretary of Defense. That request is
therefore moot. See Fontenot, 777 F.3d at 747 (“Because there remains no live controversy between
the parties . . . the injunction they seek would be meaningless.”).



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pursuing this lawsuit challenging the now-rescinded mandate, and thus “lack any legally cognizable

interest in the outcome.” Fontenot, 777 F.3d at 747 (citation omitted); see also St. Pierre v. United States,

319 U.S. 41, 42 (1943) (“A federal court is without power to decide moot questions or to give advisory

opinions which cannot affect the rights of the litigants in the case before it.”).5

    II.   Plaintiffs Cannot Challenge Speculative Assignment, Deployment, and Operational
          Decisions

       In Plaintiffs’ supplemental memorandum to the Fifth Circuit they claimed that the litigation is

not moot because the Secretary’s rescission memorandum allows military commanders to consider

vaccination status when making “deployment, assignment, and other operational decisions[.]” ECF

No. 274 at 3. Plaintiffs speculate that this provision might injure them in the future and postulate

three potential injuries to unidentified Plaintiffs and class members: “unnecessarily restricting travel

necessary for their jobs, demanding repayment of educational expenses and previously awarded and

rightfully earned bonuses, and refusing to allow participation in meaningful training opportunities and

operational assignments.” Id. at 4. But speculation that a future injury might occur cannot provide a

basis for relief for an individual Plaintiff or the class. See Lyons, 461 U.S. at 111; TransUnion, 141 S. Ct.

at 2208 (“Article III does not give federal courts the power to order relief to any uninjured plaintiff,

class action or not.”) (quoting Tyson Foods, Inc. v. Bouaphakeo, 577 U.S. 442, 466 (2016) (Roberts, C.J.,

concurring))). In any event, the travel restrictions Plaintiffs complain of have also been rescinded.



5
  In seeking class certification Plaintiffs previously asserted that the “individual questions, if any, pale
in comparison to the numerous common questions of fact and law presented in this lawsuit.” ECF
No. 84 ¶ 57. In addition to such claims being moot, to the extent that Plaintiffs seek to remedy
individual personnel actions now, they must exhaust administrative remedies before doing so. The
Fifth Circuit has long required that a plaintiff first exhaust all “available intraservice corrective
measures” before bringing to federal court claims implicating “internal military affairs.” Hodges v.
Callaway, 499 F.2d 417, 419–20 (5th Cir. 1974) (quoting Mindes v. Seaman, 453 F.2d 197, 201 (5th Cir.
1971)); see also Von Hoffburg v. Alexander, 615 F.2d 633, 637 (5th Cir. 1980) (collecting cases). And
although this Court previously found that the Navy’s religious accommodation process was futile there
is no reason to suggest that the entirely separate corrections board process is futile. See 10 U.S.C. §
1552.


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On January 30, 2023, the Under Secretary of Defense issued a memorandum titled “Consolidated

Department of Defense Coronavirus Disease 2019 Force Health Protection Guidance – Revision 4.”

Ex. 5 (App. 012-033) (DoD Force Health Protection Guidance (FHPG) of January 30, 2023, Rev. 4).

This memorandum updated the Consolidated DoD Coronavirus Disease 2019 Force Health

Protection Guidance. Ex. 6 (App. 034-095) (DoD FHPG, current as of Jan. 30, 2023). Among other

things, the updated guidance rescinds the provision that previously limited travel for those not fully

vaccinated to “mission-critical official travel.” Id. at 47–48. The new travel policies do not distinguish

between those fully vaccinated against COVID-19 and those who are not. Ex. 5 at 2, 4, 5, 7-10, 13-

16, 18-19 (App. 14, 16, 17, 19-22, 25-28, 30-31) (striking distinctions between vaccinated and

unvaccinated service members).

        Plaintiffs’ only other speculation as to how consideration of vaccination status when making

deployment, assignment, and other operational decisions may cause them injury involves a

hypothetical claim for monetary benefits. Again, they have not identified an actual Plaintiff who has

made such a claim. But, even if they had, such a claim would likely be subject to Tucker Act

jurisdiction and limited to missed payments for work actually performed. See Dehne v. United States,

970 F.2d 890 (Fed. Cir. 1992); see also Garcia v. United States, 666 F.2d 960, 966 (5th Cir. 1982) (“The

Constitution does not waive the Government’s sovereign immunity in a suit for damages”); Davila v.

Gladden, 777 F.3d 1198, 1210 (11th Cir. 2015) (“RFRA does not therefore authorize suits for money

damages against officers in their official capacities.”); Webman v. Fed. Bureau of Prisons, 441 F.3d 1022,

1028 (D.C. Cir. 2006) (Tatel, J., concurring) (internal citation omitted) (“RFRA’s purpose does not

‘produce evidence of a waiver’ of sovereign immunity for damages claims, much less evidence

unequivocal enough to satisfy the strict standard for waivers of sovereign immunity.”) cf. Sossamon v.

Texas, 563 U.S. 277 (2011) (holding that identical “appropriate relief” language in the related statute

RLUIPA did not waive states’ sovereign immunity from money damages).



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        Furthermore, any hypothetical future dispute about a service member’s assignments would

need to be assessed based on the facts and circumstances of the particular service member’s specific

religious-liberty claim, given the legally required narrow tailoring. Cf. Brown v. Collier, 929 F.3d 218,

230 (5th Cir. 2019) (requiring “case-by-case” adjudication of religious-liberty claims). Any such

questions, should they ever actually arise, are plainly not ripe for this Court’s review. See, e.g., Ohio

Forestry Ass’n v. Sierra Club, 523 U.S. 726, 732-33 (1998) (explaining that the “ripeness requirement”

serves “to prevent the courts, through avoidance of premature adjudication, from entangling

themselves in abstract disagreements over administrative policies” and to prevent unnecessary

“judicial interference” (quoting Abbott Lab’ys v. Gardner, 387 U.S. 136, 148-49 (1967))); Aetna Life Ins.

Co. of Hartford v. Haworth, 300 U.S. 227, 241 (1937) (providing that a justiciable dispute must “admit[]

of specific relief through a decree of a conclusive character” and may not ask a court to “advis[e] what

the law would be upon a hypothetical state of facts”). Hypothetical disputes about the extent to which

a specific service member’s decision to remain unvaccinated might or might not affect an assignment,

deployment or other military operational decision cannot resuscitate the moot controversy here.6

III.    The Voluntary Cessation Exception Does Not Apply.

        Plaintiffs also assert that the NDAA and subsequent rescission memorandum does not moot

the litigation because the voluntary cessation exception applies. See ECF No. 274 at 5-7. But here

Defendants’ cessation of the vaccination requirement was not voluntary, as Plaintiffs appear to




6
  Additionally, military assignment, deployment and operational decisions are not “susceptible to
judicial correction” in light of well-established principles of judicial noninterference with core military
decision making, Pulphus v. Ayers, 909 F.3d 1148, 1154 (D.C. Cir. 2018); see U.S. Navy SEALs 1-26,
142 S. Ct. at 1301 (partial stay order); id. at 1302 (Kavanaugh, J., concurring) (explaining that “the
‘complex, subtle, and professional decisions as to the composition, training, equipping, and control of
a military force are essentially professional military judgments’” and that “it is ‘difficult to conceive of
an area of governmental activity in which the courts have less competence’” (quoting Gilligan v. Morgan,
413 U.S. 1, 10 (1973))); Orloff v. Willoughby, 345 U.S. 83, 93 (1953); Order, Navy SEAL 1 v. Austin, No.
22-10645 (11th Cir. Mar. 30, 2022).


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concede. Id. at 5. Defendants “most assuredly did not alter [their own course] in order to avoid

litigation.” Am. Bar Ass’n, 636 F.3d at 648. Rather, intervening legislation—in the form of the

NDAA—required DoD to rescind the vaccination mandate. See id. (finding voluntary cessation

exception did not apply where “intervening legislation simply nullified the [agency’s challenged] policy

statement”). The NDAA “specifically forbids the kind of [action] challenged in this suit” and “[t]he

cessation of the [vaccination requirement] was therefore not voluntary.” Klayman v. Obama, 759 F.

App’x 1, 3 (D.C. Cir. 2019); see also J. T. v. District of Columbia, 983 F.3d 516, 523 (D.C. Cir. 2020) (“‘The

voluntary-cessation doctrine has no apparent relevance’ where the ‘source of cessation . . . lies beyond

the unilateral legal authority of any of the named defendants.’” (quoting Guedes v. ATF, 920 F.3d 1, 15

(D.C. Cir. 2019) (per curiam)).

        Second, even if Congress’s enactment of the NDAA could be considered a voluntary change

on the part of Defendants, the Fifth Circuit has held that “courts are justified in treating a voluntary

governmental cessation of possibly wrongful conduct with some solicitude, mooting cases that might

have been allowed to proceed had the defendant not been a public entity.” Sossamon v. Texas, 560 F.3d

316, 325 (5th Cir 2009). Indeed, despite the burden typically imposed in instances of voluntary

cessation, “government actors in their sovereign capacity and in the exercise of their official duties are

accorded a presumption of good faith because they are public servants, not self-interested private

parties. Without evidence to the contrary, [the Fifth Circuit] assume[s] that formally announced

changes to official governmental policy are not mere litigation posturing.” Id.; see also, e.g., People for the

Ethical Treatment of Animals v. U.S. Dep’t of Agric., 918 F.3d 151, 157–59 (D.C. Cir. 2019) (recognizing

that an unambiguous representation by an agency official would be entitled to presumption of

regularity and could satisfy burden for voluntary cessation purposes); Troiano v. Supervisor of Elections in

Palm Beach Cnty., 382 F.3d 1276, 1283 (11th Cir. 2004) (“[W]hen the defendant is not a private citizen




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but a government actor, there is a rebuttable presumption that the objectionable behavior

will not recur.”).

        Plaintiffs have provided no basis to suggest that the rescission of the vaccine requirement is

pretextual or that the same or a substantially similar requirement will recur. On the contrary,

Defendants have gone beyond what was required by Congress in the NDAA, for example, requiring

the records of current service members who sought an exemption to be updated. Plaintiffs provide

no evidence that the challenged vaccine requirement will be reinstated, that they will once again be

subject to that requirement, or that any accommodation they seek regarding a substantially similar new

requirement would be denied. Without direct evidence to the contrary, “it is remote, and indeed

unrealistically speculative, that these defendants will ever again expose the plaintiffs to the claimed

injury that prompted this lawsuit. The very process of the enactment of [the new law] by the state

legislature and governor, combined with the presumption of good faith that we afford government

actors, overcomes concerns of voluntary cessation.” Amawi v. Paxton, 956 F.3d 816, 821 (5th Cir.

2020). For these reasons, Plaintiffs cannot overcome the presumption that the NDAA and rescission

memorandum moot this case. The “‘challenged practice’” has been “discontinued,” and “a live

controversy no longer exists.” Freedom From Religion Foundation, 2023 WL 565082, at *5.

IV.     The Capable-of-Repetition-Yet-Evading-Review Exception Does Not Apply.

        The mootness exception for issues capable of repetition yet evading review does not apply

here for similar reasons. Under that exception, cases that would otherwise be moot are saved from

mootness “if ‘(1) the challenged action [is] in its duration too short to be fully litigated prior to

cessation or expiration, and (2) there [is] a reasonable expectation that the same complaining party

[will] be subject to the same action again.’” Empower Texans, Inc. v. Geren, 977 F.3d 367, 370 (5th Cir.

2020) (quoting Kingdomware Techs., Inc. v. United States, 579 U.S. 162, 170 (2016)). This exception applies

“only in exceptional situations.” Id. (quoting Kingdomware, 579 U.S. at 170). Plaintiffs—as the party



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seeking to assert the exception—bear the burden of showing that it applies. See id.

        Plaintiffs summarily assert that “because the vaccine mandate was rescinded during the

pendency of this lawsuit, the first element is satisfied.” ECF No. 274 at 7. To the contrary, the mere

fact that a challenged action ends “during the pendency of [a] lawsuit,” id., does not render that action

“too short to be fully litigated,” Geren, 977 F.3d at 370 (citation omitted). The entire mootness doctrine

would be rendered obsolete if that were the standard. Indeed, mootness is only relevant when the

challenged action ends “during the pendency of the lawsuit.” ECF No. 274 at 7. Plaintiffs thus fail

to establish their burden on this first element of the exception.

        Nor could Plaintiffs have carried that burden regardless. The relevant inquiry under the

evading-review prong is “whether ‘the challenged activity is by its very nature short in duration, so that it

could not, or probably would not, be able to be adjudicated while fully live.’” Pharmachemie B.V. v.

Barr Lab’ys, Inc., 276 F.3d 627, 633 (D.C. Cir. 2002) (quoting LaRouche v. Fowler, 152 F.3d 974, 978

(D.C. Cir. 1998)); see also, e.g., Bayou Liberty Ass’n, Inc. v. U.S. Army Corps of Eng’rs, 217 F.3d 393, 399

(5th Cir. 2000) (considering whether the type of action challenged was “inherently capable of evading

review” (emphasis added)). A vaccination requirement is, by its nature, not short in duration. Cf.

Moore v. Hosemann, 591 F.3d 741, 744 (5th Cir. 2009) (“Election controversies are paradigmatic

examples of cases that cannot be fully litigated before the particular controversy expires.”).

        Plaintiffs make an inapt comparison between the DoD’s decision to add COVID-19 to the

list of required vaccinations and the Governor of New York’s COVID-19 lockdown orders. ECF

No. 274 at 7 (citing Roman Catholic Diocese of Brooklyn v. Cuomo, 141 S. Ct. 63 (2020)). But Plaintiffs’

attempted comparison only underscores the differences between a vaccination requirement and the

types of challenged actions that are “inherently capable of evading review.” Bayou Liberty Ass’n, Inc.,

217 F.3d at 399. In particular, the Supreme Court in Roman Catholic Diocese of Brooklyn held that the

case was not moot because the “[t]he Governor [of New York] regularly changes the [COVID-19



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threat] classification of particular areas without prior notice,” including eight times within a month-

long period. 141 S. Ct. at 68. Here, in contrast, the vaccination mandate lasted approximately a year

and a half, and ended only when—in Plaintiffs’ words—“Congress ordered” Defendants “to rescind

the [vaccination] mandate.” ECF No. 274 at 5. Thus, the vaccination requirement is not the kind of

action that is “in its duration too short to be fully litigated prior to cessation or expiration.” Geren,

977 F.3d at 370 (citation omitted).

        Nor do Plaintiffs present any evidence that they will “be subject to the same action again.” Id.

(citation omitted).    To establish such evidence, Plaintiffs “must show either a ‘demonstrated

probability’ or a ‘reasonable expectation’” that they will be subject to the same challenged COVID-19

vaccination requirement again. Libertarian Party v. Dardenne, 595 F.3d 215, 217 (5th Cir. 2010) (quoting

Oliver v. Scott, 276 F.3d 736, 741 (5th Cir. 2002)). Yet Plaintiffs argue only that the NDAA does not

expressly prohibit the reinstatement of “a new mandate” in the future. ECF No. 274 at 8. This

speculation cannot carry Plaintiffs’ burden. “A ‘mere physical or theoretical possibility’ is not

sufficient to satisfy this prong of the exception.” Libertarian Party, 595 F.3d at 217 ((quoting Murphy v.

Hunt, 455 U.S. 478, 482 (1982)). “At most, [Plaintiffs’] evidence shows that the Secretary [might] have

an opportunity to act in the same allegedly unlawful manner in the future; however, it does not show

a reasonable probability that the Secretary will act in that manner if given the opportunity.” Id.; see also

Am. Bar Ass’n, 636 F.3d at 647 (“It does not matter that the [agency] might hereafter . . . promulgate

new rules” because “[t]hese are merely hypothetical possibilities,” and “possibilities regarding regulations

and enforcement policies that do not presently exist” are “not enough to give rise to a live dispute.”);

see also Lopez v. City of Houston, 617 F.3d 336, 340 (5th Cir. 2010) (requiring more than “merely a

theoretical possibility” that the allegedly wrongful conduct would reoccur).

        Plaintiffs’ speculation about the uncertain future of COVID-19 is similarly insufficient to

justify excepting this case from the mootness doctrine. See ECF No. 274 at 8 (alleging that



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“Defendants may issue a new mandate if they deem the risk of COVID-19 transmission too high”).

Indeed, the Fifth Circuit has already explained that “no one knows what the future of COVID-19

holds” and it is thus “speculative, at best, that the [government] might reimpose [a particular COVID-

19] restriction or a similar one.” Spell, 962 F.3d at 180 (holding moot a challenge to Louisiana’s

rescinded stay-at-home orders, especially given that “[t]he trend in Louisiana has been to reopen the

state, not to close it down”); see also Long v. Jayton-Girard Indep. Sch. Dist., No. 5:21-CV-111-H, 2021

WL 7906835, at *4 (N.D. Tex. Sept. 3, 2021) (holding moot a challenge to school district’s rescinded

mask mandate because “the mere possibility of COVID-19 worsening or COVID-19 policies being

re-imposed is insufficient to satisfy the ‘reasonable expectation’ requirement of the second prong”).

Thus, Plaintiffs’ speculation that DoD might reimpose a COVID-19 vaccination mandate in the future

does not exempt this case from mootness.

        Even if the military were to subject Plaintiffs to a new COVID-19 vaccination requirement,

there would be no “reasonable expectation” that any such requirement would be “the same” as the

now-rescinded, challenged COVID-19 vaccination requirement. Libertarian Party, 595 F.3d at 217. If

DoD or the Navy were to impose a different vaccination requirement—for example, one applicable

to service members who are about to deploy to a particular location—then any RFRA challenge to

that policy, and to the imposition of discipline for noncompliance with such a requirement, would

raise different issues than in this case. In that circumstance, even if Plaintiffs themselves were subject

to a new or different requirement in the future, “‘the same parties’” would not be “‘engag[ing] in

litigation over the same issues’”—a precondition for the capable-of-repetition exception to apply.

Senate Permanent Subcomm. on Investigations v. Ferrer, 856 F.3d 1080, 1088 (D.C. Cir. 2017)(citation

omitted).

        Plaintiffs fail to establish either that the vaccination requirement is “in its duration too short

to be fully litigated prior to cessation or expiration,” or that there exists any “reasonable expectation



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that [they will] be subject to the same [challenged COVID-19 vaccination requirement] again.’” Geren,

977 F.3d at 370.

                                         CONCLUSION

       For the foregoing reasons, the Court should dismiss Plaintiffs’ complaint as moot.


Dated: February 6, 2023                       Respectfully submitted,


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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS

NAVY SEALS 1-3, et al.,
                               Plaintiffs,
       v.                                                  Case No. 4:21-cv-01236-O
LLOYD AUSTIN, III, in his official capacity as
Secretary of Defense, et al.,
                               Defendants.



                 DEFENDANTS’ APPENDIX IN SUPPORT OF THEIR
                         ASSERTION OF MOOTNESS


                                         Table of Appendix
   Bates Stamps                                        Description
 App001–App-002           NAVADMIN 005/23
 App003–App005            ALNAV 009/23
 App006–App008            MANMED Change 168 dated Feb. 3, 2023
 App009–App011            Trident Order #12 Closeout dated May 23, 2022
 App012–App033            DoD Force Health Protection Guidance (FHPG) of January 30, 2023,
                          Rev. 4
 App034–App095            DoD FHPG, current as of Jan. 30, 2023
 App096–App102            Declaration of Captain Gareth J. Healy


Dated: February 6, 2023                       Respectfully submitted,

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      Case: 22-10077  Document: 284 Page: 30 Date Filed: 02/13/2023
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      Case: 22-10077  Document: 284 Page: 31 Date Filed: 02/13/2023
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               Exhibit 1




                                                                     App. 001
2/6/23, 9:20 AM   Case:     22-10077         Document: 284 Page: 32 Date Filed: 02/13/2023
                  https://www.mynavyhr.navy.mil/Portals/55/Messages/NAVADMIN/NAV2023/NAV23005.txt?ver=a3G5K2LQwybusE7ETK7uLQ%3d…
            Case 4:21-cv-01236-O Document 223 Filed 02/06/23 Page 4 of 104 PageID 7375
  CLASSIFICATION: UNCLASSIFIED//
  ROUTINE
  R 112139Z JAN 23 MID600052628036U
  FM CNO WASHINGTON DC
  TO NAVADMIN
  INFO CNO WASHINGTON DC
  BT
  UNCLAS

  NAVADMIN 005/23

  PASS TO OFFICE CODES:
  FM CNO WASHINGTON DC//N1//
  INFO CNO WASHINGTON DC//N1//
  MSGID/GENADMIN/CNO WASHINGTON DC/N1/JAN//

  SUBJ/REMOVAL OF COVID-19 VACCINATION MANDATE//

  REF/A/DOC/NDAA-FY23/HR 7900//
  REF/B/DOC/SECDEF/10JAN23//
  REF/C/MSG/CNO WASHINGTON DC/311913ZAUG21//
  REF/D/MSG/CNO WASHINGTON DC/132050ZOCT21//
  REF/E/MSG/CNO WASHINGTON DC/152239ZNOV21//
  REF/F/MSG/CNO WASHINGTON DC/151203ZDEC21//
  REF/G/MSG/CNO WASHINGTON DC/302215ZMAR22//

  NARR/REF A IS THE NATIONAL DEFENSE AUTHORIZATION ACT FOR FY-23.
  REF B IS SECDEF MEMO TITLED RESCISSION OF COVID-19 VACCINATION REQUIREMENT
  FOR MEMBERS OF THE ARMED FORCES.
  REF C IS NAVADMIN 190/21, 2021-2022 NAVY MANDATORY COVID-19 VACCINATION AND
  REPORTING POLICY.
  REF D IS NAVADMIN 225/21, COVID-19 CONSOLIDATED DISPOSITION AUTHORITY (CCDA).
  REF E IS NAVADMIN 256/21, CCDA GUIDANCE TO COMMANDERS.
  REF F IS NAVADMIN 283/21, CCDA EXECUTION GUIDANCE TO COMMANDERS.
  REF G NAVADMIN 083/22, CCDA INTERIM GUIDANCE REGARDING MEMBERS REQUESTING
  RELIGIOUS ACCOMMODATION FROM COVID-19 VACCINATION REQUIREMENTS.

  RMKS/1. On 23 December 2022, reference (a) directed the Secretary of Defense
  (SecDef) to rescind the coronavirus disease 2019 (COVID-19) vaccination
  mandate within 30 days. On 10 January 2023, SecDef rescinded the mandate for
  all branches of the armed forces in line with reference (b). The actions
  below align the Navy with this guidance.
  a. Cancel reference (c).
  b. All commands will immediately discontinue administrative separation
  processing of Navy Service Members solely for refusing the COVID-19 vaccine,
  including those with approved separation letters.
  c. All commands will immediately suspend any new adverse administrative
  actions associated with refusing the COVID-19 vaccine as described in
  references (c) through (g).

  2. Updated operational guidance will be promulgated in a follow-on standard
  operational guidance serial.

  3. Additional detailed guidance regarding implementation of this policy will
  be promulgated via future NAVADMIN.

  4.    Released by Vice Admiral Richard J. Cheeseman, Jr., N1.//

  BT
  #0001
  NNNN
  CLASSIFICATION: UNCLASSIFIED//

                                                                                                                   App. 002
https://www.mynavyhr.navy.mil/Portals/55/Messages/NAVADMIN/NAV2023/NAV23005.txt?ver=a3G5K2LQwybusE7ETK7uLQ%3d%3d              1/1
      Case: 22-10077  Document: 284 Page: 33 Date Filed: 02/13/2023
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               Exhibit 2




                                                                     App. 003
2/6/23, 9:23 AM   Case:    22-10077         Document: 284 Page: 34 Date Filed: 02/13/2023
                    https://www.mynavyhr.navy.mil/Portals/55/Messages/ALNAV/ALN2023/ALN23009.txt?ver=CwknATlfJPAkR4NolZPkxA%3d%3d
            Case 4:21-cv-01236-O Document 223 Filed 02/06/23 Page 6 of 104 PageID 7377
  CLASSIFICATION: UNCLASSIFIED//
  ROUTINE
  R 201839Z JAN 23 MID200080671031U
  FM SECNAV WASHINGTON DC
  TO ALNAV
  INFO SECNAV WASHINGTON DC
  CNO WASHINGTON DC
  CMC WASHINGTON DC
  BT
  UNCLAS

  ALNAV 009/23

  MSGID/GENADMIN/SECNAV WASHINGTON DC/-/JAN//

  SUBJ/RESCISSION OF COVID-19 VACCINATION REQUIREMENT FOR MEMBERS OF THE ARMED
  FORCES//

  REF/A/DOC/SECDEF/10JAN23//
  REF/B/DOC/ALNAV 062/21//

  NARR/REF A IS SECDEF MEMO RESCISSION OF AUGUST 24, 2021 AND NOVEMBER 30, 2021
  CORONAVIRUS DISEASE 2019 VACCINATION REQUIREMENTS FOR MEMBERS OF THE ARMED
  FORCES. REF B IS ALNAV 062/21 2021-2022 DEPARTMENT OF NAVY MANDATORY COVID-
  19
  VACCINATION POLICY OF 30 AUG 21//

  RMKS/1. Per reference (a), this message announces the rescission of the
  Coronavirus Disease 2019 (COVID-19) vaccination requirement for members of
  the Armed Forces. As a result, reference (b) is hereby canceled.

  2. COVID-19 vaccines have proven to be safe, effective, and life-saving. I
  am confident that our high vaccination percentage across the Department of
  the Navy (DON) has both saved lives, and prevented hospitalizations across
  our entire force.

  3. The Navy and Marine Corps are inherently expeditionary forces in
  readiness, and my expectation continues to be that all Sailors and Marines be
  worldwide deployable. To defend the nation, we need a healthy and ready
  force, this means a Navy and Marine Corps that is ready to deploy. Having
  credible, capable forces requires the DON to minimize addressable risks –
  contagious disease is a threat to our fighting forces. We will continue to
  consider medical readiness, of which vaccination plays a key role, in all
  appropriate settings. All commanders have the responsibility and authority
  to maintain military readiness, unit cohesion, good order and discipline, and
  the health and safety of their commands.

  4. Because reference (b) is now canceled, the Services shall cease any
  ongoing reviews of current Service Members' religious, administrative, or
  medical accommodation requests solely for exemption from the COVID-19 vaccine
  or appeals of denials of such requests. No currently serving Sailor or
  Marine shall be separated solely on the basis of their failure to receive the
  COVID-19 vaccination if they sought an accommodation on religious,
  administrative, or medical grounds.

  5. We will continue to promote and encourage the COVID-19 vaccination for
  everyone. As with all of our vaccinations, healthcare providers will
  continue to medically screen for contraindications. I thank you for your
  selfless devotion to your colleagues, military and civilian, throughout this
  pandemic.

  6.    Released by the Honorable Carlos Del Toro, Secretary of the Navy.//

  BT
                                                                                                                 App. 004
https://www.mynavyhr.navy.mil/Portals/55/Messages/ALNAV/ALN2023/ALN23009.txt?ver=CwknATlfJPAkR4NolZPkxA%3d%3d                       1/2
2/6/23, 9:23 AM   Case:    22-10077         Document: 284 Page: 35 Date Filed: 02/13/2023
                    https://www.mynavyhr.navy.mil/Portals/55/Messages/ALNAV/ALN2023/ALN23009.txt?ver=CwknATlfJPAkR4NolZPkxA%3d%3d
  #0001     Case 4:21-cv-01236-O Document 223 Filed 02/06/23 Page 7 of 104 PageID 7378
  NNNN
  CLASSIFICATION: UNCLASSIFIED//




                                                                                                                 App. 005
https://www.mynavyhr.navy.mil/Portals/55/Messages/ALNAV/ALN2023/ALN23009.txt?ver=CwknATlfJPAkR4NolZPkxA%3d%3d                       2/2
      Case: 22-10077  Document: 284 Page: 36 Date Filed: 02/13/2023
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               Exhibit 3




                                                                     App. 006
      Case: 22-10077  Document: 284 Page: 37 Date Filed: 02/13/2023
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                               Change 168
                    Manual of the Medical Department
                                U.S. Navy
                            NAVMEDP-117

                                    3 February 2023
To: Holders of the Manual of the Medical Department

1. This Change: Updates MANMED Chapter 15, article 15-105(4)(n).(2}.

   a. Changes noted: The requirement of a waiver for candidates or Naval Special Warfare
and Special operations Duty (NSW/SOD) designated personnel failing to receive required
vaccines.

     b. Changes noted for MANMED article 15-105((4)(n)(9)). Replaced "Candidate or SO
designated personnel refusing to receive recommended vaccines (preventive health or theater
specific vaccines recommended by the Combatant Command (CCMD)) based solely on personal
or religious beliefs are disqualified. This provision does not pertain to medical contraindications
or allergies to vaccine administration." with "Candidates or Naval Special Warfare and Special
operations Duty (NSW/SOD) designated personnel failing to receive required vaccines
(preventive health or theater-specific vaccines required by the Combatant Command (CCMD)),
whether for personal or religious beliefs, medical contraindications or allergies to vaccine
administration, or any other reason, are disqualified and must seek a waiver.

2. Action. Add updated vaccine waiver requirements verbiage to MANMED Chapter 15 article
15-105(4)(n).(2l.



                                               I   D.K. VIA
                                                   Chief, Bureau of Medicine and Surgery
                                                   Acting




                                                                                            App. 007
       Case: 22-10077  Document: 284 Page: 38                           Date Filed: 02/13/2023
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Article 15-105                                                    Manual of the Medical Department

pose a significant risk of mentally or physically         upon with 24 hours of receipt. Access to WEBWAVE
impairing side effects is disqualifying. Any require-     2 is controlled by BUMED-M95. Commands needing
ment for a medication that necessitates close moni-       to submit requests via WEBWAVE 2 but currently
toring, regular tests, refrigeration, or parenteral ad-   without access may contact BUMED-M95 directly to
ministration on a biweekly (every 2 weeks) or more        validate their requirement and obtain access/training.
frequent basis is disqualifying. Requirement for
medication which would pose a significant health risk             (c) For SO personnel, interim waivers may
if suddenly stopped for 1 month or more is dis-           be granted by BUMED-M95 for periods of up to 6
qualifying.                                               months.
                                                                        (1) Interim waivers will not normally be
                 (c) SO designated personnel tak-         considered for SO candidates, in as much as their
ing medicines prescribed by a non-DoD provider are        suitability must be established before the Navy incurs
disqualified until reviewed and approved by the           the expense of TAD orders and training.
Service member’s UMO.
                                                                        (2) Because interim waivers are not re-
             (9) Vaccinations. Candidates or Naval        viewed by the relevant Waiver Authority, BUMED-
Special Warfare and Special operations Duty (NSW/         M95 will only grant interim waivers for relatively
SOD) designated personnel failing to receive required     routine, frequently encountered conditions for which
vaccines (preventive health or theater-specific           it is confident of the waiver authority’s eventual
vaccines required by the Combatant Command                disposition. In any case, interim waivers should be
(CCMD)), whether for personal or religious beliefs,       requested sparingly.
medical contraindications or allergies to vaccine
administration, or any other reason, are disqualified                  (3) BUMED-M95 must receive the final
and must seek a waiver.                                   waiver request prior to the expiration of any interim
                                                          waiver which has been granted (typically 6 months).
      (4) Waiver and Disqualification Requests.           The final waiver request must include a substantive
Waiver and disqualification requests are essentially      interval history pertinent to the condition under
the same personnel action. The distinction between        review.
the two lies with whether the originator is requesting                   (4) Individuals with lapsed interim wai-
that one or more physical standards be waived or not.     vers are not physically qualified to parachute or deploy
The outcome of either request is a determination by
                                                          until the final waiver request has been adjudicated.
the responsible waiver authority as to whether the
physical standard(s) is waived or not. BUMED-M95                        (5) BUMED-M95’s final recommenda-
serves as the senior medical reviewer for the waiver      tion will be based on the member’s condition at the
authority. (Certain waiver authorities have delegated     time the final waiver request is made and may differ
adjudication of disqualification cases only to lower      from the interim determination, if there has been a
echelon commanders).                                      change in the member’s condition or if information
                                                          presented in the final request dictates a change in
         (a) Requests for a waiver of physical stand-     recommendation.
ards for SO personnel and candidates must be sent
from the member’s commander, commanding officer,                   (d) BUMED-M95 will perform ‘courtesy
or officer in charge, via any applicable immediate        screening’ for SO candidates, who are potential Navy
superior in command (ISIC) or type commander (TY-         accessions, referred by their local Navy Recruiting
COM) and BUMED-M95, to the appropriate Bureau             Districts (NRD); however, these screens are not
of Naval Personnel code (enlisted – BUPERS-3; offi-       waivers.
cers – PERS-416); or Headquarters, USMC (POG-40).
                                                                   (e) The required elements of a waiver or
         (b) Originators must use the WEBWAVE 2           disqualification request are:
system to securely transmit cases (which contain
HIPAA and PII-protected information). WEBWAVE 2                          (1) A special SF 600, prepared by the
expedites case adjudication, allows tracking of cases     UMO, requesting the waiver (or disqualification),
under review and provides an accessible archive of        referencing the specific standard for which the
closed cases. The system’s business rules are designed    member is NPQ, a clinical synopsis including brief
to ensure that all necessary components of a request      history, focused examination, clinical course, appro-
are submitted and requests are directed electronically    priate ancillary studies and appropriate specialty
via the proper routing sequence. BUMED-M95’s
guideline for timely internal review of routine waiver
requests is 10 business days; Urgent cases are acted

15-90                                           Change 168                                         3 Feb 2023
                                                                                                         App. 008
       Case: 22-10077  Document: 284 Page: 39      Date Filed: 02/13/2023
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                Exhibit 4




                                                                       App. 009
       Case: 22-10077  Document: 284 Page: 40      Date Filed: 02/13/2023
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                                                                       App. 010
       Case: 22-10077  Document: 284 Page: 41      Date Filed: 02/13/2023
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                                                                       App. 011
       Case: 22-10077  Document: 284 Page: 42      Date Filed: 02/13/2023
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                Exhibit 5




                                                                       App. 012
           Case: 22-10077  Document: 284 Page: 43                    Date Filed: 02/13/2023
    Case 4:21-cv-01236-O Document 223 Filed 02/06/23                 Page 15 of 104 PageID 7386
                                 UNDER SECRETARY OF DEFENSE
                                        4000 DEFENSE PENTAGON
                                       WASHINGTON, D.C. 20301-4000


                                             JAN 3 0 2023
PERSONNEL AND
  READINESS



     MEMORANDUM FOR SENIOR PENTAGON LEADERSHIP
                    COMMANDERS OF THE COMBATANT COMMANDS
                    DEFENSE AGENCY AND DOD FIELD ACTIVITY DIRECTORS

     SUBJECT: Consolidated Department of Defense Coronavirus Disease 2019 Force Health
              Protection Guidance - Revision 4

             Effective immediately, the preamble, executive summary, and sections 1.3, 1.4, 2.1, 3.3,
     4.1-4.4, 5.1-5.5, 5.9-5.10, 5.12, 6, 7.1-7.7, and 9 of the "Consolidated Department of Defense -
     Coronavirus Disease 2019 Force Health Protection Guidance," (August 29, 2022 version) are
     amended as attached. The complete document with amendments is also available at
     https://www.defense.gov/Spotlights/Coronavirus-DOD-Response/Latest-DOD-Guidance/.

             Where applicable, these changes end coronavirus disease 2019 (COVID-19) screening
     testing based on vaccination status; end the requirement to ask about COVID-19 vaccination
     status; update protocols for individuals exposed to someone with COVID-19; no longer require
     workplace occupancy limits for each Health Protection Condition levels; and modify travel
     guidance.

              Components should engage with unions to ensure any bargaining obligations pursuant to
     chapter 71 of title 5, U.S. Code, are satisfied. Additionally, DoD Components should review in­
     place agreements and are encouraged to bring any conflicting provisions into compliance at the
     earliest possible opportunity.

            Please direct any questions or comments to the following email address:
     dha.ncr.ha-support.list.policy-hrpo-kmc-owners@health.mil.




                                                     Gilbert R. Cisneros, Jr.

     Attachment:
     As stated




                                                                                               App. 013
       Case: 22-10077  Document: 284 Page: 44                  Date Filed: 02/13/2023
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                                Attachment


1. The preamble is amended as follows:

        This guidance issued by the Under Secretary of Defense for Personnel and Readiness
(USD(P&R)) presents a uniform and consolidated DoD policy for the Department’s response to
the coronavirus disease 2019 (COVID-19) pandemic and serves as the DoD COVID-19
Workplace Safety Plan.1 Implementation of this guidance will comply with: 1) applicable
court orders, Presidential directives, and Office of Management and Budget (OMB) and
Safer Federal Workforce Task Force guidance; and 2) applicable labor obligations to the
extent such obligations do not hinder the DoD Components’ ability to carry out their missions
during this public health emergency. Prior delegations and exceptions made pursuant to the
rescinded references remain valid unless rescinded by the authorizing official. Individual
sections of this guidance will be updated as necessary by the USD(P&R). Commanders and
supervisors may implement additional, more stringent requirements with respect to
masking and physical distancing, as appropriate, to mitigate risk.

              ***

       Furthermore, this guidance consolidates, incorporates, and rescinds the following policy
and guidance:

              ***

       •   Assistant Secretary of Defense for Readiness Memorandum, “Continued
           Implementation of the Occupational Safety and Health Administration
           Emergency Temporary Standard for Healthcare during the Coronavirus Disease
           2019 Pandemic,” August 19, 2022.


2. The Executive Summary is amended as follows:

        The DoD is committed to providing safe working environments across the entire DoD
enterprise, which consists of an approximately 2.9 million-person global workforce deployed or
stationed in nearly 150 countries, including military Service members and their families, and
DoD civilian and contractor personnel that work in a highly complex and large number of
diverse and unique environments. This force health protection (FHP) Guidance (“Guidance”)
was developed to protect the DoD workforce, which consists of Service members, DoD
civilian employees, contractor personnel, other occupants, and visitors (collectively referred to
as “personnel”) before, during, and after our orderly and final return to the physical workplace
(“final reentry”). The Guidance is intended to meet the direction of the President’s EOs2 and
guidance from the Safer Federal Workforce Task Force (“Task Force”) and OMBthe Office of
Management and Budget,3,4 and articulate steps the DoD has been and will be taking to halt the
spread of COVID-19. To ensure consistent application throughout DoD, if the Eos and
guidance change, DoD Components will wait for DoD to update this consolidated guidance
before implementing any changes.

              ***



                                                                                          App. 014
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        DoD has long recognized the threat posed by pandemics and disease outbreaks and has
previously issued guidance, planning, and policy documents to prepare for and respond to such
threats. The DoD also recognizes that successfully managing the COVID-19 pandemic requires
the flexibility to adapt to changing conditions (e.g., variants, and disease prevalence or virulence)
and new information (e.g., evolving best health and safety practices). DoD continues to
promote the importance of taking vaccines and boosters to protect our people against the
adverse impacts of COVID-19. The Department also recognizes that wearing high-quality
masks, testing, and improved ventilation are other factors to reduce COVID-19 exposure
risks.


3. Section 1.3 is amended as follows:

        HPCON level determinations for COVID-19 are based on the CDC COVID-19
Community Levels reported by the CDC,8 which include screening levels that make use of new
case-rates and health and health care systems-related information. HPCON Levels A, B, and C
correspond directly to CDC COVID-19 Community Levels of low, medium, and high
community transmission, respectively.9, 10

                ***

Footnotes:
8
  An overview of the CDC COVID-19 Community Levels is available at: https://www.cdc.gov/coronavirus/2019-
ncov/science/community-levels.html.
9
  County Community Levels are available for U.S. States and territories is available at:
https://www.cdc.gov/coronavirus/2019-ncov/science/community-levels.html. Find community levels by “State or
Territory” and then by “County or Metro Area.” Jurisdictions which are not counties, such as the District of
Columbia, also are listed under “County or Metro Area.” The Pentagon is in Arlington County, Virginia.
10
   The CDC COVID-19 Community Levels do not apply in healthcare settings, such as hospitals and
retirement homes. Instead, healthcare settings should continue to use community transmission rates and
continue to follow CDC’s infection prevention and control recommendations for healthcare settings, as long
as they are more restrictive than FHP guidance.

Table 1 of section 1.3 is amended as follows:

a. In the second column under HPCON D, the fifth paragraph is amended as follows:

    “Military Health System (MHS) health care capability and utilization (percent and trend):
    Degradation of MHS capabilities requiring Crisis Status operations; and >95 percent staffed
    bed occupancy; or >50 percent military medical treatment facility (MTF) staff in isolation or
    quarantine or unvaccinated; or >60 percent staff absent who provide urgent or emergent
    care; and Local emergency departments on divert or inability of civilian health care to absorb
    excess MHS patients; or Clinical or appointment capability reduced >60 percent in key
    departments.”

b. In the third column under HPCON D:



                                                      2
                                                                                                      App. 015
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   Item “a” is deleted and the remaining items re-lettered.

   a. Less than 25 percent of normal occupancy in the workplace, or the minimum
required on-site for essential operations that must be conducted in person.

   A new “f” is added and the remaining items are re-lettered: “f. Schools operated by
Department of Defense Education Activity (DoDEA) will operate remotely.”

   Footnote 12, associated with item h, is amended as follows: “12For information about
masking and screening testing at the various HPCON levels, refer to sections 2.1 and 5.3.”

c. In the third column under HPCON C, “a,” “b,” and “c” are deleted and the remaining items
re-lettered:

   a. Less than 50 percent of normal occupancy in the workplace.
   b. Consider limiting visitor access to the installation for non-essential mission-
      related/operational activities.
   c. Limit social gatherings to less than 50 percent facility/room occupancy.

d. In the third column under HPCON B:

   Item “a” is deleted and the remaining items re-lettered:

   a. Less than 80 percent of normal occupancy in the workplace.

   Item “b” is amended as follows:

   a. Reduce potential workplace SARS-CoV-2 exposures through telework, remote work, flexible
      scheduling, and other methods, as appropriate. Permit liberal telework where possible,
      especially for individuals who self-identify as immunocompromised or being at high risk for
      severe disease.

   A new “c” is added and the remaining item re-lettered:

   c. Each installation and DoD facility will post signage at building entrances and in common
      areas of DoD owned and controlled facilities and post information on websites as appropriate
      encouraging individuals, regardless of vaccination status, to consider avoiding crowding, and
      physically distancing themselves from others in indoor common, areas, meeting rooms, and
      high-risk settings.

f. In the third column under HPCON A:

   Item “a” is deleted and the remaining items re-lettered.

   a. Less than 100 percent of normal occupancy in the workplace, with telework as appropriate.

   Item “d” is amended as follows:



                                                  3
                                                                                            App. 016
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   “c. DoDEA schools will operate following CDC recommendations and guidelines specific to schools
   as implemented in operational procedures and guidance from the Director, DoDEA.13 Children are
   not required to mask. Any DoD guidance that is more stringent than CDC guidance must be
   followed.”

   Footnote added to “d”:   13
                                 https://www.dodea.edu/covid-operations.cfm.



4. Section 1.4 is amended as follows:

1.4. TELEWORK WORKPLACE OCCUPANCY LEVELS WITHIN THE HPCON
FRAMEWORK.

        Workplace occupancy limits for each HPCON level are included as measures
in Table 1. The workplace occupancy levels in Table 1 are ceilings, not goals.
Reduced workplace occupancy may be achieved through telework, remote work,
flexible scheduling, and other methods, as appropriate.

        At HPCON A or higher, or when a DoD civilian employee is required to
remain out of the workplace under section 5.5, DoD Components are granted an
exception to policy from Enclosure 3, Paragraph 3.j.(2) of Department of Defense
Instruction 1035.01, “Telework Policy,” and may allow DoD civilian employees to
telework with a child or other person requiring care or supervision present at home. DoD
civilian employees must still account for work and non-work hours during their
tour of duty and take appropriate leave (paid or unpaid) to account for time spent
away from normal work-related duties to care for a child or other person requiring
care or supervision.

        DoD Component heads have the authority to grant exemptions for workplace
occupancy limits that are required for national security and the success of critical missions.
DoD Component heads, other than the Secretaries of the MILDEPs, may delegate this
workplace occupancy limit authority in writing to a level no lower than a general/flag
officer or Senior Executive Service (SES) member (or equivalent). Secretaries of the
MILDEPs may delegate workplace occupancy limit exemption authority in writing to a
level no lower than an O-6 installation commander. The DA&M has workplace occupancy
limit exemption authority for all DoD Components located on the Pentagon Reservation
and other facilities within the National Capital Region managed by Washington
Headquarters Services. This authority may be delegated at the discretion of the DA&M.
DLA has workplace occupancy limit exemption authority for four locations.14 When
considering a workplace occupancy limit exemption, those with exemption authority must
take into account the ability to maintain distance between personnel and other public
health and workplace safety measures contained in this Guidance.

      A record of all workplace occupancy limit exemptions will be retained by the
exemption authority for the duration of the pandemic and until returning to HPCON 0 and
provided for awareness to the public health office concerned and to the installation
commander, if different from the exemption authority. FHP measures and other


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                                                                                             App. 017
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appropriate mitigation measures shall be used rigorously in all areas and especially in
areas for which an occupancy exemption has been grant.
14
  DLA Land & Maritime (Columbus, OH), DLA Distribution HQ (New Cumberland, PA), DLA Aviation
(Richmond, VA), and DLA Distribution (San Joaquin, CA).


5. Title of section 2 and section 2.1 are amended as follows:

SECTION 2: VACCINATION VERIFICATION AND MEASURES BASED ON
                   VACCINATION STATUS
2.1. VACCINATION – GENERAL AND TESTING REQUIREMENTS.

Leaders at all levels should encourage Service members, DoD civilian employees, DoD
contractor personnel, and others affiliated with DoD to be up to date on their COVID-19
vaccinations.

     1. Service members:

        Service members (members of the Armed Forces under DoD authority on active duty or
in the Selected Reserve, including members of the National Guard) are strongly encourgaged
required to be fully vaccinated against up to date with COVID-19 vaccination, including
booster doses subject to any identified contraindications, any administrative or other
exemptions established in DoD policy, and any applicable court orders.

        To ensure an accurate medical record, Service members’ vaccination status will be
validated maintained utilizing their Military Service-specific Individual Medical Readiness
(IMR) system. If a Service member has been vaccinated against COVID-19 outside the military
health system, that Service member must show official proof provide documentation of his or
her COVID-19 vaccination status to update the IMR system.

        Once the applicable mandatory vaccination date has passed, COVID-19 screening
testing is required at least weekly for Service members who are not fully vaccinated,
including those who have an exemption request under review or who are exempted from
COVID-19 vaccination and are entering a DoD facility located in a county or equivalent
jurisdiction where the CDC COVID-19 Community Level is high or medium. Service
members who are not on active duty and who also are DoD civilian employees or DoD
contractor personnel must follow the applicable requirements in section 2.3 for DoD
civilian employees or in section 2.4 for DoD contractor personnel.

     2. DoD civilian employees:

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                                                                                         App. 018
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       At least weekly COVID-19 testing is required for those DoD civilian employees who
are not fully vaccinated when the CDC COVID-19 Community Level is high or medium in
the county or equivalent jurisdiction where the DoD facility is located. DoD civilian
employees who are not fully vaccinated and who telework or work remotely on a full-time
basis are not subject to weekly testing, but must provide a negative result (from a test
performed within the prior 72 hours) for entry into a DoD facility located in the county
where the COVID-19 Community Level is high or medium.

              ***

        If they have not already done so, supervisors of DoD civilian employees must ask
DoD civilian employees whether they are fully vaccinated. Employees who indicate they
are fully vaccinated must provide proof of that vaccination status to their supervisors.
Acceptable proof includes:

       a. A copy of the COVID-19 Vaccination Record Card (CDC Form MLS-319813_r,
          published on September 3, 2020);
       b. A copy of medical records documenting the vaccination;
       c. A copy of immunization records from a public health or State immunization
          information system; or
       d. A copy of any other official documentation containing the data points required
          to be verified by the supervisor.

        When necessary for implementing FHP measures related to workplace access in
section 5.5, supervisors of DoD civilian employees may ask DoD civilian employees whether
they are up to date with COVID-19 vaccinations. If there is a supervisory concern about
the accuracy of the DoD civilian employee’s response, DoD civilian employees are required
to provide proof of up-to-date vaccination status. Supervisors must not inquire about
disabilities when asking DoD civilian employees about up-to-date vaccination status.

              ***

   3. DoD contractor personnel:

       Vaccination requirements for DoD contractor personnel are outlined in several
references.16 In implementing EO 14042, the DoD will comply with all relevant court
orders.

       Onsite DoD contractor personnel will complete the DD Form 3150, “Contractor
Personnel and Visitor Certification of Vaccination”;17 maintain a current completed copy;
and show it to authorized DoD personnel upon request when they work at a DoD facility
where the CDC COVID-19 Community Level is high or medium. Failure to complete the
DD Form 3150 may result in denying DoD contractor personnel access to the DoD facility
to which access is sought. Onsite DoD contractor personnel who are not fully vaccinated
against COVID-19, because they are not performing under a covered contract that
requires COVID-19 vaccination, due to a legally required accommodation, or who decline



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                                                                                     App. 019
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to provide information about their COVID-19 vaccination status, will be subject to
COVID-19 screening testing at least weekly when the CDC COVID-19 Community Level
for the facility in which they work is high or medium. DoD contractor personnel who
refuse required COVID-19 screening testing will be denied access to DoD facilities.

        For purposes of the requirements regarding providing information about
vaccination status and screening testing, “contractor personnel” are those individuals
issued a credential by DoD that affords the individual recurring access to DoD facilities,
classified herein as “credentialed recurring access” (CRA) (e.g., Common Access
Cardholders) who are performing under a contractor or subcontract between their
employer and the DoD. “Contractor personnel” do not include employees of DoD
contractors or subcontractors receiving ad hoc access to DoD facilities (e.g., delivery
personnel, taxi services) or employees of DoD contractors or subcontractors who have
access to the grounds of, but not the buildings on, DoD installations (e.g., contract
groundskeepers, fuel delivery personnel, household goods transportation personnel).

       DoD Components should not take any steps to require contractors and
subcontractors to implement the vaccination requirement for contractor personnel in
Executive Order 14042, nor should they include in new solicitations or enforce in existing
contracts (or task orders or delivery orders) any clauses implementing EO 14042.
16
   Safer Federal Workforce Task Force, “COVID-19 Workplace Safety: Guidance for Federal Contractors
and Subcontractors,” September 24, 2021; Principal Director for Defense Pricing and Contracting
Memorandum, “Class Deviation 2021-O0009-Ensuring Adequate COVID-l9 Safety Protocols for Federal
Contractors,” October 1, 2021; EO 14042, “Ensuring Adequate COVID Safety Protocols for Federal
Contractors,” September 9, 2021.
17
   https://www.esd.whs.mil/Portals/54/Documents/DD/forms/dd/dd3150.pdf.

       4. Official visitors:

        “Official visitors” are non-DoD individuals seeking access, one time or recurring, in
association with the performance of official DoD business (such as to attend a meeting), but who
do not have “credentialed recurring access” (CRA) (e.g., Common Access Cardholders).
“Official visitors” do not include personnel receiving ad hoc access to DoD facilities (e.g.,
delivery personnel, taxi services); individuals who have access to the grounds of, but not the
buildings on, DoD installations (e.g., contract groundskeepers, fuel delivery personnel,
household goods transportation personnel); personnel accessing DoD buildings unrelated to the
performance of DoD business (e.g., residential housing); or personnel accessing DoD facilities
to receive a public benefit (e.g., commissary; exchange; public museum; air show; military
medical treatment facility; Morale, Welfare, and Recreation resources).

        Official visitors will complete DD Form 3150; maintain a current completed DD
Form 3150; and show it to authorized DoD personnel, upon request when they are visiting
a DoD facility where the CDC COVID-19 Community Level is high or medium. Failure to
complete the DD Form 3150 may result in denial of an official visitor’s access to the DoD
facility to which access is sought. Service members not on active duty or active duty for
training are also subject to the requirements in this paragraph.



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                                                                                               App. 020
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        When visiting a DoD facility where the CDC COVID-19 Community Level is high
or medium, official visitors who are not fully vaccinated against COVID-19, or who decline
to provide information about their vaccination status, must show an electronic or paper
copy of negative results from an FDA-authorized or approved COVID-19 test administered
no earlier than 72 hours prior to their visit. If unable to show a negative COVID-19 test
result, the official visitor may be provided onsite self-testing, if available, or will be denied
access to the DoD facility (or facilities) to which access is sought. Service members who are
not on active duty or on active duty for training at the time of their official visit are subject
to the requirements in this paragraph.


6. Section 3.3 is amended as follows:

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        DoD contractor personnel suspected of having contracted COVID-19, or for whom
testing is required for workplace surveillance or official travel, may be offered screening testing,
subject to available funding, if such testing is necessary to support mission requirements and is
consistent with applicable contracts. For example, if testing is explicitly called for under the
contract; or if testing is required to access a DoD facility and the contractor personnel must
access the DoD facility to perform under the contract. DoD contracting officers may also
modify existing contracts to require contractors to test their personnel, or to permit DoD to
test their personnel, as necessary to support mission requirements and subject to available
funding.


7. Section 4.1 is rescinded.


8. Section 4.2 is amended as follows:

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       •   Contact tracing of confirmed COVID-19 positive cases to infected persons, as
           described in section 4.4 in accordance with all applicable Federal, State, local,
           and DoD requirements.


9. Section 4.3 is amended as follows:

               ***

       •   DoD Components may, in consultation with public health advisors, conduct
           surveillance and screening testing of Service members to reduce risk in select high-
           risk congregate settings, on ships, at training sites, during events, or in remote
           locations where early identification, isolation, and quarantine are important.


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                                                                                             App. 021
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          Screening testing protocols may involve testing of all Service members prior to
          participation in an event (such as an exercise or training evolution) with or without
          testing during the event. Finally, screening testing may be performed using a
          surveillance protocol in which a specified percentage of randomly selected Service
          members are tested during regular intervals over a period of heightened vulnerability
          such as when case rates are very high or medical resources are in high demand.

          1. Execute the screening testing requirement with FDA approved or authorized
             COVID-19 self-collection kits or self-tests. Testing should be performed
             primarily onsite at the installation or facility with proper supervision and
             documentation of testing results. If onsite COVID-19 screening testing is not
             feasible, as an alternative self-testing may be performed at home or in other
             locations. (Note: these COVID-19 self-tests do not require a health care
             provider’s clinical care order and are, therefore, considered an over-the-
             counter test and do not require medical support to complete).

          2. Establish guidance for where and how these tests will be distributed and
             conducted, and how results are to be reported.

          3. After COVID-19 screening testing procedures are established, Service
             members subject to screening testing are required to have a negative
             COVID-19 screening test result for entry into a DoD facility. If the COVID-
             19 screening test is administered onsite, the test will be administered before
             Service members go to their work areas. Service members who have tested
             positive and do not have symptoms are exempted from regular screening
             testing for 30 days following the documented date of their initial positive test
             of COVID-19. Documented proof of this positive test date shall be provided
             upon request.

      •   Voluntary testing of eligible family members, DoD civilian employees, and DoD
          contractor personnel (if appropriate and permitted in accordance with applicable
          contracts) who, if infected with COVID-19, could impact the DoD workforce and
          missions, may be conducted in support of the DoD’s effort to interrupt transmission
          of the virus among our populations. Testing will be conducted based on availability
          and managed at the DoD Component level. DoD civilian employees and DoD
          contractor personnel with CRA with positive COVID-19 screening tests will be
          offered, but not required to take, FDA approved or authorized confirmatory
          laboratory-based molecular (i.e., polymerase chain reaction) testing paid for by
          the relevant DoD Component. Contact tracing and mitigation measures will be
          conducted in accordance with sections 4.4 and 5.5.




                                              9
                                                                                         App. 022
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10. Section 4.4 is amended as follows:

4.4. COVID-19 CONTACT TRACING AND TESTING.

        DoD Components will conduct contact tracing on all COVID-19 cases identified
through testing activities and prioritize investigation of COVID-19 cases, clusters, and
outbreaks involving high-risk congregate settings, unusual clusters of cases, and considered
for novel or emerging variants that pose a significant risk for severe disease,
hospitalization, or death. Follow-on quarantine or isolation measures and testing will be
implemented as indicated.DoD Components will conduct contact tracing on all COVID-19
cases identified in health care settings and certain high-risk congregate settings, unusual
clusters of cases, and cases involving novel or emerging variants that pose a significant risk
for severe disease, hospitalization, or death. In identifying certain settings in which to
conduct contact tracing, DoD Component public health emergency officers should consider
data reported to local and State public health entities and surveillance programs
administered by the DoD and other Federal agencies.


11. Section 5.1 is amended as follows:

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       •   Avoid close contact (within 6 feet of any individual for a total of 15 minutes or
           more over a 24-hour period) with people.
       •   Consider exposure risks.

               ***

       •   Launder or replace masks regularly Use dry, clean masks to promote good
           hygiene.

               ***

        b. Installations will post signage about specific measures applicable to the
installation, such as mask wearing and physical distancing requirements, and on
installation websites, as appropriate.


12. Section 5.2 is rescinded.




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                                                                                        App. 023
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13. Section 5.3. is amended as follows:

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          •   When the CDC COVID-19 Community Level1 is high in the county or equivalent
              jurisdiction where a DoD installation or facility is located, indoor mask-wearing is
              required for all individuals, including Service members, DoD civilian employees,
              onsite DoD contractor personnel (collectively, “DoD personnel”), and visitors,
              regardless of vaccination status. Each installation and DoD facility will post
              signage at building entrances and in common areas of DoD owned and
              controlled facilities when the CDC COVID-19 Community Level is high
              indicating that masks are required.

                  ***

          •   Individuals may choose to wear a mask regardless of the CDC COVID-19
              Community Level.

                  ***

              11. When individuals are enrolled in a respiratory protection program and are wearing
                  a respirator during the performance of duties requiring respiratory protection.
                  Components that want to distribute N95 respirators to personnel must follow
                  an OSHA respiratory protection program.

                  ***

         d. Transportation: All individuals must wear a mask on DoD aircraft, boats and
other maritime conveyances, and buses traveling into, within, or out of the United States,
and indoor DoD transportation hubs, regardless of vaccination status and the CDC
COVID-19 Community Levels. Masks are optional in outdoor areas of these conveyances
(if such outdoor areas exist on the conveyance) or while outdoors at transportation hubs, if
these areas are uncrowded. Masking requirements apply whether the DoD aircraft, boats
and other maritime conveyances, and buses are located inside or outside the United States,
but exclude these conveyances and other tactical vehicles and craft in their operational
environment. It is recommended that individuals wear a mask in Government cars, vans,
or other low occupancy transportation assets, regardless of the CDC COVID-19
Community Level.It is recommended that all individuals wear masks on DoD conveyances
(e.g., aircraft, maritime vessels, and buses) and in Government cars, vans, or other low
occupancy transportation assets when more than one person is present.

         e. Notwithstanding the above, and regardless of the CDC Community Level, masks
must be worn by masking of patients, visitors, and personnel working in DoD health care
facilities (including military medical, dental, and veterinary treatment facilities) will occur in


1
    See section 1.3 for information about CDC COVID-19 Community Levels.


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                                                                                               App. 024
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accordance with requirements specified in 29 CFR § 1910.502 and in accordance with
OSHA and CDC guidelines.22 Masks will be worn by visitors and patients to DoD military
medical and dental treatment facilities except while undergoing medical examinations or
procedures that interfere with those activities.

       Footnote added: 22 “Interim Infection Prevention and Control Recommendations for Healthcare
       Personnel During the Coronavirus Disease 2019 (COVID-19) Pandemic,” September 23, 2022.
       Available at: https://www.cdc.gov/coronavirus/2019-ncov/hcp/infection-control-
       recommendations.html.



14. Section 5.4 is amended as follows:

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Management of Close Contacts of a Case (as determined by contact tracing):23

•   Quarantine is not required for Service members who are close contacts and who are up-
    to-date with an FDA licensed or authorized COVID-19 vaccine, or a World Health
    Organization Emergency Use Listing COVID-19 vaccine. Regardless of vaccination
    status, cClose contacts identified through contact tracing or through exposure must wear
    a mask around others indoors for 10 days, even if mask wearing is not otherwise required by
    DoD guidance,. and if practical, Service members in the workplace must test on day at
    least once after 5 full days following exposure. If symptoms develop, then the individual
    must get tested and isolate until test results are complete.
•   Close contact Service members who are not up-to-date with the COVID-19 vaccine
    must quarantine for 5 days. The Service member should wear a mask at all times when
    around other individuals, regardless of those individuals’ vaccination status, and even if
    mask wearing is not otherwise required by DoD guidance. Testing should occur on day
    5 after exposure. If no symptoms develop, quarantine may end after 5 days, but the
    Service member must continue to wear a mask around others for an additional 5 days
    (i.e., masks must be worn for a total of 10 days after exposure, including the time in
    quarantine). If any symptoms develop at any time, the individual should be tested for
    COVID-19 and advised to isolate.
•   Exceptions to the above protocols for asymptomatic Service members with potential
    exposure based on close contact who are not fully vaccinated, and whose presence is
    required in the workplace, may be considered in cases of mission-essential activities
    that must be conducted on site. This exception may be granted in writing by the first
    general/flag officer, SES member, or equivalent, in the chain of command/chain of
    supervision or, for those locations that do not have general/flag officers or SES leaders,
    by O-6 installation commanders. Vaccination status of the Service member should be
    considered in granting an exception, as more risk will be assumed in granting an
    exception for a Service member who is not fully vaccinated. Service members who
    develop signs or symptoms consistent with COVID-19 during the duty period, he/she
    will be ordered to return to quarters and provided instructions for compliance with this
    guidance. Service members granted an exception must comply with the following
    practices for 5 days after the last exposure:


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                                                                                                App. 025
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    o Obtain a COVID-19 test on calendar day 5;
    o Conduct daily COVID-19 symptom screening with temperature checks;
    o Wear a mask in the workplace for 10 calendar days after exposure, even if mask
        wearing is not otherwise required by DoD guidance;
    o Practice hand and cough hygiene;
    o Refrain from sharing headsets or other objects used near the face;
    o Continue to physically distance as much as possible; and
    o Clean and disinfect their workspace daily
•   In all situations, for a full 10 days after last contact with a confirmed case exposure,
    Service members must continue to self-monitor, and practice strict adherence to all non-
    pharmaceutical intervention mitigation strategies, and, if not fully vaccinated, wear masks,
    avoid crowds and practice physical distancing, hand and cough hygiene, maintain adequate
    indoor ventilation, and perform environmental cleaning and disinfection. In addition, Service
    members located outside the United States identified as close contacts must follow host-
    nation policies, as applicable.

Testing Quarantined Individuals Who Develop Symptoms:

       Test eligible Service members in quarantine who develop symptoms commonly
associated with COVID-19.

•   If laboratory positive: The Service member becomes a case and must be isolated (see
    above).
•   If laboratory negative: The Service member must continue to follow procedures for
    quarantine as outlined above.

               ***

•   If Service members become symptomatic during this time frame (whether or not they are a
    close contact of a case) they must self-isolate immediately and be evaluated by a health
    care provider retest to determine if they may have been re-infected with SARS-CoV-2 or if
    symptoms are caused by another etiology. Isolation may be warranted during this time is
    required, particularly if symptoms developed within 10 days after close contact exposure
    with to an individual who has contracted COVID-19.

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Contacts of Contacts: There is no indication to quarantine asymptomatic Service members
who are contacts of contacts; they should continue to self-monitor for symptoms.




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                                                                                          App. 026
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15. Section 5.5 is amended as follows:

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        b. Regardless of COVID-19 vaccination status, pPersonnel who test positive for
COVID-19 will remain out of the workplace for 5 days (day 0 is the day symptoms started or
date of specimen collection if asymptomatic). To calculate the recommended time frames,
day 0 is the day tested if no symptoms, or the date symptoms started. Personnel who test
positive for COVID-19 Individuals may return to the DoD workplace after 5 days, if either:
(1) they have no symptoms; or (2) if they are afebrile fever-free for more than 24 hours
(without the use of fever-reducing medication) and any remaining symptoms are resolving.
Mask wearing must continue in the workplace for an additional 5 days (for a total of 10 days
post-positive result), even if mask wearing otherwise is not required by DoD guidance.

       c. Personnel with potential exposure exposed to COVID-19 based on close contact
with a person who has a laboratory confirmed, clinically diagnosed, or presumptive case of
COVID-19 will notify their supervisor.

           1. Asymptomatic personnel with potential exposure to COVID-19 based on
close contact who are: (1) not fully vaccinated; or (2) are not up-to-date with the COVID-
19 vaccine will remain out of the workplace for 5 days. Regardless of vaccination status,
aAsymptomatic personnel with potential exposure exposed to COVID-19 close contact must
wear a mask in the workplace for 10 days, even if mask wearing otherwise is not required by
DoD guidance.

          2. In cases of mission-essential activities that must be conducted on site,
asymptomatic personnel with potential exposure to COVID-19 based on close contact, who
otherwise would need to remain out of the workplace, may be granted an exception to
continue to work on site provided they remain asymptomatic, do not have a positive test for
COVID-19, and comply with the following key practices for 5 days after the last exposure:

          •   Obtain a COVID-19 test on day 5;
          •   Conduct daily pre-screening with temperature checks;
          •   Wear a mask in the workplace for 10 days after exposure, even if mask
              wearing is not otherwise required by DoD guidance,
          •   Practice hand and cough hygiene;
          •   Refrain from sharing headsets or other objects used near the face;
          •   Continue to physically distance as much as possible; and
          •   Clean and disinfect their workspaces daily.

          This exception may be granted by the first general/flag officer or member of the
          SES, or equivalent, in the chain of command/chain of supervision or, for those
          locations that do not have general/flag officers or SES leaders, by O-6
          installation commanders. If the individual develops signs or symptoms
          consistent with COVID-19 during the duty period, he/she will be sent home
          immediately.


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                                                                                       App. 027
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        d. DoD civilian employees who are remaining out of the workplace because of
COVID-19 symptoms and who are waiting for a test result may telework if able to do so. If
they are unable to or do not feel well enough to telework, they may request sick leave, use
accrued annual leave or other forms of earned paid time off (e.g., compensatory time off or
credit hours), or use unpaid leave, as appropriate. Weather and safety leave is unavailable
in this situation, but to mitigate exposure risks in the workplace, and on a limited basis, up
to 1 day of administrative leave may be offered to DoD civilian employees who have
COVID-19 symptoms and are remaining out of the workplace while actively seeking to be
tested.

        e. DoD civilian employees who test positive for COVID-19 may telework during the
5 days they are required to remain out of the workplace if able to do so. If they are unable
to or do not feel well enough to telework, they may request sick leave, use accrued annual
leave or other forms of paid time off (e.g., compensatory time off or credit hours), or use
unpaid leave in this situation, as appropriate. Weather and safety leave is not available in
this situation.


16. Section 5.9 is amended as follows:

        The SARS-CoV-2 virus is transmitted mainly by large respiratory droplets, but infected
individuals generate aerosols and droplets across a large range of sizes and concentrations. There
is no need to shut down air HVAC, air handling systems, or air vents to prevent the spread of
COVID-19 within a building. Increasing indoor air movement and ventilation is a cornerstone of
COVID-19 transmission mitigation strategy. Ensure existing HVAC systems in buildings are
functioning properly, ensure the amount of outside air supplied to the HVAC system is
maximized to the extent appropriate and compatible with the HVAC systems’ capabilities, and
ensure the use of air filters that have a Minimum Efficiency Reporting Value-13 or higher filter
where the system can accommodate this type of filtration efficiency. In addition to the
requirements for existing HVAC systems, building managers should consider other measures to
improve ventilation in accordance with as set forth in CDC guidance (e.g., opening windows
and doors to let in outside air) at: (https://www.cdc.gov/coronavirus/2019-
ncov/community/ventilation.html) and guidance from American Society of Heating,
Refrigerating, and Air-Conditioning Engineers (ASHRAE;
https://www.ashrae.org/file%20library/technical%20resources/ashrae%20journal/2020jou
rnaldocuments/72-74_ieq_schoen.pdf).


17. Section 5.10 is amended as follows:

   a. General workplace: COVID-19 is a recordable occupational illness if a worker
      contracts the virus as a result of performing his or her occupational duties and if all of the
      following conditions are met: (1) COVID-19 illness is a confirmed case; (2) contraction
      of COVID-19 is work-related as described in 29 CFR § 1904.5 (this condition will



                                                15
                                                                                             App. 028
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        require a determination by the commander or supervisor who may require input from the
        worker’s health care provider); (3) the case of illness satisfies the requirement as a
        recordable illness as set forth in 29 CFR § 1904.7 (e.g., medical treatment beyond first
        aid is required, the number of calendar days away from work meets the stated threshold).2

    b. Health care providers: Adhere to COVID-19 illness recordkeeping and reporting
       procedures contained in 29 CFR §§ 1910.502(q)(2)(ii), 1910.502 (q)(3), and
       1910.502(r).


18. Section 5.12 is amended as follows:

        If workers are planning to conduct maintenance in a residence where a person who is
known or suspected to have contracted COVID-19 resides and the maintenance is necessary and
cannot be delayed, the resident should be asked to remove all items that would impede the work
of the maintenance personnel. The resident should clean the area of any dirt, debris, dust, etc.
that would impact the effectiveness of surface disinfectant used by maintenance personnel.
Workers should maintain a the maximum possible distance of at least 6 feet from the resident
who is known to have or suspected of having contracted COVID-19, and ask that the resident
remain in a separate room while maintenance is conducted. If a separate room for the resident is
unavailable and the worker is unable to remain 6 feet in physically distance from the resident
during the work, appropriate protective equipment for close contact exposure risks must be
worn by the worker. If necessary, clean and disinfect the work area following the procedures for
personnel protection described in section 5.8.


19. Section 6 is amended as follows:

        For any planned in-person meetings, events, and conferences (referred collectively
herein as “meetings”) sponsored by DoD with more than 50 participants in a county or
equivalent jurisdiction where the CDC COVID-19 Community Level is high, the meeting
organizer will obtain advance written approval from the DoD or Office of the Secretary of
Defense (OSD) Component head concerned to hold the meeting. The DoD or OSD
Component head concerned may delegate this authority in writing to their Principal
Deputy (or equivalent) but no lower. For the Pentagon Reservation, the approval authority
is the DA&M and this authority may not be further delegated.

       For any in-person meetings in a county or equivalent jurisdiction where the CDC
COVID-19 Community Level is high or medium, the meeting organizer will require all
attendees, including Service members and DoD civilian employees, to show a completed DD
Form 3150, “Contractor Personnel and Visitor Certification of Vaccination” and will
follow the applicable requirements in section 5.2 for physical distancing. For any in-person
meetings in a county or equivalent jurisdiction where the CDC COVID-19 Community


2
 The reporting requirements are described in more detail in DoDI 6055.07, “Mishap Notification, Investigation,
Reporting, and Record Keeping,” and at: https://www.osha.gov/recordkeeping.


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level is low, the meeting organizers will follow the applicable requirements in section 5.2 for
physical distancing.

        In-person attendees who are not fully vaccinated, or who decline to provide
information about their vaccination status, may not attend the meeting if they do not show
the meeting organizer proof of a negative FDA approved or authorized COVID-19 test
completed no earlier than 72 hours prior to the meeting, and at least weekly if the meeting
is greater than one week in duration. Meetings do not include military training and
exercise events conducted by MILDEPs.

        For any planned in-person meetings, events, and conferences (referred collectively
herein as “meetings”) sponsored by DoD in a county or equivalent jurisdiction where the
CDC COVID-19 Community Level is high or medium, the meeting organizer will require
all attendees, including Service members and DoD civilian employees, to physically
distance and will limit attendance as necessary to maintain physical distance. Where the
CDC COVID-19 Community Level is high, meeting organizers will require all attendees to
wear high-quality masks. Meetings do not include military training and exercise events
conducted by MILDEPs.


20. Section 7.1 is amended as follows:

        In all cases, no personnel may engage in official travel if they have tested positive for
COVID-19 and have not yet met the criteria for discontinuing isolation, they are
symptomatic, or they are pending COVID-19 test results. After discontinuing isolation,
personnel should avoid official travel until 10 calendar days after their symptoms started
or the date of their positive test. If these personnel must travel on days 6 through 10, they
must properly wear a well-fitting mask when they are around others for the entire duration
of travel, even if mask wearing is not otherwise required by DoD guidance. Official travel
should also be delayed if, in the past 10 days, an individual has been exposed to someone
who has tested positive for, and/or been symptomatic of, COVID-19. Prior to travel, all
official travelers should be educated on how to self-monitor and what actions to take if one
develops signs or symptoms consistent with COVID-19 or contracts COVID-19.

       Fully vaccinated individuals are not restricted from official travel, both domestic
and international. Individuals who are not fully vaccinated, or who decline to provide
information about their vaccination status, are limited to mission-critical official travel,
both domestic and international. “Mission-critical” will be determined by the traveler’s
DoD or OSD Component head, who may delegate this authority in writing to the
Component’s Principal Deputy (or equivalent) but no lower. For the purpose of this FHP
guidance, travel associated with permanent changes of station, travel in connection with
Authorized or Ordered Departures issued by the Department of State, or travel in
evacuations ordered by the appropriate DoD official is deemed to be “mission-critical.”

       During all official travel, travelers will follow all applicable Federal, State, local, and
commercial air carrier requirements, and applicable HN requirements as a means to respect HN
law. In addition to completion of required or recommended ROM, aAdditional requirements


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may be necessary when traveling to, or from, locations outside, and within, the United States, .
Ttravelers will follow any requirements in the Electronic Foreign Clearance Guide pertaining to
entry, movement, or operations into a HN. Travelers will also refer and adhere to local updates
in HN for travel and movement within the HN.

      For travel via military airlift (contracted or organic), Aerial Point of Embarkation
(APOE) health screening is mandatory. Travelers who have a medical issue identified
during screening or who refuse to be screened at the APOE may be denied travel.

        The waiver authority available to the Secretaries of the MILDEPs, heads of OSD
Components, Chief of the National Guard Bureau, and Commanders of the GCCs for
official travel is specified in section 7.4. Travel that is limited to transit between, and through,
foreign countries contained wholly within a single GCC area of responsibility, and between GCC
areas of responsibility, is not subject to this memorandum and will be managed by each relevant
GCC or GCCs as appropriate.


21. Section 7.2 is rescinded.


22. Section 7.3 is rescinded and replaced with the following:

7.2. ROM REQUIREMENTS

        ROM after arrival at the travel destination may or may not be required by
the HN. Travelers should consult the Electronic Foreign Clearance Guide
(https://www.fcg.pentagon.mil/fcg.cfm) and check with the MILDEPs and GCCs for
current information.


23. Section 7.4 is rescinded.


24. Section 7.5 is rescinded and replaced with the following:

7.3. OFFICIAL TRAVEL FROM THE UNITED STATES TO A FOREIGN COUNTRY.

   1. Service Members and DoD civilian employees:

       Service members and DoD civilian employees must follow all requirements imposed
by the GCC with responsibility over the destination geographic area, including all
applicable HN procedures as a means to respect HN law, and all requirements of the
Electronic Foreign Clearance Guide.

   2. DoD family members:




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        Service members must attest that, to the best of their knowledge, their family
members have followed the same requirements as those set forth for Service members in
this guidance. Failure to do so may result in delay or cancellation of previously authorized
travel. This attestation requirement will be incorporated into travel orders issued to
Service members.

   3. DoD contractor personnel

       DoD contracting officers will ensure that all contracts that include performance
outside the United States require DoD contractor personnel to comply with the country
entry requirements of the respective GCC.


25. Section 7.6 is re-numbered as section 7.4.


26. Section 7.7 is rescinded.


27. Section 9 is amended as follows:

Close contact. Close contact is defined as someone who was within 6 feet of a person who
has contracted COVID-19 for a cumulative total of 15 minutes or more over a 24-hour
period starting from 2 days before illness onset (or, for asymptomatic patients, 2 days prior
to test specimen collection) until the time the patient is isolated and irrespective of whether
the person with COVID-19 or the contact of such a person was wearing a face covering or
mask or respiratory personal protective equipment.

Exposed. Persons are considered to be exposed to COVID-19 if they were less than 6 feet
away from an infected person (laboratory-confirmed or a clinical diagnosis) for a total of
15 minutes or more over a 24-hour period, unless both parties were wearing masks or
respirators. Individuals and supervisors may also assign the “exposed” classification below
the thresholds above based on the following additional criteria:

   •   Cough or heavy breathing: Was the infected person coughing, singing, shouting, or
       breathing heavily? Activities like coughing, singing, shouting and breathing heavily
       due to exertion increase the risk of transmission.
   •   Symptoms: Did the infected person have symptoms at the time? Being around
       people who are symptomatic increases the risk of transmission.
   •   Ventilation and filtration: How well-ventilated was the space? Risk of transmission
       is increased in poorly ventilated vehicles or rooms.
   •   Physical Distance: Crowded settings can raise the likelihood of being close to
       someone with COVID-19. Keep in mind that while maintaining a distance beyond 6
       feet of an infected person will limit exposures from larger droplets, exposures can
       occur beyond 50 feet based on ventilation, masking, and other factors.



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               ***

Fully vaccinated.

       An individual is considered “fully vaccinated” when at least 2 weeks have elapsed after a
second dose of a two-dose COVID-19 vaccine series (e.g., PfizerBioNTech/Comirnaty, or
Moderna/Spikevax, or Novavax vaccines), or 2 weeks after receiving a single dose of a one-dose
COVID-19 vaccine (e.g., Johnson & Johnson’s Janssen vaccine) that are: (1) fully licensed
(approved) or authorized or approved by the FDA; or (2) listed for emergency use on the
World Health Organization Emergency Use Listing (e.g., AstraZeneca/Oxford); or (3) approved
for use in a clinical vaccine trial for which vaccine efficacy has been independently
confirmed (e.g., Novavax).

       An individual is “not fully vaccinated” if the individual either has not completed the full
COVID-19 vaccination primary dose series; or declines to provide his or her COVID-19
vaccination status and declines to provide any requested proof of that status.

                 ***
Mask. Acceptable masks high-quality are non-medical disposable masks; masks made with
layered breathable fabric (such as cotton); masks made with tightly woven fabric that does not
let light pass through when held up to a light source; masks with two or three layers; masks with
inner filter pockets, or, on a voluntary basis in non-medical settings, an N95-type filtering face
piece. A good practice is to wear a disposable mask underneath a cloth mask for added
protection as long as this does not interfere with breathing. Novelty or non-protective masks,
masks with ventilation valves, bandanas, and face shields are not authorized as a substitute for
masks. Masks must fit snugly around the nose and chin with no large gaps around the sides
of the face.Masks must be well fitting and worn correctly and consistently (around the nose
and chin).

Physically distance. Maintain separation between individuals and prevent crowding in
areas.

               ***

Up-to-Date. A person has received all recommended COVID-19 vaccines, including any
booster dose(s) recommended when eligible. Booster doses are recommended, but are not
required.




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                Exhibit 6




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    Consolidated Department of Defense Coronavirus Disease 2019
                 Force Health Protection Guidance
        This guidance issued by the Under Secretary of Defense for Personnel and Readiness
(USD(P&R)) presents a uniform and consolidated DoD policy for the Department’s response to
the coronavirus disease 2019 (COVID-19) pandemic and serves as the DoD COVID-19
Workplace Safety Plan.1 Implementation of this guidance will comply with: 1) applicable
court orders, Presidential directives, and Office of Management and Budget (OMB) and
Safer Federal Workforce Task Force guidance; and 2) applicable labor obligations to the
extent such obligations do not hinder the DoD Components’ ability to carry out their missions
during this public health emergency. Prior delegations and exceptions made pursuant to the
rescinded references remain valid unless rescinded by the authorizing official. Individual
sections of this guidance will be updated as necessary by the USD(P&R). Commanders and
supervisors may implement additional, more stringent requirements with respect to
masking and physical distancing, as appropriate, to mitigate risk.

        This guidance will be posted, and updated as necessary, at:
https://www.defense.gov/Explore/Spotlight/Coronavirus/Latest-DOD-Guidance/. DoD
Components should monitor this website to obtain the most current version of this guidance.
Changes from the previous version will be identified in bold and italics.

       Furthermore, this guidance consolidates, incorporates, and rescinds the following policy
and guidance:

           •   Secretary of Defense Memorandum, “Guidance for Commanders’ Risk-Based
               Responses and Implementation of the Health Protection Condition Framework
               During the Coronavirus Disease 2019 Pandemic,” April 29, 2021
           •   Secretary of Defense Memorandum, “Use of Masks and Other Public Health
               Measures,” February 4, 2021
           •   Secretary of Defense Memorandum, “Updated Conditions-based Approach to
               Coronavirus Disease 2019 Personnel Movement and Travel Restrictions.”
               March 15, 2021
           •   Secretary of Defense Memorandum, “Way Forward for SARS-CoV-2 Testing Within
               the Department of Defense,” April 29, 2021
           •   Deputy Secretary of Defense Memorandum, “Updated Coronavirus Disease 2019
               Guidance Related to Travel and Meetings,” September 24, 2021
           •   Deputy Secretary of Defense Memorandum, “Mandatory Coronavirus Disease 2019
               Vaccination of DoD Civilian Employees,” October 1, 2021
           •   Under Secretary of Defense Memorandum, “Administrative Leave for Coronavirus
               Disease 2019 Vaccination of Department of Defense Employees,” April 14, 2021
           •   Under Secretary of Defense Memorandum, “Force Health Protection Guidance for
               the Novel Coronavirus,” January 30, 2020, and all supplements.


1
    Executive Order (EO) 13991, “Protecting the Federal Workforce and Requiring Mask-Wearing,” January 20, 2021.


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        •    Under Secretary of Defense Memorandum, “Civilian Personnel Guidance for DoD
             Components in Responding to Coronavirus Disease 2019,” March 8, 2020
        •    Under Secretary of Defense Memorandum, “Updated Guidance for Mask and
             Screening Testing for all Department of Defense Installations and Other Facilities,”
             March 1, 2022
        •    Assistant Secretary of Defense for Readiness Memorandum, “Continued
             Implementation of the Occupational Safety and Health Administration
             Emergency Temporary Standard for Healthcare during the Coronavirus Disease
             2019 Pandemic,” August 19, 2022.

Note: The Deputy Secretary of Defense approved the rescission of listed Deputy Secretary of Defense and Secretary
of Defense memoranda and consolidation of these references into this guidance in Deputy Secretary of Defense
Memorandum, “Updated Coronavirus Disease 2019 Guidance Related to Travel and Meetings,” September 24, 2021.
This September 24, 2021 memorandum authorized the USD(P&R) to rescind memoranda issued by the Secretary of
Defense or the Deputy Secretary of Defense for purposes of updating and consolidating force health protection
guidance on travel, meetings, or any other COVID-19 personnel- or health-related matter.




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                                  Section                                  Recent Revision

 Preamble                                                                 January 30, 2023
 Executive Summary                                                        January 30, 2023
 Section 1 – Health Protection Condition (HPCON) Framework
    1.1. HPCON Framework.                                                 August 29, 2022
    1.2. Authority to Determine HPCON Levels.                             August 8, 2022
    1.3. Criteria for Changing HPCON Levels.                              January 30, 2023
    1.4. Telework.                                                        January 30, 2023
 Section 2 – Vaccination
    2.1. Vaccination – General.                                           January 30, 2023
 Section 3 – Conducting Testing for Suspected COVID-19 Cases and
 General Eligibility for DoD-Conducted Testing
    3.1. Vaccination and Testing Requirements.                            April 4, 2022
    3.2. DoD Laboratories and Tests.                                      August 8, 2022
    3.3. Eligibility for DoD Personnel, Other Beneficiaries, and Other
                                                                          January 30, 2023
         Populations for Testing.
 Section 4 – Surveillance and Screening Testing
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    4.2. Health Surveillance Activities.                                  January 30, 2023
    4.3. Methods for Operational Risk Reduction.                          January 30, 2023
    4.4. COVID-19 Contact Tracing.                                        January 30, 2023
 Section 5 – Protecting Personnel
    5.1. General Measures for Personnel.                                  January 30, 2023
    5.2. [Reserved].                                                      January 30, 2023
    5.3. Masks.                                                           January 30, 2023
    5.4. Case Management and Restricting Workplace Access – Service
                                                                          January 30, 2023
         Members.
    5.5. Restricting Workplace Access – Personnel Other Than Service
                                                                          January 30, 2023
         Members.
    5.6. Restricting Workplace Access – State and Local Restrictions.     April 4, 2022
    5.7. Issuance of Medical Personal Protective Equipment.               April 4, 2022



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    5.8. Cleaning and Disinfecting.                                       April 4, 2022
    5.9. Heating, Ventilation, and Air Conditioning (HVAC).               January 30, 2023
    5.10. OSHA-Required Illness Recordkeeping                             January 30, 2023
    5.11. Safety Audits, Inspections, and Training.                       April 4, 2022
    5.12. Maintenance.                                                    January 30, 2023
 Section 6 – Meetings                                                     January 30, 2023
 Section 7 – Travel
    7.1. General Travel Guidance.                                         January 30, 2023
    7.2. ROM Requirements.                                                January 30, 2023
    7.3. Official Travel from the United States to a Foreign Country.     January 30, 2023
    7.4. Additional Guidance for Reserve and National Guard Personnel. April 4, 2022
 Section 8 – Protection of Personally Identifiable Information Related
 to COVID-19
    8.1. General.                                                         April 4, 2022
    8.2. Additional Requirements for Information Collected from DoD
                                                                          April 4, 2022
         Civilian Employees.
 Section 9 – Definitions                                                  January 30, 2023




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                                     EXECUTIVE SUMMARY
        The DoD is committed to providing safe working environments across the entire DoD
enterprise, which consists of an approximately 2.9 million-person global workforce deployed or
stationed in nearly 150 countries, including military Service members and their families, and
DoD civilian and contractor personnel that work in a highly complex and large number of
diverse and unique environments. This force health protection (FHP) Guidance (“Guidance”)
was developed to protect the DoD workforce, which consists of Service members, DoD
civilian employees, contractor personnel, other occupants, and visitors (collectively referred to
as “personnel”) before, during, and after our orderly and final return to the physical workplace
(“final reentry”). The Guidance is intended to meet the direction of the President’s EOs2 and
guidance from the Safer Federal Workforce Task Force (“Task Force”) and OMBthe Office of
Management and Budget,3, 4 and articulate steps the DoD has been and will be taking to halt
the spread of COVID-19. To ensure consistent application throughout DoD, if the EOs and
guidance change, DoD Components will wait for DoD to update this consolidated guidance
before implementing any changes.

        Consistent with Task Force and OMB guidance, this Guidance includes policies and
procedures that incorporate the best available data and science-based measures and activities that
focus on health and safety and on workplace operations. DoD uses the latest guidance from the
Centers for Disease Control and Prevention (CDC), and requirements from the Occupational
Safety and Health Administration (OSHA) and other relevant Federal agencies as the starting
point for developing COVID-19 policy and guidance.

       The Department began publishing FHP guidance and policy to address COVID-19 in
January 2020. In February 2021, the Secretary of Defense directed the review of all guidance
and policy memoranda previously issued for COVID-19.5 The review was completed in April
2021, and subsequent updates align DoD COVID-19 policy and guidance with current Task
Force, OMB, CDC, and OSHA guidance as appropriate.

        The DoD COVID-19 Task Force is responsible for recommending updated DoD COVID-
19 policy. The Deputy Secretary of Defense and the Vice Chairman of the Joint Chiefs of Staff
co-chair the DoD COVID-19 Task Force which assembles as needed for meetings virtually and
in person and includes representatives from senior leadership across the Department, including
the Secretaries of the Military Departments (MILDEPs), Under Secretaries of Defense, and
Combatant Commanders.


2
  EO 14042, “Executive Order on Ensuring Adequate COVID Safety Protocols for Federal Contractors,”
September 9, 2021; EO 14043, “Executive Order on Requiring Coronavirus Disease 2019 Vaccination for Federal
Employees,” September 9, 2021.
3
  Documents from the Safer Federal Workforce Task Force are available at:
https://www.saferfederalworkforce.gov/overview/.
4
  Office of Management and Budget Memorandum, Office of Personnel Management, and General Services
Administration, M-21-25, “Integrating Planning for A Safe Increased Return of Federal Employees and Contractors
to Physical Workplaces with Post-Reentry Personnel Policies and Work Environment,” June 10, 2021
5
  Secretary of Defense Memorandum, “Strategic Review and Reissuance of All Coronavirus Disease 2019 Policy
Documents,” February 2, 2021.


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        DoD has long recognized the threat posed by pandemics and disease outbreaks and has
previously issued guidance, planning, and policy documents to prepare for and respond to such
threats. The DoD also recognizes that successfully managing the COVID-19 pandemic requires
the flexibility to adapt to changing conditions (e.g., variants, and disease prevalence or virulence)
and new information (e.g., evolving best health and safety practices). DoD continues to
promote the importance of taking vaccines and boosters to protect our people against the
adverse impacts of COVID-19. The Department also recognizes that wearing high-quality
masks, testing, and improved ventilation are other factors to reduce COVID-19 exposure
risks.

        The DoD is committed to protecting its workforce and stakeholders from the effects of
the COVID-19 pandemic, while preserving our ability to complete its mission. As data becomes
available, science-based evidence emerges, and the CDC, OSHA, and other cognizant agencies,
departments, and other elements of the Federal Government revise and develop new
recommendations to protect the workforce, the DoD will incorporate them into its current and
future policies and guidance as appropriate.




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          SECTION 1: HEALTH PROTECTION CONDITION (HPCON)
                            FRAMEWORK

1.1. HPCON FRAMEWORK.

        Installations6 will manage COVID-19 health protection using HPCON levels. HPCON 0
is the base level for the HPCON Framework and represents a return to normal operations.

        Table 1, below, contains FHP activities installation commanders will undertake at each
HPCON level, in addition to those required elsewhere in this guidance. Installation commanders
may deem it necessary to take additional precautions for select personnel and medically
vulnerable populations (e.g., those who are elderly, have underlying health conditions or
respiratory diseases, or are immunocompromised) and are both encouraged and authorized to do
so. Installation commanders may further impose additional requirements appropriate for a
particular local setting, operational requirement, and/or based on transmission risk regardless of
HPCON level.


1.2. AUTHORITY TO DETERMINE HPCON LEVELS.

        The authority to determine HPCON levels (“HPCON implementation”), subject to the
requirements in section 1.1, is delegated to the Secretaries of the MILDEPs and Geographic
Combatant Commanders and may be further delegated in writing to a level no lower than
installation commanders in the grade of O-6 or higher. The Director of Administration and
Management (DA&M) has HPCON implementation authority for the Pentagon Reservation,
subject to the requirements in section 1.1. The Defense Logistics Agency (DLA) has HPCON
implementation authority for four locations.7

       Geographic Combatant Commanders have authority to determine HPCON
implementation policy in accordance with operational requirements, and to match relevant Host
Nation (HN) and allied forces standards, as applicable. Installation commanders outside the
United States have unique geographic constraints and operational considerations for FHP. U.S.
personnel should respect relevant HN and allied forces standards, as applicable, and should
consult with relevant HN authorities, including public health and medical authorities, when
deciding to change HPCON levels.



6
  For the purposes of this guidance, a military installation is a base, camp, post, station, yard, center, homeport
facility for any ship, or other activity under the jurisdiction of the Secretary of a Military Department or the
Secretary of Defense, including any leased facility, which is located within any State, the District of Columbia, the
Commonwealth of Puerto Rico, American Samoa, the Virgin Islands, the Commonwealth of the Northern Mariana
Islands, or Guam. In the case of an activity in a foreign country, a military installation is any area under the
operational control of the Secretary of a Military Department or the Secretary of Defense, without regard to the
duration of operational control.
7
  DLA Land & Maritime (Columbus, OH), DLA Distribution HQ (New Cumberland, PA), DLA Aviation
(Richmond, VA), and DLA Distribution (San Joaquin, CA).


                                                          8
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1.3. CRITERIA FOR CHANGING HPCON LEVELS.

        HPCON level determinations for COVID-19 are based on the CDC COVID-19
Community Levels reported by the CDC,8 which include screening levels that make use of new
case-rates and health and health care systems-related information. HPCON Levels A, B, and C
correspond directly to CDC COVID-19 Community Levels of low, medium, and high
community transmission, respectively.9,10

       Installation commanders must change the HPCON level no later than 2 weeks after the
CDC COVID-19 Community Level has been elevated, unless the installation commander
documents, in writing, a compelling rationale to maintain the current HPCON level after
coordination with the installation Public Health Emergency Officer.

        Installations outside the United States should utilize local community-level data, if
available, in setting HPCON levels. Otherwise, installation commanders should consider
consulting country-level data for their HN and case-rate information available from the CDC at:
https://covid.cdc.gov/covid-data-tracker/#global-counts-rates and the World Health Organization
at https://covid19.who.int/. Other sources of data on which installation commanders may rely
include academic institutions if such HN data is inaccessible.11

       Elevation to HPCON D should be based on the determination that there is substantial loss
of medical capabilities in the local community. The factors listed in Table 1, below, must be
considered when determining whether to move to or from HPCON D.




8
  An overview of the CDC COVID-19 Community Levels is available at: https://www.cdc.gov/coronavirus/2019-
ncov/science/community-levels.html.
9
  County Community Levels are available for U.S. States and territories is available at:
https://www.cdc.gov/coronavirus/2019-ncov/science/community-levels.html. Find community levels by “State or
Territory” and then by “County or Metro Area.” Jurisdictions which are not counties, such as the District of
Columbia, also are listed under “County or Metro Area.” The Pentagon is in Arlington County, Virginia.
10
   The CDC COVID-19 Community Levels do not apply in healthcare settings, such as hospitals and
retirement homes. Instead, healthcare settings should continue to use community transmission rates and
continue to follow CDC’s infection prevention and control recommendations for healthcare settings, as long
as they are more restrictive than FHP guidance.
11
   Note: local areas within a country may experience very different COVID-19 case rates than country-specific data.


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                                                                                                           App. 043
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 TABLE 1: Force Health Protection Measures by HPCON Level for the COVID-19 Pandemic
  HPCON D High COVID-19 Community Level* Risk, Utilize measures from HPCON A, B and C
   Severe    with degraded availability of medical       with the following modifications:
             countermeasures, and substantial loss of        a. Less than 25 percent of normal
             medical capability                                 occupancy in the workplace, or the
                                                                minimum required on-site for essential
             High COVID-19 Community Level* in                  operations that must be conducted in
             the county in which the installation is            person.
             located.                                        a. Strongly consider declaring a local Public
                                                                 Health Emergency.
             AND any of the following                        b. Consider limiting visitor access to the
                                                                installation to only those required for
             Civilian healthcare capability and                 mission essential activities.
             utilization (percent and trend) :  *
                                                             c. Cancel non-mission-essential activities.
             >50 percent staffed of hospital beds filled     d. Close non-essential services (e.g., fitness
             with individuals who have COVID-19 as              centers, leisure and recreational facilities,
             the primary admission criteria; or                 beauty/barber shops, non-essential retail,
             >70 percent of staffed intensive care unit         dine-in eating establishments).
             (ICU) beds filled with individuals who have     e. Consider potential delay or cancelation of
             COVID-19 as the primary admission                  exercises.
             criteria; or                                    f. Schools operated by Department of
             Overall staffed hospitals and ICUs have            Defense Education Activity (DoDEA)
             limited to no capacity.                            will operate remotely.
             OR                                              g. Restrict or suspend social gatherings to
                                                                the greatest extent possible.
             Military Health System (MHS) health             h. Follow any other applicable force health
             care capability and utilization (percent           protection guidance at:
             and trend):                                        https://www.defense.gov/Spotlights/Coro
             Degradation of MHS capabilities requiring          navirus-DOD-Response/Latest-DOD-
             Crisis Status operations; and >95 percent          Guidance/.12
             staffed bed occupancy; or
             >50 percent military medical treatment
             facility (MTF) staff in isolation or
             quarantine or unvaccinated; or
             >60 percent staff absent who provide urgent
             or emergent care; and
             Local emergency departments on divert or
             inability of civilian health care to absorb
             excess MHS patients; or
             Clinical or appointment capability reduced
             >60 percent in key departments.
             OR

                     Other factors:
                     Loss of vaccine effectiveness in available
                     vaccines resulting in vaccinated individuals
                     routinely experiencing severe disease,
                     hospitalization or death; or


12
     For information about masking and screening testing at the various HPCON levels, refer to sections 2.1 and 5.3.


                                                          10
                                                                                                            App. 044
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            Elevated case levels resulting in significant
            curtailment of essential services either on
            installation or in civilian communities
            immediately adjacent to the installation
            (e.g., emergency response, security, facility
            maintenance, and energy/communication).

            *CDC COVID-19 Community Level (by
            county) can be found at:
            https://www.cdc.gov/coronavirus/2019-
            ncov/your-health/covid-by-county.html

 HPCON C    High COVID-19 Community Level* Risk             Utilize measures from HPCON A and B with
   High                                                     the following modifications:
            High COVID-19 Community Level* in                   a. Less than 50 percent of normal
            the county in which the installation is                occupancy in the workplace.
            located.                                            b. Consider limiting visitor access to the
                                                                   installation for non-essential mission-
            *CDC COVID-19 Community Level (by                      related/operational activities.
            county) Civilian county level data can be           c. Limit social gatherings to less than 50
            found at:                                              percent facility/room occupancy.
            https://www.cdc.gov/coronavirus/2019-               a. MTFs may limit elective surgeries in
            ncov/your-health/covid-by-county.htm.                  accordance with guidance from the
                                                                   Defense Health Agency and the Assistant
                                                                   Secretary of Defense for Health Affairs.
                                                                b. Consider re-scoping, modifying, or
                                                                   potentially canceling exercises.
                                                                c. Indoor common areas and large venues
                                                                   may be closed. Dining establishments
                                                                   may be limited to takeout.
                                                                d. Gyms may be closed at this level or
                                                                   operate at diminished occupancy.
                                                                e. Maximize telework to the greatest extent
                                                                   practical.
                                                                f. Follow any other applicable force health
                                                                   protection guidance at:
                                                                   https://www.defense.gov/Spotlights/Coro
                                                                   navirus-DOD-Response/Latest-DOD-
                                                                   Guidance/.

 HPCON B    Medium COVID-19 Community level*                Utilize measures from HPCON A with the
 Moderate   Risk                                            following modifications:
                                                                a. Less than 80 percent of normal
            Medium COVID-19 Community Level*                        occupancy in the workplace.
            in the county in which the installation is          a. Reduce potential workplace SARS-CoV-
            located.                                               2 exposures through telework, remote
                                                                   work, flexible scheduling, and other
                                                                   methods, as appropriate. Permit liberal
                                                                   telework where possible, especially for



                                               11
                                                                                             App. 045
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                    *CDC COVID-19 Community Level (by              individuals who self-identify as
                    county) Civilian county level data can be      immunocompromised or being at high
                    found at:                                      risk for severe disease.
                    https://www.cdc.gov/coronavirus/2019-       b. Consider limiting occupancy of common
                    ncov/your-health/covid-by-county.htm.          areas where personnel are likely to
                                                                   congregate and interact by marking
                                                                   approved sitting areas or removing
                                                                   furniture to maintain physical distancing.
                                                                c. Each installation and DoD facility will
                                                                   post signage at building entrances and in
                                                                   common areas of DoD owned and
                                                                   controlled facilities and post information
                                                                   on websites as appropriate encouraging
                                                                   individuals, regardless of vaccination
                                                                   status, to consider avoiding crowding,
                                                                   and physically distancing themselves
                                                                   from others in indoor common, areas,
                                                                   meeting rooms, and high-risk settings.
                                                                d. Follow any other applicable Force Health
                                                                   Protection Guidance at:
                                                                   https://www.defense.gov/Spotlights/Coron
                                                                   avirus-DOD-Response/Latest-DOD-
                                                                   Guidance/.

     HPCON A        Low COVID-19 Community Level* Risk          a. Less than 100 percent of normal
       Low                                                         occupancy in the workplace, with
                    Low COVID-19 Community Level* in the           telework as appropriate.
                    county in which the installation is         a. Communicate to personnel how and when
                    located.                                        to report illness and seek care for
                                                                    potential influenza-like illness.
                    *CDC COVID-19 Community Level (by           b. Common areas and large venues (e.g., sit-
                    county) Civilian county level data can be      down dining, movie theaters, gyms,
                    found at:                                      sporting venues, and commissaries)
                    https://www.cdc.gov/coronavirus/2019-          should adhere to established cleaning and
                    ncov/your-health/covid-by-county.htm.          sanitation protocols
                                                                c. DoDEA schools will operate following
                                                                   CDC recommendations and guidelines
                                                                   specific to schools as implemented in
                                                                   operational procedures and guidance from
                                                                   the Director, DoDEA.13 Children are not
                                                                   required to mask. Any DoD guidance
                                                                   that is more stringent than CDC guidance
                                                                   must be followed.
                                                                d. Follow any other applicable Force Health
                                                                   Protection Guidance at:
                                                                   https://www.defense.gov/Spotlights/Coro
                                                                   navirus-DOD-Response/Latest-DOD-
                                                                   Guidance/.


13
     https://www.dodea.edu/covid-operations.cfm.


                                                    12
                                                                                              App. 046
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 HPCON 0    Normal Baseline
                                                   a. Resume routine standard operations.
                                                   b. Maintain standard precautions such as
                                                      routine hand washing, cough on sleeve,
                                                      good diet, exercise, vaccinations,
                                                      education, routine health alerts, and
                                                      regular preparedness activities.




                                     13
                                                                                App. 047
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1.4. TELEWORK WORKPLACE OCCUPANCY LEVELS WITHIN HPCON
FRAMEWORK.

       Workplace occupancy limits for each HPCON level are included as measures in
Table 1. The workplace occupancy levels in Table 1 are ceilings, not goals. Reduced
workplace occupancy may be achieved through telework, remote work, flexible scheduling,
and other methods, as appropriate.

        At HPCON A or higher, or when a DoD civilian employee is required to remain out
of the workplace under section 5.5, DoD Components are granted an exception to policy from
Enclosure 3, Paragraph 3.j.(2) of Department of Defense Instruction 1035.01, “Telework
Policy,” and may allow DoD civilian employees to telework with a child or other person
requiring care or supervision present at home. DoD civilian employees must still account for
work and non-work hours during their tour of duty and take appropriate leave (paid or
unpaid) to account for time spent away from normal work-related duties to care for a child
or other person requiring care or supervision.

        DoD Component heads have the authority to grant exemptions for workplace
occupancy limits that are required for national security and the success of critical missions.
DoD Component heads, other than the Secretaries of the MILDEPs, may delegate this
workplace occupancy limit authority in writing to a level no lower than a general/flag
officer or Senior Executive Service (SES) member (or equivalent). Secretaries of the
MILDEPs may delegate workplace occupancy limit exemption authority in writing to a
level no lower than an O-6 installation commander. The DA&M has workplace occupancy
limit exemption authority for all DoD Components located on the Pentagon Reservation
and other facilities within the National Capital Region managed by Washington
Headquarters Services. This authority may be delegated at the discretion of the DA&M.
DLA has workplace occupancy limit exemption authority for four locations.14 When
considering a workplace occupancy limit exemption, those with exemption authority must
take into account the ability to maintain distance between personnel and other public
health and workplace safety measures contained in this Guidance.

       A record of all workplace occupancy limit exemptions will be retained by the
exemption authority for the duration of the pandemic and until returning to HPCON 0 and
provided for awareness to the public health office concerned and to the installation
commander, if different from the exemption authority. FHP measures and other
appropriate mitigation measures shall be used rigorously in all areas and especially in
areas for which an occupancy exemption has been grant.




 DLA Land & Maritime (Columbus, OH), DLA Distribution HQ (New Cumberland, PA), DLA Aviation
14

(Richmond, VA), and DLA Distribution (San Joaquin, CA).


                                              14
                                                                                        App. 048
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SECTION 2: VACCINATION VERIFICATION AND MEASURES BASED ON
                   VACCINATION STATUS

2.1. VACCINATION – GENERAL AND TESTING REQUIREMENTS.

Leaders at all levels should encourage Service members, DoD civilian employees, DoD
contractor personnel, and others affiliated with DoD to be up to date on their COVID-19
vaccinations.

   1. Service members:

        Service members (members of the Armed Forces under DoD authority on active duty or
in the Selected Reserve, including members of the National Guard) are strongly encourgaged
required to be fully vaccinated against up to date with COVID-19 vaccination, including
booster doses subject to any identified contraindications, any administrative or other
exemptions established in DoD policy, and any applicable court orders.

        To ensure an accurate medical record, Service members’ vaccination status will be
validated maintained utilizing their Military Service-specific Individual Medical Readiness
(IMR) system. If a Service member has been vaccinated against COVID-19 outside the military
health system, that Service member must show official proof provide documentation of his or
her COVID-19 vaccination status to update the IMR system.

        Once the applicable mandatory vaccination date has passed, COVID-19 screening
testing is required at least weekly for Service members who are not fully vaccinated,
including those who have an exemption request under review or who are exempted from
COVID-19 vaccination and are entering a DoD facility located in a county or equivalent
jurisdiction where the CDC COVID-19 Community Level is high or medium. Service
members who are not on active duty and who also are DoD civilian employees or DoD
contractor personnel must follow the applicable requirements in section 2.3 for DoD
civilian employees or in section 2.4 for DoD contractor personnel.

   2. DoD civilian employees:

  Currently, the requirement for all Federal civilian employees to be vaccinated is not in effect. A U.S.
  district court judge issued a nationwide preliminary injunction prohibiting implementation and
  enforcement of civilian employee vaccination requirements based on EO 14043. Requirements subject
  to the injunction and not currently in effect are included in this guidance in a strikeout form for ease of
  reinstitution by USD(P&R) should the injunction be lifted.


       At least weekly COVID-19 testing is required for those DoD civilian employees who
are not fully vaccinated when the CDC COVID-19 Community Level is high or medium in
the county or equivalent jurisdiction where the DoD facility is located. DoD civilian



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employees who are not fully vaccinated and who telework or work remotely on a full-time
basis are not subject to weekly testing, but must provide a negative result (from a test
performed within the prior 72 hours) for entry into a DoD facility located in the county
where the COVID-19 Community Level is high or medium.

        To ensure the safety of the DoD workforce,15 DoD civilian employees are required to be
fully vaccinated, unless they have received a temporary or permanent exemption. “DoD civilian
employee” includes foreign nationals employed by DoD outside the United States, to the
maximum extent possible while respecting host nation agreement and laws. It also includes DoD
civilian employees who are engaged in full-time telework or remote work.

        If they have not already done so, supervisors of DoD civilian employees must ask
DoD civilian employees whether they are fully vaccinated. Employees who indicate they
are fully vaccinated must provide proof of that vaccination status to their supervisors.
Acceptable proof includes:

        a. A copy of the COVID-19 Vaccination Record Card (CDC Form MLS-319813_r,
           published on September 3, 2020);
        b. A copy of medical records documenting the vaccination;
        c. A copy of immunization records from a public health or State immunization
           information system; or
        d. A copy of any other official documentation containing the data points required
           to be verified by the supervisor.

        When necessary for implementing FHP measures related to workplace access in
section 5.5, supervisors of DoD civilian employees may ask DoD civilian employees whether
they are up to date with COVID-19 vaccinations. If there is a supervisory concern about
the accuracy of the DoD civilian employee’s response, DoD civilian employees are required
to provide proof of up-to-date vaccination status. Supervisors must not inquire about
disabilities when asking DoD civilian employees about up-to-date vaccination status.

        DoD requires that individuals who started their Government service after November 22,
2021, be fully vaccinated prior to their start date, except in limited circumstances where an
accommodation is legally required. However, should DoD have an urgent, mission-critical
hiring need to onboard new staff prior to those new staff becoming fully vaccinated, the DoD
head may delay the vaccination requirement—in the case of such limited delays, DoD will
require new hires to be fully vaccinated within 60 days of their start date and to follow safety
protocols for not fully vaccinated individuals until they are fully vaccinated.

       DoD civilian employees are eligible to receive the COVID-19 vaccine at any DoD
vaccination site, including military medical treatment facilities. They may also opt to receive the
COVID-19 vaccine at locations other than DoD vaccination sites, such as retail stores, private
medical practices, and/or local and State public health department sites.


 Executive Order 14043, “Requiring Coronavirus Disease 2019 Vaccination for Federal Employees,” September 9,
15

2021.


                                                     16
                                                                                                     App. 050
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        DoD civilian employees are authorized administrative leave to receive COVID-19
vaccination doses. DoD civilian employees are authorized official duty time to receive COVID-
19 vaccination doses, including first, second, and booster shots. For DoD civilian employees
who are unable to receive a COVID-19 vaccination within their duty hours, regular overtime
rules are applicable. In most circumstances, DoD authorizes employees to take up to 4 hours to
travel to the vaccination site, complete any vaccination dose, and return to work—for example,
up to 8 hours of duty time for employees receiving two doses (If an employee needs to spend less
time getting the vaccine, only the needed amount of duty time should be granted). Employees
taking longer than 4 hours must document the reasons for the additional time (e.g., they may
need to travel long distances to get the vaccine). Reasonable transportation costs that are
incurred as a result of obtaining the vaccine from a site preapproved by DoD are handled the
same way as local travel or temporary duty cost reimbursement is handled based on DoD policy.

        DoD civilian employees who experience an adverse reaction to a COVID-19 vaccination
should be granted no more than 2 workdays of administrative leave for recovery associated with
a single COVID-19 vaccination dose.

        DoD will grant leave-eligible employees up to 4 hours of administrative leave per dose to
accompany a family member who is receiving any COVID-19 vaccination dose. For example,
up to a total of 12 hours of leave for a family member receiving three doses—for each family
member the employee accompanies. If an employee needs to spend less time accompanying a
family member who is receiving the COVID-19 vaccine, DoD will grant only the needed amount
of administrative leave. Employees should obtain advance approval from their supervisor before
being permitted to use administrative leave for COVID-19 vaccination purposes. Employees are
not credited with administrative leave or overtime work for time spent outside their tour of duty
helping a family member get vaccinated.

        DoD civilian employees should use the time and attendance code for “physical fitness” to
record administrative leave for COVID-19 vaccination recovery time that prevents the employee
from working or for taking a family member to be vaccinated for COVID-19) The type hour
code is “LN” and the environmental/hazard/other code is “PF.” Non-appropriated fund
employers should code administrative leave related to COVID-19 in a way that can be easily
reported.

     3. DoD contractor personnel:

       Vaccination requirements for DoD contractor personnel are outlined in several
references.16 In implementing EO 14042, the DoD will comply with all relevant court
orders.




 Safer Federal Workforce Task Force, “COVID-19 Workplace Safety: Guidance for Federal Contractors
16

and Subcontractors,” September 24, 2021; Principal Director for Defense Pricing and Contracting
Memorandum, “Class Deviation 2021-O0009-Ensuring Adequate COVID-l9 Safety Protocols for Federal
Contractors,” October 1, 2021; EO 14042, “Ensuring Adequate COVID Safety Protocols for Federal
Contractors,” September 9, 2021.


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                                                                                             App. 051
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        Onsite DoD contractor personnel will complete the DD Form 3150, “Contractor
Personnel and Visitor Certification of Vaccination”;17 maintain a current completed copy;
and show it to authorized DoD personnel upon request when they work at a DoD facility
where the CDC COVID-19 Community Level is high or medium. Failure to complete the
DD Form 3150 may result in denying DoD contractor personnel access to the DoD facility
to which access is sought. Onsite DoD contractor personnel who are not fully vaccinated
against COVID-19, because they are not performing under a covered contract that
requires COVID-19 vaccination, due to a legally required accommodation, or who decline
to provide information about their COVID-19 vaccination status, will be subject to
COVID-19 screening testing at least weekly when the CDC COVID-19 Community Level
for the facility in which they work is high or medium. DoD contractor personnel who
refuse required COVID-19 screening testing will be denied access to DoD facilities.

        For purposes of the requirements regarding providing information about
vaccination status and screening testing, “contractor personnel” are those individuals
issued a credential by DoD that affords the individual recurring access to DoD facilities,
classified herein as “credentialed recurring access” (CRA) (e.g., Common Access
Cardholders) who are performing under a contractor or subcontract between their
employer and the DoD. “Contractor personnel” do not include employees of DoD
contractors or subcontractors receiving ad hoc access to DoD facilities (e.g., delivery
personnel, taxi services) or employees of DoD contractors or subcontractors who have
access to the grounds of, but not the buildings on, DoD installations (e.g., contract
groundskeepers, fuel delivery personnel, household goods transportation personnel).

       DoD Components should not take any steps to require contractors and
subcontractors to implement the vaccination requirement for contractor personnel in
Executive Order 14042, nor should they include in new solicitations or enforce in existing
contracts (or task orders or delivery orders) any clauses implementing EO 14042.

      4. Official visitors:

        “Official visitors” are non-DoD individuals seeking access, one time or recurring, in
association with the performance of official DoD business (such as to attend a meeting), but who
do not have “credentialed recurring access” (CRA) (e.g., Common Access Cardholders).
“Official visitors” do not include personnel receiving ad hoc access to DoD facilities (e.g.,
delivery personnel, taxi services); individuals who have access to the grounds of, but not the
buildings on, DoD installations (e.g., contract groundskeepers, fuel delivery personnel,
household goods transportation personnel); personnel accessing DoD buildings unrelated to the
performance of DoD business (e.g., residential housing); or personnel accessing DoD facilities
to receive a public benefit (e.g., commissary; exchange; public museum; air show; military
medical treatment facility; Morale, Welfare, and Recreation resources).

      Official visitors will complete DD Form 3150; maintain a current completed DD
Form 3150; and show it to authorized DoD personnel, upon request when they are visiting
a DoD facility where the CDC COVID-19 Community Level is high or medium. Failure to

17
     https://www.esd.whs.mil/Portals/54/Documents/DD/forms/dd/dd3150.pdf.


                                                    18
                                                                                              App. 052
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    complete the DD Form 3150 may result in denial of an official visitor’s access to the DoD
    facility to which access is sought. Service members not on active duty or active duty for
    training are also subject to the requirements in this paragraph.

            When visiting a DoD facility where the CDC COVID-19 Community Level is high
    or medium, official visitors who are not fully vaccinated against COVID-19, or who decline
    to provide information about their vaccination status, must show an electronic or paper
    copy of negative results from an FDA-authorized or approved COVID-19 test administered
    no earlier than 72 hours prior to their visit. If unable to show a negative COVID-19 test
    result, the official visitor may be provided onsite self-testing, if available, or will be denied
    access to the DoD facility (or facilities) to which access is sought. Service members who are
    not on active duty or on active duty for training at the time of their official visit are subject
    to the requirements in this paragraph.

            Official visitors will follow applicable DoD policies and procedures, as well as the
    policies and procedures of the Department or Agency they are visiting, if different from the
    DoD’s. See section 6, below, on Meetings, for how requirements apply to attendees of in-person
    in meetings, events, and conferences hosted by the DoD.

           All official visitors must comply with all applicable FHP guidance.


Currently, the requirement for all Federal civilian employees to be vaccinated is not in effect. A U.S.
district court judge issued a nationwide preliminary injunction prohibiting implementation and
enforcement of civilian employee vaccination requirements based on EO 14043. Requirements subject
to the injunction and not currently in effect are included in this guidance in a strikeout form for ease of
reinstitution by USD(P&R) should the injunction be lifted.



    2.2. ENFORCEMENT OF DOD CIVILIAN EMPLOYEE COVID-19 VACCINATION
    REQUIREMENT.

            a. DoD civilian employees who refuse to be vaccinated, or to provide proof of
    vaccination, are subject to disciplinary measures, up to and including removal from Federal
    service, unless the DoD civilian employee has received an exemption or the DoD civilian
    employee’s timely request for an exemption is pending a decision.

           b. Progressive enforcement actions include, but are not limited, to:

               (1) A 5 calendar-day period of counseling and education;
               (2) A short suspension without pay, generally 14 calendar days or less, with an
    appropriate notice period. SES members may only be suspended for more than 14 calendar days;
               (3) Removal from Federal service for failing to follow a direct order.

          c. During the notice periods preceding adverse employment actions, DoD civilian
    employees generally should not be placed on administrative leave. DoD Components should


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                                                                                                  App. 053
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require DoD civilian employees to continue to telework or report to the worksite and follow all
mitigation measures applicable to not fully vaccinated DoD civilian employees when reporting to
the worksite.

        d. DoD Components will designate officials, at the appropriate organizational level, to
handle the disciplinary process to promote consistent application of disciplinary measures. Such
officials will decide each case with due regard to the facts and circumstances of that case.

       e. Supervisors should contact their servicing human resources and legal offices to
discuss options available to address individual situations regarding enforcement of this
requirement.

        f. DoD Components are encouraged to identify an occupational health office, medical
office, or other resource with which a DoD civilian employee may consult during the period of
counseling and education.


2.3. EXEMPTIONS FROM DOD CIVILIAN EMPLOYEE COVID-19 VACCINATION
REQUIREMENT.

       a. DoD civilian employees may request an exemption on the basis of a medical
condition or circumstance or a sincerely held religious belief, practice or observance. Because
all DoD civilian employees must now be vaccinated against COVID-19 as a condition of
employment, exemptions will be granted in limited circumstances and only where legally
required. The information collected must be handled in accordance with the privacy
requirements in section 8.

       b. Personnel.

            (i) Decision Authority. Management official(s) will be designated to serve as
Decision Authorities to make decisions concerning requests for exemption from the COVID-19
vaccination requirement, in consultation with the organization's servicing legal office. Decision
Authorities will be at an appropriate level within the organization to consider the impact, if any,
that granting a request will have on the DoD Component operations and to promote similar cases
being handled in a consistent manner, with due regard for the facts and circumstances of each
case. Each employee’s request must be considered on its own merits.

           (ii) Subject Matter Experts. DoD Components may identify subject matter experts in
areas such as human resources (HR), equal employment opportunity (EEO), medicine, and
religious matters to serve as advisors to assist Decision Authorities. Such advisors may provide
individual advice, as needed by the Decision Authority, but may not be used to develop a group
or consensus recommendation or decision.

           (iii) Administrative Support. DoD Components will provide appropriate personnel
and other resources to administratively support the Decision Authorities, including support
necessary to assist the Decision Authorities with preparing written products.



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       c. Employee Notice. DoD Components will inform DoD civilian employees how to
make a request for an exemption. Requests needed to have been submitted no later than
November 8, 2021, absent extenuating circumstances, to be considered timely.

       d. Employee Requests. To make a request for exemption from the COVID-19
vaccination requirement, DoD civilian employees must submit a request to their direct
supervisor. For purposes of submitting this exemption request, “direct supervisor” includes an
authorized human resources official. The employee must provide an official statement which
describes the medical or religious reason the employee objects to vaccination against COVID-19.
Generally, such requests must be in writing. DoD civilian employees may use DD Form 3176 or
DD Form 3177 to submit their requests. DoD civilian employees who make oral requests may
be provided a sample written request format and/or be interviewed to develop the basis for the
request. While the use of the DD Form 3176 and DD Form 3177 is optional for DoD civilian
employees, when DoD civilian employees make a request, they must provide the following
information:

          (1) Medical Exemption Requests.

          •   A description of the medical condition or circumstance that is the basis for the
              request for a medical exemption from the COVID-19 vaccination requirement;
          •   An explanation of why the medical condition or circumstance prevents the
              employee from being safely vaccinated against COVID-19;
          •   If it is a temporary medical condition or circumstance, a statement concerning
              when it will no longer be a medical necessity to delay vaccination against
              COVID-19; and
          •   Any additional information, including medical documentation that addresses the
              employee’s particular medical condition or circumstance, which may be helpful in
              resolving the employee’s request for a medical exemption from the COVID-19
              vaccination requirement.

          (2) Religious.

          •   A description of the religious belief, practice, or observance that is the basis for
              the request for a religious exemption from the COVID-19 vaccination
              requirement;
          •   A description of when and how the DoD civilian employee came to hold the
              religious belief or observe the religious practice;
          •   A description of how the DoD civilian employee has demonstrated the religious
              belief or observed the religious practice in the past;
          •   An explanation of how the COVID-19 vaccine conflicts with the religious belief,
              practice, or observance;
          •   A statement concerning whether the DoD civilian employee has previously raised
              an objection to a vaccination, medical treatment, or medicine based on a religious
              belief or practice. If so, a description of the circumstances, timing, and resolution
              of the matter; and



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           •   Any additional information that may be helpful in resolving the DoD civilian
               employee’s request for a religious exemption from the COVID-19 vaccination
               requirement.

       e. Supervisor Responsibilities.

           (i) Following receipt of an employee’s request for exemption, supervisors must
update Section B of the employee’s DD Form 3175 to indicate that a request for exemption
determination is pending.

           (ii) As necessary, supervisors will engage with the employee to ensure completeness
of the employee’s exemption request.

            (iii) In coordination with human resources officials, supervisors will prepare an
exemption request package that contains factual information about the circumstances of the
employee’s request. A complete exemption request package will include the basis for the
employee’s request and any supporting documentation submitted by the employee, a description
of the nature of the employee’s job responsibilities and work environment, and any
circumstances relevant to a management-level assessment of the reasonably foreseeable effects
on the agency’s operations, including protecting the agency’s workforce and members of the
public with whom the employee interacts in the workplace from COVID-19, if the employee
remains unvaccinated.

           (iv) Supervisors will forward the exemption request package to the Decision
Authority Support Office.

       f. Decision Authority Support Office.

          (i) DoD Components will establish Decision Authority Support Offices to support
exemption request Decision Authorities.

           (ii) The Decision Authority Support Office will intake exemption request packages
and, under the supervision of the Decision Authority, provide administrative support to the
Decision Authority.

            (iii) At the request of the Decision Authority, the Decision Authority Support Office
may coordinate with subject matter experts to obtain written documentation which includes
relevant factual information and, as necessary, a professional opinion related to the factual
information, for inclusion in the exemption request package.

         (iv) The Decision Authority Support Office may not provide a consensus opinion or
recommendation to the Decision Authority.

       g. Decision Authority Determination.




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           (i) The Decision Authority first analyzes the exemption request package. As
necessary, the Decision Authority may request additional information and consult with subject
matter experts.

            (ii) After conducting a review of the exemption request, the Decision Authority
makes a determination, prepares a written statement that includes the reasons for the
determination (which may involve drafting assistance based on the Decision Authority’s
instructions regarding its contents), and obtains a legal review of the determination.

           (iii) In cases where the exemption is temporary or denied, the Decision Authority’s
determination must specify a date by which the DoD civilian employee must be fully vaccinated
against COVID-19. In specifying that date, DoD civilian employees must be given a minimum
period of 14 days to receive their first (or only) dose of a COVID-19 vaccine.

        h. Employee Notification of Determination. The Decision Authority Support Office
will transmit the Decision Authority’s written determination to the DoD civilian employee’s
supervisor, who, in turn, provides the DoD civilian employee with a copy of the written
determination, updates the DD Form 3175, and informs the DoD civilian employee of next steps.

       i.   A chart illustrating the exemption request process is below.

      Position              Role/Responsibility           Output                 Submit to
 Requesting employee       Provide vaccination      Completed DD Form       Supervisor
                           status via DD Form       3175.
                           3175 to indicate
                           exemption pending.
 Requesting employee       Request exemption.       Completed DD Form       Supervisor
                                                    3176 (medical) or
                                                    DD Form 3177
                                                    (religious), as
                                                    appropriate, or other
                                                    request that contains
                                                    the information
                                                    required by FHP 23,
                                                    Revision 3.
 Supervisor, in            Provide relevant         Exemption request       Decision Authority
 consultation with HR      information              package that includes   Support Office
 officials                 concerning               employee’s request
                           employee’s               and supervisory
                           occupation and work      information
                           environment,             concerning
                           including:               employee’s
                           availability of          occupation, work
                           measures to              environment, and
                           physically distance      other circumstances
                           requestor from co-       of the request.



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                      workers and members
                      of the public, the
                      volume of exemption
                      requests in the
                      organization, and any
                      other relevant
                      information
                      concerning the
                      circumstances of the
                      employee’s request.
 Decision Authority   Receive and track       Exemption request       Decision Authority
 Support Office       processing of           package that includes
                      exemption request       employee’s request;
                      package. Supplement     supervisor
                      package with            information
                      individual advice       concerning
                      from subject matter     employee’s
                      experts and relevant    occupation, work
                      factual information,    environment, and
                      as directed by the      other circumstances
                      Decision Authority.     of the request; and
                                              any supporting
                                              documentation
                                              relevant to the
                                              Decision Authority’s
                                              analysis.
 Decision Authority   Review submitted        Written decision that   Supervisor
                      documentation,          addresses employee’s
                      request any             individual
                      reasonably necessary    circumstances and
                      additional              has been reviewed by
                      information, and        appropriate legal
                      prepare written         advisors.
                      decision in
                      consultation with
                      legal advisors and
                      with the advice of
                      subject matter
                      experts, as
                      appropriate.
 Supervisor           Receive decision,       If approved,            Employee
                      discuss with            employee continues
                      employee. If            to comply with
                      exemption approved,     generally-applicable
                      implement mitigation    mitigation measures
                      measures and, if        (for instance, as


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                           necessary, address        applicable, screening
                           any follow-on             testing, masking, and
                           requests for              physical distancing)
                           accommodation in          and any other
                           accordance with           mitigation measures
                           Component EEO             directed by the
                           procedures. If            Decision Authority or
                           disapproved, provide      management
                           opportunity for           officials. If
                           counseling by             disapproved,
                           medical professional      vaccination tracking
                           or other appropriate      and/or progressive
                           expert/ initiate          discipline.
                           requirement for
                           vaccination. Work
                           with the legal
                           advisor(s) and, as
                           appropriate, HR
                           LMER and EEO
                           offices.

        j. Exemption Criteria.

             (i) Religious Exemption Requests. Requests for religious exemption will be analyzed
pursuant to the Religious Freedom Restoration Act of 1993 (RFRA), 42 U.S.C. § 2000bb et seq.
RFRA prohibits the Government from substantially burdening a person’s exercise of religion, unless
it demonstrates that application of the burden to the person is in furtherance of a compelling
governmental interest and is the least restrictive means of furthering that compelling governmental
interest. In the first instance, Decision Authorities are to determine whether the requestor has met his
or her burden to establish that the vaccination requirement imposes a substantial burden on exercise
of a sincerely held religious belief. If so, Decision Authorities analyze the request to determine
whether the burden on religious exercise is the least restrictive means of furthering the Government’s
compelling interest in health and safety of the DoD workforce, and the health and safety of members
of the public with whom they interact. If vaccination is not the least restrictive means, the exemption
will be granted and supervisors will implement the less restrictive means.

             (ii) Medical Exemption Requests. Pursuant to the Rehabilitation Act of 1973, as
amended, 29 U.S.C. § 791 et seq. Decision Authorities will analyze requests for medical exemption
to determine whether the medical condition or circumstance prevents the employee from safely being
vaccinated. If so, the employee will be exempt from vaccination (temporarily or permanently, as
appropriate). Supervisors will direct compliance with applicable FHP guidance and direct any
mitigation measures that are necessary to prevent the spread of the virus that causes COVID-19 in
the workplace and to the members of the public with whom the employee interacts. If such measures
result in the employee being unable to perform the essential functions of the position, such matters
will be referred to the equal employment opportunity reasonable accommodation process.

        k. Additional Guidance.


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           (i) Information collected concerning medical and religious exemption requests must
be maintained in accordance with the privacy requirements in section 8. Requests for medical
exemption will be treated as medical records to be maintained separately from other personnel
files.

            (ii) Discipline for failure to meet the COVID-19 vaccination requirement will not be
initiated against a DoD civilian employee while a request for a medical or religious exemption
from the COVID-19 vaccination requirement is pending determination. If a DoD civilian
employee submits a request after discipline is initiated, disciplinary measures may be held in
abeyance where appropriate.

            (iii) DoD civilian employees who are not fully vaccinated but who have a pending
request for exemption from vaccination are required to comply with any mitigation measures that
are applicable to all DoD civilian employees in the worksite who are not fully vaccinated.
Requests for reasonable accommodation related to those mitigation measures will be combined
with any pending medical or religious exemption to vaccination request, for purposes of making
a final determination concerning those measures. Without making a finding concerning whether
a sufficient basis for a reasonable accommodation concerning those measures exists, the
supervisor may use the normal interactive process to pursue a temporary accommodation that
protects the health and safety of the workplace while a decision concerning those measures is
pending. Otherwise, requests for reasonable accommodation related to force health protection
and mitigation measures may be analyzed separately from requests for exemption from
vaccination.

            (iv) A DoD civilian employee who receives an exemption from the vaccination
requirement may, because of the exemption, be unable to perform the duties and responsibilities
of the position without a change in working conditions. Supervisors will immediately implement
any mitigation measures required by the Decision Authority and applicable FHP guidance.
Supervisors may engage in the normal interactive process concerning any other measures
necessary to protect the health and safety of the workplace.

           (v) Requests for exemption from candidates for employment will be handled
consistent with the procedures in this section.

           (vi) Unless responsibility is otherwise established in a written support agreement, the
Combatant Command Support Agent identified in DoD Directive 5100.03, “Support of the
Headquarters of Combatant and Subordinate Unified Command,” is responsible for
administration of exemption processes applicable to DoD employees assigned, detailed, or
otherwise deployed to a Combatant Command area of responsibility.




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  SECTION 3: CONDUCTING TESTING FOR SUSPECTED COVID-19
 CASES AND GENERAL ELIGIBILITY FOR DOD-CONDUCTED TESTING
       This section provides guidance on COVID-19 testing for eligible persons suspected of
having contracted COVID-19.


3.1. TESTING CONSIDERATIONS.

         Health care providers will use their clinical judgment and awareness of laboratory testing
resource availability, and will work closely with local and installation public health authorities or
Public Health Emergency officers, to guide COVID-19 diagnostic testing. Providers are
encouraged to test for other causes of respiratory illness as clinically indicated. The CDC testing
priorities may be found at: https://www.cdc.gov/coronavirus/2019-ncov/hcp/testing.html.

       Asymptomatic individuals may be tested based on a clinician’s judgment and as deemed
appropriate by public health professionals and in accordance with current guidance.

        DoD Components must ensure appropriate infection prevention and control procedures
are followed throughout the entire testing process. This includes employing the appropriate
biosafety precautions when collecting and handling specimens, consistent with CDC guidance.


3.2. DOD LABORATORIES AND TESTS.

        The DoD is committed to maximizing testing capability for operational needs and to
increasing standardization and synchronization of testing across the Department. However,
differences among operational environments, deployment cycles, and congregate setting
limitations drive differences in testing demands to mitigate operational risk. This testing
includes molecular tests and, for certain limited circumstances, alternative options such as serial
rapid antigen testing.

        DoD Components will ensure that diagnostic testing and screening testing performed by
laboratories within the Military Health System are conducted at laboratories designated by the
Defense Health Agency’s (DHA) Center for Laboratory Medicine Services (CLMS). CLMS
manages diagnostic and screening testing policy, certification, and exceptions in accordance with
current guidance. CLMS may be contacted at: dha.ncr.clinic-support.mbx.clms@mail.mil.

        DoD Components must comply with Food and Drug Administration (FDA) regulations
for diagnostic testing and screening testing, including by complying with COVID-19 emergency
use authorizations (EUAs) or biologics license applications (BLAs), and other current guidance.
The FDA COVID-19 EUA list is available at: https://www.fda.gov/medical-
devices/coronavirus-disease-2019-covid-19-emergency-use-authorizations-medical-
devices/vitro-diagnostics-euas.




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        DoD Components may consider non-clinical, Research Use Only molecular tests18 for
surveillance testing using a pooled specimen testing protocol, consistent with applicable law and
regulations. Results from any positive pools will only be reported in aggregate and must not be
placed into any individual’s medical record. Any positive pool must be followed by testing
every individual sample in that pool with an FDA EUA-authorized molecular test, or an FDA-
EUA or BLA authorized test (when available), and performed in a clinical laboratory registered
by CLMS, or an equivalent civilian laboratory.

        FDA EUA-authorized diagnostic and screening tests that are authorized for pooled
testing for screening testing purposes may be performed at Clinical Laboratory Improvement
Program-registered laboratories, in accordance with the terms of the applicable EUA.

        DoD Components must coordinate planned updates to pooled testing protocols with the
Assistant Secretary of Defense for Health Affairs (ASD(HA)). The Secretaries of MILDEPs will
retain authority to prioritize pooled testing populations and assignments to MILDEP pooled
testing laboratories and resources.

        DoD Components are encouraged to employ next-generation sequencing (NGS)
technology for COVID-19 surveillance testing. As with testing completed via pooled testing,
testing requirements using NGS must be coordinated with the ASD(HA).

        DoD Components must record COVID-19 diagnostic and screening testing results in the
electronic health record or occupational health record of the individual tested in accordance with
Department of Defense Instruction (DoDI) 6040.45, “DoD Health Record Life Cycle
Management,” and applicable processes for DoD contractor personnel. DHA will assist DoD
Components, as needed, to ensure this occurs.


3.3. ELIGIBILITY OF DOD PERSONNEL, OTHER BENEFICIARIES, AND OTHER
POPULATIONS FOR TESTING.

       DoD Components may test Service members (including members of the Reserve
Components when on active duty for a period of more than 30 days, or on full-time National
Guard duty of more than 30 days) suspected of having contracted COVID-19, for purposes of
disease surveillance, and for official travel in accordance with this guidance. Reserve
Component Service members on active duty for a period of 30 days or less will follow their
Component’s guidelines.

        DoD civilian employees (who are not otherwise DoD health care beneficiaries) suspected
of having contracted COVID-19 may be offered screening testing if their supervisor has
determined that their presence in the DoD workplace or official travel is required. DoD civilian
employees may also be offered screening testing in connection with workplace disease
surveillance.


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   Research Use Only assays are products in the laboratory research phase of development and are not approved for
clinical diagnostic use (https://www.fda.gov/media/87374/download).


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        DoD contractor personnel suspected of having contracted COVID-19, or for whom
testing is required for workplace surveillance or official travel, may be offered screening testing,
subject to available funding, if such testing is necessary to support mission requirements and is
consistent with applicable contracts. For example, if testing is explicitly called for under the
contract; or if testing is required to access a DoD facility and the contractor personnel must
access the DoD facility to perform under the contract. DoD contracting officers may also
modify existing contracts to require contractors to test their personnel, or to permit DoD to
test their personnel, as necessary to support mission requirements and subject to available
funding.

        For testing of foreign national employees in locations outside the United States who are
suspected of having contracted COVID-19, DoD Components should refer to country-specific
labor agreements or contracts and consult with supporting legal counsel for guidance and any
limitations concerning such tests.




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         SECTION 4: SURVEILLANCE AND SCREENING TESTING

4.1. CONDUCTING REQUIRED SCREENING TESTING. [RESCINDED]

        To establish COVID-19 screening testing for individuals for whom weekly screening
testing is required, DoD Components will:

      a. Execute the screening testing requirement with FDA approved or authorized
         COVID-19 self-collection kits or self-tests at least weekly (depending on the type
         of test kit used). Testing should be performed primarily onsite at the installation
         or facility with proper supervision and documentation of testing results. If
         onsite COVID-19 screening testing is not feasible, as an alternative self-testing
         may be performed at home or in other locations. (Note: these COVID-19 self-
         tests do not require a health care provider’s clinical care order and are,
         therefore, considered an over-the-counter test and do not require medical
         support to complete).

          1. COVID-19 self-tests must have Instructions for Use and FDA approval,
             510(k) premarket clearance or have an FDA EUA. These tests will be made
             available through the DLA.

          2. Funding for COVID-19 screening testing, if self-collection kits or self-tests
             are not available:

                 i. Each DoD Component will reimburse Service members and DoD
                    civilian employees for COVID-19 screening tests that require payment
                    for purposes of meeting the screening testing requirement (e.g., if the
                    screening test is not available through the DoD Component and must
                    be administered by a facility who charges for the test).

                 ii. For COVID-19 screening testing of DoD contractor personnel with
                     CRA, DoD Components will offer, if available, COVID-19 screening
                     testing similar to that offered to DoD civilian employees at the DoD
                     Component’s expense and at no cost to the contractor personnel or
                     the contractor.

      b. Establish guidance for where and how these tests will be distributed and
         conducted, and how results are to be reported.

          1. DoD civilian employees are responsible for providing documentation of
             negative COVID-19 test results, upon receipt, to the appropriate supervisor.
             For purposes of screening testing requirements, “supervisor” includes
             authorized human resources officials. DoD civilian employees may not be
             required to use their own personal equipment for the purpose of
             documenting test results; offsite tests may not be used if there is not a means
             to document results using Government equipment. The supervisor is



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             responsible for maintaining any COVID-19 test results provided by DoD
             civilian employees in accordance with the privacy protection measures in
             section 8.

         2. DoD contractor personnel with CRA will maintain their most recent COVID-
            19 test result and show the result to authorized DoD personnel upon request.

      c. After COVID-19 screening testing procedures are established, personnel subject
         to screening testing are required to have a negative COVID-19 screening test
         result for entry into a DoD facility. DoD Components may bar DoD civilian
         employees who refuse required screening testing from their worksites on the
         installation or facility to protect the safety of others. If the COVID-19 screening
         test is administered offsite, the negative result must be from a test performed
         within the prior 72 hours. If a COVID-19 screening test is administered onsite,
         the test will be administered before DoD civilian employees and contractor
         personnel go to their work areas. Personnel who have tested positive and do not
         have symptoms are exempted from regular screening testing for 90 days
         following the documented date of their initial positive test of COVID-19.
         Documented proof of this positive test date shall be provided upon request.

      d. DoD civilian employees and DoD contractor personnel with CRA with positive
         COVID-19 screening tests will be offered, but not required to take, FDA
         approved or authorized confirmatory laboratory-based molecular (i.e.,
         polymerase chain reaction) testing paid for by the relevant DoD Component.
         Contact tracing and mitigation measures will be conducted in accordance with
         sections 4.4 and 5.5. If the confirmatory test is negative, the individual is not
         considered to be COVID-19 positive and is allowed to return to the workplace.

      e. For DoD civilian employees, COVID-19 screening testing is expected to take no
         more than 1 hour of regular duty time, per test, to complete required testing as
         directed by the DoD Component. Laboratory-based confirmatory COVID-19
         testing for initial positive screening test results is expected to take no more than
         2 hours of duty time. This includes time for travel to the testing site, time to
         complete testing, and time to return to work. Commanders and supervisors will
         monitor duty time usage and keep duty time used for testing within these
         parameters to the extent possible.

      f. A religious or medical exemption from COVID-19 vaccination is not an
         exemption from required COVID-19 screening testing. If a DoD civilian
         employee requires a religious or medical exemption from participation in
         COVID-19 screening tests, DoD Components should follow existing processes to
         determine if an appropriate flexibility or accommodation may be provided.




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4.2. HEALTH SURVEILLANCE ACTIVITIES.

        To assess the threat and inform our understanding of COVID-19 transmission, DoD
Components will continue to employ existing syndromic, respiratory, and COVID-19
surveillance programs and efforts. Appropriate DoD Components will continue, and expand as
feasible, the following core surveillance activities:

           •   Syndromic surveillance through the Electronic Surveillance System for Early
               Notification of Community-based Epidemics to monitor for COVID-19-like illness.

           •   Respiratory surveillance testing of samples occurring at sites participating in the DoD
               Global Respiratory Pathogen Surveillance program for influenza-like-illness,
               including COVID-19.

           •   Surveillance for acute or febrile respiratory diseases or illnesses at initial entry
               training sites, with data collection and reporting in accordance with DoD Component
               testing plans.

           •   Clinical diagnoses of COVID-19 cases identified in military medical treatment
               facilities and reported through case-based surveillance in the Disease Reporting
               System-internet.

           •   Contact tracing of confirmed COVID-19 positive cases to infected persons, as
               described in section 4.4 in accordance with all applicable Federal, State, local,
               and DoD requirements.

           •   Continued reporting of Severe Acute Respiratory Syndrome Coronavirus 2 (SARS-
               CoV-2)/COVID-19 test results in accordance with all applicable Federal, State, local,
               and DoD requirements, and as appropriate, to respect HN guidelines.

           •   Expansion of whole genome sequencing efforts for respiratory surveillance testing
               with a focus on variants of concern19 and interest to the DoD, and cases of re-
               infection and infection in vaccinated individuals (i.e., “vaccine breakthroughs”).
               Sequencing efforts are led by the Global Emerging Infections Surveillance Program
               (dha.ncr.health-surv.mbx.promis@mail.mil).

           •   Leverage alternative technologies, such as wastewater surveillance, to supplement
               existing COVID-19 surveillance systems as a capability that provides an efficient
               pooled community sample to understand more fully the extent of COVID-19
               infections in communities.




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     The President’s “National Strategy for the COVID-19 Response and Pandemic Preparedness,” January 21, 2021.


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4.3. METHODS FOR OPERATIONAL RISK REDUCTION.

      •   DoD Components may perform COVID-19 testing of asymptomatic DoD personnel
          prior to deployment or redeployment and may perform COVID-19 tests prior to start
          of Service member training, as determined appropriate by the medical staff and
          approved by the commander or supervisor, in accordance with DoD Component
          plans.

      •   DoD Components will ensure DoD personnel who are tested using a screening testing
          protocol are notified of their test results.

      •   Symptomatic DoD personnel will be managed in accordance with current guidance.

     •    DoD Components may, in consultation with public health advisors, conduct
          surveillance and screening testing of Service members to reduce risk in select high-
          risk congregate settings, on ships, at training sites, during events, or in remote
          locations where early identification, isolation, and quarantine are important.
          Screening testing protocols may involve testing of all Service members prior to
          participation in an event (such as an exercise or training evolution) with or without
          testing during the event. Finally, screening testing may be performed using a
          surveillance protocol in which a specified percentage of randomly selected Service
          members are tested during regular intervals over a period of heightened vulnerability
          such as when case rates are very high or medical resources are in high demand.

          1. Execute the screening testing requirement with FDA approved or authorized
             COVID-19 self-collection kits or self-tests. Testing should be performed
             primarily onsite at the installation or facility with proper supervision and
             documentation of testing results. If onsite COVID-19 screening testing is not
             feasible, as an alternative self-testing may be performed at home or in other
             locations. (Note: these COVID-19 self-tests do not require a health care
             provider’s clinical care order and are, therefore, considered an over-the-
             counter test and do not require medical support to complete).

          2. Establish guidance for where and how these tests will be distributed and
             conducted, and how results are to be reported.

          3. After COVID-19 screening testing procedures are established, Service
             members subject to screening testing are required to have a negative
             COVID-19 screening test result for entry into a DoD facility. If the COVID-
             19 screening test is administered onsite, the test will be administered before
             all Service members go to their work areas. Service members who have
             tested positive and do not have symptoms are exempted from regular
             screening testing for 30 days following the documented date of their initial
             positive test of COVID-19. Documented proof of this positive test date shall
             be provided upon request.




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       •   Voluntary testing of eligible family members, DoD civilian employees, and DoD
           contractor personnel (if appropriate and permitted in accordance with applicable
           contracts) who, if infected with COVID-19, could impact the DoD workforce and
           missions, may be conducted in support of the DoD’s effort to interrupt transmission
           of the virus among our populations. Testing will be conducted based on availability
           and managed at the DoD Component level. DoD civilian employees and DoD
           contractor personnel with CRA with positive COVID-19 screening tests will be
           offered, but not required to take, FDA approved or authorized confirmatory
           laboratory-based molecular (i.e., polymerase chain reaction) testing paid for by
           the relevant DoD Component. Contact tracing and mitigation measures will be
           conducted in accordance with sections 4.4 and 5.5.


4.4. COVID-19 CONTACT TRACING AND TESTING.

        DoD Components will conduct contact tracing on all COVID-19 cases identified
through testing activities and prioritize investigation of COVID-19 cases, clusters, and
outbreaks involving high-risk congregate settings, unusual clusters of cases, and considered
for novel or emerging variants that pose a significant risk for severe disease,
hospitalization, or death. Follow-on quarantine or isolation measures and testing will be
implemented as indicated.DoD Components will conduct contact tracing on all COVID-19
cases identified through testing activity in health care settings and certain high-risk
congregate settings, unusual clusters of cases, and cases involving novel or emerging
variants that pose a significant risk for severe disease, hospitalization, or death. In
identifying certain settings in which to conduct contact tracing, DoD Component public
health emergency officers should consider data reported to local and State public health
entities and surveillance programs administered by the DoD and other Federal agencies.




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                       SECTION 5: PROTECTING PERSONNEL

5.1. GENERAL MEASURES FOR PERSONNEL.

        a. Personnel should frequently wash hands with soap and water for at least 20 seconds.
When soap and running water are not available, they should use an alcohol-based hand sanitizer,
with at least 60-percent ethanol or 70-percent isopropanol as active ingredients, and rub their
hands together until they are dry. In addition, personnel should be advised to:

        •   Avoid touching their eyes, nose, or mouth with unwashed hands.
        •   Cover coughs and sneezes or cough/sneeze into the inside of elbows/upper sleeve.
        •   Avoid close contact (within 6 feet of any individual for a total of 15 minutes or
            more over a 24-hour period) with people.
        •   Consider exposure risks.
        •   Self-screen for COVID-19 symptoms20 before entering a DoD facility or interacting
            with members of the public in person as part of your official duties. Stay home if you
            have symptoms or feel sick, including “not feeling well,” or “start of a cold or
            allergies,” and similar circumstances.
        •   Recognize personal risk factors. According to the CDC, certain people, including
            older adults and those with underlying conditions such as cancer, heart or lung
            disease, chronic kidney disease requiring dialysis, liver disease, diabetes, immune
            deficiencies, or obesity, are at higher risk for developing more serious complications
            from COVID-19. See additional information on the CDC website at:
            https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-
            medical-conditions.html.
        •   Launder or replace masks regularly Use dry, clean masks to promote good hygiene.
        •   To prevent the spread of COVID-19 in elevators, take the stairs when possible.
        •   Regularly disinfect surfaces commonly touched by others such as touch screens,
            mice, and desktops with an alcohol or germicidal wipe as described in section 5.8.

        b. Installations will post signage about specific measures applicable to the
installation, such as mask wearing and physical distancing requirements, and on
installation websites, as appropriate.


5.2. PHYSICAL DISTANCING. [RESCINDED]

       Supervisors will maintain at least six feet of separation between individuals in DoD
workplaces whenever possible and regardless of the CDC COVID-19 Community Levels.
This requirement does not apply to students in DoD schools. Installation commanders will
implement measures designed to ensure at least six feet of separation in indoor areas
whenever possible (including common areas, elevators, stairs, and escalators) and outdoor


20
  COVID-19 symptoms can be found at: https://www.cdc.gov/coronavirus/2019-ncov/symptoms-
testing/symptoms.html.


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areas which are crowded or in which personnel are required to congregate, such as
building entrances and security checkpoints.

        Supervisors will limit requirements for face to face interactions in circumstances
when physical distance cannot be maintained and will consider use of telecommunication
tools even when onsite.

       Installation commanders will determine whether stairwells or sides of stairwells
should be designated as “up” and “down” to promote physical distancing. Installation
commanders will consider placing signs limiting the number of personnel allowed inside
elevators and use floor markings showing where personnel should stand in elevator lobbies
and within elevators to reinforce physical distancing.


5.3. MASKS.

      a. The following masking guidance applies to all DoD installations and other facilities
owned, leased, or otherwise controlled by the DoD:

           •   When the CDC COVID-19 Community Level21 is high in the county or equivalent
               jurisdiction where a DoD installation or facility is located, indoor mask-wearing is
               required for all individuals, including Service members, DoD civilian employees,
               onsite DoD contractor personnel (collectively, “DoD personnel”), and visitors,
               regardless of vaccination status. Each installation and DoD facility will post
               signage at building entrances and in common areas of DoD owned and
               controlled facilities when the CDC COVID-19 Community Level is high
               indicating that masks are required.

           •   When the CDC COVID-19 Community Level is medium or low in the county where
               a DoD installation or facility is located, indoor mask-wearing is not required.

           •   Individuals may choose to wear a mask regardless of the CDC COVID-19
               Community Level.

           b. Exceptions to mask wearing are limited to:

               1. When an individual is alone in an office with a closed door and floor-to-ceiling
                  walls;
               2. Brief periods of time when eating and drinking while maintaining distancing and
                  in accordance with instructions from commanders and supervisors;
               3. When the mask is required to be lowered briefly for identification or security
                  purposes;
               4. When necessary as a reasonable accommodation for a person with a disability or
                  to reasonably accommodate participation in a religious service;


21
     See section 1.3 for information about CDC COVID-19 Community Levels.


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           5. When clear or unrestricted visualization of verbal communication is required for
               safe and effective operations (e.g., air traffic control, emergency dispatch,
               police/fire/emergency services);
           6. When the person who would be wearing the mask is under the age of two,
               sleeping, unconscious, incapacitated, or otherwise unable to remove the mask
               without assistance;
           7. When engaged in training in which mask wearing is not feasible or creates a
               hazard, such as swim qualification, amphibious, and aquatic training events;
           8. When individuals are alone (or with members of their household or close social
               pod) in their housing, private outdoor space, or personally owned vehicle;
           9. When personnel are operating machinery, tools, and/or other items during the use
               of which a mask would present a safety hazard (for example, the use of a gaiter
               may be needed for flight line safety reasons);
           10. When environmental conditions are such that mask wearing presents a health and
               safety hazard (e.g., extreme elevated temperatures); and
           11. When individuals are enrolled in a respiratory protection program and are wearing
               a respirator during the performance of duties requiring respiratory protection.
               Components that want to distribute N95 respirators to personnel must follow
               an OSHA respiratory protection program.

        c. Case-by-case exceptions to the requirements for mask wearing as determined at a
level no lower than a general/flag officer in the grade of O-7, SES member (or equivalent), or,
for installations that do not have officials at these levels, O-6 installation commanders.

         d. Transportation: All individuals must wear a mask on DoD aircraft, boats and
other maritime conveyances, and buses traveling into, within, or out of the United States,
and indoor DoD transportation hubs, regardless of vaccination status and the CDC
COVID-19 Community Levels. Masks are optional in outdoor areas of these conveyances
(if such outdoor areas exist on the conveyance) or while outdoors at transportation hubs, if
these areas are uncrowded. Masking requirements apply whether the DoD aircraft, boats
and other maritime conveyances, and buses are located inside or outside the United States,
but exclude these conveyances and other tactical vehicles and craft in their operational
environment. It is recommended that individuals wear a mask in Government cars, vans,
or other low occupancy transportation assets, regardless of the CDC COVID-19
Community Level. It is recommended that all individuals wear masks on DoD conveyances
(e.g., aircraft, maritime vessels, and buses) and in Government cars, vans, or other low
occupancy transportation assets when more than one person is present.

         e. Notwithstanding the above, and regardless of the CDC Community Level, masks
must be worn by masking of patients, visitors, and personnel working in DoD health care
facilities (including military medical, dental, and veterinary treatment facilities) will occur in
accordance with requirements specified in 29 CFR § 1910.502 and in accordance with
OSHA and CDC guidelines22. Masks will be worn by visitors and patients to DoD military

22
  “Interim Infection Prevention and Control Recommendations for Healthcare Personnel During the
Coronavirus Disease 2019 (COVID-19) Pandemic,” September 23, 2022. Available at:
https://www.cdc.gov/coronavirus/2019-ncov/hcp/infection-control-recommendations.html.


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medical and dental treatment facilities except while undergoing medical examinations or
procedures that interfere with those activities.


5.4. CASE MANAGEMENT AND RESTRICTING WORKPLACE ACCESS – SERVICE
MEMBERS.

Testing of Service members:

•    Test based on clinical judgment and public health considerations.
     o If laboratory positive: The Service member becomes a COVID-19 case and must be
        isolated.
        ▪ The Service member will stay isolated for 5 days (day 0 is the day symptoms started
            or date of specimen collection if asymptomatic).
        ▪ The Service member may leave isolation after 5 days, if no symptoms are present or
            if he/she is afebrile for more than 24 hours and any remaining symptoms are
            resolving. Mask wearing must continue for 5 days after leaving isolation when
            around others, even if mask wearing is not otherwise required by DoD guidance.
        ▪ If fever, shortness of breath, or severe fatigue start or persist, the Service member will
            stay isolated until these symptoms resolve. The Service member should be seen and
            managed by medical personnel.
        ▪ A negative test is not required to discontinue isolation due to difficulty interpreting
            persistent positive results. This is consistent with the CDC’s recommendation to
            NOT test during the 90-day period following initial diagnosis. This applies to all
            viral testing methodologies, including antigen testing.
     o If laboratory negative: The Service member should be followed to ensure he/she
        clinically improves.
        ▪ If laboratory negative and asymptomatic or clinically improved: The Service member
            has no restrictions.
        ▪ If laboratory negative and the Service member does NOT clinically improve or
            worsens, and no other etiology is found, then consider re-testing for COVID-19.

Management of Close Contacts of a Case (as determined by contact tracing):23

•    Quarantine is not required for Service members who are close contacts and who are up-
     to-date with an FDA licensed or authorized COVID-19 vaccine, or a World Health
     Organization Emergency Use Listing COVID-19 vaccine. Regardless of vaccination
     status, cClose contacts identified through contact tracing or through exposure must wear
     a mask around others indoors for 10 days, even if mask wearing is not otherwise required by
     DoD guidance,. and if practical, Service members in the workplace must test on day at
     least once after 5 full days following exposure. If symptoms develop, then the individual
     must get tested and isolate until test results are complete.
•    Close contact Service members who are not up-to-date with the COVID-19 vaccine
     must quarantine for 5 days. The Service member should wear a mask at all times when

23
  For more information on contact tracing with respect to Service members, see:
https://www.cdc.gov/coronavirus/2019-ncov/php/contact-tracing/contact-tracing-plan/contact-tracing.html.


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    around other individuals, regardless of those individuals’ vaccination status, and even if
    mask wearing is not otherwise required by DoD guidance. Testing should occur on day
    5 after exposure. If no symptoms develop, quarantine may end after 5 days, but the
    Service member must continue to wear a mask around others for an additional 5 days
    (i.e., masks must be worn for a total of 10 days after exposure, including the time in
    quarantine). If any symptoms develop at any time, the individual should be tested for
    COVID-19 and advised to isolate.
•   Exceptions to the above protocols for asymptomatic Service members with potential
    exposure based on close contact who are not fully vaccinated, and whose presence is
    required in the workplace, may be considered in cases of mission-essential activities
    that must be conducted on site. This exception may be granted in writing by the first
    general/flag officer, SES member, or equivalent, in the chain of command/chain of
    supervision or, for those locations that do not have general/flag officers or SES leaders,
    by O-6 installation commanders. Vaccination status of the Service member should be
    considered in granting an exception, as more risk will be assumed in granting an
    exception for a Service member who is not fully vaccinated. Service members who
    develop signs or symptoms consistent with COVID-19 during the duty period, he/she
    will be ordered to return to quarters and provided instructions for compliance with this
    guidance. Service members granted an exception must comply with the following
    practices for 5 days after the last exposure:
    o Obtain a COVID-19 test on calendar day 5;
    o Conduct daily COVID-19 symptom screening with temperature checks;
    o Wear a mask in the workplace for 10 calendar days after exposure, even if mask
         wearing is not otherwise required by DoD guidance;
    o Practice hand and cough hygiene;
    o Refrain from sharing headsets or other objects used near the face;
    o Continue to physically distance as much as possible; and
    o Clean and disinfect their workspace daily
•   In all situations, for a full 10 days after last contact with a confirmed case exposure,
    Service members must continue to self-monitor, and practice strict adherence to all non-
    pharmaceutical intervention mitigation strategies, and, if not fully vaccinated, wear masks,
    avoid crowds and practice physical distancing, hand and cough hygiene, maintain adequate
    indoor ventilation, and perform environmental cleaning and disinfection. In addition, Service
    members located outside the United States identified as close contacts must follow host-
    nation policies, as applicable.

Testing Quarantined Individuals Who Develop Symptoms:

       Test eligible Service members in quarantine who develop symptoms commonly
associated with COVID-19.

•   If laboratory positive: The Service member becomes a case and must be isolated (see
    above).
•   If laboratory negative: The Service member must continue to follow procedures for
    quarantine as outlined above.



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Recommendations for Testing During the Period Following Initial Diagnosis of COVID-
19:24

•    For Service members previously diagnosed with COVID-19 who remain asymptomatic after
     recovery, polymerase chain reaction retesting is not recommended within 90 days from the
     date of initial diagnosis. Furthermore, in the event of subsequent close contact with
     confirmed COVID-19 positive individuals, additional quarantine (including any required
     post-travel quarantine) is not necessary or recommended for 90 days as long as the Service
     member remains symptom-free.

•    If Service members become symptomatic during this time frame (whether or not they are a
     close contact of a case) they must self-isolate immediately and be evaluated by a health
     care provider retest to determine if they may have been re-infected with SARS-CoV-2 or if
     symptoms are caused by another etiology. Isolation may be warranted during this time is
     required, particularly if symptoms developed within 10 days after close contact exposure
     with to an individual who has contracted COVID-19.

Aircrew Notification: In situations where a Service member is identified as a case within 72
hours after medical transport in the en route care system, local public health authorities at the
receiving MTF, or at the closest MTF if the case is transferred to a civilian medical facility, must
notify the regional Theater Patient Movement Requirements Center to initiate contact tracing and
air crew exposure procedures.

Contacts of Contacts: There is no indication to quarantine asymptomatic Service members
who are contacts of contacts; they should continue to self-monitor for symptoms.


5.5. RESTRICTING WORKPLACE ACCESS – PERSONNEL OTHER THAN SERVICE
MEMBERS.

       a. Personnel other than Service members who have signs or symptoms consistent with
COVID-1925 will notify their supervisor and not come to the DoD workplace. Personnel who
develop any signs or symptoms consistent with COVID-19 during the workday must
immediately distance from other workers, put on a mask even if mask wearing is not otherwise
required by DoD guidance, notify their supervisor, and promptly leave the DoD workplace.

        b. Regardless of COVID-19 vaccination status, pPersonnel who test positive for
COVID-19 will remain out of the workplace for 5 days (day 0 is the day symptoms started or
date of specimen collection if asymptomatic). To calculate the recommended time frames,
day 0 is the day tested if no symptoms, or the date symptoms started. Personnel who test
positive for COVID-19 Individuals may return to the DoD workplace after 5 days, if either:
(1) they have no symptoms; or (2) if they are afebrile fever-free for more than 24 hours
(without the use of fever-reducing medication) and any remaining symptoms are resolving.

24
   Beyond the 90-day recovery window, Service members revert to protocols for individuals who have never been
diagnosed with COVID-19.
25
   https://www.cdc.gov/coronavirus/2019-ncov/symptoms-testing/symptoms.html.


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Mask wearing must continue in the workplace for an additional 5 days (for a total of 10 days
post-positive result), even if mask wearing otherwise is not required by DoD guidance.

       c. Personnel with potential exposure exposed to COVID-19 based on close contact
with a person who has a laboratory confirmed, clinically diagnosed, or presumptive case of
COVID-19 will notify their supervisor.

           1. Asymptomatic personnel with potential exposure to COVID-19 based on
close contact who are: (1) not fully vaccinated; or (2) are not up-to-date with the COVID-
19 vaccine will remain out of the workplace for 5 days. Regardless of vaccination status,
aAsymptomatic personnel with potential exposure exposed to COVID-19 close contact must
wear a mask in the workplace for 10 days, even if mask wearing otherwise is not required by
DoD guidance.

          2. In cases of mission-essential activities that must be conducted on site,
asymptomatic personnel with potential exposure to COVID-19 based on close contact, who
otherwise would need to remain out of the workplace, may be granted an exception to
continue to work on site provided they remain asymptomatic, do not have a positive test for
COVID-19, and comply with the following key practices for 5 days after the last exposure:

           •   Obtain a COVID-19 test on day 5;
           •   Conduct daily pre-screening with temperature checks;
           •   Wear a mask in the workplace for 10 days after exposure, even if mask
               wearing is not otherwise required by DoD guidance,
           •   Practice hand and cough hygiene;
           •   Refrain from sharing headsets or other objects used near the face;
           •   Continue to physically distance as much as possible; and
           •   Clean and disinfect their workspaces daily.

           This exception may be granted by the first general/flag officer or member of the
           SES, or equivalent, in the chain of command/chain of supervision or, for those
           locations that do not have general/flag officers or SES leaders, by O-6
           installation commanders. If the individual develops signs or symptoms
           consistent with COVID-19 during the duty period, he/she will be sent home
           immediately.

           2. 3. Personnel performing duties outside the United States will also follow
applicable geographic Combatant Commander guidance to address HN policies.

        d. DoD civilian employees who are remaining out of the workplace because of
COVID-19 symptoms and who are waiting for a test result may telework if able to do so. If
they are unable to or do not feel well enough to telework, they may request sick leave, use
accrued annual leave or other forms of earned paid time off (e.g., compensatory time off or
credit hours), or use unpaid leave, as appropriate. Weather and safety leave is unavailable
in this situation, but to mitigate exposure risks in the workplace, and on a limited basis, up
to 1 day of administrative leave may be offered to DoD civilian employees who have


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COVID-19 symptoms and are remaining out of the workplace while actively seeking to be
tested.

        e. DoD civilian employees who test positive for COVID-19 may telework during the
5 days they are required to remain out of the workplace if able to do so. If they are unable
to or do not feel well enough to telework, they may request sick leave, use accrued annual
leave or other forms of paid time off (e.g., compensatory time off or credit hours), or use
unpaid leave in this situation, as appropriate. Weather and safety leave is not available in
this situation.


5.6. RESTRICTING WORKPLACE ACCESS – STATE AND LOCAL RESTRICTIONS.

       In States and localities that require members of the general public to stay at home, DoD
Service members and civilian employees may report to work as directed to do so by a
commander or supervisor.


5.7. ISSUANCE OF MEDICAL PERSONAL PROTECTIVE EQUIPMENT.

        Medical personal protective equipment (PPE) items, such as N95 respirators, are reserved
for use in high-risk procedures and for use by those at increased risk of severe disease, and
should not be issued outside of these circumstances unless local commanders or supervisors
determine they are necessary to respect HN or local jurisdiction guidelines. In those instances,
commanders or supervisors, in consultation with public health specialists and legal counsel, and
with consideration of national or local jurisdictional agreements, such as Status of Forces
Agreements, will determine if medical PPE items will be issued to non-medical personnel to
respect such guidelines. The PPE supply must be optimized and the below guidelines should be
followed, in addition to consulting CDC-published strategies found at:
https://www.cdc.gov/coronavirus/2019-ncov/hcp/ppe-strategy/index.html.

        Although it is likely that expired respirators will be scarce 2 years into the pandemic,
stockpiles of new respirators may eventually pass their expiration date. N95 respirators in the
pandemic stockpiles that have exceeded their manufacturer’s recommended shelf-life and
expiration date should not be discarded. Current CDC guidance addresses this issue describing
strategies for optimizing the supply of N95 respirators in health care settings where there is a
limited supply.26 Use of expired respirators may be prioritized for situations where personnel are
not exposed to the virus that causes COVID-19, such as for training and fit testing. The
manufacturer should be contacted for additional guidance on the use of expired respirators for
any other reasons. Those responsible for ordering respirators should not do so with the idea that
expired devices can be readily re-used; rather, expired devices should be discarded as per
National Institute for Occupational Safety and Health pre-pandemic policy.




26
     https://www.cdc.gov/coronavirus/2019-ncov/hcp/respirators-strategy/index.html.


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5.8. CLEANING AND DISINFECTING.

        The CDC and OSHA have established enhanced cleaning and disinfection guidance for
the cleaning and disinfection of work areas, including those areas previously occupied by
workers with known or suspected COVID-19. Enhanced cleaning and disinfection should also
be performed for common use, high-touch, high-density spaces and equipment such as in
lobbies, restrooms, break areas, office elevators, and stairwells. It should also include tools and
equipment that are shared by multiple users.

        Personnel who are cleaning workspaces or conducting maintenance activities in areas
previously occupied by someone who is known or suspected to have contracted COVID-19
should wear gloves, face shields (if there is a risk of splash), disposable gowns or aprons, and
other protection as recommended on the Safety Data Sheet or EPA label of the cleaning or
disinfectant product. When using electrostatic sprayers for disinfection, personnel should wear
PPE as specified in the EPA product label. Personnel should follow all personal hygiene
requirements (e.g., handwashing, equipment doffing) after completion of work activities as
recommended by CDC guidance at: https://www.cdc.gov/coronavirus/2019-
ncov/community/disinfecting-building-facility.html and https://www .cdc.gov/niosh/docs/2012-
126/pdfs/2012-126.pdf. Segregation of such work areas prior to cleaning and disinfection is
necessary. When the cleaning and disinfection procedures described above are complete,
demarcation of areas where the individuals known or suspected to have contracted COVID-19
previously worked is not necessary.


5.9. HEATING, VENTILATION, AND AIR CONDITIONING (HVAC).

        The SARS-CoV-2 virus is transmitted mainly by large respiratory droplets, but infected
individuals generate aerosols and droplets across a large range of sizes and concentrations. There
is no need to shut down air HVAC, air handling systems, or air vents to prevent the spread of
COVID-19 within a building. Increasing indoor air movement and ventilation is a cornerstone of
COVID-19 transmission mitigation strategy. Ensure existing HVAC systems in buildings are
functioning properly, ensure the amount of outside air supplied to the HVAC system is
maximized to the extent appropriate and compatible with the HVAC systems’ capabilities, and
ensure the use of air filters that have a Minimum Efficiency Reporting Value-13 or higher filter
where the system can accommodate this type of filtration efficiency. In addition to the
requirements for existing HVAC systems, building managers should consider other measures to
improve ventilation in accordance with as set forth in CDC guidance (e.g., opening windows
and doors to let in outside air) at: (https://www.cdc.gov/coronavirus/2019-
ncov/community/ventilation.html) and guidance from American Society of Heating,
Refrigerating, and Air-Conditioning Engineers (ASHRAE;
https://www.ashrae.org/file%20library/technical%20resources/ashrae%20journal/2020jou
rnaldocuments/72-74_ieq_schoen.pdf).




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5.10. OSHA-REQUIRED ILLNESS RECORDKEEPING.

     a. General workplace: COVID-19 is a recordable occupational illness if a worker
        contracts the virus as a result of performing his or her occupational duties and if all of the
        following conditions are met: (1) COVID-19 illness is a confirmed case; (2) contraction
        of COVID-19 is work-related as described in 29 CFR § 1904.5 (this condition will
        require a determination by the commander or supervisor who may require input from the
        worker’s health care provider); (3) the case of illness satisfies the requirement as a
        recordable illness as set forth in 29 CFR § 1904.7 (e.g., medical treatment beyond first
        aid is required, the number of calendar days away from work meets the stated
        threshold).27

     b. Health care providers: Adhere to COVID-19 illness recordkeeping and reporting
        procedures contained in 29 CFR §§ 1910.502(q)(2)(ii), 1910.502 (q)(3), and
        1910.502(r).


5.11. SAFETY AUDITS, INSPECTIONS, AND TRAINING.

       To ensure maximum compliance with physical distancing guidance and telework
arrangements, routine industrial hygiene and safety surveys required by DoDI 6055.05,
“Occupational and Environmental Health,” and DoDI 6055.01, “DoD Safety and Occupational
Health (SOH) Program,” may be discontinued at the discretion of the Component’s Designated
Agency Safety and Health Official, for the duration of the pandemic or the workplace returns to
HPCON 0, whichever comes sooner.

        The annual survey requirements specified in paragraph 3.8 of DoDI 6055.12, “Hearing
Conservation Program (HCP),” may be suspended by DoD Components at the discretion of the
Component’s Designated Agency Safety and Health Official during the COVID-19 pandemic so
long as there is a good faith effort to complete required services and compliance is not otherwise
possible. These requirements should resume upon the conclusion of the pandemic or the
workplace returns to HPCON 0, whichever comes sooner.

        Spirometry can be safely performed by following the CDC guidance for increased
ventilation and regular room cleaning and disinfection, patient screening, and implementation of
single use disposable items. The guidance for pulmonary function tests is contained in the
Defense Health Agency Deputy Assistant Director for Medical Affairs Memorandum,
“Outpatient Pulmonary Function Tests (PFT) During COVID-19 Pandemic,” August 18, 2020,
and interim technical guidance for the safe performance of spirometry is available from the
American College of Occupational and Environmental Medicine.28



27
   The reporting requirements are described in more detail in DoDI 6055.07, “Mishap Notification, Investigation,
Reporting, and Record Keeping,” and at: https://www.osha.gov/recordkeeping.
28
   September 1, 2021. https://acoem.org/Guidance-and-Position-Statements/Guidance-and-Position-
Statements/Occupational-Spirometry-and-Fit-Testing-in-the-COVID-19-Era-2021-Interim-Recommendations-from-
the-A.


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5.12. MAINTENANCE.

        If workers are planning to conduct maintenance in a residence where a person who is
known or suspected to have contracted COVID-19 resides and the maintenance is necessary and
cannot be delayed, the resident should be asked to remove all items that would impede the work
of the maintenance personnel. The resident should clean the area of any dirt, debris, dust, etc.
that would impact the effectiveness of surface disinfectant used by maintenance personnel.
Workers should maintain a the maximum possible distance of at least 6 feet from the resident
who is known to have or suspected of having contracted COVID-19, and ask that the resident
remain in a separate room while maintenance is conducted. If a separate room for the resident is
unavailable and the worker is unable to remain 6 feet in physically distance from the resident
during the work, appropriate protective equipment for close contact exposure risks must be
worn by the worker. If necessary, clean and disinfect the work area following the procedures for
personnel protection described in section 5.8.




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                               SECTION 6: MEETINGS
        For any planned in-person meetings, events, and conferences (referred collectively
herein as “meetings”) sponsored by DoD with more than 50 participants in a county or
equivalent jurisdiction where the CDC COVID-19 Community Level is high, the meeting
organizer will obtain advance written approval from the DoD or Office of the Secretary of
Defense (OSD) Component head concerned to hold the meeting. The DoD or OSD
Component head concerned may delegate this authority in writing to their Principal
Deputy (or equivalent) but no lower. For the Pentagon Reservation, the approval authority
is the DA&M and this authority may not be further delegated.

         For any in-person meetings in a county or equivalent jurisdiction where the CDC
COVID-19 Community Level is high or medium, the meeting organizer will require all
attendees, including Service members and DoD civilian employees, to show a completed DD
Form 3150, “Contractor Personnel and Visitor Certification of Vaccination” and will
follow the applicable requirements in section 5.2 for physical distancing. For any in-person
meetings in a county or equivalent jurisdiction where the CDC COVID-19 Community
level is low, the meeting organizers will follow the applicable requirements in section 5.2 for
physical distancing.

        In-person attendees who are not fully vaccinated, or who decline to provide
information about their vaccination status, may not attend the meeting if they do not show
the meeting organizer proof of a negative FDA approved or authorized COVID-19 test
completed no earlier than 72 hours prior to the meeting, and at least weekly if the meeting
is greater than one week in duration. Meetings do not include military training and
exercise events conducted by MILDEPs.

        For any planned in-person meetings, events, and conferences (referred collectively
herein as “meetings”) sponsored by DoD in a county or equivalent jurisdiction where the
CDC COVID-19 Community Level is high or medium, the meeting organizer will require
all attendees, including Service members and DoD civilian employees, to physically
distance and will limit attendance as necessary to maintain physical distance. Where the
CDC COVID-19 Community Level is high, meeting organizers will require all attendees to
wear high-quality masks. Meetings do not include military training and exercise events
conducted by MILDEPs.




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                                   SECTION 7: TRAVEL
       This section covers official and unofficial travel and provides current pre- and post-travel
guidance for Service members, DoD family members, DoD civilian employees, and DoD
contractor personnel.

       Heads of DoD and OSD Components may implement more restrictive guidance and
additional FHP measures based on mission requirements and local risk assessments, in
consultation with their medical staffs and public health authorities.

        The Secretaries of the MILDEPs, heads of OSD Components, Commanders of the
Geographic Combatant Commands (GCCs), and the Commander, U.S. Transportation
Command (USTRANSCOM), may choose to exempt assigned aircrew and aircraft maintenance
recovery team members on commercial, military contracted, and organic military aircraft from
this section, to the extent permissible, consistent with applicable legal requirements. In addition,
patients and their attendants in the en-route care system are exempt from restriction of movement
(ROM) requirements and may be exempted from testing requirements by the Theater Validating
Flight Surgeon until they arrive at their final treatment destination. Medical care will not be
delayed due to ROM requirements.

        The Commander, USTRANSCOM, may further waive the requirements of this section in
order to continue execution of the Joint Deployment and Distribution Enterprise as required to
project and sustain the joint force globally. This includes forces (aircrews, vessel crews, and
mission essential personnel) ordered on prepare-to-deploy orders alert status, air refueling, global
patient movement, mortuary affairs support, inland surface, sea, and air sustainment missions,
support to other federal departments and agencies (as approved by the Secretary of Defense); and
moves of personnel and equipment that support USTRANSCOM’s global posture requirements.


7.1. GENERAL TRAVEL GUIDANCE.

        In all cases, no personnel may engage in official travel if they have tested positive for
COVID-19 and have not yet met the criteria for discontinuing isolation, they are
symptomatic, or they are pending COVID-19 test results. After discontinuing isolation,
personnel should avoid official travel until 10 calendar days after their symptoms started
or the date of their positive test. If these personnel must travel on days 6 through 10, they
must properly wear a well-fitting mask when they are around others for the entire duration
of travel, even if mask wearing is not otherwise required by DoD guidance. Official travel
should also be delayed if, in the past 10 days, an individual has been exposed to someone
who has tested positive for, and/or been symptomatic of, COVID-19. Prior to travel, all
official travelers should be educated on how to self-monitor and what actions to take if one
develops signs or symptoms consistent with COVID-19 or contracts COVID-19.

       Fully vaccinated individuals are not restricted from official travel, both domestic
and international. Individuals who are not fully vaccinated, or who decline to provide
information about their vaccination status, are limited to mission-critical official travel,
both domestic and international. “Mission-critical” will be determined by the traveler’s


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DoD or OSD Component head, who may delegate this authority in writing to the
Component’s Principal Deputy (or equivalent) but no lower. For the purpose of this FHP
guidance, travel associated with permanent changes of station, travel in connection with
Authorized or Ordered Departures issued by the Department of State, or travel in
evacuations ordered by the appropriate DoD official is deemed to be “mission-critical.”

        During all official travel, travelers will follow all applicable Federal, State, local, and
commercial air carrier requirements, and applicable HN requirements as a means to respect HN
law. In addition to completion of required or recommended ROM, aAdditional requirements
may be necessary when traveling to, or from, locations outside, and within, the United States,.
tTravelers will follow any requirements in the Electronic Foreign Clearance Guide pertaining to
entry, movement, or operations into a HN. Travelers will also refer and adhere to local updates
in HN for travel and movement within the HN.

      For travel via military airlift (contracted or organic), Aerial Point of Embarkation
(APOE) health screening is mandatory. Travelers who have a medical issue identified
during screening or who refuse to be screened at the APOE may be denied travel.

        The waiver authority available to the Secretaries of the MILDEPs, heads of OSD
Components, Chief of the National Guard Bureau, and Commanders of the GCCs for
official travel is specified in section 7.4. Travel that is limited to transit between, and through,
foreign countries contained wholly within a single GCC area of responsibility, and between GCC
areas of responsibility, is not subject to this memorandum and will be managed by each relevant
GCC or GCCs as appropriate.


7.2. RISK ASSESSMENT PRIOR TO TRAVEL. [RESCINDED]

       It is important for the appropriate commander or supervisor, assisted by medical
personnel, to complete a risk assessment for each traveler before travel, as set forth below,
including an assessment of the health status and itinerary. Specifically:

       •   For Service members, a risk assessment is required before all travel.
       •   For DoD family members, reimbursement for official travel may only occur
           after the Service members certifies, to the best of his or her knowledge, that
           family members have completed a risk assessment. DoD family members are
           strongly encouraged to complete a risk assessment before unofficial travel as
           well.
       •   For DoD civilian employees, a risk assessment is required before official travel.
           DoD civilian employees are strongly encouraged to complete a risk assessment
           before unofficial travel as well.

      The risk assessment of the health status of the traveler will include, at a minimum,
determining:

       •   Whether the individual is familiar with how to self-monitor, and what actions to
           take, if he or she develops signs or symptoms consistent with COVID-19 or


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           contracts COVID-19;
       •   Whether the individual has exhibited any signs or symptoms consistent with
           COVID-19 within the previous 10 days;
       •   Whether the individual has had close contact with anyone having, or known to
           have exhibited, signs or symptoms consistent with COVID-19, or who has tested
           positive for COVID-19 within the previous 10 days;
       •   Whether the individual has recently recovered from COVID-19 and, if so, when
           and if they have documentation of a positive viral test and documentation of
           recovery from a health care provider;
       •   Whether the individual is fully vaccinated or up-to-date with COVID-19
           vaccines and, if so, when, and whether they have proof of vaccination (CDC
           vaccination card or other medical documentation);
       •   Whether the individual has traveled to a country, State, territory, county, or city
           with high or increasing risk of COVID-19 as defined by the CDC in Travel
           Health Notices;
       •   Whether the individual is at increased risk of severe illness of COVID-19 as
           defined by the CDC. Additional details can be found at:
           https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/index.html.
           For DoD civilian personnel, disclosure of this information is voluntary; and
       •   The status of community spread of COVID-19 for the travel destination.

        DoD Components may consider requiring contractors with contracts calling for
official travel outside the United States to direct their employees to perform a risk
assessment prior to such travel. When required, the contractor may tailor the assessment
elements according to company policy and should document the risk assessment. At a
minimum, when required, the risk assessment should include a self-health assessment
performed by the traveler, and a review of the travel itinerary by the traveler’s supervisor.
The contractor should not be required to disclose the results of the assessment with the
DoD. DoD contractor personnel are encouraged to complete a risk assessment before
unofficial travel as well.

       In all cases, no personnel may engage in official travel if they have tested positive for
COVID-19 and have not yet met the criteria for discontinuing isolation, they are
symptomatic, or they are pending COVID-19 test results. After discontinuing isolation,
personnel should avoid official travel until 10 calendar days after their symptoms started
or the date of their positive test. If these personnel must travel on days 6 through 10, they
must properly wear a well-fitting mask when they are around others for the entire duration
of travel, even if mask wearing is not otherwise required by DoD guidance. Official travel
should also be delayed if, in the past 10 days, an individual has been in close contact with
someone who has tested positive for, and/or been symptomatic of, COVID-19 and requires
self-quarantine. Prior to travel, all official travelers should be educated on how to self-
monitor and what actions to take if one develops signs or symptoms consistent with
COVID-19 or contracts COVID-19.




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7.3. ROM REQUIREMENTS. [RESCINDED]

       a. Steps to Be Taken During ROM. During any required or recommended ROM
period, individuals will, to the fullest extent practicable:

        •   Restrict movement to their residence or other appropriate domicile29 as much as
            possible.
        •   Maintain a distance of greater than 6 feet from anyone who did not, or will not,
            travel with them, including family members or roommates; wear masks at all
            times around individuals; and employ hand washing practices in accordance
            with CDC guidance; avoid crowds; avoid the use of public transportation; and
            avoid close interaction with pets or other animals for 10 days after travel even if
            the ROM period is shorter than 10 days.
        •   Consider their ROM location as their authorized duty location.
        •   Self-monitor for subjective fever (that is, feeling feverish) or actual fever
            (≥100.4°F or ≥38°C) by taking their temperature twice a day, and self-monitor
            for cough, difficulty breathing, or other COVID-19 signs and symptoms as
            described by the CDC at: https://www.cdc.gov/coronavirus/2019-
            ncov/symptoms-testing/symptoms.html. If signs or symptoms consistent with
            COVID-19 develop during the 14-day self-monitoring period, individuals will, to
            the fullest extent practicable, immediately self-isolate, limit close contact with
            others, and, if appropriate, seek advice by telephone or other authorized
            communication modalities from an appropriate healthcare provider to
            determine whether medical evaluation and testing for COVID-19 is needed.
        •   For Service members, notify their chain of command if they, or persons in their
            household, develop signs or symptoms consistent with COVID-19. Such health
            information will be used only for FHP purposes and will be protected in
            accordance with applicable laws and policy.
        •   DoD civilian employees should notify supervisors if they develop, or have had
            contact with anyone who exhibits, signs or symptoms consistent with COVID-19.
            Such health information will be used only for FHP purposes and will be
            protected in accordance with applicable laws and policy.
        •   Telework when practicable per direction of their commander or supervisor.
        •   For personnel whose presence is required in the workplace by their supervisor,
            consider whether and when to return to work during the ROM period in
            accordance with section 5.

        b. Additional ROM Guidance:

        •   If ROM is conducted prior to travel, travel to and from an APOE following
            ROM completion will, to the maximum extent possible, be conducted in a
            manner that minimizes the risk of personnel being exposed to, or contracting,
            the virus that causes COVID-19 during travel.

29
  The ROM location for Dynamic Force Employment organizations and individuals will be identified
through a case-by-case determination coordinated with the force provider and GCC.


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       •   For MILDEP ships and submarines, underway time from port of
           embarkation/debarkation to port of debarkation/embarkation may be used to
           meet ROM requirements provided no cases have occurred while underway and
           there has been no contact with personnel from other vessels (e.g., resupply
           vessels) that would permit transmission.

       c. Exceptions to ROM:

       •   Pre- and post-travel ROM is not required for individuals who have fully
           recovered from a laboratory-confirmed diagnosis of COVID-19 within the
           previous 90 days prior to travel, or for individuals who are fully vaccinated.
           Those fully recovered and fully vaccinated will self-monitor for COVID-19
           symptoms after travel. However, Service members will isolate and get tested for
           COVID-19 if they develop signs or symptoms consistent with COVID-19.
       •   ROM after arrival at the travel destination may or may not be required by the
           HN. if travelers have undergone COVID-19 screening testing prior to travel. If
           the relevant GCC requires a ROM upon arrival in the country as a means of
           respecting HN law, then a pre-deployment ROM is not required. Travelers
           should consult the Electronic Foreign Clearance Guide
           (https://www.fcg.pentagon.mil/fcg.cfm) and check with the MILDEPs and GCCs
           for current information.

7.2. ROM REQUIREMENTS

      ROM after arrival at the travel destination may or may not be required by the HN.
Travelers should consult the Electronic Foreign Clearance Guide
(https://www.fcg.pentagon.mil/fcg.cfm) and check with the MILDEPs and GCCs for
current information.


7.4. TESTING REQUIREMENTS. [RESCINDED]

         a. Pre-travel, post-travel, and ROM-associated COVID-19 screening testing is
authorized for official domestic and international air travel at military medical treatment
facilities on a non-reimbursable basis for Service members, DoD civilian employees, DoD
contractor employees who are traveling for official DoD business, members of the Selected
Reserve (including members of the National Guard), and family members approved to
accompany DoD personnel. Testing is authorized for official travel on presentation of an
electronic or paper copy of orders at military medical treatment facilities. The cost of
testing recommended or required for official travel, and not available through a MTF or
not covered (or reimbursable) through travel insurance, can be claimed in a travel voucher
as a miscellaneous expense under agency travel policies.

        b. The testing guidance indicated below is recommended for personnel conducting
official international air travel. It is recommended that personnel maintain proof of the
negative test during travel. If the destination location requires a specific test or stricter test



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timing, personnel must follow the destination location requirement instead, which may be
reflected in the Electronic Foreign Clearance Guide.

        •   Pre-travel viral30 testing is recommended 1 to 3 days prior to departure of the
            commercial or military airlift for both travel from the United States to a foreign
            country or from a foreign country to the United States.
        •   Post-international travel viral testing 3 to 5 days after the completion of travel is
            recommended for active duty Service members and DoD civilian employees.

       c. The testing guidance indicated below is recommended for active duty Service
members conducting unofficial international air travel. It is recommended that the
individuals maintain proof of the negative test during travel. Active duty Service members
are authorized to receive pre-international and post-international travel testing.

        •   Pre-travel viral testing is recommended 1 to 3 days before departure of the
            commercial or military airlift for travel from the United States to a foreign
            country. Travelers will adhere to the destination testing requirements.
        •   Pre-travel viral testing is recommended 1 day before departure of the
            commercial or military airlift for travel from a foreign country to the United
            States.
        •   Post-international travel viral testing 3 to 5 days after the completion of travel is
            recommended for active duty Service members and DoD civilian employees.


7.5. SPECIFIC GUIDANCE BY TYPE OF TRAVEL [RESCINDED]

     7.5.1 Travel from the United States to a Foreign Country
     a) Official Travel
         i) Service members
            • Will conduct a travel-associated ROM as follows unless a ROM exception
               described above applies:
               o Upon arrival at the foreign country destination:
                   ▪ As a means to respect HN regulations, Service members will observe
                      applicable HN public health measures.
                   ▪ ROM will be conducted as follows:
                      ➢ At least 10 days without testing; or, after an appropriate risk
                         assessment, the head of an OSD Component or Secretary of a
                         MILDEP may, consistent with applicable HN public health
                         measures, decrease to a ROM for 5 days with a negative viral test
                         at the end of the 5-day ROM.
                      ➢ MILDEPs maintain the authority to determine how necessary


30Testing in this guidance refers to tests that utilize molecular or, in certain limited
circumstances, antigen testing methods, in accordance with the DoD Coronavirus Task
Force Diagnostics and Testing Lead Memorandum, “Optimization of Coronavirus Disease
2019 (COVID-19) Testing Resources,” March 8, 2021.


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                          ROM and movement, including the mode of transportation to final
                          destinations, are executed.
               o If it is necessary as a means to respect HN regulations to undertake a pre-
                   arrival ROM to observe applicable HN public health measures, the
                   Service member will follow the 10-day or 5-day ROM procedures
                   described above at an appropriate domicile prior to departure and
                   complete pre-travel testing within one to three days prior to departure.
               o Only one ROM is required, either before travel or after arrival.
               o Must follow all requirements imposed by the GCC with responsibility
                   over the destination geographic area, including all applicable HN
                   procedures as a means to respect HN law, and all requirements of the
                   Electronic Foreign Clearance Guide.
      ii) DoD family members
           • Service members must attest that, to the best of their knowledge, their family
               members have followed the same requirements as those set forth for Service
               members in this guidance. Failure to do so may result in delay or
               cancellation of previously authorized travel. This attestation requirement
               will be incorporated into travel orders issued to Service members.
      iii) DoD civilian employees
           • Will conduct a travel-associated ROM and other FHP practices as described
               above for Service members.
      iv) DoD contractor personnel
           • DoD contracting officers will ensure that all contracts that include
               performance outside the United States require DoD contractor personnel to
               comply with the country entry requirements of the respective GCC (which
               may include screening, ROM, and testing), as reflected in the Electronic
               Foreign Clearance Guide, and all applicable HN procedures necessary to
               respect HN law. The GCC may waive such additional requirements,
               consistent with existing authorities.
   b) Unofficial Travel
      i) Service members will comply with their respective MILDEP guidance, DoD
           Component-specific guidance, and/or GCC and applicable HN procedures, as
           necessary to respect HN law, for the areas to which, and through which, they are
           traveling.
      ii) DoD family members, DoD civilian employees, and DoD contractor personnel
           must comply with the guidance and/or applicable HN procedures, as necessary
           to respect HN law, for the areas to which, and through which, they are traveling,
           and are strongly recommended to follow the FHP guidance for Service members
           provided within this document and any other DoD Component-specific
           guidance.

   7.5.2. Travel From or Through a Foreign Country to the United States
   a) Official Travel
       i) Service members
          • It is recommended that Service members conduct testing as described above,
             prior to departure. Service members will conduct a risk assessment as


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                described in “Determining Whether to Travel,” above. If COVID-19
                infection is indicated by the risk assessment or testing, delay travel and
                consult a health care provider for clearance to travel.
           • Service members will conduct a risk assessment as described in
                “Determining Whether to Travel” above upon arrival in the United States.
                Those who become ill, or have had close contact with a person known to have
                contracted COVID-19, during travel will follow the requirements in section 5
                related to workplace access.
           • ROM will be conducted as follows: Unless a ROM exception described above
                applies, if traveling from or having traveled through a foreign country, the
                Service member will, upon arrival at his or her destination domicile:
                o ROM for at least 10 days without testing.
                    ▪ After an appropriate risk assessment, the head of the OSD
                        Component or Secretary of the MILDEP concerned may decrease to a
                        ROM for 5 days with a negative viral test at the end of the 5-day
                        ROM.
                    ▪ Personnel whose presence is required in the workplace by their
                        supervisor may return to work during the ROM period in accordance
                        with section 5.
                o For any travel-associated ROM, follow the procedures specified above in
                    the “Steps to Be Taken During ROM” section. The ROM requirements
                    may be reduced or waived by the appropriate head of an OSD
                    Component or Secretary of a MILDEP on a case-by-case basis with
                    appropriate risk assessment and mitigation measures.
                o Comply with all installation, State, and local government guidance.
                o Are recommended to get tested for COVID-19 between 3 and 5 days after
                    arrival, regardless of their vaccination status.
      ii) It is recommended that DoD family members conduct pre-travel screening and
           testing as described above and are strongly recommended to follow the FHP
           guidance that is provided within this document for Service members during all
           travel.
      iii) It is recommended that DoD civilian employees and DoD contractor personnel
           conduct pre-travel screening and testing as described above and are strongly
           recommended to follow the FHP guidance for Service members that is provided
           in this document during all travel. Any applicable requirements in section 5
           must be met prior to returning to a DoD workplace.
   b) Unofficial Travel
      i) Service members
           • It is recommended that Service members conduct pre-travel testing as
                described above. Service members will follow risk assessment and ROM
                procedures described above in the Official Travel section.
           • Service members will comply with DoD Component-specific guidance and/or
                procedures of the GCC, including those necessary to respect HN procedures
                applicable to the countries to which, and through which, they are traveling.
           • Service members will conduct a risk assessment as described in
                “Determining Whether to Travel” above upon arrival in the United States.


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               Those who become ill, or have had close contact with a person known to have
               contracted COVID-19 during travel, must self-isolate (if ill) or quarantine (if
               exposed but not ill) and notify their chain of command or supervisor.
               Exception: Individuals fully recovered from a laboratory-confirmed
               diagnosis of COVID-19 infection within the previous 3 months or those who
               are fully vaccinated are not required to quarantine as long as they remain
               symptom-free.
      ii) DoD family members may follow the FHP guidance, including pre-travel
           screening, for Service members provided within this document.
      iii) DoD civilian employees and DoD contractor personnel may follow the FHP
           guidance, including pre-travel screening for Service members provided within
           this document. Any applicable requirements in section 5 must be met prior to
           returning to a DoD workplace.

   7.5.3. Travel Within the United States
   a) Official Travel
       i) Service members
            • Will comply with military installation, State, and local government travel
                restrictions.
            • Will comply with their DoD Component-specific guidance and/or procedures
                for screening, ROM, and testing, and should review and consider CDC
                guidance.
       ii) DoD family members are strongly recommended to follow the FHP guidance for
            Service members provided within this document during all travel.
       iii) DoD civilian employees and DoD contractor personnel will conduct pre-travel
            screening as described above and are strongly recommended to follow the
            guidance for Service members provided within this document for Service
            members during all travel. Any applicable requirements in section 5 must be
            met prior to returning to a DoD workplace.
   b) Unofficial Travel
       i) Service members
            • Will comply with military installation, State, and local government travel
                restrictions.
            • Will comply with their DoD Component-specific guidance and/or procedures
                for screening, ROM, and testing.
       ii) DoD family members are strongly recommended to follow the FHP guidance for
            Service members provided within this document during all travel.
       iii) DoD civilian employees and DoD contractor personnel are strongly
            recommended to follow the guidance for Service members provided above. Any
            applicable requirements in section 5 must be met prior to returning to a DoD
            workplace.




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7.3. OFFICIAL TRAVEL FROM THE UNITED STATES TO A FOREIGN COUNTRY.

   1. Service members and DoD civilian employees:

       Service members and DoD civilian employees must follow all requirements imposed
by the GCC with responsibility over the destination geographic area, including all
applicable HN procedures as a means to respect HN law, and all requirements of the
Electronic Foreign Clearance Guide.

   2. DoD family members

        Service members must attest that, to the best of their knowledge, their family
members have followed the same requirements as those set forth for Service members in
this guidance. Failure to do so may result in delay or cancellation of previously authorized
travel. This attestation requirement will be incorporated into travel orders issued to
Service members.

   3. DoD contractor personnel:

       DoD contracting officers will ensure that all contracts that include performance
outside the United States require DoD contractor personnel to comply with the country
entry requirements of the respective GCC.


7.64. ADDITIONAL GUIDANCE FOR RESERVE AND NATIONAL GUARD
PERSONNEL.

       1. The Secretaries of the MILDEPs may issue any additional procedural guidance as
          necessary for Reserve Component personnel.

       2. Reserve Component (including National Guard) personnel on official travel will
          complete any required health and ROM measures, including home-based quarantine
          or self-isolation if required, prior to the end of the official duty period.

       3. Reserve Component (including National Guard) personnel on official travel who are
          not eligible for treatment at a military medical treatment facility, or who are not
          within the established access radius around a military medical treatment facility, may
          obtain COVID-19 official travel related testing at a civilian testing site and submit for
          reimbursement on their travel voucher.

       4. For National Guard (NG) members supporting Federal Emergency Management
          Agency mission assignments or for other activities undertaken by NG personnel in a
          title 10 or title 32 duty status, the Chief of the National Guard Bureau, in coordination
          with the Secretaries of the Army and the Air Force, may issue redeployment guidance
          to the States, territories, and the District of Columbia to support mission
          requirements, while minimizing risks to NG members and local communities.
          Reserve Component personnel in support of another department or agency will


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         complete any required health and ROM measures, including home-based quarantine
         or self-monitoring, prior to the end of the period of support to that other department
         or agency.


7.7. ADDITIONAL GUIDANCE TO ASSIST COMMANDERS WITH TRAVEL
DECISIONS. [RESCINDED]

      1. The Department of Defense Joint Travel Regulations are available at:
         https://www.defensetravel.dod.mil/site/travelreg.cfm

      2. The DoD COVID-19 Response and Operations Platform, available at
         https://covid-status.data.mil/#/, provides travel scenarios and COVID-19
         installation status and information to scope, plan, and approve travel by
         providing awareness of Health Protection Condition levels and COVID-19
         hotspots.

      3. The Defense Health Agency’s Armed Forces Health Surveillance Division
         provides a “Trajectory of Civilian COVID-19 Cases by County” for the U.S. at
         the AFHSB COVID-19 Dashboard, available at:
             • https://go.intelink.gov/25BWvsS
             • https://covid-status.data.mil/#/

         COVID-19 Signs and Symptoms are available at:
         https://www.cdc.gov/coronavirus/2019-ncov/symptoms-testing/symptoms.html




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        SECTION 8: PROTECTION OF PERSONALLY IDENTIFIABLE
               INFORMATION RELATED TO COVID-19

8.1. GENERAL.

        Under this Force Health Protection Guidance, the DoD may collect and maintain
sensitive and private information about individuals, including medical information. All
personally identifiable information (PII) on individuals must be appropriately safeguarded. In
implementing this guidance, DoD Components may collect, use, maintain, and/or disseminate
only the minimum amount of PII necessary to prevent the spread of COVID-19 and to protect
personnel in DoD workplaces. All personally identifiable information (PII) on individuals must
be appropriately safeguarded under the Privacy Act of 1974 and DoDI 5400.11, “DoD Privacy
and Civil Liberties Programs.”

        Due to the public health emergency, DoD Components are authorized to collect COVID-
19 information from individuals whose place of duty is in the DoD workplace, to the extent such
collection is necessary to implement the guidance above on workplace access and restriction.
DoD Components are authorized to use DD Form 3112, “Personnel Accountability and
Assessment Notification for Coronavirus Disease 2019 (COVID-19) Exposure,” to collect this
information (e.g., affected individual information, type of confirmed or possible health or safety
issue). This form is located at:
https://www.esd.whs.mil/Portals/54/Documents/DD/forms/dd/dd3112.pdf.

 Currently, the requirement for all Federal civilian employees to be vaccinated is not in effect. A U.S.
 district court judge issued a nationwide preliminary injunction prohibiting implementation and
 enforcement of civilian employee vaccination requirements based on EO 14043. Requirements subject
 to the injunction and not currently in effect are included in this guidance in a strikeout form for ease of
 reinstitution by USD(P&R) should the injunction be lifted.



8.2. ADDITIONAL REQUIREMENTS FOR INFORMATION COLLECTED FROM
DOD CIVILIAN EMPLOYEES.

        Medical information obtained from DoD civilian employees, including vaccination
status, will be accessible only to immediate supervisors, authorized human resources officials,
and, for exemption requests, Decision Authorities and subject matter experts, who must access
the information to implement the guidance in this memorandum. The Rehabilitation Act’s
requirements on confidentiality of medical information apply whether or not a DoD civilian
employee has a disability.

      DoD personnel will use appropriate safeguards in handling and storing DoD civilian
employee medical information, including a DoD civilian employee’s proof of vaccination; any
medical information on the DD Forms 3175, 3176, and 3177, and COVID-19 test results.
Appropriate safeguards may include encrypting emails and electronic files, and role-based access


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to electronic storage environments where this information is maintained. In the event the
information is maintained in paper form, supervisors and other authorized DoD personnel must
ensure DoD civilian employee medical information remains confidential and is maintained
separately from other personnel files (e.g., stored in a separate, sealed envelope marked as
confidential DoD civilian employee medical information and maintained in locked file cabinets
or a secured room). DoD Components are advised to refer to applicable internal guidance on the
handling, storage, and disposition of DoD civilian employee medical records, and to consult their
Component Privacy Officer as needed for further guidance.

        Consistent with the Religious Freedom Restoration Act of 1993, 42 U.S.C. chapter 21B,
and Title VII of the Civil Rights Act, 42 U.S.C. chapter 21, subchapter VI, individuals seeking a
religious exemption from the vaccination requirement will submit to DoD supporting
information about their religious beliefs and practices in order for DoD to evaluate the exemption
request. Information collected from individuals under this guidance supporting vaccine
exemption requests will be treated in accordance with applicable laws and policies on privacy,
including the Privacy Act of 1974 and DoDI 5400.11, “DoD Privacy and Civil Liberties
Programs,” the Rehabilitation Act of 1973, as amended (“Rehabilitation Act”), and 5 CFR part
293, subpart E. While such information may be sensitive and is to be safeguarded, it is not
covered by the Health Insurance Portability and Accountability Act (HIPAA) and the associated
HIPAA Rules.

        Information gathered under this guidance collected from DoD civilian employees related
to exemption requests may be shared with immediate supervisors, authorized human resources
officials, Decision Authorities, and, in appropriate cases, subject matter experts, who must access
the information to implement the exemption process. DoD Components are advised to consult
their Component Privacy Officer and servicing legal office if there is a need to share medical or
religious information collected under this guidance with DoD personnel beyond what this
guidance permits or with individuals outside of DoD. Religious information will be accessible
only to those persons who have a role in carrying out the exemption procedures outlined in
section 2 of this memorandum.




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                              SECTION 9: DEFINITIONS
Close contact. Close contact is defined as someone who was within 6 feet of a person who
has contracted COVID-19 for a cumulative total of 15 minutes or more over a 24-hour
period starting from 2 days before illness onset (or, for asymptomatic patients, 2 days prior
to test specimen collection) until the time the patient is isolated and irrespective of whether
the person with COVID-19 or the contact of such a person was wearing a face covering or
mask or respiratory personal protective equipment.

Exposed. Persons are considered to be exposed to COVID-19 if they were less than 6 feet
away from an infected person (laboratory-confirmed or a clinical diagnosis) for a total of
15 minutes or more over a 24-hour period, unless both parties were wearing masks or
respirators. Individuals and supervisors may also assign the “exposed” classification below
the thresholds above based on the following additional criteria:

   •   Cough or heavy breathing: Was the infected person coughing, singing, shouting, or
       breathing heavily? Activities like coughing, singing, shouting and breathing heavily
       due to exertion increase the risk of transmission.
   •   Symptoms: Did the infected person have symptoms at the time? Being around
       people who are symptomatic increases the risk of transmission.
   •   Ventilation and filtration: How well-ventilated was the space? Risk of transmission
       is increased in poorly ventilated vehicles or rooms.
   •   Physical Distance: Crowded settings can raise the likelihood of being close to
       someone with COVID-19. Keep in mind that while maintaining a distance beyond 6
       feet of an infected person will limit exposures from larger droplets, exposures can
       occur beyond 50 feet based on ventilation, masking, and other factors.

Family member. See the definition in 5 CFR § 630.201.

Fully vaccinated.

       An individual is considered “fully vaccinated” when at least 2 weeks have elapsed after a
second dose of a two-dose COVID-19 vaccine series (e.g., PfizerBioNTech/Comirnaty, or
Moderna/Spikevax, or Novavax vaccines), or 2 weeks after receiving a single dose of a one-dose
COVID-19 vaccine (e.g., Johnson & Johnson’s Janssen vaccine) that are: (1) fully licensed
(approved) or authorized or approved by the FDA; or (2) listed for emergency use on the
World Health Organization Emergency Use Listing (e.g., AstraZeneca/Oxford); or (3) approved
for use in a clinical vaccine trial for which vaccine efficacy has been independently
confirmed (e.g., Novavax).

       An individual is “not fully vaccinated” if the individual either has not completed the full
COVID-19 vaccination primary dose series; or declines to provide his or her COVID-19
vaccination status and declines to provide any requested proof of that status.

       Those with previous COVID-19 infection(s) or previous serology are not considered fully
vaccinated on that basis for the purpose of this guidance.


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HPCON level. A framework to inform an installation’s population of specific health protection
actions recommended in response to an identified health threat, stratified by the scope and
severity of the health threat.

Mask. Acceptable high-quality masks are non-medical disposable masks; masks made with
layered breathable fabric (such as cotton); masks made with tightly woven fabric that does not
let light pass through when held up to a light source; masks with two or three layers; masks with
inner filter pockets, or, on a voluntary basis in non-medical settings, an N95-type filtering face
piece. A good practice is to wear a disposable mask underneath a cloth mask for added
protection as long as this does not interfere with breathing. Novelty or non-protective masks,
masks with ventilation valves, bandanas, and face shields are not authorized as a substitute for
masks. Masks must fit snugly around the nose and chin with no large gaps around the sides
of the face. Masks must be well fitting and worn correctly and consistently (around the
nose and chin).

Physically distance. Maintain separation between individuals and prevent crowding in
areas.

United States. The 50 States, U.S. commonwealths, U.S. territories, and the District of
Columbia.

Up-to-Date. A person has received all recommended COVID-19 vaccines, including any
booster dose(s) recommended when eligible. Booster doses are recommended, but are not
required.




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                Exhibit 7




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                        Healy Declaration - Exhibit A




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 Pseudonym                   Status                Religious Accomodation Request
Navy SEAL 21        Separated AD in Sep 22    appeal submitted but denied
Navy SEAL 24               Active duty        appeal submitted but denied
EOD 1                      Active duty        appeal submitted but denied
Navy SEAL 16               Active duty        appeal submitted but denied
Navy SEAL 25               Active duty        appeal submitted but denied
Navy SEAL 6         Separated AD in Sep 22    appeal submitted but mooted
Navy SEAL 11         Retired AD in Sep 22     appeal submitted but mooted
Navy Diver 1         Retired AD in May 22     appeal submitted but mooted
Navy SEAL 17        Separated AD in Mar 22    appeal submitted but mooted
Navy SEAL 18         Retired AD in Nov 22     appeal submitted but mooted
Navy SEAL 7         Separated AD in Nov 22    appeal submitted but mooted
Navy SEAL 4         Separated AD in Oct 22    appeal submitted but mooted
Navy SEAL 8                Active duty        appeal submitted but unadjudicated
SWCC 5                     Active duty        appeal submitted but unadjudicated
Navy SEAL 20               Active duty        appeal submitted but unadjudicated
Navy SEAL 9                Active duty        appeal submitted but unadjudicated
Navy SEAL 2                Active duty        appeal submitted but unadjudicated
Navy Diver 2               Active duty        appeal submitted but unadjudicated
Navy SEAL 5                Active duty        appeal submitted but unadjudicated
Navy SEAL 15               Active duty        appeal submitted but unadjudicated
Navy SEAL 12                Reservist         appeal submitted but unadjudicated
SWCC 4                     Active duty        appeal submitted but unadjudicated
Navy SEAL 3                Active duty        appeal submitted but unadjudicated
Navy SEAL 14               Active duty        appeal submitted but unadjudicated
Navy SEAL 26               Active duty        appeal submitted but unadjudicated
SWCC 3                      Reservist         appeal submitted but unadjudicated
Navy SEAL 13               Active duty        appeal submitted but unadjudicated
Navy SEAL 1                 Reservist         appeal submitted but unadjudicated
SWCC 1                     Active duty        appeal submitted but unadjudicated
Navy Diver 3          Retired AD in Jan 22    original request denied
Navy SEAL 23               Active duty        original request denied
Navy SEAL 10                Reservist         original request denied
Navy SEAL 19         Separated AD Jan 23      original request denied
SWCC 2                     Active duty        original request denied
 Navy SEAL 22              Active duty        original request denied


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Plaintiffs’ Response in Opposition
  to Defendants’ Suggestion of
Mootness and Appendix in Support
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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

U.S. NAVY SEALs 1-3; on behalf of
themselves and all others similarly situated;
U.S. NAVY EXPLOSIVE ORDNANCE
DISPOSAL TECHNICIAN 1, on behalf of
himself and all others similarly situated; U.S.
NAVY SEALS 4-26; U.S. NAVY SPECIAL
WARFARE COMBATANT CRAFT
CREWMEN 1-5; and U.S. NAVY DIVERS
1-3,
                       Plaintiffs,
                                                  Case No. 4:21-cv-01236-O
       v.

LLOYD J. AUSTIN, III, in his official
capacity as United States Secretary of
Defense; UNITED STATES
DEPARTMENT OF DEFENSE; CARLOS
DEL TORO, in his official capacity as
United States Secretary of the Navy,

                      Defendants.


                      PLAINTIFFS’ RESPONSE IN OPPOSITION
                    TO DEFENDANTS’ ASSERTION OF MOOTNESS
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                                              INTRODUCTION

        Defendants have failed to satisfy their burden to demonstrate that this case is moot. 1 The

plain language of Defendant Secretary of Defense’s January 10, 2023 Memorandum repealing the

August 24, 2021 COVID-19 vaccination mandate confirms that the rescission was in name only,

and Plaintiffs and the Navy Class (collectively “Plaintiffs”) continue to suffer the very harms they

presented to this Court at the outset of this litigation, minus only the danger of being immediately

separated from service for non-compliance with the mandate. Within the very document that

cancels the DoD mandate, a de facto vaccination mandate remains, leaving the door wide open for

commanders to continue considering vaccination status “in making deployment, assignment, and

other operational decisions,” something the Navy has previously argued includes virtually every

aspect of the class members’ careers, while completely eliminating the opportunity for class

members to continue asserting their religious objections. Pls.’ App. 0003. Moreover, contrary to

Defendants’ assertions, the Navy’s other applicable discriminatory policies remain in effect. Thus,

the coercion and discrimination that the class has suffered since 2021 has not ended, and the

Navy’s farcical process for religious accommodation requests has gone from a 50-step process

ending in denial to a “zero-step process,” as Judge Duncan recently pointed out at oral argument

in the Fifth Circuit. Without the continued protection of the injunctive relief the pursuit of a

permanent injunction and declaratory judgment, the class members’ religious liberty rights

continue to be violated, and many class members will eventually be separated from the Navy

because they will be ineligible to meet milestones or obtain required training.




1
  The same day Defendants filed the instant motion, Defendants’ appellate counsel declined to tell the Fifth Circuit
that they contend the entire case was moot. See Oral Argument at 30:18-42, 37:13-47, U.S. Navy SEAL 1-26 v. Biden,
No. 22-10077 (5th Cir. Feb. 6, 2023), available at https://www.ca5.uscourts.gov/OralArgRecordings/22/22-10077_2-
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                                           ARGUMENT

  I.   This Case is Not Moot Because the Class Members Can Still Obtain Relief and Have
       A Concrete Interest in the Outcome.

       Article III of the Constitution grants courts the authority to adjudicate “Cases” and

“Controversies.” An “actual controversy” must exist not only “at the time the complaint is filed,”

but through “all stages” of the litigation. Alvarez v. Smith, 558 U.S. 87, 92 (2009). “A case becomes

moot—and therefore no longer a ‘Case’ or ‘Controversy’ for purposes of Article III—when the

issues presented are no longer ‘live’ or the parties lack a legally cognizable interest in the

outcome.” Already, LLC v. Nike, Inc., 568 U.S. 85, 91 (2013). “A defendant claiming that its

voluntary compliance moots a case bears the formidable burden of showing that it is absolutely

clear the allegedly wrongful behavior could not reasonably be expected to recur.” Friends of the

Earth, Inc. v. Laidlaw Envtl. Services (TOC), Inc., 528 U.S. 167, 190 (2000). Otherwise, “in a

lawsuit brought to force compliance, it is the plaintiff’s burden to establish standing by

demonstrating that, if unchecked by the litigation, the defendant’s allegedly wrongful behavior

will likely occur or continue, and that the ‘threatened injury [is] certainly impending.’” Id. (quoting

Whitmore v. Arkansas, 495 U.S. 149, 158 (1990)). While the rescission of the explicit mandate is

certainly a development welcomed by the class members and does address some of the harm they

were suffering, that does not mean the case is moot. Rather, “a case becomes moot only when it is

impossible for a court to grant any effectual relief whatever to the prevailing party.” Chafin v.

Chafin, 568 U.S. 165, 172 (2013) (citation omitted) (emphasis added). “As long as the parties have

a concrete interest, however small, in the outcome of the litigation, the case is not moot.” Id.

(citation omitted).

       While Defendants rest their assertion of mootness on the basis that the “NDAA is

intervening legislation that terminates the [Secretary’s] vaccination requirement,” Dkt. 222 at 8,



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thereby rendering “mootness . . . ‘the default,’” id. at 7, Defendants’ discriminatory actions

continue. The Executive Branch believes that Congress’s direction to rescind the mandate was a

“mistake,” 2 and nothing in the NDAA prevents Defendants from instituting a new mandate.

Defendants apparently have no desire to ensure Plaintiffs’ religious liberties are imminently

protected, as four weeks later, “the Pentagon’s personnel and readiness office has yet to complete

the requested paperwork to make the change a reality for thousands of unvaccinated troops in

limbo.” 3 And if the class members had any hope of returning to the operational fold with the

rescission of the formal mandate, such hopes were dashed when Defendant Secretary Del Toro

stated in December that the repeal of the mandate will “unquestionably . . . create almost two

classes of citizens in our services . . . Those that can’t deploy and those that can deploy.” 4

        A live controversy exists because Plaintiffs are suffering the same irreparable injury for the

same reasons and based on policies that existed prior to the Secretary’s repeal of the vaccine

mandate. Plaintiffs maintain a significant interest in obtaining relief from this Court to ensure that

Defendants permanently comply with their obligations under RFRA and the First Amendment.

Thus, this case is not moot.

       A. Navy policies harming the class members, including some the Court preliminarily
          enjoined Defendants from enforcing, are still in effect.

        Defendants’ claim that the rescission of the mandate resolved all remaining controversy is

false according to the face of the current DoD and Navy policies. The Memorandum issued on

January 10, 2023, which notes that the DoD mandate “has helped ensure the vaccination of many



2
  Heather Mongilio, Pentagon Unclear How Military Would Manage End of Mandatory COVID-19 Vaccines, USNI
NEWS (Dec. 7, 2022), https://news.usni.org/2022/12/07/pentagon-unclear-how-military-would-handle-end-of-
mandatory-covid-19-vaccines.
3
  Meghann Myers, Four weeks later, military still waiting on post-vaccine guidance, MILITARY TIMES (Feb. 9, 2023),
https://www.militarytimes.com/news/your-military/2023/02/09/four-weeks-later-military-still-waiting-on-post-
vaccine-guidance/.
4
  Mongilio, supra n.2.


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Americans,” expressly states that “[o]ther standing Departmental policies, procedures, and

processes regarding immunizations remain in effect. These include the ability of commanders to

consider, as appropriate, the individual immunization status of personnel in making deployment,

assignment, and other operational decisions, including when vaccination is required for travel to,

or entry into, a foreign nation.” Pls.’ App. 0002 (emphasis added), 0003. ALNAV 009/23, which

was issued on January 23, expressly “cancel[s]” only one Navy policy: ALNAV 062/21, the Navy

mandate. Defs. App. 004. It further states that “[w]e will continue to consider medical readiness,

of which vaccination plays a key role, in all appropriate settings.” Id. And NAVAMIN 005/23, the

only other post-rescission policy from the Navy that Plaintiffs are aware of, “cancel[s]” only one

policy: NAVADMIN 190/21, the Navy’s mandate and reporting policy. Defs. App. 002.

NAVADMIN 005/23 references NAVADMINs 225/21 and 256/21 (both of which were part of

the Court’s preliminary injunctions), as well as NAVADMINs 283/21 and 083/22, but does not

cancel them. Defs. App. 002. Thus, it is apparent that the Navy intends for these policies to remain

in effect. Indeed, NAVADMIN 005/23 provides only that “[a]ll commands will immediately

suspend any new adverse administrative actions associated with refusing the COVID-19 vaccine

as described in [NAVADMINs 190/21, 225/21, 256/21, 283/21, and 083/21].” Defs.’ App. 001-

02 (emphasis added).

       “Adverse administrative actions” are quite narrow according to the Navy, and the Navy

has already argued that much of the discriminatory treatment of the class members is not “adverse

action” as this Court used the term in the preliminary injunction. See Dkt. 110; Dkt. 171. Nor does

this new NAVADMIN speak to what will happen to “adverse administrative actions” already

begun. NAVADMIN 005/23 also states that more guidance is yet to come, making Defendants’

motion premature. See Defs. App. 002 (“Updated operational guidance will be promulgated in a




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follow-on standard operational guidance serial. . . Additional detailed guidance regarding

implementation of this policy will be promulgated via future NAVADMIN.”). And finally,

NAVADMIN 005/23 states that “[a]ll commands will immediately suspend any new adverse

administrative actions associated with refusing the COVID-19 vaccine as described in [225/21 and

256/21].” Id. (emphasis added). Suspension of new adverse administrative actions is very different

from permanent relief or cancelling the policies. To “suspend” is to “to cause to stop temporarily,”

“to set aside or make temporarily inoperative,” or “to defer to a later time on specified conditions.” 5

        Finally, the new DoD and Navy policies made the accommodation process worse: DoD

and Navy state their intention to continue using vaccination status to make a wide range of

decisions involving the class members, yet now will no longer consider requests for religious

accommodation. See Pls.’ App. 0002 (“The Secretaries of the Military Departments will further

cease any ongoing reviews of current Service member religious . . . accommodation requests solely

for exemption from the COVID-19 vaccine”); Defs, App. 004 (“the Services shall cease any

ongoing review of current Service Members’ religious . . . accommodation requests solely for

exemption from the COVID-19 vaccine”). Defendants have made no representations as to how

they intend to remedy their “theatr[ical]”religious accommodation process that resulted in the

denial of every religious accommodation request related to the vaccine mandate, 6 and instead,

cancelled it altogether. Dkt. 66. Indeed, Defendants have made clear that a de facto mandate is in



5
  Suspend, Merriam-webster.com Dictionary, https://www.merriam-webster.com/dictionary/suspend (last accessed
Feb. 10, 2023).
6
  The Navy had not reported granting any religious accommodations before this Court entered preliminary injunctive
relief. As of the last available data from November 2022, the Navy claimed to have granted a handful of religious
accommodations, see U.S. Navy COVID-19 Updates, https://www.navy.mil/Resources/COVID-19-Updates/, but
those accommodations were granted only to servicemembers about to retire, see Heather Mongilio, Navy Nearing
1,500 COVID-19 Separations, USNI News (Jul. 27, 2022), https://news.usni.org/2022/07/27/navy-nearing-1500-
covid-19-vaccine-separations. That explanatory note was removed from the Navy’s website several months ago. See
https://web.archive.org/web/20220526022338/https:/www.navy.mil/US-Navy-COVID-19-Updates/.                  Several
Plaintiffs were also close to retirement yet did not receive such accommodation.


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place that allows commanders to continue considering vaccination status “in making deployment,

assignment, and other operational decisions” now without any process for religious

accommodations. Pls.’ App. 0003. Based on Defendants’ previous conduct and their admissions

in a similar case involving the Air Force in the Sixth Circuit, it is likely they will use these broad

categories to discriminate against and coerce Plaintiffs and treat them as second-class citizens who

are prevented from advancing in their military careers. 7

         Because these discriminatory policies remain in effect and continue to cause irreparable

injury to Plaintiffs, See Pls.’ App. 0087-88; 0091-92; 0095-96; 0103-109; 0119-20; 0125-27; 0132-

33; 01366-67; 0140-41; 0144-54, the case is not moot. Speech First, Inc. v. Fenves, 979 F.3d 319,

327-29 (5th Cir. 2020), as revised (Oct. 30, 2020) (rejecting mootness where public university

repealed some, but not all, objectionable policies in response to litigation). The Memorandum does

not give Plaintiffs all the relief sought by this litigation. Dkt. 222 at 8-9; cf. Freedom From Religion

Found., Inc. v. Abbott, No. 21-50469, 2023 WL 565082, at *4 (5th Cir. Jan. 27, 2023) (vacating

only permanent injunctive relief as moot where speech forum was closed so no further First

Amendment injury could occur).

      B. The Secretary’s January 10, 2023 Memorandum creates a de facto COVID-19
         vaccine mandate that is presently causing injury.

         The Memorandum expressly allows commanders to continue to consider vaccination status

“in making deployment, assignment, and other operational decisions.” Pls.’ App. 0002. These

broad, undefined categories of decisions cloaked as impenetrable military judgments have already

resulted in ongoing irreparable injury to Plaintiffs’ religious liberty rights. See Dkt. 140 at 25-26



7
 During oral argument in Doster, the Court asked, “Is it the Executive Branch’s position that you don’t have to worry
about RFRA until somebody sues?” Defendant’s counsel responded, “More or less, yes. RFRA itself is not a record
review statute and does not require the government to take any particular process.” Oral Argument at 18:38-18:55,
Doster v. Kendall, No. 22-3497 (6th Cir. Jul. 25, 2022).


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(citing Elrod v. Burns, 427 U.S. 347, 373 (1976) (plurality op.) and Opulent Life Church v. City of

Holly Springs, 697 F.3d 279, 295 (5th Cir. 2012)). Continued application of a de facto mandate

continues this injury and also irreparably damages Plaintiffs’ careers. See Pls.’ App. 0087-88;

0091-92; 0095-96; 0103-09; 0119-20; 0125-27; 0132-33; 0136-67; 0140-41; 0144-54. As

explained below, the general categories of harm cited in Plaintiffs’ First Amended Complaint, Dkt.

84, carry forward today and are hardly speculative. The de facto mandate is preventing Plaintiffs

from ever returning to an operational status, which directly harms their military career and inflicts

coercive pressure on them to take the vaccine. See Pls.’ App. 0087-88; 0091-92; 0095-96; 0103-

09; 0119-20; 0125-27; 0132-33; 0136-67; 0140-41; 0144-54.

       The evidence shows that Plaintiffs were assigned demeaning tasks to coerce compliance

with the vaccine requirement, including collecting trash and picking the lint out of Velcro, Dkt. 97

at 0007 and 0015; Dkt. 119 at 0053 and 0084. Class members are now exclusively assigned to

non-operational roles pursuant to still-effective Navy policy NAVADMIN 093/22 8 and continue

to experience the same coercion and damage to their religious liberty rights, not to mention their

careers.

       SEAL 22 is one of three unvaccinated Navy Special Warfare personnel whose non-

operational role is to complete random tasks assigned within his command that are not

commensurate with his highly specialized training. Pls.’ App 0101-08. During the week of

February 6, 2023, the Trident cell SEAL 22 works for traveled to a cold weather training trip to

Montana that he was not allowed to attend due to his unvaccinated status. Pls. App. 0107. As a




8
  NAVADMIN 093/22, U.S NAVY COVID-19 STANDARDIZED OPERATIONAL GUIDANCE 6.0 (Apr. 11,
2022), https://www.mynavyhr.navy.mil/Portals/55/Messages/NAVADMIN/NAV2022/NAV22093.txt?ver=ruF6V-
tpipc3-hA0KIHZ6g%3D%3D.


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result, SEAL 22 remained at his command and was tasked with moving buildings and transporting

laptops, which is well-below his rank as a E-7. Pls.’ App. 0107-08.

       SWCC 5 continues to be perpetually sidelined to a non-operational “shore duty” training

command due to his unvaccinated status. Pls.’ App. 0133. The individual who authorizes orders

for SWCCs to attach and detach from units has stated that he is unable to provide SWCC 5 and

other unvaccinated members with orders to operational units. Id; see also Pls.’ App. 0130. As a

result, SWCC 5’s career is at a standstill, and he can only be transferred to another non-operational

unit, which halts SWCC 5’s ability to continue to promote through the Navy. Id. Because of the

Navy’s discriminatory action of placing SWCC 5 in a non-operational status and removing him

from operational duties, SWCC 5 is now ranked significantly behind his peers within his group of

enlistment. Id.

       Class member and Elite Surface Warfare Officer Lieutenant Commander select Levi

Beaird is currently stashed in a non-operational command with no end in sight due to his

unvaccinated status. See Pls.’ App. 0144-54. The government-issued housing that should have only

been a temporary measure is woefully inadequate for the longterm needs of his family of six, yet

he cannot go anywhere else. Pls.’ App. 0153-54. Lieutenant Commander select Beaird is presently

faced with the threat of having to repay the costs of his military education and bonus pay that he

was awarded back in 2017. Pls.’ App. 0151. At no point has anyone in his command ever reached

out to him to explain the reason why his bonus incentive payments were suddenly halted in

November 2022. Pls.’ App. 0154. The irreparable injury being imposed on Lieutenant Commander

select Beaird continues today despite the Secretary’s repeal of the August 24, 2021 mandate. Id.

       Sidelining Sailors like SEAL 22, SWCC 5, and Lieutenant Commander select Beaird is the

Navy’s modus operandi for unvaccinated service members. Until Plaintiffs have a meaningful




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opportunity to participate in Naval activities in the same way as vaccinated sailors do, unless the

Navy can meet their exacting burden under RFRA, the Navy’s mandate is not truly repealed. 9 See,

e.g., Dkt. 97 at 10, 18. Navy-wide, Plaintiffs are presently serving in non-operational roles, Pls.’

App. 0080, 0088, 0092, 0096, 0104, 0120, 0126, 0133, 0137, 0141, 0147, and continue to be

subjected to vaccine coercion under the threat of being rejected from necessary promotions and

assignments that are the gateway to maintaining their careers in the Navy. Pls.’ App. 0087-88;

0091-92; 0095-96; 0103-09; 0119-20; 0125-27; 0132-33; 0136-67; 0140-41; 0144-54. Plaintiffs

are also being denied special duty pay that is the expected and well-deserved benefit of being

among the world’s elite class of combat warriors. See, e.g., Pls.’ App. 0147.

         Despite this Court’s injunctive relief, the continuing discriminatory actions will achieve

the intended result of these servicemembers being involuntarily separated from service. Simply

because the Navy has been foreclosed from overtly punishing and formally issuing adverse

administrative and discharge paperwork to the Plaintiffs for seeking religious accommodations

from the vaccine mandate does not account for the “deployment, assignment, and other operational

decisions” that have been and will continue to be intentionally made to irreversibly damage the

Plaintiffs’ careers as reprisal for their vaccination status. Defendants have taken an extraordinarily

broad view of what constitutes an “operational decision,” and as stated above, there is sufficient

evidence demonstrating that they will seek to impose that broad view to continue punishing

servicemembers for their religious beliefs. See Austin v. U.S. Navy Seals 1-26, 142 S. Ct. 1301,

1305–06 (2022) (Alito, J., dissenting) (“[T]he terms seemingly allow the Navy to do just about

anything it wants short of punishing [Plaintiffs] and drumming them out of service.”). Indeed,



9
  With the repeal of the mandate also came the repeal of the COVID-19 vaccine religious accommodation process. In
fact, without Plaintiffs’ knowledge or consent, their religious accommodation requests (RAR) have now simply
disappeared from their personnel accounts, as if their RAR, or this lawsuit, never happened. See e.g., Pls.’ App. 0123.


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Plaintiffs have already filed a motion before this Court that remains pending, disputing

Defendants’ interpretation of both what constitutes a deployment, assignment, or operational

decision and what constitutes an adverse action. See Dkt. 95. Thus, absent continued litigation in

this Court, Defendants will continue ignoring their obligations under RFRA and the First

Amendment. Without the protection of this Court’s injunctive relief while the impact of the

mandate’s recission is understood as the Navy continues to delay additional guidance, Plaintiffs

will suffer irreparable injury merely because they sought protection for their religious beliefs. And

absent permanent relief, the Navy will no doubt continue its present course of discriminatory

treatment.

         Defendants’ arguments presume that this is merely a case about records and personnel

files. 10 But Plaintiffs have demonstrated that it is much more. This case challenges the Navy’s

treatment of sailors with sincere religious beliefs against COVID-19 vaccination as second-class

citizens simply because they requested accommodation of those beliefs. Those sailors want to

continue to serve in the Navy and receive equal opportunity for promotions, assignments, benefits,

and special pay as their vaccinated peers, unless the Navy can meet its exacting burden under

RFRA to accommodate individual service members’ religious beliefs. But so long as Defendants

treat religious service members as a separate “class[]” of the military, the constitutional injury is

not rectified, regardless of the existence of a formal mandate. 11 Defendants’ assurances that




10
   Defendants claim that “ten of the 35 pseudonymous Plaintiffs had previously chosen to withdraw their religious
accommodation requests and voluntarily separate or retire from the Navy.” Dkt. 222 at 6. Defendants’ attempt to
characterize these SEALs as recanting their religious beliefs is factually incorrect. Some of the original Plaintiffs have
indeed retired or separated due to completing their service requirement or for medical reasons, but to the best of
Plantiffs’ counsel’s knowledge, none withdrew their RAR before retiring. If withdrawing their RAR was part of the
separation or retirement process, those Plaintiffs were unaware and their RA was never discussed during that process.
See e.g. Pls.’ App. 0083-84; 0099-100.
11
   Mongilio, supra n.2.


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Plaintiffs “will not be discharged based on previously refusal to comply 12 with the vaccination

requirement,” that “no new adverse actions for declining COVID-19 vaccination will be issued to

them,” and that “any preexisting adverse action issued based solely on refusal to comply with the

vaccination requirement—if there is any—will be removed from their records” are the bare

minimum actions necessary to rectify Defendants’ discriminatory actions. And while all of this is

a step in the right direction, as demonstrated above, those assurances do not ultimately solve the

“real and immediate threat” of constitutional injury the Plaintiffs are presently suffering.

         For these reasons, Plaintiffs maintain a cognizable interest in pursuing their claims in this

Court to protect themselves from suffering ongoing harm based on their religious objections to the

COVID-19 vaccine. Neither the Memorandum nor NAVADMIN 005/23 take any action to correct

the detrimental career impacts that have been and continue to be suffered by Plaintiffs because of

the sham religious accommodation process implemented by Defendants that led to the denial of

every religious accommodation request submitted by Plaintiffs. In fact, as Judge Duncan implied

during the February 6, 2023, oral argument at the Fifth Circuit, in which the Court thoroughly

addressed the issue of mootness, the sham process is even more damaging now that the Navy’s

fifty-step process is a zero-step process 13 because “the Secretaries of the Military Departments will

further cease any ongoing reviews of current Service member religious . . . accommodation

requests solely for exemption from the COVID-19 vaccine or appeals of denials of such requests.”

Pls.’ App. 0002.




12
   Defendants’ framing of the Plaintiffs and class members as service members that “refus[ed] to comply with the
vaccine requirement” is further evidence of the animosity toward the Plaintiffs for their religious beliefs. Plaintiffs did
not refuse to comply with the requirement, but rather, asked for an accommodation from that requirement to protect
their constitutional right to freely exercise their religion in the Navy.
13
   Oral Argument at 29:33-29:37.


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         Thus, a live controversy still exists. Precedent from the Supreme Court and the Fifth Circuit

hold that a case is not mooted if the challenged conduct continues after the repeal of an

unconstitutional policy. See Ne. Fla. Chapter of Associated Gen. Contractors of Am. v. City of

Jacksonville, Fla., 508 U.S. 656, 662 (1993) (“There is no mere risk that [Defendant] will repeat

its allegedly wrongful conduct; it has already done so.”); Opulent Life, 697 F.3d at 286 (holding a

case was not moot where a defendant “doubled down” on its challenged action after repealing a

policy). That is exactly what is happening here. Defendants have doubled down on their wrongful

conduct by repealing the vaccine mandate in name only, denying Plaintiffs any avenue to seek a

religious accommodation based on vaccination status, 14 and continuing to take adverse actions

against Plaintiffs that will ultimately accomplish the same result as the vaccine mandate: forcing

all servicemembers with religious objections to the COVID-19 vaccine out of the Navy. To rectify

the previous harms and to prevent ongoing violations of RFRA and the First Amendment, Plaintiffs

must obtain permanent relief from this Court.

 II.     “Assignment, Deployment, and Other Operational Decisions” Considering
         Vaccination Status Without a Legally Sufficient Accommodation Process Are
         Challenged by Plaintiffs and Remains a Live Controversy.

         As demonstrated above and in the declarations submitted to this Court by Plaintiffs and

class members, decisions regarding the operational status of service members are causing current

harm in the form of lost promotions, threat of recoupment of expenses and bonuses, lack of training

opportunity, and most importantly, constant coercion to become vaccinated to avoid a stalled

career. See Pls.’ App. 0087-88; 0091-92; 0095-96; 0103-09; 0119-20; 0125-27; 0132-33; 0136-

37; 0140-41; 0144-54. Defendants argue that all travel-related concerns have been rectified with



14
  This lack of process makes any adverse actions taken against the Plaintiffs and lack of deployability even worse, as
the Navy will not even consider requests for religious accommodation. Plaintiffs are thereby left with no avenue to
protect their fundamental rights in the Navy and must rely on this Court.


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the Department of Defense’s new Force Health Protection Guidance. But this guidance is not

Navy-specific, and in the very week that Defendants’ motion was filed, SEAL 22 spent his time

moving buildings because he was precluded from traveling with his Trident cell to Montana for

cold weather training. Pls.’ App. 0106-07. To date, the Navy has not issued any policies

implementing NAVADMIN 005/23, and has similarly not canceled any policies pursuant to that

guidance. 15 Any controversy regarding assignment, deployment, and operational decisions is far

from speculative, as we presently know that Defendant Del Toro envisions “two classes” within

the military and has merely only “suspend[ed] any new adverse actions associated with refusing

the COVID-19 vaccine as described in [NAVADMIN 225/21 and 256/21],” NAVADMIN 005/23,

to effectuate that intent. 16 And now, with no process to evaluate religious accommodation requests

for the COVID-19 and the Navy’s removal of religious accommodation requests (“RARs”) from

service members’ Navy Standard Integrated Personnel System personnel accounts, there is no way

for Plaintiffs to correct these harms outside the intervention of this Court. See Pls.’ App. 0123.

           Defendants also argue that any claim for monetary damages would be barred by sovereign

immunity. But the Plaintiffs’ complaint asserts claims under the Religious Freedom Restoration

Act (“RFRA”), a “super statute.” Bostock v. Clayton Cnty., 140 S. Ct. 1731, 1754 (2020). RFRA

provides that a “person whose religious exercise has been burdened in violation of this section may

. . . obtain appropriate relief against a government.” 42 U.S.C. § 2000bb-1(c) (emphasis added).

The Supreme Court has held that RFRA permits the recovery of monetary damages against

government officers in their official capacities. See Tanzin v. Tanvir, 141 S. Ct. 486 (2020). The

plain text of RFRA makes no distinction between government actors in their individual versus

their official capacity in its waiver of sovereign immunity – simply “appropriate relief against a


15
     Myers, supra n.3.
16
     See Mongilio, supra n.2.


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government.” 42 U.S.C. § 2000bb-1(c) (emphasis added). “Appropriate relief” does not change

depending on the capacity of a government defendant. In Tanzin, the unanimous court stated that

“[a] damages remedy is not just ‘appropriate’ relief as viewed through the lens of suits against

Government employees. It is also the only form of relief that can remedy some RFRA violations

. . . Given the textual cues just noted, it would be odd to construe RFRA in a manner that prevents

courts from awarding such relief.” Tanzin, 141S. Ct. at 492 (emphasis in original). While the

government indeed enjoys sovereign immunity, it has waived that immunity from money damages

under RFRA. See F.A.A. v. Cooper, 566 U.S. 284, 291 (2012) (“Congress need not state its intent

in any particular way,” and the Supreme Court has “never required that Congress use magic words”

to waive sovereign immunity as to money damages.). Defendants’ reliance on a concurring opinion

in Webman does not account for the Tanzin decision. Webman v. Fed. Bureau of Prisons, 441 F.3d

1022, 1028 (D.C. Cir. 2006) (Tatel, J. concurring).

        Plaintiffs’ challenge to discriminatory “deployment, assignment, and other operational

decisions” based on vaccination status thus remains a live controversy this Court can address and

through which the Court can provide meaningful relief to the class, whether by monetary damages,

declaratory judgment, or permanent injunctive relief.

III.    Even if Defendants Had Ceased All Challenged Conduct, the Voluntary Cessation
        Doctrine Applies.

        Courts have long recognized that defendants cannot automatically moot a case simply by

ending their unlawful conduct once sued. City of Mesquite v. Aladdin’s Castle, Inc., 455 U.S. 283,

289 (1982). “[I]f it did, the courts would be compelled to leave [t]he defendant[s] . . . free to return

to [their] old ways.” Id. Instead, because Defendants claim their “voluntary compliance moots a

case” they “bear[] the formidable burden of showing that it is absolutely clear the allegedly

wrongful behavior could not reasonably be expected to recur.” Friends of the Earth, 528 U.S. at



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190. By Defendants’ own admission, they voluntarily ceased at least some of the unlawful conduct

at issue in this case. See Dkt. 222 at 15 (stating Defendants “have gone beyond what was required

by Congress”). Defendants cannot argue both that they are going above and “beyond” to cure

previous harms while at the same time maintain that every action they have taken was involuntarily

forced by Congress. Congress only mandated that the current vaccine mandate be rescinded and

did not prohibit Defendants from establishing a new mandate. The specifics for how that mandate

was to be rescinded rested solely with Defendants, which distinguishes this case from the

authorities cited by Defendants addressing situations where government actors lacked any

unilateral authority over the challenged policy. See, e.g., J. T. v. District of Columbia, 983 F.3d

516, 523 (D.C. Cir. 2020).

       Although Defendants admit that they voluntarily ceased at least some of the challenged

conduct, the only remaining issue is whether they have met the formidable burden of showing that

the complained of conduct cannot recur. A simple review of Plaintiffs’ evidence should allow this

Court to quickly determine that Defendants do not satisfy this burden. Not only do Defendants

retain the authority to reinstitute a new vaccine mandate at any time, but, as explained above, the

very rescission document demonstrating de minimis compliance with the FY 2023 NDAA also

institutes a de facto vaccine mandate–with no formal repeal, recission, or cancellation of two

enjoined policies. This “authority to reinstate [the challenged policies] at any time” from officials

“with a track record of ‘moving the goalposts’” subjects Plaintiffs to a credible threat of

widespread enforcement of Defendants’ discriminatory vaccination requirements in the future.

Tandon v. Newsom, 141 S. Ct. 1294, 1297 (2021). Defendants also continue to defend the merits

of their mandate. See Mongilio, supra n.2; Pls.’ App. 0003 (“The Department’s COVID-19

vaccination efforts will leave a lasting legacy in the many lives we saved, the world-class Force




                                                 15
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we have been able to field, and the high legal of readiness we have maintained . . .”); Defs.’ App.

004 (COVID-19 vaccines have proven to be safe, effective, and life-saving. I am confident that

our high vaccination percentage across the Department of the Navy has both saved lives, and

prevented hospitalizations across our entire force.”). And as discussed above, and as Secretary Del

Toro admits, the rescission of the official mandate has only resulted in a de facto mandate which

treats religious sailors as second-class citizens. Thus, the wrongful conduct alleged in this suit is

reasonably likely to recur, and the voluntary cessation doctrine applies.

       The fact that Defendants are government actors does not change the doctrine’s application.

When the government changes a law or policy in response to litigation, as here, the voluntary

cessation doctrine prevents dismissal of a plaintiff’s claim based on mootness. See Parents

Involved in Cmty. Schs. v. Seattle Sch. Dist. No. 1, 551 U.S. 701, 719 (2007) (finding voluntary

cessation doctrine applied because although public school district suspended the offending policy,

it vigorously defended the constitutionality of its race-based program, and did not deny that if the

litigation was resolved in its favor it would resume using race to assign students); Tucker v. Gaddis,

40 F.4th 289, 293 (5th Cir. 2022) (holding a prison’s changed policy did not moot a case where

the prison gave no assurances that it would not repeat the challenged conduct); DeJohn v. Temple

Univ., 537 F.3d 301, 309-10 (3d Cir. 2008) (holding public university’s policy change during

litigation and continued defense of that policy on appeal did not moot case); cf. Jews for Jesus,

Inc. v. Hillsborough Cnty. Aviation Auth., 162 F.2d 627, 629-30 (11th Cir. 1998) (holding First

Amendment claims against airport solicitation policy were moot because the change in policy

came one month after the start of litigation, was based on “substantial deliberation” by the

government and had been consistently applied for three years during the litigation).




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       Indeed, even if this Court applies the more relaxed standard it sometimes uses when the

defendant is a government actor, the result is the same. This Court considers three factors when

applying its more relaxed standard: “(1) the absence of a controlling statement of future intention

[not to repeat the challenged policy]; (2) the suspicious timing of the change; and (3) the

[governmental entity’s] continued defense of the challenged polic[y]” after the supposedly

mooting event. Speech First, 979 F.3d at 328 (holding that the government had engaged in only

partial voluntary cessation because parts of the overbroad speech policy remained). These factors

are easily satisfied here. First, Defendants have made no representations that they will not continue

to discriminate against Plaintiffs based on their religious beliefs. In fact, their actions and

statements demonstrate an intent to do just the opposite—specifically treating unvaccinated

religious sailors as second-class citizens. Second, Defendants continue to defend the repealed

policy and have publicly stated that the vaccine mandate was a lawful order at the time it was

issued. Even under this Court’s more relaxed standard, Plaintiffs’ claims are not moot.

IV.    Defendants’ Conduct Is Capable of Repetition Yet Evades Review.

       Even if the case were moot, a well-established exception permitting the Court to adjudicate

the case is if the Defendants’ conduct is capable of repetition yet evading review. Fed. Election

Comm’n v. Wisconsin Right To Life, Inc., 551 U.S. 449, 462 (2007). To fall within this exception,

Plaintiffs must show “(1) the challenged action was in its duration too short to be fully litigated

prior to its cessation or expiration, and (2) there was a reasonable expectation that the same

complaining party would be subjected to the same action again.” Cath. Leadership Coal. of Texas

v. Reisman, 764 F.3d 409, 422 (5th Cir. 2014). Under the first element, a case evades review if its

duration is too short to receive “complete judicial review,” including review by the Supreme Court.




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First Nat’l Bank of Bos. v. Bellotti, 435 U.S. 765, 774 (1978); see also Empower Texans, Inc. v.

Geren, 977 F.3d 367, 370 (5th Cir. 2020).

       Here, the vaccine mandate was in effect for less than 18 months, a time period the Supreme

Court has repeatedly held to be insufficient to obtain complete judicial review. See, e.g.,

Kingdomware Tech., Inc. v. United States, 136 S. Ct. 1969, 1976 (2016) (holding two years is too

short); First Nat. Bank, 435 U.S. at 774 (holding 18 months is too short); Southern Pac. Terminal

Co. v. ICC, 219 U.S. 498, 515 (1911) (holding two years is too short). Further, the vaccine mandate

at issue in this lawsuit is “inherently capable of evading review” because it involves a virus that

the Navy’s own commanders admit is constantly changing and a vaccine that has grown less and

less effective against that virus over time. See Dkt. 210-1 at 10–13 (discussing the evolving nature

of the COVID-19 virus and the effectiveness of vaccines). Thus, the first element is satisfied.

       When analyzing the second element, courts are concerned with whether the conduct was

“capable of repetition and not . . . whether the claimant had demonstrated that a reoccurrence of

the dispute was more probable than not.” Honig v. Doe, 484 U.S. 305, 318 n.6 (1988). Plaintiffs

need not demonstrate with “mathematical precision” that they will be subject to the same illegal

conduct; rather, they just need to show “a reasonable expectation” that the challenged action will

reoccur. Id. In Roman Catholic Diocese of Brooklyn v. Cuomo, 141 S. Ct. 63 (2020), the Supreme

Court held that a church’s First Amendment challenge to New York’s COVID-19 lockdown orders

was not moot because it was capable of repetition, yet evading review. The church “remain[ed]

under a constant threat” that the government would reinstitute a lockdown in its area. Id. at 68.

Because the challenged action was too short in duration to be fully litigated prior to cessation, and

there was a reasonable expectation that the church would be subject to the same action in the future,

the case was not moot. Id. Plaintiffs have a reasonable expectation that the challenged action—




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application of a vaccine mandate that violated their religious beliefs—will recur. The FY23 NDAA

forced Defendants to rescind the 2021 mandate to be vaccinated against COVID-19. Yet, as

explained above, Defendants implemented a de facto mandate in the very document that repealed

the original mandate in name only. Defendants remain free to make decisions about sailors that

will unlawfully harm their careers based on their vaccination status. Defendants provide no

assurances that they will not continue to discriminate against Plaintiffs in violation of RFRA and

the First Amendment because they sought religious accommodations from the mandate and remain

unvaccinated against COVID-19.

       Defendants also retain the power to institute an identical and more widespread vaccine

mandate at any time, and they have already stated they have a compelling interest in doing so.

Nothing in the FY23 NDAA, the Memorandum, ALNAV 009/23, or NAVADMIN 005/23

prevents the Navy from restoring these very same policies in the same broad and sweeping manner

that Defendants previously used to inflict the very same constitutional injury on the Plaintiffs this

Court already saw fit to enjoin. Unlike cases concerning COVID-19 stay at home orders or mask

mandates in schools, this is not a case speculating about future edicts. NAVADMIN 225/21 and

NAVADMIN 256/21 still exist and the Plaintiffs continue to be sidelined by the Navy’s de facto

mandate. Yet, this Court’s injunction and the ultimate outcome of this lawsuit can prevent further

loss of Plaintiffs’ constitutional rights. Thus, Plaintiffs’ claims are capable of repetition but evade

review, and this case is not moot.

                                          CONCLUSION

       For the foregoing reasons, this Court should deny Defendants’ Motion.




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Respectfully submitted this 13th day of February, 2023.

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                               CERTIFICATE OF SERVICE

       I hereby certify that on February 13, 2023, I electronically filed the foregoing document

through the Court’s ECF system and will serve a copy on each of the Defendants according to the

Federal Rules of Civil Procedure.



                                                /s/ Heather Gebelin Hacker
                                                HEATHER GEBELIN HACKER




                                              21
     Case: 22-10077   Document: 284 Page: 160                  Date Filed: 02/13/2023
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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

U.S. NAVY SEALs 1-3; on behalf of
themselves and all others similarly situated;
U.S. NAVY EXPLOSIVE ORDNANCE
DISPOSAL TECHNICIAN 1, on behalf of
himself and all others similarly situated; U.S.
NAVY SEALS 4-26; U.S. NAVY SPECIAL
WARFARE COMBATANT CRAFT
CREWMEN 1-5; and U.S. NAVY DIVERS
1-3,
                       Plaintiffs,
                                                           Case No. 4:21-cv-01236-O
       v.

LLOYD J. AUSTIN, III, in his official
capacity as United States Secretary of
Defense; UNITED STATES
DEPARTMENT OF DEFENSE; CARLOS
DEL TORO, in his official capacity as
United States Secretary of the Navy,

                       Defendants.


    APPENDIX IN OPPOSITION TO DEFENDANTS’ ASSERTION OF MOOTNESS

Tab         Description                                                  Bates Number(s)

1           Secretary of Defense, Memorandum, “Rescission of August 0001-0003
            24, 2021 and November 30, 2021 Coronavirus Disease 2019
            Vaccination Requirements for Members of the Armed Forces”
            (Jan. 10, 2023).


2           Heather Mongilio, Pentagon Unclear How Military Would        0004-0011
            Manage End of Mandatory COVID-19 Vaccines, USNI NEWS
            (Dec. 7, 2022).


3           Meghann Myers, Four weeks later, military still waiting on   0011-0017
            post-vaccine guidance, MILITARY TIMES (Feb. 9, 2023).


4           Paul D. Shinkman, Pentagon: No Back Pay to Troops            0018-0025
     Case: 22-10077   Document: 284 Page: 161           Date Filed: 02/13/2023
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        Discharged for Refusing COVID-19 Vaccine, US NEWS (Jan.
        17, 2023).


5       U.S. Navy COVID-19 Updates (Nov. 30, 2022)                0026-0044


6       Heather Mongilio, Navy Nearing 1/500 COVID-19             0045-0050
        Separations, USNI News (Jul. 27, 2022).


7       U.S. Navy COVID-19 Updates (May 25, 2022).                0051-0069


8       NAVADMIN 093/22, U.S NAVY COVID-19                        0070-0077
        STANDARDIZED OPERATIONAL GUIDANCE 6.0 (Apr.
        11, 2022).


9       Declaration of U.S. Navy SEAL 3                           0078-0081


10      Declaration of U.S. Navy SEAL 7                           0082-0085


11      Declaration of U.S. Navy SEAL 9                           0086-0089


12      Declaration of U.S. Navy SEAL 13                          0090-0093


13      Declaration of U.S. Navy SEAL 15                          0094-0097


14      Declaration of U.S. Navy SEAL 19                          0098-0101


15      Declaration of U.S. Navy SEAL 22                          0102-0117


16      Declaration of U.S. Navy SEAL 26                          0118-012


17      Declaration of U.S. Navy SWCC 1                           0124-0130


18      Declaration of U.S. Navy SWCC 5                           0131-0134
     Case: 22-10077   Document: 284 Page: 162            Date Filed: 02/13/2023
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19      Declaration of U.S. Navy EOD 1                            0135-0138


20      Declaration of U.S. Navy SEAL 5                           0139-0142


21      Declaration of Levi Beaird, Lieutenant Commander (SEL),   0143-0158
        USN
     Case: 22-10077   Document: 284 Page: 163                     Date Filed: 02/13/2023
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     Case: 22-10077   Document: 284 Page: 164       Date Filed: 02/13/2023
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                              Tab 1




                                       Pls.' Opp. to Assertion of Mootness App. 0001
     Case: 22-10077   Document: 284 Page: 165       Date Filed: 02/13/2023
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                                       Pls.' Opp. to Assertion of Mootness App. 0002
     Case: 22-10077   Document: 284 Page: 166       Date Filed: 02/13/2023
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                                       Pls.' Opp. to Assertion of Mootness App. 0003
     Case: 22-10077   Document: 284 Page: 167       Date Filed: 02/13/2023
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                              Tab 2




                                       Pls.' Opp. to Assertion of Mootness App. 0004
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","sameAs":[]}]} 4:21-cv-01236-O     Document      225      Filed 02/13/23        Page    9  of  162    PageID     7510

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     NEWS MENU                                                                       SEARCH



     Home » Budget Industry » Pentagon Unclear How Military Would Manage End of Mandatory COVID-19 Vaccines




     Pentagon Unclear How Military Would Manage
     End of Mandatory COVID-19 Vaccines
     By: Heather Mongilio
     December 7, 2022 7:17 PM




      Hospital Corpsman 2nd Class Gregzon Fontanilla, from Guam, prepares a COVID-19 vaccine aboard the America-
      class amphibious assault ship USS Tripoli (LHA-7) on May 10, 2022. US Navy Photo




     The Pentagon has no ready answers on how the Department of Defense would implement pending
     legislation that would allow service members to refuse the COVID-19 vaccine without facing separa-
                                                          Pls.' Opp. to Assertion of Mootness App. 0005
https://news.usni.org/2022/12/07/pentagon-unclear-how-military-would-handle-end-of-mandatory-covid-19-vaccines                1/7
2/12/23, 9:55 PM    Case: 22-10077 PentagonDocument:       284WouldPage:
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                                                                                           COVID-19 02/13/2023
                                                                                                            - USNI News
           Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 10 of 162 PageID 7511
     tion, officials said this week.


     Congressional Republicans negotiated with the Democrat-led House and Senate to include language
     that would rollback the military’s COVID-19 mandate as part of the Fiscal Year 2023 National Defense
     Authorization Act, according to a bill released late Tuesday.


     “Does that August 2021 policy still make sense?” House Armed Services Committee chair Rep. Adam
     Smith, D-Wash., said on Wednesday. “Is it still the right policy? We don’t believe that it is and I don’t
     believe that it is”


     The new law would nullify the mandate put in place by Secretary of Defense Lloyd Austin in 2021 that
     required service members to be vaccinated against COVID-19 using either Pfizer or Moderna’s
     mRNA vaccine, or the one-shot Johnson and Johnson or Novavax vaccines.


     Section 525 of the NDAA, released Tuesday night, requires the DoD to remove the COVID-19
     mandate.


     “We believe in the importance of the Secretary following public health guidance in order to protect the
     health and welfare of servicemembers and their families, to include mandating vaccines based on
     readiness requirements,” according to the bill language.


     Also included in the NDAA is language calling for the Department of Defense to consider reinstating
     service members who were separated due to refusal to get the COVID-19 vaccine. However, the bill
     does not demand that the service members who were separated be brought back into the service.


     Under the mandate, those who did not comply would be separated. As of Nov. 28, the Navy separated
     2,064 sailors, both reservists and active-duty, for failure to get vaccinated against COVID-19. As of
     Dec. 1, the Marine Corps separated 3,717 Marines.


     The language in the NDAA leaves it up to the services to determine if they will reinstate anyone sepa-
     rated for refusal to take the vaccine. It is not clear how the Navy or Marine Corps will handle the ser-
     vice members who were separated. The Navy referred questions about reinstating sailors to the
     Office of the Secretary of Defense.


     It is also unclear if sailors and Marines can be deployed. Currently, any sailor or Marine with a pend-
     ing or confirmed exemption from the vaccine cannot be deployed due to not having the vaccine, even
                                                                                    Pls.' Opp. to Assertion of Mootness App. 0006
https://news.usni.org/2022/12/07/pentagon-unclear-how-military-would-handle-end-of-mandatory-covid-19-vaccines                      2/7
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                                                                                            COVID-19 02/13/2023
                                                                                                             - USNI News
           Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 11 of 162 PageID 7512
     if they are still part of the Navy.


     Sabrina Singh, deputy Pentagon press secretary, declined to answer a question about the deploy-
     ment status of troops if the vaccine mandate falls, saying she could not comment on pending litigation
     when asked by reporters on Wednesday. The Pentagon’s legislative team is working with members of
     the House and Senate to express the secretary of defense’s desire that the vaccine mandate stays.


     “We have our legislative team that continues to work with members on the Hill, members of Congress
     in both chambers,” Singh said. “That’s part of their role and responsibilities and engaging with mem-
     bers on the Hill to make sure that they know where the Secretary’s priorities are. […] I think the
     Secretary was pretty clear and forceful and his response over the weekend when he said that he sup-
     ports continuing the vaccine mandate in the NDAA.”


     Also up in the air is the question of the sailors who filed religious exemption requests for the vaccine.
     A decision by a federal judge in March put a preliminary injunction in place barring the Navy from sep-
     arating them. It is not clear how the NDAA will affect the lawsuit, which is expected to be heard in
     February in the Fifth Circuit Court of Appeals.


     Secretary of the Navy Carlos Del Toro spoke against removing the mandate at a Navy League event
     Tuesday, raising concerns such as what happens to sailors who need to go to countries with strict
     vaccine requirements.


     Congress needs to understand the secondhand consequences of their decisions, the Navy secretary
     said.


     “But unquestionably it’ll create almost two classes of citizens in our services,” Del Toro said. “Those
     that can’t deploy and those that can deploy. And that creates all sorts of problems.”


     White House Press Secretary Karine Jean-Pierre called removing the mandate a mistake during a
     press conference Wednesday. The president will weigh the entirety of the NDAA, once passed, before
     deciding if he’ll sign it. She did not say if he will veto due to the removal of the COVID-19 vaccine
     mandate.


     “What we saw, what we think happened here is Republicans in Congress have decided that they
     rather fight against the health and well-being of our troops than protecting them, and we believe that it
     is a mistake,” Jean-Pierre said.
                                                                                    Pls.' Opp. to Assertion of Mootness App. 0007
https://news.usni.org/2022/12/07/pentagon-unclear-how-military-would-handle-end-of-mandatory-covid-19-vaccines                      3/7
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                                        Unclear How Military            171
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                                                                                        COVID-19 02/13/2023
                                                                                                         - USNI News
          Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 12 of 162 PageID 7513
     During a Defense Writers’ Group breakfast, Wednesday, Marine Corps commandant Gen. David
     Berger said that the mandate was political, but vaccination is not. There are multiple vaccines service
     members receive because it’s required for military readiness. In general, there are nine vaccines re-
     quired by the military, while others may be needed depending on the geographic area of service.


     “Marines know that when their leadership says you need to do something because that’s important to
     warfighting and your own health, the politics part of it isn’t a part of that,” Berger said.


     One of the reasons Republican leaders had for striking the mandate say requiring the vaccine hurts
     military recruitment and retention. Singh told reporters that there were a host of other reasons, includ-
     ing competition with big companies and eligibility concerns, that were leading to recruitment issues
     besides the minimal effect of the mandate.


     There are recruiting issues from the vaccine mandate, Berger said during a Reagan National Defense
     Forum panel Saturday. But that is mostly tied to the misinformation about the vaccine preventing peo-
     ple from getting it, he said.


     Mat Staver, a lawyer representing a Navy Surface Warfare Commanding Officer among other service
     members, over the vaccine mandate said he knows service members who are telling their children not
     to serve because of the vaccine mandate.


     Staver welcomed the language in the NDAA, calling the original vaccine mandate unconstitutional.


     “It has caused an incredible abuse of the service members of all branches of the military. It has not
     been effective,” Staver told USNI News. “It has undermined morale, it has been used to punish honor-
     able individuals who are irreplaceable.”


     Those who were separated due to vaccine refusal should be reinstated, Staver said. He plans to con-
     tinue with the lawsuits against the military due to the punishment of his clients for not taking the
     vaccine.


     Even if the services do reinstate service members separated over the vaccine, it is unclear what posi-
     tions they will be able to hold or if they will be deployable.


     The bill language also does not address if the military would need to address service members who
     chose to retire or leave the service instead of getting vaccinated.
                                                                                    Pls.' Opp. to Assertion of Mootness App. 0008
https://news.usni.org/2022/12/07/pentagon-unclear-how-military-would-handle-end-of-mandatory-covid-19-vaccines                      4/7
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     Article Keywords: Congress, Coronavirus, COVID 19, COVID-19 vaccine, FY 2023 NDAA, NDAA, vaccine, vac-
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     About Heather Mongilio
     Heather Mongilio is a reporter with USNI News. She has a master’s degree in science journalism
     and has covered local courts, crime, health, military affairs and the Naval Academy.
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                     Nice to see some steps are being taken to end this insanity. It's amazing they're STILL fixated o
                     making sure everyone gets one dose of the shots, but don't care if service members are up-to-d
                     their boosters. There was never any logic to these mandates. Hope we can finally get a resoluti
                     this.
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                               Tab 3




                                       Pls.' Opp. to Assertion of Mootness App. 0012
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          Yo u r M i l i t a r y


        Four weeks later, military still waiting on post-vaccine guidance
        By Meghann Myers
           Thursday, Feb 9




        A health worker administers a dose of COVID-19 vaccine. On Friday, Oct. 7, 2022 The Associated Press reported on stories circulating online incorrectly
        claiming COVID-19 mRNA vaccines alter recipients’ DNA by changing its shape to a “triple helix.” (Matt Rourke/AP)



        A month after the Defense Department canceled the requirement that service members are vaccinated against COVID-19, the
        Pentagon’s personnel and readiness office has yet to complete the requested paperwork to make the change a reality for
        thousands of unvaccinated troops in limbo.


        The long delay has prompted lawmakers to reach out to Defense Secretary Lloyd Austin with their concerns.


        Defense Under Secretary Gil Cisneros, DoD’s personnel chief, told Military Times on Jan. 11 that his office was looking into
        specific policies on religious considerations and combatant command regulations with respect to traveling to countries with
        vaccine mandates.


        “There are still things that we need to kind of tie up,” he said.



        Pentagon personnel chief on vaccine mandate repeal, recruiting and parental leave
        Gil Cisneros, Under Secretary of Defense for Personnel and Readiness, discusses some of the top issues facing his office as 2023 gets un…
                                                                                         Pls.' Opp. to Assertion of Mootness App. 0013
https://www.militarytimes.com/news/your-military/2023/02/09/four-weeks-later-military-still-waiting-on-post-vaccine-guidance/                                     1/5
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        Gil Cisneros, under secretary of defense for personnel and readiness, discusses some of the top issues facing his office in 2023.



        But that process is still ongoing, a Pentagon spokeswoman told Military Times Thursday, though lawmakers first asked for an
        implementation plan on Dec. 23.


        “The Department is working to leverage existing policies and procedures, where appropriate, to manage post-repeal issue sets
        and is examining whether additional guidance is necessary,” Cmdr. Nicole Schwegman said.


        In a Feb. 8 letter sent to the Pentagon, the chairman of the House Armed Services Committee and the chairman of its
        subcommittee on military personnel pressed Austin for answers on the new guidance, saying that a Jan. 26 letter from his office
        on their progress was only four sentences long and “failed to include any implementation plan.”


        “While we acknowledge and appreciate your rescission memorandum writ large, many questions remain and have gone
        unanswered regarding the implementation of the rescission,” Rep. Mike Rogers, R-Ala., and Rep. Jim Banks, R-Ind., wrote in the
        letter.


        The representatives included a list of 14 questions for DoD, including data on involuntary separations for vaccine refusal,
        service members required to pay back bonuses and confirmation that any academy graduates denied their commissions for
        refusing the vaccine were still able to earn their college degrees.


        The letter also asks whether DoD intends to offer reinstatement for any troops discharged because of the mandate.



        RELATED
                    Troops booted over COVID vaccines would get jobs back under GOP plan
                    The legislation would also upgrade the discharge status of some individuals.
                    By Leo Shane III




        Though Republican lawmakers have pushed for that provision since last summer, it was not part of the 2023 National Defense
        Authorization Act, the law that compelled Austin to rescind the mandate.
                                                                                           Pls.' Opp. to Assertion of Mootness App. 0014
https://www.militarytimes.com/news/your-military/2023/02/09/four-weeks-later-military-still-waiting-on-post-vaccine-guidance/               2/5
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        Since the new Congress came into session, Republican members have reopened that discussion with bills PageID
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                                                                                                                                in both
        the Senate and House of Representatives.


        “I’m glad that we were able to remove the COVID-19 vaccine mandate last Congress, but there is more work to do,” said Sen. Ted
        Cruz, R-Texas, in a statement. “[This bill] would correct the wrongs done to unvaccinated service members who were discharged
        for exercising their conscience.”


        The bill would allow reinstatement of any separated troops, as well as restore rank and back pay for any troops who faced
        discipline before their discharges. It would also upgrade any general discharges.


        Previously, separated troops’ reasons for discharge were noted in their paperwork, allowing them to come back into service if
        they got vaccinated.


        Now, under Austin’s rescission memo, they can apply for a records correction with their service’s board, and ostensibly re-enlist
        or re-commission if they choose.


        What the Pentagon is not considering, however, is offering restitution for vaccine refusal.


        “We are not pursuing, as a matter of policy, backpay for those who refused the vaccine,” Air Force Brig. Gen. Pat Ryder, a
        Pentagon spokesman, told reporters in January. “At the time that those orders were refused, it was a lawful order.”


        Rogers and Banks requested a response from DoD by Feb. 22.



        About Meghann Myers
        Meghann Myers is the Pentagon bureau chief at Military Times. She covers operations, policy, personnel, leadership and other issues affecting
        service members.



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        This week in Congress: A full slate of leaders for VA
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        ‘Unidentified object’ downed over Lake Huron
        U.S. officials say an “unidentified object” has been shot down Sunday for the third time in as many days, this time over Lake
        Huron.




        Marines, bonded by kidney donation, now head to Super Bowl




                                                                                       Pls.' Opp. to Assertion of Mootness App. 0015
https://www.militarytimes.com/news/your-military/2023/02/09/four-weeks-later-military-still-waiting-on-post-vaccine-guidance/                           3/5
2/12/23, 9:57 PM   Case: 22-10077  Document:    284
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        Downed objects believed to be balloons, Sen. Schumer says
        Senate Majority Leader Chuck Schumer says the U.S. believes the unidentified objects American fighter jets shot down over
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   Pentagon: No Back Pay to Troops Discharged for
   Refusing COVID-19 Vaccine
   Though the military-wide orders to receive the coronavirus vaccine have been repealed,
   the Defense Department stands firm on the results of its policy.

   By Paul D. Shinkman

   Jan. 17, 2023


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2/12/23, 9:59 PMCase: 22-10077          Document:
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                                                             Discharged        183 COVID-19
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   Pentagon spokesman Air Force Brig. Gen. Patrick Ryder makes remarks during a briefing at the of   162      PageID
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                                                                                                                              in
   Washington on Tuesday, Jan. 17, 2023.                         (ANDREW HARNIK/AP)




   The Pentagon on Tuesday shut down speculation it’s considering back pay for service
   members it discharged for refusing to get a COVID-19 vaccine, distancing itself from an
   already politically hazardous issue that has become even more prejudicial for the military
   with Republican control of Congress.

       [ READ: Pentagon Formally Rescinds COVID-19 Vaccine Mandate for Troops ]


   “Right now, we are not pursuing, as a matter of policy, back pay for those who refused the
   vaccine,” Air Force Brig. Gen. Pat Ryder, a spokesman for the Defense Department, told
   reporters in response to one of several questions about the issue.

   “At the time those orders were refused, it was a lawful order,” Ryder added.

   He spoke a week after the Pentagon formally rescinded the policy that required all troops
   to receive the shots with very few exemptions, in line with new legislation signed into law
   on Dec. 23 that forced the change. Politico had reported on Friday, citing an unnamed
   spokesperson, that the department was considering issuing back pay at that time. Ryder
   on Tuesday distanced the Pentagon from any such speculation.

   Defense Secretary Lloyd Austin in announcing the congressionally mandated repeal was
   unapologetic for the policy, saying in a memo on Jan. 10 that he is “deeply proud for the
   Department’s work to combat the coronavirus disease,” which he said “will leave a lasting
   legacy in the many lives we saved.” He cited the orders from Congress that he change
   the policy, said no further service members would be discharged for refusing the vaccine
   and announced that any troops under existing investigation or judicial process would be
   cleared.

   It remains unclear the extent to which the department would allow service members who
   have been discharged to rejoin. However, Tuesday’s statements following Austin’s memo
   align with a general air in the department of disinterest in further accommodating those
   affected by the policy.




                                                                                    Pls.' Opp. to Assertion of Mootness App. 0020
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   Roughly 99% of all active-duty troops received the vaccine. More than 8,400 service
   members were discharged from the military for refusing to take it. All of those kicked out
   of military service received at least a “general discharge under honorable conditions,”
   with others receiving the higher “honorable discharge.” The difference affects medical
   and other benefits service members receive after leaving the military.

   Republicans in Congress raised almost immediate alarm after Austin first announced the
   policy in August 2021, followed by a series of deadlines that each department
   determined for itself, beginning with the Air Force and Space Force at the beginning of
   November that year.

   Then-Sen. Jim Inhofe of Oklahoma, the top ranking Republican on the Senate Armed
   Services Committee at the time, expressed particular concern that November that he did
   not believe the military had a clear understanding of how the mandate would affect the
   military at a time several branches, particularly the Army, were already suffering from
   dramatic recruitment shortfalls.

   Those concerns accelerated in the new Congress when the House succeeded in adding
   the policy overturn in the latest defense budget, which some Democrats eventually
                                                                                    Pls.' Opp. to Assertion of Mootness App. 0021
https://www.usnews.com/news/national-news/articles/2023-01-17/pentagon-no-back-pay-to-troops-discharged-for-refusing-covid-19-vaccine   3/7
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                                                                                                   | National News | U.S. News
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   endorsed to ensure the bill’s passage.


       [ READ: New York Eyes Nixed COVID-19 Vaccine Rule for Health Workers ]


   Republican members centered particularly on an assertion that the vaccine mandate –
   like other so-called “woke” policies – contributed to massive military recruitment deficits,
   particularly acute in the Army, which missed its 2022 goals by 25%. The Pentagon says
   no data exists supporting a link between the two issues.

   “Look, I’ve been vaccinated and I’ve had COVID. ... I’ll recommend from my point of view
   you get vaccinated," Sen. Lindsey Graham, South Carolina Republican, said at a press
   conference with other members of his party in December. "We’re having a dilemma, and
   that’s finding people to serve in the military. Our recruiting goals are way short. The
   conflict in the world is getting worse, not better. We need more people in the military, not
   less."

   House Speaker Kevin McCarthy of California, then the top-ranked Republican in the
   House, tweeted at the time that the military vaccine mandate was “wrong.”

   "Our heroes have been fired. Our country is less safe. I told the President directly – it’s
   time to end the mandate and rehire our service members," McCarthy said.




   Tags: Pentagon, Coronavirus, vaccines




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           An official website of the United States government   Here's how you know




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You are at the official site for Navy information and updates on Coronavirus Disease 19 (COVID-19). Visit frequently to
learn about the latest policies, leadership messages, and guidance on how to protect yourself, your family, and your
Shipmates.

Department of the Navy Return to the Workplace COVID-19 Guidance and Resources 2020 (updated July 28, 2020) (PDF). Information to assist the
military and civilian employees on workforce management, reporting, testing, personnel protection, telework policy, travel and more. Information is
subject to change. Consult the following links for updated guidance: ALNAV Library, NAVADMIN Library, and MARADMIN Library.

                                                                 NEED TO A REPORT COVID-19 CASE?

Go to MyNavy Portal at - https://www.mnp.navy.mil/group/navy-covid-19-reporting (CAC Enabled)

If you have any questions or experience any difficulties please contact the OPNAV COVID Cell via
email OPNAV_COVID_CRISIS_RESPONSE_CELL@us.navy.mil or by phone at (703) 571-2822.

    For Navy-specific questions related to COVID-19 numbers and vaccination data, please email
    PTGN_CHINFONEWSDESK@NAVY.MIL.




                                                         NAVY COVID-19 UPDATE
                                                         ​

                                                                                 Nov. 30, 2022

    The next report is expected to post Dec. 28, 2022.

    As of Nov. 30, 2022, 2,258 active component and 3,024 Ready Reserve service members remain unvaccinated.

    As a result of the class action certification and corresponding injunction issued by the U.S. District Court for the Northern District of Texas,
    NAVADMIN 083/22, released March 30, 2022, suspended separation processing and adverse administrative consequences for Navy service
    members who submitted requests for religious accommodation from the COVID-19 vaccine requirement.
    There have been 2,041 separations for refusing the COVID-19 vaccine. In accordance with NAVADMIN 083/22, Sailors who submitted religious
    accommodation requests may no longer be separated for vaccine refusal. Vaccine refusers who have not submitted religious accommodation
    requests remain subject to adverse administrative action, including separation.

        There have been 1,639 Active Component Sailors and 402 Reserve Component Sailors separated, all with an honorable characterization of
        service. Guidance for separating Navy service members refusing the vaccine was set by the COVID-19 Consolidated Disposition Authority and

                                 
        is detailed in NAVADMIN 283/21.
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      There have been 32 Entry Level Separations (ELS). In accordance with the Naval Military Personnel Manual (MILPERSMAN) 1910-154 and
      NAVADMIN 225/21, this reflects service members who, since the time of the vaccine mandate, were separated during initial training periods
      within their first 180 days of active duty.
    Search
    Fourteen religious accommodation requests for members of the Individual Ready Reserve (IRR) and one Selected Reserve (SELRES) have been
    conditionally approved. A conditional approval means that the individual is not required to be vaccinated while in the IRR, but must be fully
    vaccinated as defined in NAVADMIN 190/21 prior to returning to service.

    As of Nov. 30, 2022, there are 3,325 active duty and 862 Ready Reserve requests for a religious accommodation from immunization for the
    COVID-19 vaccine.
    As of Nov. 30, 2022, active duty service members currently have 15 permanent medical exemptions and 153 temporary medical exemptions, and
    Ready Reserve service members currently have one permanent medical exemption and 42 temporary medical exemptions.
    Starting with the Dec. 10 report, the vaccination and religious accommodation request data is provided by the data collected by the COVID-19
    Consolidated Disposition Authority (CCDA), as directed in NAVADMIN 249/21: CCDA Data Reporting Requirements. On Feb. 22, 2022, NAVADMIN
    042/22 was released updating these reporting requirements.
    On Dec. 15, 2021, NAVADMIN 283/21 was released outlining execution guidance regarding separation of Navy service members refusing the
    COVID-19 vaccine.
    On Dec. 22, 2021, NAVADMIN 289/21 was released outlining guidance encouraging COVID-19 vaccine boosters.

                                                                                 Cumulative Total
                       Cases         Hospitalized    Recovered    Deaths
                                                                                  COVID Cases*

       MIL               134                 1        107,371       17               107,522

       CIV               499                 1         65,309      122               65,930

       DEP                13                 1         12,687       7                12,707

       CTR                84                 0         15,793       49               15,926

     TOTAL               730                 3        201.160      195               202,085




* Active Cases + Recovered + Deaths = Cumulative Total COVID Cases



UNVACCINATED


                                                      Active Duty Ready Reserve
 Unvaccinated                                            2,258          3,024
 Religious Accommodation Request                         3,325           862



APPROVED EXEMPTIONS


                                                   Active Duty   Ready Reserve
 Permanent Medical                                     15                1
 Temporary Medical                                    153               42
 Religious Accommodation                               50                1

    In accordance with Navy mandatory COVID-19 vaccination and reporting policy guidance, the deadline for active-duty Navy service members to
    be fully vaccinated was Nov. 28, 2021. Ready Reserve Navy service members will be fully vaccinated by Dec. 28, 2021. New accessions will be
    fully vaccinated as soon as practicable following service entry.
    In order to ensure a fully vaccinated force, U.S. Navy policy is to process for separation all Navy service members who refuse the lawful order to
    receive the COVID-19 vaccination and do not have an approved exemption. All waiver requests are reviewed on a case-by-case basis and each
    request will be given full consideration with respect to the facts and circumstances submitted in the request.
    The Navy issued a press release outlining guidance to commands for service members who refuse to comply with the service’s order mandating
    all active-duty and reserve members be fully vaccinated against COVID-19 in NAVADMIN 256/21, released Nov. 15, 2021.
      Definitions:                                                                                                        
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https://www.navy.mil/Resources/COVID-19-Updates/                                                                                                         2/18
2/13/23, 4:16 PM                       Case: 22-10077   Document: 284 U.S.Page:   192 Updates
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           Fully Vaccinated: Per NAVADMIN 190/21, Navy service members are considered fully vaccinated two weeks after completing the second
           dose of a two- dose COVID-19 vaccine or two weeks after receiving a single dose of a one-dose COVID-19 vaccine. Booster shots are still
           under evaluation and will be addressed via separate message.
           Unvaccinated: Per NAVADMIN 249/21, this includes Navy service members who:
               refused the vaccine
               started the vaccination series, but are not complete
               are pending medical exemption
               have an approved medical exemption
               are pending religious accommodation exemption
               have an approved religious exemption
               have not had access to the vaccination due to operational schedule and/or remote location
           Medical: Medical exemptions will be determined by health care providers based on the health of the requestor, and the nature of the
           immunization under consideration in line with BUMEDINST 6230.15B and MILPERSMAN 1730- 020.
           Religious Accommodation: A religious accommodation is a category of administrative exemptions that provides an accommodation to a
           service member for an otherwise applicable military policy, practice, or duty. In accordance with The Religious Freedom Restoration Act, if
           such a military policy, practice or duty substantially burdens a service member’s exercise of religious, accommodation unless:
               The military policy, practice, or duty is in furtherance of a compelling governmental interest (e.g. mission accomplishment, safety, force
               health).
               It is the least restrictive means of furthering that compelling governmental interest.
               For more information, including frequently asked questions and Navy instructions, visit https://www.mynavyhr.navy.mil/Support-
               Services/Religious-Accommodations/
    Hyperlinks to currently applicable Navy Administrative Messages:
        NAVADMIN 234/22: U.S. NAVY COVID-19 STANDARDIZED OPERATIONAL GUIDANCE 7.0 (CORRECTED COPY)
        NAVADMIN 187/22: UPDATED COVID‑19 VACCINATION OPTION ‑ NOVAVAX
        NAVADMIN 139/22: CCDA GUIDANCE UPDATE
        NAVADMIN 130/22: COVID-19 DESIGNATION OF MISSION CRITICAL TRAVEL FOR UNVACCINATED INDIVIDUALS AND UPDATED TRAVEL
        GUIDANCE
        NAVADMIN 102/22: CCDA ADDITIONAL GUIDANCE REGARDING MEMBERS REQUESTING RELIGIOUS ACCOMMODATION FROM COVID-19
        VACCINATION REQUIREMENTS
        NAVADMIN 083/22: CCDA INTERIM GUIDANCE REGARDING MEMBERS REQUESTING RELIGIOUS ACCOMMODATION FROM COVID-19
        VACCINATION REQUIREMENTS
        NAVADMIN 042/22: UPDATED COVID CONSOLIDATED DISPOSITION AUTHORITY DATA REPORTING REQUIREMENTS AND LESSONS LEARNED
        NAVADMIN 289/21: GUIDANCE ENCOURAGING COVID-19 VACCINE BOOSTER
        NAVADMIN 283/21: CCDA EXECUTION GUIDANCE TO COMMANDERS
        NAVADMIN 256/21: CCDA GUIDANCE TO COMMANDERS
        NAVADMIN 249/21: CCDA DATA REPORTING REQUIREMENTS
        NAVADMIN 225/21: COVID-19 CONSOLIDATED DISPOSITION AUTHORITY (CCDA)
        ALNAV 062/21: 2021-2022 DEPARTMENT OF THE NAVY MANDATORY COVID-19 VACCINATION POLICY
        NAVADMIN 190/21: 2021-2022 NAVY MANDATORY COVID-19 VACCINATION AND REPORTING POLICY




   Go to the Links below for more information
       Guidance & Infographics
       NAVADMINs
       ALNAVs
       ALNAVRESFOR
       MyNavyHR Videos
       Navy.mil Releases
     Supporting Video
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https://www.navy.mil/Resources/COVID-19-Updates/                                                                                                            3/18
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       DoD, Navy Leadership Statements
       TRANSCOM Release
       More Resources




         Guidance & Infographics
             U.S. Navy Return to the Workplace COVID-19 Guidance and Resources (July 28, 2020)
             U.S. Navy Response to the COVID-19 Pandemic Infographic (May 19, 2020)
             Return-to-Work Guidelines Infographic (May 18, 2020)
             Navy Telework Capabilities Graphic (May 6, 2020)
             COVID-19 Healthcare Provider Guidance (April 30, 2020)



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         NAVADMINs
             Oct. 19, 2022: U.S. Navy Covid-19 Standardized Operational Guidance 7.0 (Corrected Copy)
             Aug. 23, 2022: 187/22 Updated COVID-19 Vaccination Option - NOVAVAX
             June 2, 2022: 139/22 CCDA Guidance Update
             June 2, 2022: 130/22 COVID-19 Designation of Mission Critical Travel for Unvaccinated Individuals and Updated Travel Guidance
             Apr. 22, 2022: 102/22 CCDA Additional Interim Guidance Regarding Members Requesting Religious Accommodation from COVID-19
             Vaccination Requirements
             Mar. 30, 2022: 083/22 CCDA Interim Guidance Regarding Members Requesting Religious Accommodation from COVID-19
             Vaccination Requirements
             Feb. 22, 2022: 042/22 Updated COVID consolidated Disposition Authority Data Reporting Requirements and Lessons Learned
             Jan. 15, 2022: 007/22 U.S. Navy COVID-19 Standardized Operational Guidance 5.0
             Dec. 22, 2021: 289/21 Guidance Encouraging COVID-19 Vaccine Booster
             Dec. 15, 2021: 283/21 CCDA Execution Guidance to Commanders
             Nov. 15, 2021: 256/21 CCDA Guidance to Commanders
             Nov. 1, 2021: 249/21 CCDA Data Reporting Requirements
             Oct. 13, 2021: 225/21 COVID-19 Consolidated Disposition Authority (CCDA)
             Aug. 30, 2021: 190/21 2021-2022 Navy Mandatory COVID-19 Vaccination and Reporting Policy
             Aug. 23, 2021: 180/21 Update 3 to Navy COVID-19 Reporting Requirements
             July 29, 2021: 161/21 Updated Mask Guidance for All DOD Installations and Other Facilities
             July 28, 2021: 159/21 Special Leave Accrual for the Navy
             July 13, 2021: 150/21 Department of Defense COVID-19 Testing Prior to Overseas Travel (Update 2)
             June 16, 2021: 129/21 Physical Readiness Program Update for Calendar Year 2021 (CY2021) Physical Fitness Assessment
             June 15, 2021: 123/21 Procedures for Foreign Visit requests to U.S. Navy Commands During COVD-19 Pandemic
             June 2, 2021: 110/21 U.S. Navy COVID-19 Standing Guidance Update 1
             May 21, 2021: 100/21 Cancellation of Urinalysis Policy Update
             May 21, 2021: 100/21 Cancellation of Urinalysis Policy Update
             May 21, 2021: 99/21 U.S. Navy COVID 19 Standard Guidance
             May 14, 2021: 95/21 Interim Update on DOD Mask Guidance

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             May 4, 2021: 88/21 SARS-COV-2 Vaccination and Reporting Policy Update
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https://www.navy.mil/Resources/COVID-19-Updates/                                                                                                    4/18
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             Apr. 30, 2021: 086/21 Updated Guidance to Commanders on Adjusting Health Protection Conditions and Base Services During
             COVID-19 Pandemic
             Apr. 05, 2021: 073/21 Navy Mitigation Measures in Response to Coronavirus Outbreak Update 7 (Conditions-Based Approach to
             COVID-19 Personnel Movement and Travel Restrictions)
             Mar. 10, 2021: 059/21 Use of Masks and other Public Health Measures during COVID-19 pandemic
             Mar. 03, 2021: 052/21 Procedures for Foreign Visit Requests to U.S. Navy Commands during COVID-19 pandemic
             Feb. 16, 2021: 038/21 Process to Request Exception on use of Masks and Other Public Health Measures During COVID-19 Pandemic
             (Corrected Copy)
             Feb. 16, 2021: 037/21 U.S. Navy COVID-19 Standardized Operational Guidance Version 4.0 (Cancelled May 21, 2021 per NAVADMIN
             099/21)
             Jan. 29, 2021: 026/21 Department of Defense COVID-19 Testing Prior to Overseas Travel (Update 1)
             Jan. 7, 2021: ​003/21 DEPARTMENT OF DEFENSE COVID-19 TESTING PRIOR TO OVERSEAS TRAVEL
             Dec. 16, 2020: 327/20 SARS-COV-2 VACCINATION AND REPORTING POLICY
             Dec. 15, 2020: 325/20 CNO Message to the Fleet - COVID-19 Vaccine
             November 10, 2020: 302/20 Termination of Global Authorized Departure for Individuals at Higher Risk From COVID-19
             November 4, 2020: 298/20 US NAVY COVID-19 STANDARDIZED OPERATIONAL GUIDANCE VERSION 3.1 (Cancelled Feb. 16, 2021 per
             NAVADMIN 037/21)
             October 13, 2020: 277/20 UPDATE 2 TO COVID-19 REPORTING REQUIREMENTS
             September 30, 2020: 266/20 US NAVY COVID-19 STANDARDIZED OPERATIONAL GUIDANCE VERSION 3.0 (Cancelled Nov. 4. 2020
             per NAVADMIN 298/20)
             August 24, 2020: 236/20 ​UPDATED PROCEDURES FOR FOREIGN VISIT REQUESTS TO U.S. NAVY COMMANDS DURING COVID-19
             PANDEMIC
             August 21, 2020: 235/20 Announcement of Approval of Humanitarian Service Medal (HSM) and Armed Forces Service Medal
             (AFSM) for Department of Defense Coronavirus (COVID 19) Operations and Activities
             August 14, 2020: 231/20 Flexibility For Fiscal Year 2020 Sexual Assault Prevention Response and Suicide Prevention General Military
             Training Requirements
             August 10, 2020: 225/20 Third Extension of Global Authorized Departure For Individuals At Higher Risk From COVID-19
             August 4, 2020: 217/20 U.S. Navy COVID-19 Standardized Operational Guidance Version 2.1 (Cancelled Sep. 30, 2020 per NAVADMIN
             266/20)
             July 13, 2020: ​197/20: Second Extension of Global Authorized Departure for Individuals at Higher Risk from COVID-19
             July 9, 2020: 195/20: Casualty and Mortuary Affairs Processes in Response to COVID-19 Update Two
             July 8, 2020: ​194/20: Face Coverings in Uniform
             July 7, 2020: 193/20: Physical Readines Program Policy Update for Physical Fitness Assessment Cycle Two 2020 Due to COVID19
             Mitigation
             July 2, 2020: 189/20: Navy Mitigation Measures In Response to Coronavirus Outbreak Update 6
             June 30, 2020: 185/20: CNO Message to the Fleet on Sustaining Readiness
             June 25, 2020: 178/20: COVID-19 Testing
             June 17, 2020: 173/20: U.S. Navy COVID-19 Standardized Operational Guidance Version 2.0 (Cancelled Aug. 4, 2020 per NAVADMIN
             217/20)
             June 12, 2020: 169/20: Permanent Change of Station Post Stop Movement Priority Plan
             June 12, 2020: 168/20: Navy Mitigation measures In Response to Coronavirus Outbreak Update 5 (Cancelled July 2, 2020 per
             NAVADMIN 189/20)
             June 10, 2020: 164/20 Extension of Termination of Global Authorized Departure for Individuals at Hight Risk from COVID-10
             June 4, 2020: 163/20: Modification-2 to the Notice of Convening FY-21 Active-Duty Officer Continuation Selection Boards and
             Announcement of Continuation Policy
             May 29, 2020: 160/20: Guidance on Conducting Ceremonies for Retirement or Transfer to the Fleet Reserve Delayed Due to the
             Coronavirus Pandemic
             May 29, 2020: 159/20: Termination of Departure Authority for Individuals at Higher Risk From COVID-19
             May 26, 2020: ​155/20: U.S. Navy COVID-19 Standardized Operational Guidance (Cancelled June 17, 2020 per NAVADMIN 173/20)
             May 20, 2020: 148/20: Updated Policy for the Use of Embedded Computer Capabilities and Peripherals to Support Two-Way
             Collaboration
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          May 20, 2020: 147/20: Guidance to Commanders on Adjusting Health Protection Conditions and Base Services          
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https://www.navy.mil/Resources/COVID-19-Updates/                                                                                                   5/18
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             May 19, 2020: 145/20: Advancement Eligibility Related to Changes to the Navy-Wide Advancement Exam and Physical Fitness
             Assessment Schedules Due to COVID-19 Mitigation
             May 15, 2020: 144/20: Recommencement of Selection Boards and Announcement of Revised Schedule
             May 6, 2020: CNO Message to the Fleet
             May 4, 2020: 132/20 Manning Initiatives Announced to Mitigate Fleet Gaps
             May 1, 2020: 129/20 Guidance on Evaluation of Deployability, Temporary Limited Duty, and Referral to the Disability Evaluation
             System (DES) during the Coronavirus (covid-19) Pandemic
             May 1, 2020: 128/20 Naval History and Heritage Ideas and Online Resources to Support Fleet Learning and at Home Education during
             the Pandemic
             April 30, 2020: 126/20 Protection of Service Members and Families Executing Inbound/Outbound Household Goods Moves During
             Covid-19 Stop Movement
             April 27, 2020: 121/20: Supplemental Number Two for E4 Though E7 February 2020 (Cycle 106) Selective Reserve and March 2020
             (Cycle 247) E4 Through E6 Active-Duty, Full-Time Support and Canvasser Recruiter Navy-Wide Advancement Examinations
             April 21, 2020: 116/20: Navy Mitigation Measures in Response to Coronavirus Outbreak Update 4. (Cancelled June 12, 2020 per
             NAVADMIN 168/20)
             April 21, 2020: 115/20: Update to Navy COVID-19 Reporting Requirements
             April 21, 2020: 114/20: Policy Guidance Update for Identification Card Services for COVID-19
             April 17, 2020: 113/20 – Restriction of Movement (ROM) Guidance Update
             April 15, 2020: 109/20 – COVID-19 Update Guidance to Support Fleet Operations
             April 10, 2020: 105/20: Expanded Opportunity For Retention On Active-Duty In A Retired Status For Active-Duty Officers With Pending
             Statutory Retirements​
             April 8, 2020: 104/20: CNO Message to the Fleet
             April 7, 2020: 101/20: Exception to Policy for Small Arms Training and Qualification Criteria and Navy Security Forces Annual
             Sustainment Training Requirements
             April 7, 2020: 102/20: Casualty and Mortuary Affairs Processes in Response to COVID-19
             April 5, 2020: ​100/20: Navy Guidance on the Use of Face Coverings
             April 3, 2020: 99/20: Mobilization Processing of Navy Reserve Personnel in Support of COVID-19 Response Operations
             April 3, 2020: 98/20: Procedures for Navy Entities to Contribute Additively Manufactured Parts or Services in Response to COVID-19
             April 2, 2020: 97/20: Common Access Card Issuance Policy Update for COVID-19
             March 27, 2020: 93/20: Commercial Virtual Remote (CVR) Collaboration Environment
             March 27, 2020: 92/20: Urinalysis Policy Update (Cancelled May 21, 2021 per NAVADMIN 100/21)
             March 26, 2020: 89/20: Voluntary Extensions for Active Component Navy Members with Approved Separation or Retirement Dates
             March 25, 2020: 88/20: Requirements for Authorized and Ordered Departures
             March 23, 2020: 83/20: Restriction of Movement Guidance
             March 23, 2020: 82/20: Navy Transition Assistance Program Policy Update for COVID-19
             March 21, 2020: 80/20: Navy Mitigation Measures in Response to Coronavirus Outbreak: Update 3
             March 19, 2020: 75/20: Maintaining and Protecting the Navy Accessions Supply Chain
             March 19, 2020: 74/20: Mitigation Measures in Response to Coronvavirus Outbreak (Update 2)
             March 18, 2020: 73/20: Temporary Relaxation of Hair Grooming Standards in Response to Coronavirus Outbreak
             March 18, 2020: 72/20: Navywide Advancement Examinations
             March 18, 2020: 71/20: Physical Readiness Policy Update
             March 17, 2020: 69/20: Enlisted Advancement Exams Postponed
             March 17, 2020: 68/20: Effective use of Remote Work Options
             March 14, 2020: 65/20: Overseas Travel
             March 12, 2020: ​64/20: Navy Mitigation Measures in Response to Coronavirus Outbreak



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https://www.navy.mil/Resources/COVID-19-Updates/                                                                                                      6/18
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         ALNAVs
             Aug. 30, 2021: 062/21 2021-2022 Department of the Navy Mandatory COVID-19 Vaccination Policy
             Apr. 30, 2021: 032/21 Update to Department of the Navy Health Protection Condition Policies
             June 12, 2020 – 67/20: Cancellation of ALNAV 044/20 and 49/20 Per SECDEF Memo transitions to a conditions based movement
             order
             May 21, 2020 – 59/20: 101 Days of Summer Safety
             May 4, 2020 – 52/20: Public Service 2020
             April 22, 2020 – 49/20: Modifications to ALNAV 044/20: Reissuance of Department of the Navy Travel Restrictions in Response to
             Coronavirus Disease 2019
             April 21, 2020 – 44/20: Reissuance of Department of the Navy Travel Retrictions in Response to Coronavirus Disease 2019
             April 3, 2020 – SECNAV Vector 18: Serving Our Country (also posted on ALNAV site)
             March 31, 2020 – 35/20: Special Duty Medical Examinations Update to Policy in Response to the Coronavirus Disease 2019
             March 23, 2020 – 29/20: State and Local Shelter-in-Place Orders’ Impact on Department of the Navy Operations
             March 20, 2020 – 28/20: (SECNAV Vectors Blog: Vector 16: Agility in Time of Crisis (As posted to ALNAV site)
             March 14, 2020 – 26/20: Official and Personal Domestic Travel Force Health Protection Guidance for Department of the Navy
             (CONUS Travel Guidance)
             March 13, 2020 – 24/20: Acting Secretary of the Navy Thomas B. Modly’s Vector 15 message (Re. Force Protection Guidance)
             March 12, 2020 – 25/20: Force Protection Guidance for the Department of the Navy



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         ALNAVRESFOR
             June 15, 2022 – 23: Additional Guidance Regarding Administration of Unvaccinated Navy Reserve Personnel Including Those
             Requesting Religious Accommodation From COVID-19 Vaccination Requirements
             Jan. 24, 2022 – 5: Supplemental Guidance for Administrative Disposition of Selected Reserve Service Members Who Are Not Fully
             Vaccinated Against COVID-19
             Jan. 7, 2022 – 1: Guidance for Administrative Disposition of Selected Reserve Service Members Who Are Not Fully Vaccinated
             Against COVID-19
             Sep. 8, 2021 – 10: Mandatory Vaccination Coronavirus Disease 2019 for Navy Reserve
             June 22, 2020 – 13: Reserve Force Conditions-Based Approach to Personnel Movement
             May 21, 2020 – 12: CNRF-Navy Reserve Force Policy for COVID-19 Update 2
             April 16, 2020 – 11: CNRF-Navy Reserve Force Policy Update for COVID-19
             April 16, 2020 – 10: CNRF-Message to the Force from VADM McCollum
             March 20, 2020 – 09: Navy Reserve Enhanced Telecommuting Procedures
             March 17, 2020 – 08: Reserve Mitigation Measures in Response to Coronavirus



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https://www.navy.mil/Resources/COVID-19-Updates/                                                                                                      7/18
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         MyNavyHR Videos
             Dec. 17, 2021 – News You Can Use: CCDA Execution Guidance Pt. 2
             Dec. 17, 2021 – News You Can Use: CCDA Execution Guidance Pt. 1
             Nov. 22, 2021 – News You Can Use: Temporary BAH Increase
             Nov. 17, 2021 – News You Can Use: CCDA Guidance to Commanders (COVID-19)
             Oct. 15, 2021 – News You Can Use: COVID-19 Vaccine Deadlines
             Sep. 13, 2021 – News You Can Use: Mandatory COVID-19 Vaccine
             Jul. 19, 2021 – News You Can Use: COVID-19 Testing for Traveling Overseas UPDATE
             May 28, 2021 – News You Can Use: COVID-19 Vaccination Information
             Feb. 10, 2021 – News You Can Use: Face Mask Update
             May 29, 2020 – Boards Resume
             May 29, 2020 – Retirements During COVID-19:
             May 29, 2020 – Medical and Dental Elective Procedures
             May 4, 2020 – Retired/Separated Sailors’ Return to Active Duty Options
             May 4, 2020 – Personnel Mitigation Measures
             May 4, 2020 – MyNavy Family App Update
             May 4, 2020 – Selective Reenslistment Bonus Update
             April 29, 2020 – Coronavirus (COVID-19) Tutor.com
             April 22, 2020 – Leave Accumulation Update
             April 22, 2020 – Sea Duty Incentive Pay
             April 22, 2020 – Stop Movement
             April 22, 2020 – CAC and USID Cards Update
             April 14, 2020 – Naval Academy Update
             April 14, 2020 – Contacting Navy College Education Counselors
             April 9, 2020 – Reducing Team Stress
             April 9, 2020 – Retire to Retain Policy
             April 8, 2020 – Face Coverings Update
             April 8, 2020 – Basic Allowance for Subsistence
             April 8, 2020 – CAC Offices Update
             March 27, 2020 – Town Hall With Fleet K
             March 23, 2020 – NAVADMIN 80/20
             March 23, 2020 – Transition Assistance Program
             March 23, 2020 – Coronavirus (COVID-19) Japan CDC Warning Level 3 Update
             March 23, 2020 – COVID-19 Identity Management
             March 20, 2020 – Board Suspension
             March 20, 2020 – Relaxed Grooming Standards
             March 19, 2020- Advancement Exams Postponement Clarification
             March 19, 2020 – Restriction of Movement Update
             March 19, 2020 – PFA Suspension Update
             March 18, 2020 – Advancement Exams Postponed
             March 18, 2020 – Details on Upcoming Advancement Exams
             March 18, 2020 – Orders, Coronavirus Warning Signs
             March 17, 2020 – Coronavirus Testing
             March 17, 2020 – Leave and Liberty, Travel Reimbursements
             March 16, 2020 – Freeze on PCS Moves
             March 16, 2020 – HHG Reimbursements for Canceled Moves, PCS Orders to Alert-Level 2 Countries
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          March 16, 2020 – Nonessential OCONUS Travel                                                                        
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         Navy.mil Releases
             Nov. 15, 2021: Navy Updates Guidance for COVID-19 Vaccine Refusal
             Oct. 20, 2021: Navy Identifies Sailor Who Died of COVID-Related Complications
             Oct. 6, 2021: Navy Identifies NAWDC Sailor Who Died of COVID-Related Complications
             Sept. 20, 2021: Navy Identifies Sailor Who Died of COVID-Related Complications
             Sept. 20, 2021: NEPLO Surges Medical Teams Back Into COVID Hotspot
             Sept. 1, 2021: Navy Supports Mandatory COVID-19 Vaccination for all Active Duty and Reserve Sailors
             Aug. 18, 2021: Navy Identifies Sailor Who Died of COVID-19 Related Complications
             Aug. 17, 2021: Navy Identifies Reserve Sailor Who Died of COVID-19 Related Complications
             July 28, 2021: Navy Identifies Reserve Sailor Who Died of COVID-19 Related Complications
             July 28, 2021: Navy Identifies Naval Medical Center Camp Lejeune Sailor Who Died of COVID-19 Related Complications
             May 26, 2021: Navy Administers One Million Vaccines since the Beginning of the COVID-19 Pandemic
             May 26, 2021: Navy Advancement Results for E-4 through E-6 Delayed Due to COVID-19
             May 24, 2021: U.S. Navy Issues COVID-19 Standing Guidance
             May 22, 2021: Navy Resumes Regular Urinalysis Operations
             May 7, 2021: U.S. Naval Hospital Naples Makes History with Unit Bravo Strike
             May 4, 2021: Theodore Roosevelt Carrier Strike Group Gets Vaccinated
             May 4, 2021: Expeditionary Strike Group 7 Sailors Stay COVID-Free While at Sea
             May 3, 2021: U.S. Navy Issues Updated Guidance to Commanders On Adjusting Health Protection Conditions and Base Services
             During COVID-19 Pandemic
             Apr. 30, 2021: Virginia Beach Sailor Dies of COVID-Related Complications
             Apr. 29, 2021: Iwo Jima ARG and 24th MEU Reach Milestone, 60 days COVID-Free
             Apr. 20, 2021: From COVID Testing to MHS GENESIS support, Lab Techs Do It All
             Apr. 19, 2021: COVID-19 Vaccines Distributed Onboard Washington Navy Yard
             Apr. 19, 2021: COVID-19 Vaccine Appointments Available to All Eligible DOD Beneficiaries
             Apr. 13, 2021: Candid Comments Shared on Choosing COVID-19 Vaccine
             Apr. 13, 2021: Public Health Experts handling the Public Health Crisis
             Apr. 12, 2021: Nimitz Sailors Receive First Dose of Moderna COVID-19 Vaccine
             Mar. 17, 2021: DOD Health System Archives COVID-19 Vaccination Data
             Mar. 16, 2021: From Sea to Shining Sea: Combating the Pandemic One Mile at a Time
             Mar. 12, 2021: U.S. Navy Accelerates Progress in Providing Vaccinations for Sailors
             Mar. 11, 2021: USS Dwight D. Eisenhower Receives Second COVID-19 Vaccination Shot
             Mar. 11, 2021: Naval Medical Research Center continues Research in Fight Against COVID-19
             Mar. 10, 2021: Suicide and COVID-19: How Navy Region Southeast is fighting back
             Mar. 09, 2021: Nursing the COVID Vaccine Forward
             Mar. 09, 2021: Porter Receives First Dose of COVID-19 Vaccine
             Mar. 05, 2021: USS Lake Champlain Sailors Receive COVID-19 Vaccine
             Mar. 01, 2021: Fleet Readiness Center Southeast supports COVID-19 containment efforts through 3D printing
             Feb. 26, 2021: U.S. 5th Fleet Responds to COVID-19 Aboard USS San Diego and USS Philippine Sea
             Feb. 24, 2021: Navy Identifies Assault Craft Unit 4 Sailor Who Died of COVID-Related Complications
             Feb. 15, 2021: Sailors Embarked on a U.S. Pacific Fleet Ship Test Positive for COVID-19
             Feb 13, 2021: Navy Identifies USS Wasp Sailor Who Died of COVID-Related Complications
             Feb. 5, 2021: Navy Identifies USS Tennessee Sailor Who Died of Coronavirus-related Complications
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          Feb. 5, 2021: Navy Identifies Recruit Training Command Sailor Who Died from COVID-19
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https://www.navy.mil/Resources/COVID-19-Updates/                                                                                                        9/18
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             Feb. 4, 2021: USS Ronald Reagan Begins Second Round of COVID-19 Vaccinations
             Feb. 4, 2021: Sailor Assigned to Kings Bay Unit Dies of COVID-Related Complications
             Feb. 4, 2021: TRF Kings Bay Provides Superior Support to Submarine Force
             Jan. 28, 2021: Navy Shifts 2021 Fitness Cycle to July
             Jan. 28, 2021: Navy Medical Personnel to Join in Texas COVID-19 Response
             Jan. 28, 2021: Initiation Innovation: Navigating Chief Season in the Midst of COVID
             Jan. 26, 2021: Navy, DoD Respond to COVID-19 in Navajo Nation
             Jan. 23, 2021: Fleet Forces Establishes Vaccination Cell to Expedite Delivery to Fleet
             Jan. 22, 2021: NSA Souda Bay Receives COVID Vaccine
             Jan. 22, 2021: Frontline Workers at Naval Station Rota, Spain Begin Receiving COVID-19 Vaccine
             Jan. 13, 2021: USS Ronald Reagan Begins COVID-19 Vaccinations
             Jan. 12, 2021: Navy Expeditionary Combat Command Leadership Receives COVID-19 Vaccine
             Jan. 12, 2021: Navy Exchange Great Lakes Buoys A-School Students Placed on Restriction of Movement After Holiday Break
             Jan. 9, 2021: NAS Sigonella Receives First Shipment of COVID-19 Vaccine
             Jan. 7, 2021: Service Members Transferring Overseas Must Test Negative for COVID-19 Before Flying
             Jan. 6, 2021: CDC Explains Benefits of COVID-19 Vaccine
             Jan. 5, 2021: U.S. 7th Fleet Sailors Receive COVID Vaccine
             Jan. 5, 2021: Additional Naval Military Treatment Facilities Receiving COVID-19 Vaccine
             Jan. 4, 2021: Commander of Military Sealift Command Receives COVID-19 Vaccine
             Dec. 22, 2020: Navy Announces Expanded Operational Stress Control Program: Here Are the Details
             Dec. 21, 2020: Southwest Regional Maintenance Center Hosts Blood Drives Benefitting Service Members
             Dec. 17, 2020: FLU SEASON 2020: Protect Yourself Against Two Viruses
             Dec. 16, 2020: U.S. Navy Issues Vaccine Guidance to Combat COVID-19
             Dec. 15, 2020: NMCSD Receives First Shipment of COVID-19 Vaccines
             Dec. 15, 2020: Naval Medical Forces Atlantic Hospitals to Be Among First to Receive COVID-19 Vaccine
             Dec. 14, 2020: COVID-19 Vaccine Headed to Naval Medical Center San Diego, Naval Hospital Camp Pendleton
             Nov. 12, 2020: Navy Publishes Scientific Paper on USS Theodore Roosevelt COVID-19 Outbreak
             Nov. 12, 2020: Navy/Marine Corps COVID-19 Study Findings Published in New England Journal of Medicine
             Nov. 6, 2020: Navy: ROM Is Official Duty Status
             Nov. 4, 2020: U.S. Navy Updates Guidance to Combat COVID-19
             Oct. 28, 2020: Navy Junior ROTC Units Contend With New Normal in New School Year; Naval Science Instructors Meet New
             Challenges
             Oct. 23, 2020: COVID-19 Special Leave Accrual – What You Need to Know
             Oct. 22, 2020: Navy Researchers Evaluate UV Light Sources to Combat COVID-19
             Oct. 20, 2020: Amid COVID-19, Information Warfare Training Command San Diego Safely Trains USS Carl Vinson’s IW Warriors
             Oct. 19, 2020: Naval Chaplaincy School, Center Uses Virtual Training for Mission Success​
             Oct. 19, 2020: Office of Naval Reserves Robotics Enters COVID-19 Fight
             Oct 16, 2020: Clothing, Textile Research Facility Pivots 3D Knitting Research to Face Covering Development
             Sept. 30, 2020: U.S. Navy Issues Standardized Operational Guidance 3.0
             Sept. 3, 2020: NAVCENT Medical Personnel Embed with Bahrain Ministry of Health to Manage Pandemic Response
             Sept. 3, 2020: Yokosuka Fleet Logistics Center Supports Incoming Personnel During Pandemic
             Aug. 19, 2020: Naval Safety Training Keeps Momentum with Virtual Learning
             Aug. 12, 2020: Recruit Training Command and Partners Work Together to Transform Drill Halls Into Barracks
             Aug. 10, 2020: USS Germantown’s COVID-19 Rapid Response Team: Fighting Pandemic From The Deckplate
             Aug. 4, 2020: Lebanese Armed Forces, U.S. Navy Conduct Resolute Union Virtually Amid COVID-19 Pandemic
             Aug. 4, 2020: Staying the Course during COVID-19: Losing Weight and Feeling Great!
             July 31, 2020: Naval Laboratory Researcher's Invention Allows to Study Nanoparticle Gases
             July 31, 2020: MARMC SST Advances OSD Grasp of COVID Risk
             July 29, 2020: NHC Annapolis’ Operational Approach to COVID-19 Prevention puts U.S. Naval Academy on Track for Fall 2020
             Semester
             July 24, 2020: Navy Care Virtual Visits: Real-Time Access to Care, From Anywhere
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          July 23, 2020: NMCB-3 Completes Turnover, Assumes Execution of Indo-Pacific Region NCF Operations               
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https://www.navy.mil/Resources/COVID-19-Updates/                                                                                              10/18
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             July 23, 2020: Nimitz Receives COVID-19 Convalescent Plasma Administration Certification
             July 23, 2020: 4th Fleet Commander Hosts Maritime Staff Talks with Armada de Chile
             July 22, 2020: Sailors Needed to Move; NPC Innovated to put Them in Motion
             July 22, 2020: NAVWAR Trident Warrior Team Assesses New Tracking Technology for COVID-19 Mitigation
             July 21, 2020: Sailors Support COVID Response in Texas
             July 17, 2020: Change of Command in the Era of a Global Pandemic: Commander, Maritime Prepositioning Ships Squadron Two
             Changes the Helm
             July 15, 2020: Adaptability and Resilience: EMF-M’s Historic Stateside Deployment Supporting COVID-19
             July 14, 2020: A SPRINT to Guam: Psychological First Aid in the COVID-19 Pandemic
             July 14, 2020: Navy Childcare Center Supports Sailors Through COVID-19
             June 25, 2020: Navy Establishes COVID-19 Surveillance Testing Program
             June 10, 2020: Navy Mobilizing Reservists Under SurgeMain Program to Support Ship Maintenance
             June 10, 2020: Addressing Mental Health Key to NDW Fleet and Family Support Center During Pandemic
             June 10, 2020: USS Kidd Commanding Officer Sends Thank You Letter to San Diego
             June 9, 2020: Findings From USS Theodore Roosevelt Public Health Investigation Support Force Health Protection
             June 9, 2020: U.S. Navy Navigates to ‘New Normal’
             June 9, 2020: High School on U.S. Navy Base in Japan Holds Socially Distanced Graduation Ceremony
             June 9, 2020: Navy Emergency Liaisons Deploy in Record Numbers for Pandemic
             June 8, 2020: Mission Essential Training Continues During COVID-19 at Great Lakes Schools
             June 5, 2020: Center for Seabees Learning Sites Adjust Courses in Response to COVID-19
             June 5, 2020: Safety, Standards Uncompromised as Naval Special Warfare Center Restarts Paused Training Phases
             June 4, 2020: I Am Navy Medicine: Hospital Corpsman 3rd Class Marc Gasbarri
             June 4, 2020: Navy Pharmacy Adjusts Procedures in Response to COVID-19
             May 29, 2020: Navy Approves Interim Retirement Ceremony Rules
             May 29, 2020: Base Port Operations: ‘Commitment and Ability to Protect America has Not Changed’
             May 27, 2020: Mental Health During the Pandemic: Understanding How Your Mind Responds to Disasters
             May 27, 2020: Navy Issues COVID-19 Standardized Operational Guidance
             May 27, 2020: Naval District Washington Recovery Working Group Plans for Post COVID-19 ‘New Normal‘
             May 27, 2020: Virtual Fleet Week NY Concludes; City Thanks Servicemembers for Help in COVID-19 Fight
             May 26, 2020: Officer Training Command Uses Remote Learning to Train Leaders During Pandemic
             May 22, 2020: Navy Releases Commander Guidance on Adjusting Health Protection Conditions (HPCON)
             May 21, 2020: Navy Reserve Extends Drill Postponement until June 30, Provides Additional Guidance for COVID-19
             May 21, 2020: Former CNO Mullen Talks Leadership, National Security Challenges in a Post-COVID-19 World
             May 21, 2020: Supply Corps Reservists Apply Data, Logistics Expertise to COVID-19 Pandemic
             May 21, 2020: USS Theodore Roosevelt Returns to Sea
             May 19, 2020: Navy Clarifies Advancement Eligibility Due to Coronavirus Postponements
             May 19, 2020: USS Kidd Conducts Crew Swap, Transitions to Next Phase of COVID-19 Response
             May 19, 2020: Naval District Washington Personnel Adapt to Teleworking During COVID-19 Pandemic
             May 17, 2020: NEPLOs Coordinate Cross-Country Move of Navy Medical Personnel in COVID-19 Fight
             May 15, 2020: USNS Mercy Departs Los Angeles; Military Relief Efforts Continue
             May 14, 2020: Navy Exchange Service Command Provides Over Half Million Cloth Face Masks
             May 14, 2020: Senior Enlisted Academy Achieves Mission Success through Virtual Training during COVID-19
             May 14, 2020: Individual Ready Reserve Sailors Serve at Navy Medical Center Portsmouth
             May 14, 2020: NAVWAR Launches Data Fusion Tool, Maintains Fleet Readiness in Wake of Worldwide Pandemic
             May 13, 2020: Blue Angels to Salute Tennessee and Arkansas COVID-19 Responders
             May 13, 2020: U.S. Navy Ceremonial Guard Marches Forward During COVID-19 Pandemic
             May 13, 2020: The NEX Has You “Covered”
             May 12, 2020: Naval War College Faculty Steps Up to Assist U.S. Northern Command Planning Effort During COVID-19
             May 12, 2020: Crew Endurance Team Emphasizes Role of Sleep in Immunity
             May 12, 2020: Puget Sound Teams Fast-Track Biocontainment Prototype for Covid-19 Testing
             May 11, 2020: Blue Angels to Salute Michigan, Illinois, Indiana COVID-19 Responders
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          May 8, 2020: U.S. Pacific Fleet Reaffirms Confidence in USS Theodore Roosevelt                                     
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             May 8, 2020: Fleet Activities Yokosuka Rolls Out Family Partner Program
             May 8, 2020: NEX, Navy Lodges Install Sneeze Shields to Help Stop Spread of COVID-19
             May 7, 2020: Southwest Regional Maintenance Center Prints Face Shields for Medical Personnel
             May 7, 2020: National Capital Region Military Treatment Facilities Continue Providing Quality Care During COVID-19 Pandemic
             May 6, 2020: Blue Angels to Salute Florida COVID-19 Responders
             May 6, 2020: Navy Exchange Service Command Associates Screened for COVID-19 Symptoms
             May 4, 2020: Naval Special Warfare Center Resumes Portions of Paused SEAL and SWCC Training
             May 4, 2020: NAVSUP Leading Way in 100% Safety Checks for HHG Moves
             May 4, 2020: Manning Initiatives Announced to Mitigate Fleet Gaps
             May 4, 2020: Blue Angels to Salute Texas, Louisiana COVID-19 Responders
             May 4, 2020: NMCP Staff Members Build a Ventilator In Wake of COVID-19
             May 4, 2020: HSC-26 Maintains Mission Readiness during COVID-19 Pandemic
             May 2, 2020: USS Constitution Hosting Daily Virtual Tours on Facebook Live
             May 2, 2020: NEX San Diego, Sustainable Support System Supplying Ships and Sailors
             May 1, 2020: Fleet Activities Yokosuka Call Center Serves Thousands
             April 30, 2020: NEXConnect Keeps Internet ‘Light’ On for Navy Community
             April 30, 2020: Undersea Warfare Center Partners With University of Alaska for COVID-19 Preparation
             April 30, 2020: Blue Angels, Thunderbirds to Salute Maryland, Washington D.C., Virginia, Georgia COVID-19 Responders
             April 29, 2020: Human Resources Comprehensive FAQ
             April 29, 2020: Truman Sailors Join Forces to Protect Against COVID-19
             April 29, 2020: Online Tutoring Now Available for Military and Civilian Families
             April 29, 2020: Barracks at Naval Base Guam Ordnance Annex Refurbished for Warfighter Support
             April 29, 2020: Naval Sea Systems Command Continues Fleet Support Despite COVID-19 Restrictions
             April 29, 2020: Navy MWR Digital Library Always Open
             April 28, 2020: Navy Provides Medical Care to Sailors of USS Kidd, Disinfects Ship
             April 28, 2020: Information Warfare Training Command Virginia Beach Employs Virtual Training to Help Keep Sailors, America Safe
             April 28, 2020: Sailors on Isolated Facility Use Radio to Keep Shipmates Informed, Connected
             April 27, 2020: USS Nimitz Departs for Training
             April 27, 2020: Navy Cancels Active/FTS E4 Exam, Sets Schedule for Finishing Advancement Cycles
             April 27, 2020: Florida Team Trains Culinary Specialists Virtually During Pandemic
             April 26, 2020: Thunderbirds, Blue Angels to Salute New York, New Jersey, Pennsylvania COVID-19 Responders
             April 24, 2020: America Strong: Blue Angels, Thunderbirds to Conduct Multi-City Flyovers
             April 24, 2020: Undersea Warfare Center Begins Producing Safety Equipment for Naval Hospital
             April 24, 2020: USS Kidd Evacuates Sailor, Embarks COVID-19 Medical Response Team
             April 24, 2020: CFAY Delivers Goodie Bags to ROM Sailors
             April 24, 2020: Naval Supply Systems Command Human Resources Office Perseveres Through Pandemic
             April 23, 2020: Employees at Fleet Readiness Center Make 1,800 Cloth Masks for Coworkers
             April 23, 2020: Fleet Readiness Center East Manufacturing Face Shields to Support Local Health Care Workers
             April 22, 2020: Sea Duty Incentive Pay Expands During Time of COVID-19 Crisis
             April 22, 2020: NEX Customers Can Support NMCRS During COVID-19 Crisis
             April 22, 2020: Combating Coronavirus: Navy Provides Protective Gear to First Responders
             April 22, 2020: Navy Reserve Unit Shows Agility in Crisis With First Virtual Drill
             April 22, 2020: Navy Civil Servants’ Support to COVID-19 Response Earns Meritorious Civilian Service Awards
             April 21, 2020: Navy Extends Travel and PCS Restrictions, Authorizes Leave Accrual
             April 21, 2020: Navy Updates ID Card Guidance
             April 20, 2020: Staff Work to Continue Strong Support for Navy Wounded Warriors’ Pay, Benefits Needs
             April 20, 2020: Military Resale Unites to Support Servicemembers During COVID-19 Pandemic
             April 20, 2020: Surface Warfare Center Designs Portable Oxygen Manifolds for Camp Pendleton COVID-19 Response
             April 20, 2020: Overseas Navy Personnel Fight COVID-19 One Stitch at a Time
             April 20, 2020: USS George Washington Preventive Maintenance Team Makes Masks to Combat COVID-19
             April 20, 2020: Bahrain Fleet Mail Center Steps Up to Support 6th Fleet With Mail Operations
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          April 17, 2020: Update to Restriction of Movement Guidance                                                           
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             April 17, 2020: Navy Conducting Public Health Outbreak Investigation on USS Theodore Roosevelt
             April 17, 2020: NAVFAC Southwest Battles COVID-19 with $2.6 Million for Disinfecting Services
             April 17, 2020: Navy Reserve Extends Drill Postponement Until May 31, Consolidates COVID-19 Guidance
             April 17, 2020: Navy Hospital’s Car-Based Triage Assists Emergency Dept in Wake of COVID-19
             April 17, 2020: Air Warfare Center Works to Keep Americans Safe In, Out of the Fleet
             April 17, 2020: Reserve Component Command Fort Worth Mobilizes Second Wave of Reservists to Assist in Global COVID-19 Combat
             Support
             April 17, 2020: Undersea Warfare Center Launches ‘Operation Sewcial Distancing’ to Craft Face Masks
             April 17, 2020: Don’t Let COVID-19 Keep You From the Emergency Department
             April 16, 2020: Navy Identifies USS Theodore Roosevelt Sailor Who Died of COVID-19
             April 16, 2020: Surface Warfare Center Designs Face Shields for Staff at State Prison
             April 16, 2020: Norfolk Team Tackles Unique COVID-19 Contracting Challenges
             April 16, 2020: USS Theodore Roosevelt’s Clean Fight
             April 16, 2020: Supervisor of Shipbuilding, Conversion, Repairs Turns to Fusion for Face Masks
             April 15, 2020: Engineering/Expeditionary Warfare Center 3-D Prints Masks to Aid Pandemic Response
             April 15, 2020: NAVFAC Partners with USACE for FEMA “Whole-of-Nation” Effort Combating COVID-19
             April 15, 2020: Navy MWR at Home Helps Sailors, Families ‘Stay Active, Stay Informed, Stay Connected’
             April 15, 2020: Navy Reserve App to Deliver Real-Time Access to Business Processes
             April 14, 2020: Fleet and Family Services Still Open for Business Over Phone, Web
             April 14, 2020: Navy Museums Donate PPE to Local Clinics
             April 14, 2020: Chaplains Prove Essential to COVID-19 Response
             April 14, 2020: Navy Exchange Service Command Hosts Virtual “We Stand Together” Concert Series
             April 14, 2020: Humanitarian Response Program Offers Expertise For COVID-19 Response
             April 13, 2020: Emergency Physician of 44 Years Postpones Retirement to Fight COVID-19
             April 13, 2020: Navy Authorizes Retiring Officers to Stay Until December
             April 13, 2020: Leadership Tips in Challenging Times
             April 13, 2020: NEX Creates New Program to Bring the Store to a Sailor’s Door
             April 13, 2020: Navy Sailor Assigned to USS Theodore Roosevelt Dies of COVID-Related Complications
             April 10, 2020: Naval Academy Cancels All Public Commissioning Week 2020 Events; USNA and NROTC Ceremonies Go Virtual
             April 10, 2020: 3rd Marine Logistics Group Supports USS Theodore Roosevelt
             April 10, 2020: Commander, Fleet Activities Yokosuka Hosts a “Camp In” to Support Physical Distancing
             April 11, 2020: Chief of Navy Reserve Releases Message to the Force
             April 10, 2020: Naval Academy Cancels All Public Commissioning Week 2020 Events; USNA and NROTC Ceremonies Go Virtual
             April 10, 2020: 3rd Marine Logistics Group Supports USS Theodore Roosevelt
             April 10, 2020: Commander, Fleet Activities Yokosuka Hosts a “Camp In” to Support Physical Distancing
             April 8, 2020: Naval Base San Diego Mission Ready While Fighting COVID-19
             April 8, 2020: Navy Exchange Service Command Issues PPE Guidance for Associates
             April 8, 2020: Meal Allowance Rules Modified for Sailors Restricted to Government Quarters
             April 8, 2020: NCIS: Sailors, Marines, Civilians Beware of Card-Cracking Scams
             April 7, 2020: NAVWAR Enterprise Delivers Innovative Solutions for Increased Readiness in Support of COVID-19 Relief Efforts
             April 7, 2020: Navy Lodge Program Supports Those on Restriction of Movement Status Due to COVID-19
             April 7, 2020: Navy Mandates Face Covering: What You Need to Know
             April 6, 2020: NAVCO Launching SHIP2SHORE Virtual Outreach Program
             April 6, 2020: Navy Exchange Service Command Donates 240 N-95 Masks to Naval Air Station Pensacola Fire Department
             April 6, 2020: Info Warfare Training Detachment Entertains Base-Bound Sailors While Social Distancing
             April 5, 2020: 7th Fleet Commander Arrives in Guam During COVID-19 Recovery
             April 4, 2020: Rapid Mobilization Process Established for Reservists Supporting COVID-19 Response
             April 3, 2020: Navy Deploys Expeditionary Medical Facility Personnel to Support Federal COVID-19 Response
             April 3, 2020: Navy College Program Continues During COVID-19 Pandemic
             April 3, 2020: NAVSUP FLC Norfolk Helps Comfort Get Underway for New York
             April 3, 2020: Team at Naval Personnel Command Works 24/7 to Help Sailors, Families With PCS Questions
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          April 3, 2020: Navy Initiates Temporary Changes for ID Card Offices                                                
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             April 2, 2020: Navy, Marine Corps Partner With Industry, FEMA to 3-D Print Face Shields
             April 2, 2020: Hospital Ships Arrive Safely With Help From Meterologists, Oceanographers
             April 2, 2020: Navy COVID-19 Efforts Link to Joint Acquisition Task Force
             April 2, 2020: Before COVID-19, U.S. Naval War College War Game Examined Epidemic Response
             April 1, 2020: Comfort Treats First Patients in New York
             April 1, 2020: U.S. Navy Support Facility Diego Garcia Ramps Up Social Distancing
             April 1, 2020: Undersea Warfare Center Builds Face Shields for Local Medical Community
             April 1, 2020: DC-Area Fleet/Family Support Center Offers Webinars to Help Navigate COVID-19
             March 31, 2020: 24/7 Chaplain Hotline for Reserve Sailors Starts April 1
             March 30, 2020: Comfort Arrives in New York
             March 29, 2020: Comfort Underway to Support City of New York
             March 27, 2020: Navy Exchange Service Command Closes Tailor/Embroidery, Laundry, Dry Cleaning Shops Due To COVID-19
             March 27, 2020: USNS Mercy Arrives in Los Angeles
             March 27, 2020: Amid COVID-19 Restrictions SkillBridge Internships Continue
             March 27, 2020: St Louis Native Supports Nation’s COVID-19 Response Efforts Aboard USNS Mercy
             March 27, 2020: Navy Strengthens Supply Chain During COVID-19 Pandemic
             March 26, 2020: Navy Authorizes Enlistment Extensions, Re-Entry Opportunities
             March 26, 2020: Navy Base in Japan Works to Keep COVID-19 at Bay
             March 25, 2020: U.S. Navy Reports Updated Positive COVID-19 Cases
             March 25, 2020: Navy Consolidates COVID-19 Prevention Policies in NAVADMIN 080/20
             March 25, 2020: Naval Postgraduate School Continues Prep for Spring Classes Online
             March 24, 2020: Navy Reserve Arrives to Support USNS Mercy
             March 24, 2020: Containing COVID-19: Why the Boss Sent Me Home
             March 24, 2020: TAP Available Online for Transitioning Sailors
             March 23, 2020: USNS Mercy Departs San Diego
             March 23, 2020: U.S. Naval War College Turns to Virtual Town Hall, All-Hands Call in Response to COVID-19
             March 22, 2020: Navy Exchange Service Command Closes Barber and Beauty Shops in Response to COVID-19
             March 22, 2020: Navy Preventive Medicine Teams Embark Ships in 7th Fleet
             March 21, 2020: Naval War College Moves Lectures, Seminars Online, Postpones Events to Fight COVID-19
             March 20, 2020: Navy Exchange Suspends All In-Store Vendor and Sales Events
             March 20, 2020: Navy Increasing Health Protection Measures on Installations to Fight COVID-19
             March 20, 2020: Telework Increased for Reserve Sailors; Some Admin Requirements Waived
             March 19, 2020: Recruit, Officer Graduation Ceremonies Canceled Till Further Notice
             March 19, 2020: Navy Postpones Selection Boards
             March 18, 2020: Navy Authorizes COs to Relax Some Grooming Standards if Necessary
             March 18, 2020: NCIS: Beware of Coronavirus-Themed Scams
             March 18, 2020: Chief of Chaplains Provides COVID19 Mitigation Guidance
             March 18, 2020: Navy Cancels Spring 2020 Fitness Cycle, Delays Advancement Exam
             March 18, 2020: Navy School Closed After Third COVID-19 Case
             March 17, 2020: Updated Training Track Guidance Issued
             March 16, 2020: Navy Museums Temporarily Close
             March 15, 2020: COVID-19: Important Information for U.S. Navy Reservists
             March 15, 2020: Navy Sets Coronavirus Transfer and Travel Rules: What You Need to Know (March 15, 2020)



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         Supporting Video
             Aug. 26, 2022: U.S. Navy Surgeon General Message on Novavax
             Mar. 11, 2022: Moment of Excellence: COVID-19 Contact Tracing Team
             Feb. 4, 2022: Message from CNP: It's Time to Get Your COVID-19 Booster
             Jan. 10, 2022: COVID-19 Testing Conducted on NAS Sigonella
             Dec. 14, 2021: U.S. Navy Surgeon General COVID Booster Update
             Dec. 1, 2021: Message from Fleet Master Chief Koshoffer: CCDA Reminder
             Sep. 30, 2021: Get the Facts, and Get the Vax!
             Aug. 20, 2021: COVID Q and A - With Capt. Dianna Wolfson and Dr. Julia Cheringal
             Jul. 22, 2021: NMCSD Nurse Shares Why She Got The COVID-19 Vaccine
             Jun. 17, 2021: YOU ASKED: What is the Navy's way forward with the COVID-19 vaccine?
             May 28, 2021: We can do this - COVID-19 Vaccines - Active duty Servicemember and Spouse
             May 26, 2021: U.S. Navy Surgeon General COVID update
             Apr. 27, 2021: Surviving COVID-19 #2
             Apr. 14, 2021: Getting Your COVID-19 Vaccine is Quick and Easy (Fleet version)
             Mar. 22, 2021: COVID-19 Then And Now - Immunizations
             Feb. 3, 2021: Reagan Sailors give their reasons for receiving the COVID-19 vaccine
             Jan. 13, 2021: NMCSD COVID-19 Vaccine Video
             Jan. 11, 2021: Coronavirus Vaccines on USS San Antonio
             Dec. 16, 2020: Lieutenant Emily Micciolo talks about receiving COVID-19 vaccine
             Dec. 16, 2020: Captain Shelley Perkins talks about the first round of COVID-19 vaccination at Naval Hospital Camp Pendleton
             Dec. 16, 2020: U.S. Navy Lieutenant Commander Devon Czarzasty talks about the COVID-19 Vaccination
             Dec. 16, 2020: NMCSD’s Coronavirus Vaccine MAO
             Dec. 15, 2020: NMCSD COVID-19 Vaccine Interview
             Dec. 15, 2020: NMCSD COVID-19 Vaccine Transfer to NHCP
             Dec. 15, 2020: COVID-19 vaccine arrives at Naval Hospital Camp Pendleton
             Dec. 15, 2020: NMCSD Distributes COVID-19 Vaccine
             Dec. 15, 2020: Naval Medical Center San Diego COVID-19 Vaccine Teleconference
             Dec. 15, 2020: COVID-19 Vaccine Arrives at Naval Hospital Pensacola
             June 3, 2020: Basic Information on COVID19 Contact Tracing Process in the U.S. Navy
             April 25, 2020: America Strong
             April 3, 2020: Secretary Modly appearance on Hugh Hewitt Show to discuss Navy response to COVID-19
             March 24, 2020 (Facebook Live Press Conference): Secretary of the Navy, Chief of Naval Operations, Navy Surgeon General, Master
             Chief Petty Officer of the Navy
             March 24, 2020: Acting Secretary of the Navy Thomas B. Modly – Message to the Fleet
             March 23, 2020: USNS Mercy (T-AH 19) Deploys in COVID-19 Response Support
             March 23, 2020 (Facebook Video): Press Availability on USNS Mercy Deployment
             March 21, 2020: Chief of Naval Personnel Virtual Town Hall
             March 19, 2020: CNO’s Message to the Fleet on Coronavirus
             March 18, 2020: Coronavirus Terms to Know
             March, 14, 2020: Message From Chief of Naval Operations ADM Mike Gilday and Master Chief Petty Officer of the Navy Russell Smith
             March 14, 2020: Stop the Spread of Germs Everyday
             Feb. 26, 2020: Navy Surgeon General’s Message



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https://www.navy.mil/Resources/COVID-19-Updates/                                                                                                      15/18
2/13/23, 4:16 PM                                  Case: 22-10077  Document: 284 U.S.Page:   205 Updates
                                                                                     Navy COVID-19 Date Filed: 02/13/2023
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         DoD, Navy Leadership Statements
             Apr. 6, 2022: Consolidated Department of Defense Coronavirus Disease 2019 Force Health Protection Guidance
             Mar. 17, 2022: Deputy Secretary of Defense Releases Workplace Guidance for Reentry of Department of Defense Civilian Personnel to
             DoD Workplaces
             Oct.4, 2021: Mandatory Coronavirus Disease 2019 Vaccination of DoD Civilian Employees
             Aug. 24, 2021: Mandatory Coronavirus Disease 2019 Vaccination of Department of Defense Service Members
             Dec. 15, 2020: CNO Gilday Issues a Message to the Fleet on the COVID Vaccine
             April 14, 2020: U.S. Naval Forces Europe-Africa and U.S. 6th Fleet Resiliency Letter
             April 11, 2020: Chief of Navy Reserve Releases Message to the Force
             March 31, 2020: Vice Chief of Naval Operations Message to Navy Leadership
             March 30, 2020: COVID-19 Navy Update: CNO and MCPON Message to the Fleet
             March 27, 2020: Memo from Secretary of Defense to all DoD Personnel
             March 26, 2020: Chief of Naval Operations Statement on USS Theodore Roosevelt
             March 25, 2020 (DoD Statement): Overseas Stop Movement Order in Response to COVID-19
             March 18, 2020: Hospital Ships, Other DOD Assets Prepare for Coronavirus Response
             March 14, 2020: Statement by the Department of Defense on COVID-19 Response Measures on the Pentagon Reservation
             March 13, 2020: Department of Defense Statement on Enhanced Protection Measures at Pentagon



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         TRANSCOM Release
             Jan. 10, 2021: USTRANSCOM Leaders Receive COVID-19 Vaccine
             Dec. 22, 2020: Maintaining Warfighting Readiness amidst the COVID-19 Pandemic
             Mar. 17, 2020: Most Defense Personal Property Pick-ups and Pack-outs Paused; Deliveries Continue



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         More Resources
             Navy Remote Work Information & Guidance (CAC Required) Published by the DON Deputy Chief Information Officer for the Navy
             Military Health System Nurse Advice Line
             MyNavy Career Center
             Psychological Health Resource Center
             Navy Marine Corps Public Health Center
             Department of Defense Coronavirus Update Site
             Centers for Disease Control and Prevention COVID-19 Website
             Military OneSource: Coronavirus Information for Our Military Community
             Coronavirus Guidance from TRICARE
             Navy-Marine Corps Relief Society: Coronavirus Response (video)
             Health Information Privacy (Dept. of Health and Human Services)
             The President’s Coronavirus Guidelines for America (video)
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https://www.navy.mil/Resources/COVID-19-Updates/                                                                                                                        18/18
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         Case
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     Navy Nearing 1,500 COVID-19 Vaccine
     Separations
     By: Heather Mongilio
     July 27, 2022 6:54 PM • Updated: July 28, 2022 10:03 AM




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https://news.usni.org/2022/07/27/navy-nearing-1500-covid-19-vaccine-separations                                                       1/5
2/13/23, 4:19 PM   Case: 22-10077  Document:   2841,500 COVID-19
                                       Navy Nearing     Page: 210          Date Filed:
                                                                 Vaccine Separations         02/13/2023
                                                                                     - USNI News
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      Hospital Corpsman 3rd Class Robert Moore, assigned to USS George W. Bush (CVN-77) medical department, ad-
      ministers a COVID-19 vaccine at the McCormick Gym onboard Naval Station Norfolk, April 8, 2021. US Navy

      Photo




     This story has been updated with additional information from the Office of the Chief of Naval
     Personnel.


     The Navy separated 259 sailors for their refusal to get vaccinated against COVID-19 in the last
     month, according to the Navy’s monthly COVID-19 update.


     Of the total 1,466 separations, 1,121 are active-duty sailors, while 323 are reservists. Another 22 sep-
     arations are sailors who were in their first 180 days of service.


     The Navy has the second highest number of separations of the Department of Defense military
     branches. The Marine Corps, which leads the services, has separated more than double the number
     of service members.


     As of the last Marine Corps update, published on June 6, the service had separated 3,069 Marines.


     The Army has the third highest, with 1,379 separations, slightly below the Navy, it announced July 22.
     The Air Force has the fewest separations at 834, according to its July 12 update.


     The Navy is not able to separate any sailors who have requested a religious exemption to the COVID-
     19 vaccine due to a ruling in the Fifth Circuit. The Department of Defense has filed an appeal in the
     case, according to court records.


     The Navy received 3,371 requests for religious waivers from active-duty sailors and 873 from re-
     servists. The service has granted 13 religious accommodations to members of the Individual Ready
     Reserve on the condition that they get vaccinated if called to active-duty or reserve status.


     It also granted 43 religious waivers to sailors who are the process of retiring or leaving the service.


     The sea service also granted 19 permanent and 189 temporary medical exemptions to active-duty
     sailors. It gave three permanent and 65 temporary medical waivers to reservists.


                                                                                  Pls.' Opp. to Assertion of Mootness App. 0047
https://news.usni.org/2022/07/27/navy-nearing-1500-covid-19-vaccine-separations                                                   2/5
2/13/23, 4:19 PM Case: 22-10077      Document:     2841,500 COVID-19
                                           Navy Nearing     Page: 211          Date Filed:
                                                                     Vaccine Separations         02/13/2023
                                                                                         - USNI News
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     Since the beginning of the pandemic in early 2020, there have been 102,697 cases of COVID-19
     among sailors, according to the Navy statistics, resulting in 17 deaths.


     There are 3,147 active-duty and 3,432 reserve sailors who are unvaccinated.




     Related




     Navy Exceeds 1,500 COVID-19                          COVID-19 Vaccine Refusal                Navy Nearing 1,000 COVID-19
     Vaccine Refusal Separations                          Separations Increase to 884             Vaccine Denial Separations
     August 24, 2022                                      May 9, 2022                             May 18, 2022
     In "News & Analysis"                                 In "Budget Industry"                    In "Military Personnel"



     Article Keywords: Coronavirus, COVID 19, COVID-19 pandemic, COVID-19 vaccine, lawsuit, religious exemp-
     tion, vaccine, vaccine exemption, vaccine mandate, vaccine refusal
     Categories: Budget Industry, Military Personnel, News & Analysis, U.S. Air Force, U.S. Army, U.S. Marine
     Corps, U.S. Navy




     About Heather Mongilio
     Heather Mongilio is a reporter with USNI News. She has a master’s degree in science journalism
     and has covered local courts, crime, health, military affairs and the Naval Academy.
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2/13/23, 4:19 PM   Case: 22-10077  Document:   2841,500 COVID-19
                                       Navy Nearing     Page: 212          Date Filed:
                                                                 Vaccine Separations         02/13/2023
                                                                                     - USNI News
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The Wayback Machine - https://web.archive.org/web/20220526022338/https://www.navy.mil/US-Navy-COVID-19-Updates/




                                                                                 U.S. Navy COVID-19 Updates




You are at the official site for Navy information and updates on Coronavirus Disease 19 (COVID-19). Visit frequently to
learn about the latest policies, leadership messages, and guidance on how to protect yourself, your family, and your
Shipmates.

Department of the Navy Return to the Workplace COVID-19 Guidance and Resources 2020 (updated July 28, 2020) (PDF). Information to assist the
military and civilian employees on workforce management, reporting, testing, personnel protection, telework policy, travel and more. Information is
subject to change. Consult the following links for updated guidance: ALNAV Library, NAVADMIN Library, and MARADMIN Library.

                                                                            NEED TO A REPORT COVID-19 CASE?

Go to MyNavy Portal at - https://www.mnp.navy.mil/group/navy-covid-19-reporting (CAC Enabled)

If you have any questions or experience any difficulties please contact the OPNAV COVID Cell via
email OPNAV_COVID_CRISIS_RESPONSE_CELL@navy.mil or by phone at (703) 571-2822.

    For Navy-specific questions related to COVID-19 numbers and vaccination data, please email
    PTGN_CHINFONEWSDESK@NAVY.MIL.




                                                                   NAVY COVID-19 UPDATE
                                                                   ​

                                                                                            May 25, 2022

    As of May 25, 2022, 3,989 active component and 3,262 Ready Reserve service members remain unvaccinated.
    As a result of the recent class action certification and corresponding injunction issued by the U.S. District Court for the Northern District of Texas,
    NAVADMIN 083/22, released March 30, 2022, suspends separation processing and adverse administrative consequences for Navy service
    members who submitted requests for religious accommodation from the COVID-19 vaccine requirement.
    There have been 1,074 separations for refusing the COVID-19 vaccine. In accordance with NAVADMIN 083/22, Sailors who submitted religious
    accommodation requests may no longer be separated for vaccine refusal. Vaccine refusers who have not submitted religious accommodation
    requests remain subject to adverse administrative action, including separation.
        There have been 954 Active Component Sailors and 98 Reserve Component Sailors separated, all with an honorable characterization of
        service. Guidance for separating Navy service members refusing the vaccine was set by the COVID-19 Consolidated Disposition Authority and
        is detailed in NAVADMIN 283/21.
        There have been 22 Entry Level Separations (ELS). In accordance with the Naval Military Personnel Manual (MILPERSMAN) 1910-154 and
        NAVADMIN 225/21, this reflects service members who, since the time of the vaccine mandate, were separated during initial training periods
        within their first 180 days of active duty.

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https://web.archive.org/web/20220526022338/https://www.navy.mil/US-Navy-COVID-19-Updates/                                                                     1/18
2/13/23, 4:21 PM                    Case: 22-10077    Document:    284
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    Thirteen religious accommodation requests for members of the Individual Ready Reserve (IRR) have been conditionally approved. A conditional
    approval means that the individual is not required to be vaccinated while in the IRR, but must be fully vaccinated as defined in NAVADMIN 190/21
    Search
    prior to returning to service.
    Prior to the U.S. District Court class-wide injunction addressing all Navy service members who submitted religious accommodation requests, 27
    additional religious accommodation conditional approvals were completed by the Chief of Navy Personnel (26 active and one Selected Reserve).

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    All 27 requests involved service members who would be on separation leave or were otherwise transitioning out of the Navy prior to June 1, 2022.
    Because these requests were adjudicated prior to release of the injunction, they are included in this report and will be provided to the individuals
    who requested accommodation. 11 more conditional approvals have been completed since then. The terms of NAVADMIN 083/22 and the
    protections afforded by the injunction will continue to apply to these requesters, notwithstanding the previous adjudication of their religious
    accommodation request. NAVADMIN 102/22 provides updated guidance to commanding officers for unvaccinated service members who
    submitted a religious accommodation request.
    As of May 25, 2022, there are 3,422 active duty and 869 Ready Reserve requests for a religious accommodation from immunization for the
    COVID-19 vaccine.
    As of May 25, 2022, active duty service members currently have 14 permanent medical exemptions and 213 temporary medical exemptions, and
    Ready Reserve service members currently have one permanent medical exemption and 78 temporary medical exemptions.
    Starting with the Dec. 10 report, the vaccination and religious accommodation request data is provided by the data collected by the COVID-19
    Consolidated Disposition Authority (CCDA), as directed in NAVADMIN 249/21: CCDA Data Reporting Requirements. On Feb. 22, 2022, NAVADMIN
    042/22 was released updating these reporting requirements.
    On Dec. 15, 2021, NAVADMIN 283/21 was released outlining execution guidance regarding separation of Navy service members refusing the
    COVID-19 vaccine.
    On Dec. 22, 2021, NAVADMIN 289/21 was released outlining guidance encouraging COVID-19 vaccine boosters.

                                                                                                  Cumulative Total
                       Cases         Hospitalized          Recovered             Deaths
                                                                                                   COVID Cases*

       MIL              1,008                1                93,630                17                94,655

       CIV              1,668                6                45,543               119                47,330

       DEP               118                 0                11,521                 7                11,646

       CTR               245                 0                12,397                49                12,691

     TOTAL              3,039                7               163,091               192                166,322




* Active Cases + Recovered + Deaths = Cumulative Total COVID Cases



UNVACCINATED


                                                             Active Duty Ready Reserve
 Unvaccinated                                                    3,989                   3,262
 Religious Accommodation Request                                 3,422                      869



APPROVED EXEMPTIONS


                                                       Active Duty             Ready Reserve

 Permanent Medical                                            14                            1
 Temporary Medical                                           213                         78
 Religious Accommodation                                      27                            1

    In accordance with Navy mandatory COVID-19 vaccination and reporting policy guidance, the deadline for active-duty Navy service members to
    be fully vaccinated was Nov. 28, 2021. Ready Reserve Navy service members will be fully vaccinated by Dec. 28, 2021. New accessions will be
   fullytovaccinated
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    In order to ensure a fully vaccinated force, U.S. Navy policy is to process for separation all Navy service members who refuse the lawful order to
    receive the COVID-19 vaccination and do not have an approved exemption. All waiver requests are reviewed on a case-by-case basis and each
    request will be given full consideration with respect to the facts and circumstances submitted in the request.
    The Navy issued a press release outlining guidance to commands for service members who refuse to comply with the service’s order mandating
    all active-duty and reserve members be fully vaccinated against COVID-19 in NAVADMIN 256/21, released Nov. 15, 2021.
        Definitions:
                                                                                                                            
           Fully Vaccinated: Per NAVADMIN 190/21, Navy service members are considered fully vaccinated two weeks after completing the second
           dose of a two- dose COVID-19 vaccine or two weeks after receiving a single dose of a one-dose COVID-19 vaccine. Booster shots are still
           under evaluation and will be addressed via separate message.
           Unvaccinated: Per NAVADMIN 249/21, this includes Navy service members who:
               refused the vaccine
               started the vaccination series, but are not complete
               are pending medical exemption
               have an approved medical exemption
               are pending religious accommodation exemption
               have an approved religious exemption
               have not had access to the vaccination due to operational schedule and/or remote location
           Medical: Medical exemptions will be determined by health care providers based on the health of the requestor, and the nature of the
           immunization under consideration in line with BUMEDINST 6230.15B and MILPERSMAN 1730- 020.
           Religious Accommodation: A religious accommodation is a category of administrative exemptions that provides an accommodation to a
           service member for an otherwise applicable military policy, practice, or duty. In accordance with The Religious Freedom Restoration Act, if
           such a military policy, practice or duty substantially burdens a service member’s exercise of religious, accommodation unless:
    The military policy, practice, or duty is in furtherance of a compelling governmental interest (e.g. mission accomplishment, safety, force health).
    It is the least restrictive means of furthering that compelling governmental interest.
        For more information, including frequently asked questions and Navy instructions, visit https://www.mynavyhr.navy.mil/Support-
        Services/Religious-Accommodations/
    Hyperlinks to Navy Administrative Messages:
        NAVADMIN 102/22: CCDA ADDITIONAL GUIDANCE REGARDING MEMBERS REQUESTING RELIGIOUS ACCOMMODATION FROM COVID-19
        VACCINATION REQUIREMENTS
        NAVADMIN 083/22: CCDA INTERIM GUIDANCE REGARDING MEMBERS REQUESTING RELIGIOUS ACCOMMODATION FROM COVID-19
        VACCINATION REQUIREMENTS
        NAVADMIN 042/22: UPDATED COVID CONSOLIDATED DISPOSITION AUTHORITY DATA REPORTING REQUIREMENTS AND LESSONS LEARNED
        NAVADMIN 007/22: U.S. NAVY COVID-19 STANDARDIZED OPERATIONAL GUIDANCE 5.0
        NAVADMIN 289/21: GUIDANCE ENCOURAGING COVID-19 VACCINE BOOSTER
        NAVADMIN 283/21: CCDA EXECUTION GUIDANCE TO COMMANDERS
        NAVADMIN 256/21: CCDA GUIDANCE TO COMMANDERS
        NAVADMIN 249/21: CCDA DATA REPORTING REQUIREMENTS
        NAVADMIN 225/21: COVID-19 CONSOLIDATED DISPOSITION AUTHORITY (CCDA)
        ALNAV 062/21: 2021-2022 DEPARTMENT OF THE NAVY MANDATORY COVID-19 VACCINATION POLICY
        NAVADMIN 190/21: 2021-2022 NAVY MANDATORY COVID-19 VACCINATION AND REPORTING POLICY




   Go to the Links below for more information
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       DoD, Navy Leadership Statements
       TRANSCOM Release
       More Resources



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         Operational Guidance
             U.S. Navy Updates Guidance to Combat COVID-19 (Nov. 4, 2020)
             COVID-19 Mitigation Framework Infographic (May 19, 2020)
             U.S. Navy Response to the COVID-19 Pandemic Infographic (May 19, 2020)
             Return-to-Work Guidelines Infographic (May 18, 2020)
             Navy Telework Capabilities Graphic (May 6, 2020)
             COVID-19 Healthcare Provider Guidance (April 30, 2020)
             Cyber Awareness – Protect Sailors and Families Online (February 2020)



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         NAVADMINs
             Aug. 30, 2021: 190/21 2021-2022 Navy Mandatory COVID-19 Vaccination and Reporting Policy
             Aug. 23, 2021: 180/21 Update 3 to Navy COVID-19 Reporting Requirements
             July 29, 2021: 161/21 Updated Mask Guidance for All DOD Installations and Other Facilities
             July 28, 2021: 159/21 Special Leave Accrual for the Navy
             July 13, 2021: 150/21 Department of Defense COVID-19 Testing Prior to Overseas Travel (Update 2)
             June 16, 2021: 129/21 Physical Readiness Program Update for Calendar Year 2021 (CY2021) Physical Fitness Assessment
             June 15, 2021: 123/21 Procedures for Foreign Visit requests to U.S. Navy Commands During COVD-19 Pandemic
             June 2, 2021: 110/21 U.S. Navy COVID-19 Standing Guidance Update 1
             May 21, 2021: 100/21 Cancellation of Urinalysis Policy Update
             May 21, 2021: 100/21 Cancellation of Urinalysis Policy Update
             May 21, 2021: 99/21 U.S. Navy COVID 19 Standard Guidance
             May 14, 2021: 95/21 Interim Update on DOD Mask Guidance
             May 4, 2021: 88/21 SARS-COV-2 Vaccination and Reporting Policy Update
             Apr. 30, 2021: 086/21 Updated Guidance to Commanders on Adjusting Health Protection Conditions and Base Services During
             COVID-19 Pandemic
             Apr. 05, 2021: 073/21 Navy Mitigation Measures in Response to Coronavirus Outbreak Update 7 (Conditions-Based Approach to
             COVID-19 Personnel Movement and Travel Restrictions)
             Mar. 10, 2021: 059/21 Use of Masks and other Public Health Measures during COVID-19 pandemic
             Mar. 03, 2021: 052/21 Procedures for Foreign Visit Requests to U.S. Navy Commands during COVID-19 pandemic
             Feb. 16, 2021: 038/21 Process to Request Exception on use of Masks and Other Public Health Measures During COVID-19 Pandemic
             (Corrected Copy)
             Feb. 16, 2021: 037/21 U.S. Navy COVID-19 Standardized Operational Guidance Version 4.0 (Cancelled May 21, 2021 per NAVADMIN
             099/21)
             Jan. 29, 2021: 026/21 Department of Defense COVID-19 Testing Prior to Overseas Travel (Update 1)
             Jan. 7, 2021: ​003/21 DEPARTMENT OF DEFENSE COVID-19 TESTING PRIOR TO OVERSEAS TRAVEL
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             Dec. 16, 2020: 327/20 SARS-COV-2 VACCINATION AND REPORTING POLICY
             Dec. 15, 2020: 325/20 CNO Message to the Fleet - COVID-19 Vaccine
             November 10, 2020: 302/20 Termination of Global Authorized Departure for Individuals at Higher Risk From COVID-19
             November 4, 2020: 298/20 US NAVY COVID-19 STANDARDIZED OPERATIONAL GUIDANCE VERSION 3.1 (Cancelled Feb. 16, 2021 per
             NAVADMIN 037/21)

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             October 13, 2020: 277/20 UPDATE 2 TO COVID-19 REPORTING REQUIREMENTS                                            
             September 30, 2020: 266/20 US NAVY COVID-19 STANDARDIZED OPERATIONAL GUIDANCE VERSION 3.0 (Cancelled Nov. 4. 2020
             per NAVADMIN 298/20)
             August 24, 2020: 236/20 ​UPDATED PROCEDURES FOR FOREIGN VISIT REQUESTS TO U.S. NAVY COMMANDS DURING COVID-19
             PANDEMIC
             August 21, 2020: 235/20 Announcement of Approval of Humanitarian Service Medal (HSM) and Armed Forces Service Medal
             (AFSM) for Department of Defense Coronavirus (COVID 19) Operations and Activities
             August 14, 2020: 231/20 Flexibility For Fiscal Year 2020 Sexual Assault Prevention Response and Suicide Prevention General Military
             Training Requirements
             August 10, 2020: 225/20 Third Extension of Global Authorized Departure For Individuals At Higher Risk From COVID-19
             August 4, 2020: 217/20 U.S. Navy COVID-19 Standardized Operational Guidance Version 2.1 (Cancelled Sep. 30, 2020 per NAVADMIN
             266/20)
             July 13, 2020: ​197/20: Second Extension of Global Authorized Departure for Individuals at Higher Risk from COVID-19
             July 9, 2020: 195/20: Casualty and Mortuary Affairs Processes in Response to COVID-19 Update Two
             July 8, 2020: ​194/20: Face Coverings in Uniform
             July 7, 2020: 193/20: Physical Readines Program Policy Update for Physical Fitness Assessment Cycle Two 2020 Due to COVID19
             Mitigation
             July 2, 2020: 189/20: Navy Mitigation Measures In Response to Coronavirus Outbreak Update 6
             June 30, 2020: 185/20: CNO Message to the Fleet on Sustaining Readiness
             June 25, 2020: 178/20: COVID-19 Testing
             June 17, 2020: 173/20: U.S. Navy COVID-19 Standardized Operational Guidance Version 2.0 (Cancelled Aug. 4, 2020 per NAVADMIN
             217/20)
             June 12, 2020: 169/20: Permanent Change of Station Post Stop Movement Priority Plan
             June 12, 2020: 168/20: Navy Mitigation measures In Response to Coronavirus Outbreak Update 5 (Cancelled July 2, 2020 per
             NAVADMIN 189/20)
             June 10, 2020: 164/20 Extension of Termination of Global Authorized Departure for Individuals at Hight Risk from COVID-10
             June 4, 2020: 163/20: Modification-2 to the Notice of Convening FY-21 Active-Duty Officer Continuation Selection Boards and
             Announcement of Continuation Policy
             May 29, 2020: 160/20: Guidance on Conducting Ceremonies for Retirement or Transfer to the Fleet Reserve Delayed Due to the
             Coronavirus Pandemic
             May 29, 2020: 159/20: Termination of Departure Authority for Individuals at Higher Risk From COVID-19
             May 26, 2020: ​155/20: U.S. Navy COVID-19 Standardized Operational Guidance (Cancelled June 17, 2020 per NAVADMIN 173/20)
             May 20, 2020: 148/20: Updated Policy for the Use of Embedded Computer Capabilities and Peripherals to Support Two-Way
             Collaboration
             May 20, 2020: 147/20: Guidance to Commanders on Adjusting Health Protection Conditions and Base Services
             May 19, 2020: 145/20: Advancement Eligibility Related to Changes to the Navy-Wide Advancement Exam and Physical Fitness
             Assessment Schedules Due to COVID-19 Mitigation
             May 15, 2020: 144/20: Recommencement of Selection Boards and Announcement of Revised Schedule
             May 6, 2020: CNO Message to the Fleet
             May 4, 2020: 132/20 Manning Initiatives Announced to Mitigate Fleet Gaps
             May 1, 2020: 129/20 Guidance on Evaluation of Deployability, Temporary Limited Duty, and Referral to the Disability Evaluation
             System (DES) during the Coronavirus (covid-19) Pandemic
             May 1, 2020: 128/20 Naval History and Heritage Ideas and Online Resources to Support Fleet Learning and at Home Education during
             the Pandemic
             April 30, 2020: 126/20 Protection of Service Members and Families Executing Inbound/Outbound Household Goods Moves During
             Covid-19 Stop Movement

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             April 27, 2020: 121/20: Supplemental Number Two for E4 Though E7 February 2020 (Cycle 106) Selective Reserve and March 2020
             (Cycle 247) E4 Through E6 Active-Duty, Full-Time Support and Canvasser Recruiter Navy-Wide Advancement Examinations
             April 21, 2020: 116/20: Navy Mitigation Measures in Response to Coronavirus Outbreak Update 4. (Cancelled June 12, 2020 per
             NAVADMIN 168/20)
             April 21, 2020: 115/20: Update to Navy COVID-19 Reporting Requirements

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             April 21, 2020: 114/20: Policy Guidance Update for Identification Card Services for COVID-19
                                                                                                                              
             April 17, 2020: 113/20 – Restriction of Movement (ROM) Guidance Update
             April 15, 2020: 109/20 – COVID-19 Update Guidance to Support Fleet Operations
             April 10, 2020: 105/20: Expanded Opportunity For Retention On Active-Duty In A Retired Status For Active-Duty Officers With Pending
             Statutory Retirements​
             April 8, 2020: 104/20: CNO Message to the Fleet
             April 7, 2020: 101/20: Exception to Policy for Small Arms Training and Qualification Criteria and Navy Security Forces Annual
             Sustainment Training Requirements
             April 7, 2020: 102/20: Casualty and Mortuary Affairs Processes in Response to COVID-19
             April 5, 2020: ​100/20: Navy Guidance on the Use of Face Coverings
             April 3, 2020: 99/20: Mobilization Processing of Navy Reserve Personnel in Support of COVID-19 Response Operations
             April 3, 2020: 98/20: Procedures for Navy Entities to Contribute Additively Manufactured Parts or Services in Response to COVID-19
             April 2, 2020: 97/20: Common Access Card Issuance Policy Update for COVID-19
             March 27, 2020: 93/20: Commercial Virtual Remote (CVR) Collaboration Environment
             March 27, 2020: 92/20: Urinalysis Policy Update (Cancelled May 21, 2021 per NAVADMIN 100/21)
             March 26, 2020: 89/20: Voluntary Extensions for Active Component Navy Members with Approved Separation or Retirement Dates
             March 25, 2020: 88/20: Requirements for Authorized and Ordered Departures
             March 23, 2020: 83/20: Restriction of Movement Guidance
             March 23, 2020: 82/20: Navy Transition Assistance Program Policy Update for COVID-19
             March 21, 2020: 80/20: Navy Mitigation Measures in Response to Coronavirus Outbreak: Update 3
             March 19, 2020: 75/20: Maintaining and Protecting the Navy Accessions Supply Chain
             March 19, 2020: 74/20: Mitigation Measures in Response to Coronvavirus Outbreak (Update 2)
             March 18, 2020: 73/20: Temporary Relaxation of Hair Grooming Standards in Response to Coronavirus Outbreak
             March 18, 2020: 72/20: Navywide Advancement Examinations
             March 18, 2020: 71/20: Physical Readiness Policy Update
             March 17, 2020: 69/20: Enlisted Advancement Exams Postponed
             March 17, 2020: 68/20: Effective use of Remote Work Options
             March 14, 2020: 65/20: Overseas Travel
             March 12, 2020: ​64/20: Navy Mitigation Measures in Response to Coronavirus Outbreak



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         ALNAVs
             Aug. 30, 2021: 062/21 2021-2022 Department of the Navy Mandatory COVID-19 Vaccination Policy
             Apr. 30, 2021: 032/21 Update to Department of the Navy Health Protection Condition Policies
             June 12, 2020 – 67/20: Cancellation of ALNAV 044/20 and 49/20 Per SECDEF Memo transitions to a conditions based movement
             order
             May 21, 2020 – 59/20: 101 Days of Summer Safety
             May 4, 2020 – 52/20: Public Service 2020
             April 22, 2020 – 49/20: Modifications to ALNAV 044/20: Reissuance of Department of the Navy Travel Restrictions in Response to
             Coronavirus Disease 2019
          April 21, 2020 – 44/20: Reissuance of Department of the Navy Travel Retrictions in Response to Coronavirus Disease 2019
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             April 3, 2020 – SECNAV Vector 18: Serving Our Country (also posted on ALNAV site)
             March 31, 2020 – 35/20: Special Duty Medical Examinations Update to Policy in Response to the Coronavirus Disease 2019
             March 23, 2020 – 29/20: State and Local Shelter-in-Place Orders’ Impact on Department of the Navy Operations
             March 20, 2020 – 28/20: (SECNAV Vectors Blog: Vector 16: Agility in Time of Crisis (As posted to ALNAV site)
             March 14, 2020 – 26/20: Official and Personal Domestic Travel Force Health Protection Guidance for Department of the Navy

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             (CONUS Travel Guidance)
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             March 13, 2020 – 24/20: Acting Secretary of the Navy Thomas B. Modly’s Vector 15 message (Re. Force Protection Guidance)
             March 12, 2020 – 25/20: Force Protection Guidance for the Department of the Navy



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         ALNAVRESFOR
             June, 22, 2020 – 13: Reserve Force Conditions-Based Approach to Personnel Movement
             May 21, 2020 – 12: CNRF-Navy Reserve Force Policy for COVID-19 Update 2
             April 16, 2020 – 11: CNRF-Navy Reserve Force Policy Update for COVID-19
             April 16, 2020 – 10: CNRF-Message to the Force from VADM McCollum
             March 20, 2020 – 09: Navy Reserve Enhanced Telecommuting Procedures
             March 17, 2020 – 08: Reserve Mitigation Measures in Response to Coronavirus



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         MyNavyHR Videos



             Feb. 10, 2021: News You Can Use - Face Mask Update
             May 29, 2020 – Boards Resume
             May 29, 2020 – Retirements During COVID-19:
             May 29, 2020 – Medical and Dental Elective Procedures
             May 4, 2020 – Retired/Separated Sailors’ Return to Active Duty Options
             May 4, 2020 – Personnel Mitigation Measures
             May 4, 2020 – MyNavy Family App Update
             May 4, 2020 – Selective Reenslistment Bonus Update
             April 29, 2020 – Coronavirus (COVID-19) Tutor.com
             April 22, 2020 – Leave Accumulation Update
             April 22, 2020 – Sea Duty Incentive Pay
             April 22, 2020 – Stop Movement
             April 22, 2020 – CAC and USID Cards Update
             April 14, 2020 – Naval Academy Update
             April 14, 2020 – Contacting Navy College Education Counselors
             April 9, 2020 – Reducing Team Stress
             April 9, 2020 – Retire to Retain Policy
          April 8, 2020 – Face Coverings Update
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             April 8, 2020 – Basic Allowance for Subsistence
             April 8, 2020 – CAC Offices Update
             March 27, 2020 – Town Hall With Fleet K
             March 23, 2020 – NAVADMIN 80/20
             March 23, 2020 – Transition Assistance Program

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             March 23, 2020 – Coronavirus (COVID-19) Japan CDC Warning Level 3 Update
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             March 23, 2020 – COVID-19 Identity Management
             March 20, 2020 – Board Suspension
             March 20, 2020 – Relaxed Grooming Standards
             March 19, 2020- Advancement Exams Postponement Clarification
             March 19, 2020 – Restriction of Movement Update
             March 19, 2020 – PFA Suspension Update
             March 18, 2020 – Advancement Exams Postponed
             March 18, 2020 – Details on Upcoming Advancement Exams
             March 18, 2020 – Orders, Coronavirus Warning Signs
             March 17, 2020 – Coronavirus Testing
             March 17, 2020 – Leave and Liberty, Travel Reimbursements
             March 16, 2020 – Freeze on PCS Moves
             March 16, 2020 – HHG Reimbursements for Canceled Moves, PCS Orders to Alert-Level 2 Countries
             March 16, 2020 – Nonessential OCONUS Travel



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         Navy.mil Releases



             Nov. 15, 2021: Navy Updates Guidance for COVID-19 Vaccine Refusal
             Oct. 20, 2021: Navy Identifies Sailor Who Died of COVID-Related Complications
             Oct. 6, 2021: Navy Identifies NAWDC Sailor Who Died of COVID-Related Complications
             Sept. 20, 2021: Navy Identifies Sailor Who Died of COVID-Related Complications
             Sept. 20, 2021: NEPLO Surges Medical Teams Back Into COVID Hotspot
             Sept. 1, 2021: Navy Supports Mandatory COVID-19 Vaccination for all Active Duty and Reserve Sailors
             Aug. 18, 2021: Navy Identifies Sailor Who Died of COVID-19 Related Complications
             Aug. 17, 2021: Navy Identifies Reserve Sailor Who Died of COVID-19 Related Complications
             July 28, 2021: Navy Identifies Reserve Sailor Who Died of COVID-19 Related Complications
             July 28, 2021: Navy Identifies Naval Medical Center Camp Lejeune Sailor Who Died of COVID-19 Related Complications
             May 26, 2021: Navy Administers One Million Vaccines since the Beginning of the COVID-19 Pandemic
             May 26, 2021: Navy Advancement Results for E-4 through E-6 Delayed Due to COVID-19
             May 24, 2021: U.S. Navy Issues COVID-19 Standing Guidance
             May 22, 2021: Navy Resumes Regular Urinalysis Operations
             May 7, 2021: U.S. Naval Hospital Naples Makes History with Unit Bravo Strike
             May 4, 2021: Theodore Roosevelt Carrier Strike Group Gets Vaccinated
             May 4, 2021: Expeditionary Strike Group 7 Sailors Stay COVID-Free While at Sea
             May 3, 2021: U.S. Navy Issues Updated Guidance to Commanders On Adjusting Health Protection Conditions and Base Services
             During COVID-19 Pandemic
             Apr. 30, 2021: Virginia Beach Sailor Dies of COVID-Related Complications
          Apr. 29, 2021: Iwo Jima ARG and 24th MEU Reach Milestone, 60 days COVID-Free
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https://web.archive.org/web/20220526022338/https://www.navy.mil/US-Navy-COVID-19-Updates/                                                                   8/18
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             Apr. 20, 2021: From COVID Testing to MHS GENESIS support, Lab Techs Do It All
             Apr. 19, 2021: COVID-19 Vaccines Distributed Onboard Washington Navy Yard
             Apr. 19, 2021: COVID-19 Vaccine Appointments Available to All Eligible DOD Beneficiaries
             Apr. 13, 2021: Candid Comments Shared on Choosing COVID-19 Vaccine
             Apr. 13, 2021: Public Health Experts handling the Public Health Crisis

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             Apr. 12, 2021: Nimitz Sailors Receive First Dose of Moderna COVID-19 Vaccine
                                                                                                                               
             Mar. 17, 2021: DOD Health System Archives COVID-19 Vaccination Data
             Mar. 16, 2021: From Sea to Shining Sea: Combating the Pandemic One Mile at a Time
             Mar. 12, 2021: U.S. Navy Accelerates Progress in Providing Vaccinations for Sailors
             Mar. 11, 2021: USS Dwight D. Eisenhower Receives Second COVID-19 Vaccination Shot
             Mar. 11, 2021: Naval Medical Research Center continues Research in Fight Against COVID-19
             Mar. 10, 2021: Suicide and COVID-19: How Navy Region Southeast is fighting back
             Mar. 09, 2021: Nursing the COVID Vaccine Forward
             Mar. 09, 2021: Porter Receives First Dose of COVID-19 Vaccine
             Mar. 05, 2021: USS Lake Champlain Sailors Receive COVID-19 Vaccine
             Mar. 01, 2021: Fleet Readiness Center Southeast supports COVID-19 containment efforts through 3D printing
             Feb. 26, 2021: U.S. 5th Fleet Responds to COVID-19 Aboard USS San Diego and USS Philippine Sea
             Feb. 24, 2021: Navy Identifies Assault Craft Unit 4 Sailor Who Died of COVID-Related Complications
             Feb. 15, 2021: Sailors Embarked on a U.S. Pacific Fleet Ship Test Positive for COVID-19
             Feb 13, 2021: Navy Identifies USS Wasp Sailor Who Died of COVID-Related Complications
             Feb. 5, 2021: Navy Identifies USS Tennessee Sailor Who Died of Coronavirus-related Complications
             Feb. 5, 2021: Navy Identifies Recruit Training Command Sailor Who Died from COVID-19
             Feb. 4, 2021: USS Ronald Reagan Begins Second Round of COVID-19 Vaccinations
             Feb. 4, 2021: Sailor Assigned to Kings Bay Unit Dies of COVID-Related Complications
             Feb. 4, 2021: TRF Kings Bay Provides Superior Support to Submarine Force
             Jan. 28, 2021: Navy Shifts 2021 Fitness Cycle to July
             Jan. 28, 2021: Navy Medical Personnel to Join in Texas COVID-19 Response
             Jan. 28, 2021: Initiation Innovation: Navigating Chief Season in the Midst of COVID
             Jan. 26, 2021: Navy, DoD Respond to COVID-19 in Navajo Nation
             Jan. 23, 2021: Fleet Forces Establishes Vaccination Cell to Expedite Delivery to Fleet
             Jan. 22, 2021: NSA Souda Bay Receives COVID Vaccine
             Jan. 22, 2021: Frontline Workers at Naval Station Rota, Spain Begin Receiving COVID-19 Vaccine
             Jan. 13, 2021: USS Ronald Reagan Begins COVID-19 Vaccinations
             Jan. 12, 2021: Navy Expeditionary Combat Command Leadership Receives COVID-19 Vaccine
             Jan. 12, 2021: Navy Exchange Great Lakes Buoys A-School Students Placed on Restriction of Movement After Holiday Break
             Jan. 9, 2021: NAS Sigonella Receives First Shipment of COVID-19 Vaccine
             Jan. 7, 2021: Service Members Transferring Overseas Must Test Negative for COVID-19 Before Flying
             Jan. 6, 2021: CDC Explains Benefits of COVID-19 Vaccine
             Jan. 5, 2021: U.S. 7th Fleet Sailors Receive COVID Vaccine
             Jan. 5, 2021: Additional Naval Military Treatment Facilities Receiving COVID-19 Vaccine
             Jan. 4, 2021: Commander of Military Sealift Command Receives COVID-19 Vaccine
             Dec. 22, 2020: Navy Announces Expanded Operational Stress Control Program: Here Are the Details
             Dec. 21, 2020: Southwest Regional Maintenance Center Hosts Blood Drives Benefitting Service Members
             Dec. 17, 2020: FLU SEASON 2020: Protect Yourself Against Two Viruses
             Dec. 16, 2020: U.S. Navy Issues Vaccine Guidance to Combat COVID-19
             Dec. 15, 2020: NMCSD Receives First Shipment of COVID-19 Vaccines
             Dec. 15, 2020: Naval Medical Forces Atlantic Hospitals to Be Among First to Receive COVID-19 Vaccine
             Dec. 14, 2020: COVID-19 Vaccine Headed to Naval Medical Center San Diego, Naval Hospital Camp Pendleton
             Nov. 12, 2020: Navy Publishes Scientific Paper on USS Theodore Roosevelt COVID-19 Outbreak
             Nov. 12, 2020: Navy/Marine Corps COVID-19 Study Findings Published in New England Journal of Medicine
             Nov. 6, 2020: Navy: ROM Is Official Duty Status
          Nov. 4, 2020: U.S. Navy Updates Guidance to Combat COVID-19
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             Oct. 28, 2020: Navy Junior ROTC Units Contend With New Normal in New School Year; Naval Science Instructors Meet New
             Challenges
             Oct. 23, 2020: COVID-19 Special Leave Accrual – What You Need to Know
             Oct. 22, 2020: Navy Researchers Evaluate UV Light Sources to Combat COVID-19
             Oct. 20, 2020: Amid COVID-19, Information Warfare Training Command San Diego Safely Trains USS Carl Vinson’s IW Warriors

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             Oct. 19, 2020: Naval Chaplaincy School, Center Uses Virtual Training for Mission Success​
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             Oct. 19, 2020: Office of Naval Reserves Robotics Enters COVID-19 Fight
             Oct 16, 2020: Clothing, Textile Research Facility Pivots 3D Knitting Research to Face Covering Development
             Sept. 30, 2020: U.S. Navy Issues Standardized Operational Guidance 3.0
             Sept. 3, 2020: NAVCENT Medical Personnel Embed with Bahrain Ministry of Health to Manage Pandemic Response
             Sept. 3, 2020: Yokosuka Fleet Logistics Center Supports Incoming Personnel During Pandemic
             Aug. 19, 2020: Naval Safety Training Keeps Momentum with Virtual Learning
             Aug. 12, 2020: Recruit Training Command and Partners Work Together to Transform Drill Halls Into Barracks
             Aug. 10, 2020: USS Germantown’s COVID-19 Rapid Response Team: Fighting Pandemic From The Deckplate
             Aug. 4, 2020: Lebanese Armed Forces, U.S. Navy Conduct Resolute Union Virtually Amid COVID-19 Pandemic
             Aug. 4, 2020: Staying the Course during COVID-19: Losing Weight and Feeling Great!
             July 31, 2020: Naval Laboratory Researcher's Invention Allows to Study Nanoparticle Gases
             July 31, 2020: MARMC SST Advances OSD Grasp of COVID Risk
             July 29, 2020: NHC Annapolis’ Operational Approach to COVID-19 Prevention puts U.S. Naval Academy on Track for Fall 2020
             Semester
             July 24, 2020: Navy Care Virtual Visits: Real-Time Access to Care, From Anywhere
             July 23, 2020: NMCB-3 Completes Turnover, Assumes Execution of Indo-Pacific Region NCF Operations
             July 23, 2020: Nimitz Receives COVID-19 Convalescent Plasma Administration Certification
             July 23, 2020: 4th Fleet Commander Hosts Maritime Staff Talks with Armada de Chile
             July 22, 2020: Sailors Needed to Move; NPC Innovated to put Them in Motion
             July 22, 2020: NAVWAR Trident Warrior Team Assesses New Tracking Technology for COVID-19 Mitigation
             July 21, 2020: Sailors Support COVID Response in Texas
             July 17, 2020: Change of Command in the Era of a Global Pandemic: Commander, Maritime Prepositioning Ships Squadron Two
             Changes the Helm
             July 15, 2020: Adaptability and Resilience: EMF-M’s Historic Stateside Deployment Supporting COVID-19
             July 14, 2020: A SPRINT to Guam: Psychological First Aid in the COVID-19 Pandemic
             July 14, 2020: Navy Childcare Center Supports Sailors Through COVID-19
             June 25, 2020: Navy Establishes COVID-19 Surveillance Testing Program
             June 10, 2020: Navy Mobilizing Reservists Under SurgeMain Program to Support Ship Maintenance
             June 10, 2020: Addressing Mental Health Key to NDW Fleet and Family Support Center During Pandemic
             June 10, 2020: USS Kidd Commanding Officer Sends Thank You Letter to San Diego
             June 9, 2020: Findings From USS Theodore Roosevelt Public Health Investigation Support Force Health Protection
             June 9, 2020: U.S. Navy Navigates to ‘New Normal’
             June 9, 2020: High School on U.S. Navy Base in Japan Holds Socially Distanced Graduation Ceremony
             June 9, 2020: Navy Emergency Liaisons Deploy in Record Numbers for Pandemic
             June 8, 2020: Mission Essential Training Continues During COVID-19 at Great Lakes Schools
             June 5, 2020: Center for Seabees Learning Sites Adjust Courses in Response to COVID-19
             June 5, 2020: Safety, Standards Uncompromised as Naval Special Warfare Center Restarts Paused Training Phases
             June 4, 2020: I Am Navy Medicine: Hospital Corpsman 3rd Class Marc Gasbarri
             June 4, 2020: Navy Pharmacy Adjusts Procedures in Response to COVID-19
             May 29, 2020: Navy Approves Interim Retirement Ceremony Rules
             May 29, 2020: Base Port Operations: ‘Commitment and Ability to Protect America has Not Changed’
             May 27, 2020: Mental Health During the Pandemic: Understanding How Your Mind Responds to Disasters
             May 27, 2020: Navy Issues COVID-19 Standardized Operational Guidance
             May 27, 2020: Naval District Washington Recovery Working Group Plans for Post COVID-19 ‘New Normal‘
             May 27, 2020: Virtual Fleet Week NY Concludes; City Thanks Servicemembers for Help in COVID-19 Fight
          May 26, 2020: Officer Training Command Uses Remote Learning to Train Leaders During Pandemic
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             May 22, 2020: Navy Releases Commander Guidance on Adjusting Health Protection Conditions (HPCON)
             May 21, 2020: Navy Reserve Extends Drill Postponement until June 30, Provides Additional Guidance for COVID-19
             May 21, 2020: Former CNO Mullen Talks Leadership, National Security Challenges in a Post-COVID-19 World
             May 21, 2020: Supply Corps Reservists Apply Data, Logistics Expertise to COVID-19 Pandemic
             May 21, 2020: USS Theodore Roosevelt Returns to Sea

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             May 19, 2020: Navy Clarifies Advancement Eligibility Due to Coronavirus Postponements
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             May 19, 2020: USS Kidd Conducts Crew Swap, Transitions to Next Phase of COVID-19 Response
             May 19, 2020: Naval District Washington Personnel Adapt to Teleworking During COVID-19 Pandemic
             May 17, 2020: NEPLOs Coordinate Cross-Country Move of Navy Medical Personnel in COVID-19 Fight
             May 15, 2020: USNS Mercy Departs Los Angeles; Military Relief Efforts Continue
             May 14, 2020: Navy Exchange Service Command Provides Over Half Million Cloth Face Masks
             May 14, 2020: Senior Enlisted Academy Achieves Mission Success through Virtual Training during COVID-19
             May 14, 2020: Individual Ready Reserve Sailors Serve at Navy Medical Center Portsmouth
             May 14, 2020: NAVWAR Launches Data Fusion Tool, Maintains Fleet Readiness in Wake of Worldwide Pandemic
             May 13, 2020: Blue Angels to Salute Tennessee and Arkansas COVID-19 Responders
             May 13, 2020: U.S. Navy Ceremonial Guard Marches Forward During COVID-19 Pandemic
             May 13, 2020: The NEX Has You “Covered”
             May 12, 2020: Naval War College Faculty Steps Up to Assist U.S. Northern Command Planning Effort During COVID-19
             May 12, 2020: Crew Endurance Team Emphasizes Role of Sleep in Immunity
             May 12, 2020: Puget Sound Teams Fast-Track Biocontainment Prototype for Covid-19 Testing
             May 11, 2020: Blue Angels to Salute Michigan, Illinois, Indiana COVID-19 Responders
             May 8, 2020: U.S. Pacific Fleet Reaffirms Confidence in USS Theodore Roosevelt
             May 8, 2020: Fleet Activities Yokosuka Rolls Out Family Partner Program
             May 8, 2020: NEX, Navy Lodges Install Sneeze Shields to Help Stop Spread of COVID-19
             May 7, 2020: Southwest Regional Maintenance Center Prints Face Shields for Medical Personnel
             May 7, 2020: National Capital Region Military Treatment Facilities Continue Providing Quality Care During COVID-19 Pandemic
             May 6, 2020: Blue Angels to Salute Florida COVID-19 Responders
             May 6, 2020: Navy Exchange Service Command Associates Screened for COVID-19 Symptoms
             May 4, 2020: Naval Special Warfare Center Resumes Portions of Paused SEAL and SWCC Training
             May 4, 2020: NAVSUP Leading Way in 100% Safety Checks for HHG Moves
             May 4, 2020: Manning Initiatives Announced to Mitigate Fleet Gaps
             May 4, 2020: Blue Angels to Salute Texas, Louisiana COVID-19 Responders
             May 4, 2020: NMCP Staff Members Build a Ventilator In Wake of COVID-19
             May 4, 2020: HSC-26 Maintains Mission Readiness during COVID-19 Pandemic
             May 2, 2020: USS Constitution Hosting Daily Virtual Tours on Facebook Live
             May 2, 2020: NEX San Diego, Sustainable Support System Supplying Ships and Sailors
             May 1, 2020: Fleet Activities Yokosuka Call Center Serves Thousands
             April 30, 2020: NEXConnect Keeps Internet ‘Light’ On for Navy Community
             April 30, 2020: Undersea Warfare Center Partners With University of Alaska for COVID-19 Preparation
             April 30, 2020: Blue Angels, Thunderbirds to Salute Maryland, Washington D.C., Virginia, Georgia COVID-19 Responders
             April 29, 2020: Human Resources Comprehensive FAQ
             April 29, 2020: Truman Sailors Join Forces to Protect Against COVID-19
             April 29, 2020: Online Tutoring Now Available for Military and Civilian Families
             April 29, 2020: Barracks at Naval Base Guam Ordnance Annex Refurbished for Warfighter Support
             April 29, 2020: Naval Sea Systems Command Continues Fleet Support Despite COVID-19 Restrictions
             April 29, 2020: Navy MWR Digital Library Always Open
             April 28, 2020: Navy Provides Medical Care to Sailors of USS Kidd, Disinfects Ship
             April 28, 2020: Information Warfare Training Command Virginia Beach Employs Virtual Training to Help Keep Sailors, America Safe
             April 28, 2020: Sailors on Isolated Facility Use Radio to Keep Shipmates Informed, Connected
             April 27, 2020: USS Nimitz Departs for Training
             April 27, 2020: Navy Cancels Active/FTS E4 Exam, Sets Schedule for Finishing Advancement Cycles
          April 27, 2020: Florida Team Trains Culinary Specialists Virtually During Pandemic
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https://web.archive.org/web/20220526022338/https://www.navy.mil/US-Navy-COVID-19-Updates/                                                            11/18
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             April 26, 2020: Thunderbirds, Blue Angels to Salute New York, New Jersey, Pennsylvania COVID-19 Responders
             April 24, 2020: America Strong: Blue Angels, Thunderbirds to Conduct Multi-City Flyovers
             April 24, 2020: Undersea Warfare Center Begins Producing Safety Equipment for Naval Hospital
             April 24, 2020: USS Kidd Evacuates Sailor, Embarks COVID-19 Medical Response Team
             April 24, 2020: CFAY Delivers Goodie Bags to ROM Sailors

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             April 24, 2020: Naval Supply Systems Command Human Resources Office Perseveres Through Pandemic
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             April 23, 2020: Employees at Fleet Readiness Center Make 1,800 Cloth Masks for Coworkers
             April 23, 2020: Fleet Readiness Center East Manufacturing Face Shields to Support Local Health Care Workers
             April 22, 2020: Sea Duty Incentive Pay Expands During Time of COVID-19 Crisis
             April 22, 2020: NEX Customers Can Support NMCRS During COVID-19 Crisis
             April 22, 2020: Combating Coronavirus: Navy Provides Protective Gear to First Responders
             April 22, 2020: Navy Reserve Unit Shows Agility in Crisis With First Virtual Drill
             April 22, 2020: Navy Civil Servants’ Support to COVID-19 Response Earns Meritorious Civilian Service Awards
             April 21, 2020: Navy Extends Travel and PCS Restrictions, Authorizes Leave Accrual
             April 21, 2020: Navy Updates ID Card Guidance
             April 20, 2020: Staff Work to Continue Strong Support for Navy Wounded Warriors’ Pay, Benefits Needs
             April 20, 2020: Military Resale Unites to Support Servicemembers During COVID-19 Pandemic
             April 20, 2020: Surface Warfare Center Designs Portable Oxygen Manifolds for Camp Pendleton COVID-19 Response
             April 20, 2020: Overseas Navy Personnel Fight COVID-19 One Stitch at a Time
             April 20, 2020: USS George Washington Preventive Maintenance Team Makes Masks to Combat COVID-19
             April 20, 2020: Bahrain Fleet Mail Center Steps Up to Support 6th Fleet With Mail Operations
             April 17, 2020: Update to Restriction of Movement Guidance
             April 17, 2020: Navy Conducting Public Health Outbreak Investigation on USS Theodore Roosevelt
             April 17, 2020: NAVFAC Southwest Battles COVID-19 with $2.6 Million for Disinfecting Services
             April 17, 2020: Navy Reserve Extends Drill Postponement Until May 31, Consolidates COVID-19 Guidance
             April 17, 2020: Navy Hospital’s Car-Based Triage Assists Emergency Dept in Wake of COVID-19
             April 17, 2020: Air Warfare Center Works to Keep Americans Safe In, Out of the Fleet
             April 17, 2020: Reserve Component Command Fort Worth Mobilizes Second Wave of Reservists to Assist in Global COVID-19 Combat
             Support
             April 17, 2020: Undersea Warfare Center Launches ‘Operation Sewcial Distancing’ to Craft Face Masks
             April 17, 2020: Don’t Let COVID-19 Keep You From the Emergency Department
             April 16, 2020: Navy Identifies USS Theodore Roosevelt Sailor Who Died of COVID-19
             April 16, 2020: Surface Warfare Center Designs Face Shields for Staff at State Prison
             April 16, 2020: Norfolk Team Tackles Unique COVID-19 Contracting Challenges
             April 16, 2020: USS Theodore Roosevelt’s Clean Fight
             April 16, 2020: Supervisor of Shipbuilding, Conversion, Repairs Turns to Fusion for Face Masks
             April 15, 2020: Engineering/Expeditionary Warfare Center 3-D Prints Masks to Aid Pandemic Response
             April 15, 2020: NAVFAC Partners with USACE for FEMA “Whole-of-Nation” Effort Combating COVID-19
             April 15, 2020: Navy MWR at Home Helps Sailors, Families ‘Stay Active, Stay Informed, Stay Connected’
             April 15, 2020: Navy Reserve App to Deliver Real-Time Access to Business Processes
             April 14, 2020: Fleet and Family Services Still Open for Business Over Phone, Web
             April 14, 2020: Navy Museums Donate PPE to Local Clinics
             April 14, 2020: Chaplains Prove Essential to COVID-19 Response
             April 14, 2020: Navy Exchange Service Command Hosts Virtual “We Stand Together” Concert Series
             April 14, 2020: Humanitarian Response Program Offers Expertise For COVID-19 Response
             April 13, 2020: Emergency Physician of 44 Years Postpones Retirement to Fight COVID-19
             April 13, 2020: Navy Authorizes Retiring Officers to Stay Until December
             April 13, 2020: Leadership Tips in Challenging Times
             April 13, 2020: NEX Creates New Program to Bring the Store to a Sailor’s Door
             April 13, 2020: Navy Sailor Assigned to USS Theodore Roosevelt Dies of COVID-Related Complications
             April 10, 2020: Naval Academy Cancels All Public Commissioning Week 2020 Events; USNA and NROTC Ceremonies Go Virtual
          April 10, 2020: 3rd Marine Logistics Group Supports USS Theodore Roosevelt
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             April 10, 2020: Commander, Fleet Activities Yokosuka Hosts a “Camp In” to Support Physical Distancing
             April 11, 2020: Chief of Navy Reserve Releases Message to the Force
             April 10, 2020: Naval Academy Cancels All Public Commissioning Week 2020 Events; USNA and NROTC Ceremonies Go Virtual
             April 10, 2020: 3rd Marine Logistics Group Supports USS Theodore Roosevelt
             April 10, 2020: Commander, Fleet Activities Yokosuka Hosts a “Camp In” to Support Physical Distancing

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             April 8, 2020: Naval Base San Diego Mission Ready While Fighting COVID-19
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             April 8, 2020: Navy Exchange Service Command Issues PPE Guidance for Associates
             April 8, 2020: Meal Allowance Rules Modified for Sailors Restricted to Government Quarters
             April 8, 2020: NCIS: Sailors, Marines, Civilians Beware of Card-Cracking Scams
             April 7, 2020: NAVWAR Enterprise Delivers Innovative Solutions for Increased Readiness in Support of COVID-19 Relief Efforts
             April 7, 2020: Navy Lodge Program Supports Those on Restriction of Movement Status Due to COVID-19
             April 7, 2020: Navy Mandates Face Covering: What You Need to Know
             April 6, 2020: NAVCO Launching SHIP2SHORE Virtual Outreach Program
             April 6, 2020: Navy Exchange Service Command Donates 240 N-95 Masks to Naval Air Station Pensacola Fire Department
             April 6, 2020: Info Warfare Training Detachment Entertains Base-Bound Sailors While Social Distancing
             April 5, 2020: 7th Fleet Commander Arrives in Guam During COVID-19 Recovery
             April 4, 2020: Rapid Mobilization Process Established for Reservists Supporting COVID-19 Response
             April 3, 2020: Navy Deploys Expeditionary Medical Facility Personnel to Support Federal COVID-19 Response
             April 3, 2020: Navy College Program Continues During COVID-19 Pandemic
             April 3, 2020: NAVSUP FLC Norfolk Helps Comfort Get Underway for New York
             April 3, 2020: Team at Naval Personnel Command Works 24/7 to Help Sailors, Families With PCS Questions
             April 3, 2020: Navy Initiates Temporary Changes for ID Card Offices
             April 2, 2020: Navy, Marine Corps Partner With Industry, FEMA to 3-D Print Face Shields
             April 2, 2020: Hospital Ships Arrive Safely With Help From Meterologists, Oceanographers
             April 2, 2020: Navy COVID-19 Efforts Link to Joint Acquisition Task Force
             April 2, 2020: Before COVID-19, U.S. Naval War College War Game Examined Epidemic Response
             April 1, 2020: Comfort Treats First Patients in New York
             April 1, 2020: U.S. Navy Support Facility Diego Garcia Ramps Up Social Distancing
             April 1, 2020: Undersea Warfare Center Builds Face Shields for Local Medical Community
             April 1, 2020: DC-Area Fleet/Family Support Center Offers Webinars to Help Navigate COVID-19
             March 31, 2020: 24/7 Chaplain Hotline for Reserve Sailors Starts April 1
             March 30, 2020: Comfort Arrives in New York
             March 29, 2020: Comfort Underway to Support City of New York
             March 27, 2020: Navy Exchange Service Command Closes Tailor/Embroidery, Laundry, Dry Cleaning Shops Due To COVID-19
             March 27, 2020: USNS Mercy Arrives in Los Angeles
             March 27, 2020: Amid COVID-19 Restrictions SkillBridge Internships Continue
             March 27, 2020: St Louis Native Supports Nation’s COVID-19 Response Efforts Aboard USNS Mercy
             March 27, 2020: Navy Strengthens Supply Chain During COVID-19 Pandemic
             March 26, 2020: Navy Authorizes Enlistment Extensions, Re-Entry Opportunities
             March 26, 2020: Navy Base in Japan Works to Keep COVID-19 at Bay
             March 25, 2020: U.S. Navy Reports Updated Positive COVID-19 Cases
             March 25, 2020: Navy Consolidates COVID-19 Prevention Policies in NAVADMIN 080/20
             March 25, 2020: Naval Postgraduate School Continues Prep for Spring Classes Online
             March 24, 2020: Navy Reserve Arrives to Support USNS Mercy
             March 24, 2020: Containing COVID-19: Why the Boss Sent Me Home
             March 24, 2020: TAP Available Online for Transitioning Sailors
             March 23, 2020: USNS Mercy Departs San Diego
             March 23, 2020: U.S. Naval War College Turns to Virtual Town Hall, All-Hands Call in Response to COVID-19
             March 22, 2020: Navy Exchange Service Command Closes Barber and Beauty Shops in Response to COVID-19
             March 22, 2020: Navy Preventive Medicine Teams Embark Ships in 7th Fleet
             March 21, 2020: Naval War College Moves Lectures, Seminars Online, Postpones Events to Fight COVID-19
          March 20, 2020: Navy Exchange Suspends All In-Store Vendor and Sales Events
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             March 20, 2020: Navy Increasing Health Protection Measures on Installations to Fight COVID-19
             March 20, 2020: Telework Increased for Reserve Sailors; Some Admin Requirements Waived
             March 19, 2020: Recruit, Officer Graduation Ceremonies Canceled Till Further Notice
             March 19, 2020: Navy Postpones Selection Boards
             March 18, 2020: Navy Authorizes COs to Relax Some Grooming Standards if Necessary

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             March 18, 2020: NCIS: Beware of Coronavirus-Themed Scams
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             March 18, 2020: Chief of Chaplains Provides COVID19 Mitigation Guidance
             March 18, 2020: Navy Cancels Spring 2020 Fitness Cycle, Delays Advancement Exam
             March 18, 2020: Navy School Closed After Third COVID-19 Case
             March 17, 2020: Updated Training Track Guidance Issued
             March 16, 2020: Navy Museums Temporarily Close
             March 15, 2020: COVID-19: Important Information for U.S. Navy Reservists
             March 15, 2020: Navy Sets Coronavirus Transfer and Travel Rules: What You Need to Know (March 15, 2020)


         Navy.mil Strategic Library
             July 31, 2020: Department of the Navy Return to the Workplace


         Navy Times
             July 31, 2020: ‘A small number’ of carrier George HW Bush sailors test positive for COVID-19



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         Supporting Video
             Jan. 11, 2021: Coronavirus Vaccines on USS San Antonio
             Dec. 16, 2020: Lieutenant Emily Micciolo talks about receiving COVID-19 vaccine
             Dec. 16, 2020: Captain Shelley Perkins talks about the first round of COVID-19 vaccination at Naval Hospital Camp Pendleton
             Dec. 16, 2020: U.S. Navy Lieutenant Commander Devon Czarzasty talks about the COVID-19 Vaccination
             Dec. 16, 2020: NMCSD’s Coronavirus Vaccine MAO
             Dec. 15, 2020: NMCSD COVID-19 Vaccine Interview
             Dec. 15, 2020: NMCSD COVID-19 Vaccine Transfer to NHCP
             Dec. 15, 2020: COVID-19 vaccine arrives at Naval Hospital Camp Pendleton
             Dec. 15, 2020: NMCSD Distributes COVID-19 Vaccine
             Dec. 15, 2020: Naval Medical Center San Diego COVID-19 Vaccine Teleconference
             Dec. 15, 2020: COVID-19 Vaccine Arrives at Naval Hospital Pensacola
             June 3, 2020: Basic Information on COVID19 Contact Tracing Process in the U.S. Navy
             April 25, 2020: America Strong
             April 3, 2020: Secretary Modly appearance on Hugh Hewitt Show to discuss Navy response to COVID-19
             March 24, 2020 (Facebook Live Press Conference): Secretary of the Navy, Chief of Naval Operations, Navy Surgeon General, Master
             Chief Petty Officer of the Navy
             March 24, 2020: Acting Secretary of the Navy Thomas B. Modly – Message to the Fleet
             March 23, 2020: USNS Mercy (T-AH 19) Deploys in COVID-19 Response Support
             March 23, 2020 (Facebook Video): Press Availability on USNS Mercy Deployment
             March 21, 2020: Chief of Naval Personnel Virtual Town Hall
             March 19, 2020: CNO’s Message to the Fleet on Coronavirus
             March 18, 2020: Coronavirus Terms to Know
             March, 14, 2020: Message From Chief of Naval Operations ADM Mike Gilday and Master Chief Petty Officer of the Navy Russell Smith
          March 14, 2020: Stop the Spread of Germs Everyday
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             Feb. 26, 2020: Navy Surgeon General’s Message



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         DoD, Navy Leadership Statements
             Oct.4, 2021: Mandatory Coronavirus Disease 2019 Vaccination of DoD Civilian Employees
             Aug. 24, 2021: Mandatory Coronavirus Disease 2019 Vaccination of Department of Defense Service Members
             Dec. 15, 2020: CNO Gilday Issues a Message to the Fleet on the COVID Vaccine
             April 14, 2020: U.S. Naval Forces Europe-Africa and U.S. 6th Fleet Resiliency Letter
             April 11, 2020: Chief of Navy Reserve Releases Message to the Force
             March 31, 2020: Vice Chief of Naval Operations Message to Navy Leadership
             March 30, 2020: COVID-19 Navy Update: CNO and MCPON Message to the Fleet
             March 27, 2020: Memo from Secretary of Defense to all DoD Personnel
             March 26, 2020: Chief of Naval Operations Statement on USS Theodore Roosevelt
             March 25, 2020 (DoD Statement): Overseas Stop Movement Order in Response to COVID-19
             March 18, 2020: Hospital Ships, Other DOD Assets Prepare for Coronavirus Response
             March 14, 2020: Statement by the Department of Defense on COVID-19 Response Measures on the Pentagon Reservation
             March 13, 2020: Department of Defense Statement on Enhanced Protection Measures at Pentagon



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         TRANSCOM Release
             March 17, 2020: Most Defense Personal Property Pick-ups and Pack-outs Paused; Deliveries Continue



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         More Resources
             30 Days to Slow the Spread (President’s Coronavirus Guidelines for America – PDF)
             MWR At Home Website
             White House/CDC/FEMA COVID-19 Page
             Navy Remote Work Information & Guidance (CAC Required) Published by the DON Deputy Chief Information Officer for the Navy
             Military Health System Nurse Advice Line
             MyNavy Career Center
             Navy Chaplain Care
             Psychological Health Resource Center
             Navy Marine Corps Public Health Center
          Department
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             Centers for Disease Control and Prevention COVID-19 Website
             Military OneSource: Coronavirus Information for Our Military Community
             Coronavirus Guidance from TRICARE
             Navy-Marine Corps Relief Society: Coronavirus Response (video)
             USNS Mercy, USNS Comfort: 2020 COVID-19 Deployment (Navy Live Blog)

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             Health Information Privacy (Dept. of Health and Human Services)
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             The President’s Coronavirus Guidelines for America (video)




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                                                                                            U.S. Navy Office of Information
                                                                                            Chief of Information
                                                                                            Attn: US Navy
                                                                                            1200 Navy Pentagon
                                                                                            Washington DC 20350-1200




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  ROUTINE

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  TO NAVADMIN

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  CNO WASHINGTON DC

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  SUBJ/U.S. NAVY COVID-19 STANDARDIZED OPERATIONAL GUIDANCE 6.0(CORRECTED
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  REF/C/MSG/CNO/301952ZAPR21//
  REF/D/DOC/USD(PR)/04APR2022//
  REF/E/ASN(MRA)/03MAR2022//
  REF/F/MSG/CNO/221712ZDEC21//
  REF/G/MSG/CNO/241805ZNOV21//
  REF/H/DOC/NMCPHC/27DEC2021//
  REF/I/DOC/NMCPHC/14MAY2021//
  REF/J/DOC/NMCPHC/19MAR2021//
  REF/K/MSG/CNO/041827ZAUG21//
  REF/L/MSG/CNO/231718ZAUG21//

  NARR/REF A IS NAVADMIN 007/22, U.S. NAVY COVID-19 STANDARDIZED OPERATIONAL
  GUIDANCE 5.0.
  REF B IS NAVADMIN 161/21, UPDATED MASK GUIDANCE FOR ALL DOD INSTALLATIONS AND
  OTHER FACILITIES.
  REF C IS NAVADMIN 086/21, UPDATED GUIDANCE TO COMMANDERS ON ADJUSTING HEALTH
  PROTECTION CONDITIONS AND BASE SERVICES DURING
  COVID-19 PANDEMIC (CORRECTED COPY).
  REF D IS USD P&R CONSOLIDATED DEPARTMENT OF DEFENSE CORONAVIRUS DISEASE 2019
  FORCE HEALTH PROTECTION GUIDANCE AVAILABLE AT
  https://www.defense.gov/Explore/Spotlight/Coronavirus/Latest-DOD-Guidance/.
  REF E IS ASN M&RA MEMORANDUM ON DEPARTMENT OF THE NAVY GUIDANCE ON COVID-19
  COMMUNITY LEVELS AND WORKPLACE SAFETY PROTOCOLS.
  REF F IS NAVADMIN 289/21, GUIDANCE ENCOURAGING COVID-19 VACCINE BOOSTER.
  REF G IS NAVADMIN 268/21, REQUIRED COVID-19 TESTING FOR UNVACCINATED SERVICE
  MEMBERS.
  REF H IS NAVY AND MARINE CORPS PUBLIC HEALTH CENTER COVID-19 OMICRON VARIANT
  AND BOOSTER EFFECTIVENESS.
  REF I IS NAVY AND MARINE CORPS PUBLIC HEALTH CENTER U.S. NAVY FORCE HEALTH
  PROTECTION WITH CONSIDERATIONS FOR VACCINE EFFICACY.
  REF J IS NAVY AND MARINE CORPS PUBLIC HEALTH CENTER DOCUMENT ASSESSING REAL
  COVID-19 RISK.
  REF K IS NAVADMIN 165/21, SOVEREIGN IMMUNITY POLICY.
  REF L IS NAVADMIN 180/21, UPDATE TO COVID-19 REPORTING REQUIREMENTS.

  POC/OPNAV/CAPT SHARIF CALFEE, (703) 571-2822//EMAIL:
  SHARIF.H.CALFEE.MIL(AT)US.NAVY.MIL

  RMKS/ 1. Purpose. This NAVADMIN provides updated COVID-19 Standing
  Operational Guidance (SOG 6.0), replaces reference (A) and cancels references
                                                                          Pls.' Opp. to Assertion of Mootness App. 0071
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  2. SUMMARY: SOG 6.0 should be read in its entirety. Notable updates
  include guidance for unvaccinated personnel, actions taken for COVID-19
  infected personnel and close contacts, and guidance for mask wearing
  underway. All units shall refer to references
  (D) and (E) for Health Protection Condition and masking guidance not
  contained in this NAVADMIN. Personnel safety of our sailors and civilians
  remains our driving focus. Vaccinations, vaccine boosters, command
  engagement, and personal accountability continue to form the foundation of
  our success. Every member of every command must take personal ownership and
  responsibility of the promulgated measures required to keep COVID-19 in
  check.

  3. Applicability. This guidance applies to all service members (active duty
  and ready reserve) assigned to, or supporting, operational units as defined
  in paragraph 5.e below. Additionally, paragraph 7 (COVID-19 Testing) applies
  to all commands and paragraph 8 (Operating in a COVID-19
  Environment) applies to all personnel onboard operational platforms. Non-
  operational forces, civilian employees and contractor personnel should follow
  the latest Department of Defense (DOD) Force Health Protection, Centers for
  Disease Control and Prevention (CDC), and state/local area guidance.
  Additionally, higher echelon Commanders guidance may apply.

  4. Evolving Guidance. The CDC is the authority for COVID-19 measures on
  behalf of the general public. The Navy Surgeon General remains as the
  authority for Navy COVID-19 measures and advises the CNO on how best to apply
  CDC guidance across the spectrum of unique Navy operating environments, and
  may include additional measures not required by the general public.
  Accordingly, and except as noted below in this NAVADMIN, evolving CDC
  guidance related to virus behavior shall first be evaluated by the Navy
  Surgeon General prior to Fleet implementation.
  Questions regarding applicable COVID-19 measures may be directed to the point
  of contact (POC) listed above.

  5. Definitions. All CDC definitions regarding COVID-19 apply and are kept
  current on the CDC website (https://www.cdc.gov).
  The following additional Navy definitions are provided:

  5.a. Fully Vaccinated: Term for an individual who has completed a primary
  COVID-19 vaccine series as defined in reference (F). Term applies two weeks
  after the final dose is received. During the time period from initial dose
  until two weeks after the final dose, an individual is considered partially
  vaccinated.

  5.b. Up-to-Date (UTD) COVID-19 Vaccination: Term for an individual who has
  received all CDC recommended COVID-19 vaccines, including booster dose(s)
  when eligible. UTD
  COVID-19 Vaccine and booster guidance is subject to change and is available
  on the CDC website.

  5.c. High-Risk Personnel: Those individuals designated by a medical
  provider who meet CDC criteria for increased risk of severe illness.
  Qualifying conditions are included on the CDC website.

  5.d. Commander: For the purposes of this NAVADMIN, the term Commander
  includes Commanding Officers, Officers-in-Charge, Masters, and Aircraft
  Commanders.

  5.e. Operational and Non-Operational Forces: For the purposes of this
  NAVADMIN, operational forces and non-operational forces are defined by the
  applicable NCC. For operational forces, this might include deployed forces,
  forces in sustainment, or other operational elements that the NCC determines
  to fall within the intent and context of this NAVADMIN.

                                                                          Pls.' Opp. to Assertion of Mootness App. 0072
https://www.mynavyhr.navy.mil/Portals/55/Messages/NAVADMIN/NAV2022/NAV22093.txt?ver=ruF6V-tpipc3-hA0KIHZ6g%3d%3d                       2/7
              Case:
2/13/23, 4:33 PM      22-10077           Document: 284 Page: 236 Date Filed: 02/13/2023
                   https://www.mynavyhr.navy.mil/Portals/55/Messages/NAVADMIN/NAV2022/NAV22093.txt?ver=ruF6V-tpipc3-hA0KIHZ6g%3d%3d
       Case  4:21-cv-01236-O          Document
  5.f. Restriction of Movement (ROM): DOD               225term Filed   02/13/23
                                                                      for limitingPage     77 of 162 PageID 7578
                                                                                      personal
  interaction to reduce risk to a broader population.
  Personnel executing directed ROM remain in a duty status and will not be
  charged leave. ROM-sequester, when directed, is the Navy term for preemptive
  ROM in order to reduce risk of infection in advance of movement.

  5.g. Health Protection Measures (HPM): Comprehensive term for mitigation
  measures that reduce the spread of COVID-19.
  This includes physical distancing, wearing of masks, and enhanced
  environmental cleaning and disinfection. Recommended HPMs are included on
  the CDC website.

  5.h. Viral Test: For the purposes of this NAVADMIN, unless specifically
  stated otherwise, viral test may refer to either a test that measures the
  antigens (antigen test) or a test that measures viral RNA (Polymerase Chain
  Reaction (PCR) test).

  5.i. Close Contact: A person who was less than 6 feet away from an infected
  person (laboratory-confirmed or a clinical
  diagnosis) for a cumulative total of 15 minutes or more over a 24-hour period
  (for example, three individual 5-minute exposures for a total of 15 minutes).

  6.    COVID-19 Infected Personnel and Close Contacts.

  6.a.      Actions for Personnel Suspected of Being Infected.

  6.a.1. Symptomatic. Test immediately those individuals exhibiting COVID-19
  symptoms. If symptomatic and positive, isolate the individual per paragraph
  6.a.3 and identify close contacts per reference (D).

  6.a.2. Close Contacts. Asymptomatic close contacts who have not received a
  vaccine booster should be tested 5 days after exposure, if testing is
  available (see paragraph 6).
  If COVID-19 positive, refer to paragraph 6.a.3. If the asymptomatic close
  contact has received a vaccine booster, testing is not required. Close
  contacts who do not test positive for COVID-19 may remain on duty but must
  wear a mask for 10 days. If symptoms develop, test per paragraph

  6.a.1.

  6.a.3. Isolation. Isolate individuals who test positive for 5 days or until
  symptoms are clearing, whichever is longer, including 24 hours with no fever
  and without fever-reducing medication (day 0 is date of positive test or
  symptom onset, whichever occurred first). Isolation may be conducted either
  ashore or afloat. Once released, individuals will wear a mask for an
  additional 5 days (minimum 10 days total). No exit testing is required and,
  absent symptoms, prior positives should not be PCR-tested again for 90 days
  (per paragraph 7.c).

  6.b.      Actions for Unvaccinated Personnel.

  6.b.1. To maintain Fleet readiness, all personnel assigned to operational
  Navy units shall be fully vaccinated. Unvaccinated personnel shall not
  execute orders to operational Navy units.
  Unvaccinated personnel shall not embark underway Navy vessels or aircraft;
  commanders of operational units shall temporarily reassign unvaccinated
  personnel from their commands with the concurrence of the first flag officer
  in the chain of command.
  Exceptions, if any, will be managed case-by-case by the applicable NCC and
  reported to the POC of this instruction.

  6.b.2. Refer to medical providers unvaccinated individuals exhibiting COVID-
  19 symptoms for follow-on care. Identify close contacts per reference (D).
  Similarly, refer unvaccinated close contacts to medical providers. Treat
  vaccinated close contacts per paragraphs 6.a.2 above.
                                                                          Pls.' Opp. to Assertion of Mootness App. 0073
https://www.mynavyhr.navy.mil/Portals/55/Messages/NAVADMIN/NAV2022/NAV22093.txt?ver=ruF6V-tpipc3-hA0KIHZ6g%3d%3d                      3/7
2/13/23, 4:33 PM  Case:   22-10077           Document: 284 Page: 237 Date Filed: 02/13/2023
                       https://www.mynavyhr.navy.mil/Portals/55/Messages/NAVADMIN/NAV2022/NAV22093.txt?ver=ruF6V-tpipc3-hA0KIHZ6g%3d%3d
            Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 78 of 162 PageID 7579
  7.    COVID-19 Testing.

  7.a. Test Procurement. To ensure uninterrupted operations, and as feasible,
  commands will coordinate with their supporting supply activities to obtain
  testing supplies 60 days in advance of need. This should include additional
  tests required for U.S. testing of personnel during any anticipated port
  calls.

  7.b. Testing of Unvaccinated Personnel. Unvaccinated personnel shall follow
  the testing requirements of reference (G), as amended in reference (D) and
  below in paragraph 7.c.

  7.c. Testing of Individuals Previously Infected with COVID-19.
  Individuals previously infected with COVID-19 may be asymptomatic and
  continue to test positive by PCR test for up to 90 days from date of initial
  diagnosis due to the presence of persistent non-infectious viral fragments.
  Therefore, prior COVID-19 positives are exempt from testing protocols for 90
  days from the earlier of symptom onset or first positive test (90-day rule).
  Individuals who exhibit new or persistent symptoms during that three-month
  period should be evaluated by a medical provider.

  7.d. Surveillance / Ship-Wide Testing. Surveillance or ship-wide testing is
  not required or recommended and has previously identified large numbers of
  asymptomatic persistent positives.

  7.e. Testing Priority. Personnel exhibiting COVID-19 like symptoms are the
  highest priority for testing. If testing asymptomatic close contacts per
  paragraph 6.a.2 or 8.g.2 will stress testing supplies, or if operations
  preclude testing
  (e.g., small, remote teams or depleted testing supplies),
  Commanders are authorized to forego testing asymptomatic close contacts.
  This prioritization is consistent with CDC guidance
  (https://www.cdc.gov/coronavirus/2019-ncov/php/
  contact-tracing/contact-tracing-plan/prioritization.html).

  8.    Operating in a COVID-19 Environment.

  8.a. Up-to-date (UTD) COVID-19 Vaccination. Commanders should encourage UTD
  COVID-19 Vaccination of personnel at least 30-days prior to DEPORD movements
  or inter-fleet transfers.

  8.b. Medical Screening. Medical screening will include newly reporting
  personnel and a command-wide monthly data review and assessment, as directed
  by the NCC. An additional pre- deployment screening will be completed 7 days
  prior to deployment.
  Medical screening shall be conducted by medical providers and reported to the
  unit Commander to assist in assessing risk and mitigations. Screening will
  include, at a minimum, vaccination and vaccine booster status, review and
  assessment of COVID-19 exposure history (those under the 90-day rule), and
  underlying risk factors.

  8.c. Military Sealift Command (MSC). MSC shall medically screen Civil
  Service Mariners (CIVMARs) and contract personnel for deployment on MSC
  vessels in accordance with existing MSC Quality Management System processes
  and procedures. Unvaccinated CIVMARs and contract personnel should not be
  assigned to operational units. Exceptions and associated mitigations will be
  approved by Commander, MSC.

  8.d. Fully vaccinated High-Risk Personnel. The decision to operate and
  deploy with fully vaccinated high-risk personnel rests with the Commander, as
  advised by medical providers, who must report intentions to their immediate
  superior in command. High-risk personnel shall be PCR viral tested within 3
  days prior to embarking.

                                                                          Pls.' Opp. to Assertion of Mootness App. 0074
https://www.mynavyhr.navy.mil/Portals/55/Messages/NAVADMIN/NAV2022/NAV22093.txt?ver=ruF6V-tpipc3-hA0KIHZ6g%3d%3d                          4/7
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                   https://www.mynavyhr.navy.mil/Portals/55/Messages/NAVADMIN/NAV2022/NAV22093.txt?ver=ruF6V-tpipc3-hA0KIHZ6g%3d%3d
       Case  4:21-cv-01236-O          Document
  8.e. Pre-Deployment ROM-sequester. Fully              225 vaccinated
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                                                                              personnel    79 of 162   not PageID 7580
  normally be required to ROM-sequester ahead of planned operations. ROM-
  sequester may be directed by the applicable NCC based upon Geographic
  Combatant Commander guidance and applicable host nation requirements.

  8.f. Underway HPM. As a result of demonstrated vaccine effectiveness, a
  100% fully vaccinated operational force and a healthy demographic, serious
  illness or death resulting from COVID-19 for fully vaccinated individuals is
  statistically very unlikely, and modeling contained in references (H), (I),
  and (J) indicates this will continue in the context of current variants. UTD
  COVID-19 Vaccination reduces the risk even further. However, the increasing
  contagious nature of evolving variants can result in unmanageable numbers of
  even mild symptomatic positives and may impose general health and operational
  unit risk, i.e. risk to force or risk to mission, regardless of symptom
  severity. The following HPM, at a minimum, are required:

  8.f.1.       Medical screening as outlined above in paragraph 8.b.

  8.f.2. Masks. Following all inport periods, if less than 75% of the crew is
  UTD COVID-19 Vaccination Commanders should consult with medical professionals
  and consider mask wear for the first 10-days at sea. Similarly, Commanders
  should consider mask wear in response to the onset of onboard COVID-19.

  8.f.3. Educate and reinforce the importance of self-monitoring for symptoms
  and prompt reporting.

  8.f.4. Educate and reinforce the importance of frequent handwashing and
  social distancing, when possible.

  8.f.5.       Aggressively isolate COVID-19 positive individuals per paragraph 6
  above.

  8.f.6.       Ensure adequate ventilation in spaces routinely manned.

  8.f.7. Educate and reinforce focused cleaning efforts on high-touch
  surfaces, at least daily or more frequently, depending upon usage (e.g.,
  tables, hatch latches, ladderwells, phones, watch console keyboards and
  buttons, toilets, faucets, sinks, etc.). Although remote, there is evidence
  of surface spread of COVID-19 and other viruses with similar symptoms.

  8.g. Considerations for Adding or Relaxing HPM. NCCs and Commanders should
  consider for any unit the operational impact resulting from the number of
  sailors in isolation, either ashore or afloat, regardless of percentage of
  immunized personnel, UTD COVID-19 Vaccinations, or severity of symptoms.
  Commanders may elevate or relax HPM at any time, and retain the latitude to
  temporarily apply alternate HPM in lieu of isolation to support safe
  operations. An example might be a rapid spread that compels a Commander to
  employ asymptomatic or mildly symptomatic positives to manage watch-bill
  impact while recovering others in isolation, applying additional alternate
  measures as needed to minimize spread. The following should be considered
  before adjusting HPM:

  8.g.1. Overall number of individuals in isolation and trend. The general
  rule of thumb for a COVID-19 outbreak trending in a favorable direction is
  that the number of those exiting isolation matches (flattening curve) or
  exceeds (lowering curve) those entering isolation, combined with the
  assessment that the total number of symptomatic individuals is manageable and
  improving, and watch-bill (operational) impact is manageable and improving.

  8.g.2. If less than 75% of the total eligible crew is UTD COVID-19
  Vaccinations, implement the requirements of 8.f.2. and consider a 5 day viral
  test for all close contacts per paragraph 6.a.2., regardless of vaccination
  status.

  8.g.3.       Proximity of a units access to shore and afloat Medical Treatment
                                                                          Pls.' Opp. to Assertion of Mootness App. 0075
https://www.mynavyhr.navy.mil/Portals/55/Messages/NAVADMIN/NAV2022/NAV22093.txt?ver=ruF6V-tpipc3-hA0KIHZ6g%3d%3d                      5/7
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                    https://www.mynavyhr.navy.mil/Portals/55/Messages/NAVADMIN/NAV2022/NAV22093.txt?ver=ruF6V-tpipc3-hA0KIHZ6g%3d%3d
        Case  4:21-cv-01236-O          Document
  Facilities (MTF) within a medically relevant           225 Filed       02/13/23
                                                                   timeline,         Page with
                                                                                balanced    80 of 162 PageID 7581
  paragraph 7.e HPM and onboard trend. Rule of thumb is within 1-week of an
  MTF for 100 percent fully vaccinated crew with manageable case load, moving
  to a more restrictive 72 hours or less if a growing or concerning caseload,
  and moving to a less restrictive beyond 1-week, if small or no caseload.

  8.h. Port Visits. Liberty is an important mission and should be pursued
  within the context of this NAVADMIN.
  Geographic NCCs (GNCC) will set conditions for foreign port off-base liberty
  in coordination with country teams and local authorities, taking into account
  host country requirements, vaccination and booster status, sovereign immunity
  per paragraph 9 below, COVID-19 prevalence and mission requirements.

  8.i. Aircraft Operations. On a case-by-case basis, aircrews and aircraft
  maintainers may be exempt from this guidance in order to meet emergent
  operational or NATOPS currency requirements. Exemptions and mitigation plans
  must be approved by the Squadron Commander. For aviation units embarked on
  surface ships, mitigation plans will be coordinated with the ships health
  protection plan and approved by the ships Commanding Officer.

  8.j. Post-Deployment. Personnel returning to homeports from deployment
  shall follow CDC and U.S. Department of State travel and testing
  requirements. If return travel includes foreign countries, personnel shall
  follow the travel and testing requirements for those individual nations,
  subject to sovereign immunity concerns (see below).
  Updated travel information is on the following website:
  https://travel.state.gov.

  9.    Sovereign Immunity.

  9.a. It is U.S. Government policy to protect the sovereign immunity of
  warships, naval auxiliaries, and aircraft, including protecting crew
  information to the maximum extent possible. Within the context of COVID-19,
  host nations may request or require crew or ship information that exceeds
  that authorized by U.S. policy or international law. NCCs will ensure
  appropriate training and guidance on protecting U.S.
  sovereign immunity and on the protection of health information as part of
  OPSEC/personal security.

  9.b. GNCCs should endeavor to determine in advance those host nations that
  may challenge U.S. sovereign immunity and, as able, avoid them. See
  reference (K) for additional guidance. In all cases, GNCCs shall authorize
  the minimum information necessary in order to meet operational requirements.
  The Navy Declaration of Health (NAVMED 6210/3) is the only authorized form
  for providing health information to foreign officials. If required by the
  host nation, and with GNCC concurrence, Commanders, at their discretion, may
  include on the NAVMED 6210/3 that their unit is 100% vaccinated, those
  disembarking have tested negative within the required timeframe, and/or that
  those disembarking have received a vaccine booster.

  9.c. Exceptions to Policy (ETP). On a case-by-case basis, and to support
  operations, OPNAV N3N5 may grant an ETP to mitigate the operational impact of
  host nation COVID-19 requirements. Any action that may constitute or require
  a waiver of sovereign immunity must be coordinated by the applicable GNCC
  with OPNAV N3N5 for ETP approval no later than 5 days ahead of need. To
  avoid precedence beyond COVID-19, any ETP will be messaged to the host nation
  as explicitly linked to the pandemic. Requests shall include justification
  for port selection; host nation mitigation and testing requirements;
  alternate port options; impact to mission if the request is denied; medical,
  legal, collection and privacy risk; and feedback from country team
  coordination.
  Notifications and requests may be sent via record message traffic, email to
  the POC provided above, or both.

  9.d.      Guidance for Commanders.              Per the direction of their GNCCs, Commanders
                                                                          Pls.' Opp. to Assertion of Mootness App. 0076
https://www.mynavyhr.navy.mil/Portals/55/Messages/NAVADMIN/NAV2022/NAV22093.txt?ver=ruF6V-tpipc3-hA0KIHZ6g%3d%3d                       6/7
               Case:
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                    https://www.mynavyhr.navy.mil/Portals/55/Messages/NAVADMIN/NAV2022/NAV22093.txt?ver=ruF6V-tpipc3-hA0KIHZ6g%3d%3d
  shall comply with domestic and foreign 225
        Case  4:21-cv-01236-O          Document                  Filed 02/13/23
                                                          quarantine      regulationsPagefor81portof 162entryPageID 7582
  and document compliance on NAVMED 6210/3. Absent GNCC approval in advance,
  Commanders will not submit to host nation COVID-19 testing nor provide
  individual or collective medical data, copies of health records, nor any
  supplementary or locally-demanded health forms, and shall not grant access to
  ship or crew health records or allow the same to be searched or inspected by
  host nations. If compelling circumstances require a Commander to acquiesce
  to additional host nation requirements without obtaining an ETP or GNCC
  concurrence (e.g., personnel emergency, weather avoidance), report the event
  and circumstances as soon as practicable to OPNAV N3N5 via the chain of
  command.

  10. Reporting Procedures. Reporting procedures are amended as follows and
  will be incorporated in the next revision of reference (L). OPREP-3 Navy
  Blue messages for COVID-19 cases that do not result in death, request for
  assistance, or operational impact may instead be reported via SharePoint. If
  unable to report via SharePoint, a single daily OPREP-3 Navy Unit SITREP
  summarizing all COVID-19 cases onboard is required. SharePoint information
  is used to produce daily reports to Senior Navy Leadership.

  11. Released by VADM W. R. Merz, Deputy Chief of Naval Operations for
  Operations, Plans, and Strategy, OPNAV N3/N5.//

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https://www.mynavyhr.navy.mil/Portals/55/Messages/NAVADMIN/NAV2022/NAV22093.txt?ver=ruF6V-tpipc3-hA0KIHZ6g%3d%3d                       7/7
      Case: 22-10077  Document: 284 Page: 241      Date Filed: 02/13/2023
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                               Tab 9




                                       Pls.' Opp. to Assertion of Mootness App. 0078
      Case: 22-10077  Document: 284 Page: 242                     Date Filed: 02/13/2023
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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 U.S. NAVY SEALs 1-3; on behalf of
 themselves and all others similarly situated;
 U.S. NAVY EXPLOSIVE ORDNANCE
 DISPOSAL TECHNICIAN 1, on behalf of
 himself and all others similarly situated; U.S.
 NAVY SEALS 4-26; U.S. NAVY SPECIAL
 WARFARE COMBATANT CRAFT
 CREWMEN 1-5; and U.S. NAVY DIVERS
 1-3,
                                                             Case No. 4:21-cv-01236-O
                       Plaintiffs,
           v.

 LLOYD J. AUSTIN, III, in his official
 capacity as United States Secretary of
 Defense; UNITED STATES
 DEPARTMENT OF DEFENSE; CARLOS
 DEL TORO, in his official capacity as
 United States Secretary of the Navy,

                       Defendants.


                          DECLARATION OF U.S. NAVY SEAL 3

       Pursuant to 28 U.S.C. § 1746, I, U.S. Navy SEAL 3, under penalty of perjury declare as

follows:

   1. I am over the age of eighteen and am competent to make this declaration.

   2. I serve as a Class Representative in this class action litigation.

   3. I submitted several declarations in this matter that outline my religious objections to the

COVID-19 vaccine and the adverse actions the Navy has taken against me. Since January 3, 2022,

I have been protected from separation because of the preliminary injunction.




                                                    Pls.' Opp. to Assertion of Mootness App. 0079
      Case: 22-10077  Document: 284 Page: 243                     Date Filed: 02/13/2023
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   4. Even though the COVID-19 mandate has now been repealed, consequences of the mandate

still exist and personally impact my career in the Navy.

   5. I am currently serving in a non-operational billet. I came to this position shortly after I was

removed from a lead position as a SEAL instructor because my command presumed that I was

going to be kicked out of the Navy, even with a pending religious accommodation.




                                                    Pls.' Opp. to Assertion of Mootness App. 0080
      Case: 22-10077  Document: 284 Page: 244                      Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23                   Page 85 of 162 PageID 7586



       I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and

correct. Executed on February 11, 2023.

                                                      /s/ U.S. Navy SEAL 3
                                                      U.S. Navy SEAL 3




                                                     Pls.' Opp. to Assertion of Mootness App. 0081
      Case: 22-10077  Document: 284 Page: 245      Date Filed: 02/13/2023
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                             Tab 10




                                       Pls.' Opp. to Assertion of Mootness App. 0082
      Case: 22-10077  Document: 284 Page: 246                      Date Filed: 02/13/2023
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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

 U.S. NAVY SEALs 1-3; on behalf of
 themselves and all others similarly situated;
 U.S. NAVY EXPLOSIVE ORDNANCE
 DISPOSAL TECHNICIAN 1, on behalf of
 himself and all others similarly situated; U.S.
 NAVY SEALS 4-26; U.S. NAVY SPECIAL
 WARFARE COMBATANT CRAFT
 CREWMEN 1-5; and U.S. NAVY DIVERS
 1-3,
                                                                Case No. 4:21-cv-01236-O
                          Plaintiffs,
           v.

 LLOYD J. AUSTIN, III, in his official
 capacity as United States Secretary of
 Defense; UNITED STATES
 DEPARTMENT OF DEFENSE; CARLOS
 DEL TORO, in his official capacity as
 United States Secretary of the Navy,

                          Defendants.


                             DECLARATION OF U.S. NAVY SEAL 7
       Pursuant to 28 U.S.C. § 1746, I, U.S. Navy SEAL 7, under penalty of perjury declare as

follows:

   1. I am over the age of eighteen and am competent to make this declaration.

   2. I am one of the original Plaintiffs in this litigation.

   3. I submitted several declarations in this matter that outline my religious objections to the

COVID-19 vaccine and the adverse actions the Navy has taken against me. From January 3, 2022,

until my End of Active Obligated Service, I was protected from separation because of the

preliminary injunction.



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                                                       Pls.' Opp. to Assertion of Mootness App. 0083
      Case: 22-10077  Document: 284 Page: 247                 Date Filed: 02/13/2023
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   4. I separated from the Navy in November of 2022. In doing so, I did not knowingly withdraw

my religious accommodation request. During the separation process, my religious accommodation

request was never mentioned.




                                              2
                                                  Pls.' Opp. to Assertion of Mootness App. 0084
      Case: 22-10077  Document: 284 Page: 248                      Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23                   Page 89 of 162 PageID 7590



       I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and

correct. Executed on February 12, 2023.

                                                       /s/ U.S. Navy SEAL 7
                                                       U.S. Navy SEAL 7




                                                  3
                                                      Pls.' Opp. to Assertion of Mootness App. 0085
      Case: 22-10077  Document: 284 Page: 249      Date Filed: 02/13/2023
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                             Tab 11




                                       Pls.' Opp. to Assertion of Mootness App. 0086
      Case: 22-10077  Document: 284 Page: 250                      Date Filed: 02/13/2023
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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 U.S. NAVY SEALs 1-3; on behalf of
 themselves and all others similarly situated;
 U.S. NAVY EXPLOSIVE ORDNANCE
 DISPOSAL TECHNICIAN 1, on behalf of
 himself and all others similarly situated; U.S.
 NAVY SEALS 4-26; U.S. NAVY SPECIAL
 WARFARE COMBATANT CRAFT
 CREWMEN 1-5; and U.S. NAVY DIVERS
 1-3,
                                                                Case No. 4:21-cv-01236-O
                        Plaintiffs,
           v.

 LLOYD J. AUSTIN, III, in his official
 capacity as United States Secretary of
 Defense; UNITED STATES
 DEPARTMENT OF DEFENSE; CARLOS
 DEL TORO, in his official capacity as
 United States Secretary of the Navy,

                        Defendants.


                           DECLARATION OF U.S. NAVY SEAL 9

       Pursuant to 28 U.S.C. § 1746, I, U.S. Navy SEAL 9, under penalty of perjury declare as

follows:

   1. I am over the age of eighteen and am competent to make this declaration.

   2. I am one of the original Plaintiffs in this litigation.

   3. I submitted several declarations in this matter that outline my religious objections to the

COVID-19 vaccine and the adverse actions the Navy has taken against me. Since January 3, 2022,

I have been protected from separation because of the preliminary injunction.




                                                   1
                                                       Pls.' Opp. to Assertion of Mootness App. 0087
      Case: 22-10077  Document: 284 Page: 251                   Date Filed: 02/13/2023
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   4. Even though the COVID-19 mandate has now been repealed, consequences of the mandate

still exist and personally impact my career in the Navy.

   5. I am currently non-operational. I rank as an E-8 and serve at an advanced training

command. After my last deployment, I screened for the milestone position of Troop Chief.

However, I was not picked up by any SEAL teams and instead went to the advanced training

command I am now serving at.

   6. I previously aspired to fill the Troop Chief role so I could promote and continue progressing

in my career, but now, my progression has stalled so long as I am unvaccinated. Without being a

Troop Chief, I cannot promote to an E-9.

   7. Retiring as an E-8, instead of an E-9, reduces my military retirement and bonuses.

   8. I am an experienced SEAL of almost 20 years and will soon be faced with a decision

regarding reenlistment. One of the factors I am considering for reenlistment is whether I will be

able to continue serving my country in meaningful ways while remaining unvaccinated.




                                                2
                                                    Pls.' Opp. to Assertion of Mootness App. 0088
      Case: 22-10077  Document: 284 Page: 252                      Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23                   Page 93 of 162 PageID 7594



       I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and

correct. Executed on February 12, 2023.

                                                       /s/ U.S. Navy SEAL 9
                                                       U.S. Navy SEAL 9




                                                  3
                                                      Pls.' Opp. to Assertion of Mootness App. 0089
      Case: 22-10077  Document: 284 Page: 253      Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23   Page 94 of 162 PageID 7595




                             Tab 12




                                       Pls.' Opp. to Assertion of Mootness App. 0090
      Case: 22-10077  Document: 284 Page: 254                      Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23                   Page 95 of 162 PageID 7596



                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 U.S. NAVY SEALs 1-3; on behalf of
 themselves and all others similarly situated;
 U.S. NAVY EXPLOSIVE ORDNANCE
 DISPOSAL TECHNICIAN 1, on behalf of
 himself and all others similarly situated; U.S.
 NAVY SEALS 4-26; U.S. NAVY SPECIAL
 WARFARE COMBATANT CRAFT
 CREWMEN 1-5; and U.S. NAVY DIVERS
 1-3,
                                                                Case No. 4:21-cv-01236-O
                        Plaintiffs,
           v.

 LLOYD J. AUSTIN, III, in his official
 capacity as United States Secretary of
 Defense; UNITED STATES
 DEPARTMENT OF DEFENSE; CARLOS
 DEL TORO, in his official capacity as
 United States Secretary of the Navy,

                        Defendants.


                          DECLARATION OF U.S. NAVY SEAL 13
       Pursuant to 28 U.S.C. § 1746, I, U.S. Navy SEAL 13, under penalty of perjury declare as

follows:

   1. I am over the age of eighteen and am competent to make this declaration.

   2. I am one of the original Plaintiffs in this litigation.

   3. I submitted several declarations in this matter that outline my religious objections to the

COVID-19 vaccine and the adverse actions the Navy has taken against me. Since January 3, 2022,

I have been protected from separation because of the preliminary injunction.




                                                   1
                                                       Pls.' Opp. to Assertion of Mootness App. 0091
      Case: 22-10077  Document: 284 Page: 255                    Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23                 Page 96 of 162 PageID 7597



   4. Even though the COVID-19 mandate has now been repealed, consequences of the mandate

still exist and personally impact my career in the Navy.

   5. I am currently a member of a non-operational command. So long as I remain here, I am

unable to fulfill the milestone of deployed Leading Petty Officer to advance in rank. Because I

cannot deploy as an unvaccinated SEAL, I will not be able to complete this milestone or promote.

My career progression has ended, as there is no way for me to advance to the next rank as an

unvaccinated SEAL if I cannot deploy.

   6. I was removed from my position as a Leading Petty Officer when I filed my religious

accommodation request.

   7. I have served for eighteen years. Not being allowed to promote again before retirement will

have a significant impact on what I can receive in retirement.




                                                2
                                                    Pls.' Opp. to Assertion of Mootness App. 0092
      Case: 22-10077  Document: 284 Page: 256                      Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23                   Page 97 of 162 PageID 7598



       I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and

correct. Executed on February 10, 2023.



                                                       /s/ U.S. Navy SEAL 13
                                                       U.S. Navy SEAL 13




                                                  3
                                                      Pls.' Opp. to Assertion of Mootness App. 0093
      Case: 22-10077  Document: 284 Page: 257      Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23   Page 98 of 162 PageID 7599




                             Tab 13




                                       Pls.' Opp. to Assertion of Mootness App. 0094
      Case: 22-10077  Document: 284 Page: 258                      Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23                   Page 99 of 162 PageID 7600



                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 U.S. NAVY SEALs 1-3; on behalf of
 themselves and all others similarly situated;
 U.S. NAVY EXPLOSIVE ORDNANCE
 DISPOSAL TECHNICIAN 1, on behalf of
 himself and all others similarly situated; U.S.
 NAVY SEALS 4-26; U.S. NAVY SPECIAL
 WARFARE COMBATANT CRAFT
 CREWMEN 1-5; and U.S. NAVY DIVERS
 1-3,
                                                                Case No. 4:21-cv-01236-O
                        Plaintiffs,
           v.

 LLOYD J. AUSTIN, III, in his official
 capacity as United States Secretary of
 Defense; UNITED STATES
 DEPARTMENT OF DEFENSE; CARLOS
 DEL TORO, in his official capacity as
 United States Secretary of the Navy,

                        Defendants.


                          DECLARATION OF U.S. NAVY SEAL 15
       Pursuant to 28 U.S.C. § 1746, I, U.S. Navy SEAL 15, under penalty of perjury declare as

follows:

   1. I am over the age of eighteen and am competent to make this declaration.

   2. I am one of the original Plaintiffs in this litigation.

   3. I submitted several declarations in this matter that outline my religious objections to the

COVID-19 vaccine and the adverse actions the Navy has taken against me. Since January 3, 2022,

I have been protected from separation because of the preliminary injunction.

   4. Even though the COVID-19 mandate has now been repealed, consequences of the mandate

still exist and personally impact my career in the Navy.


                                                   1
                                                       Pls.' Opp. to Assertion of Mootness App. 0095
       Case: 22-10077  Document: 284 Page: 259 Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 100 of 162 PageID 7601



   5. I am currently in a training detachment working as an instructor in a non-operational

command.

   6. Before the mandate, I intended to screen for a SEAL delivery vehicle (SDV) command. I

was very excited about serving in this position, and it would have been an important role for my

career. I am now unsure if I could ever serve in this position if I remain unvaccinated.

   7. If I was not able to serve in a SDV command, the other option would be attaching to a

SEAL team and doing a deployment as an Assistant Lead Petty Officer (ALPO). Serving as an

ALPO is required to become a platoon’s Lead Petty Officer (LPO). The LPO role is a milestone

for enlisted SEALs as an E-6. As long as I am non-operational, I cannot serve in either the ALPO

or LPO position.




                                                 2
                                                     Pls.' Opp. to Assertion of Mootness App. 0096
       Case: 22-10077  Document: 284 Page: 260 Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 101 of 162 PageID 7602



       I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and

correct. Executed on February 11, 2023.

                                                       /s/ U.S. Navy SEAL 15
                                                       U.S. Navy SEAL 15




                                                  3
                                                      Pls.' Opp. to Assertion of Mootness App. 0097
       Case: 22-10077  Document: 284 Page: 261 Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 102 of 162 PageID 7603




                             Tab 14




                                       Pls.' Opp. to Assertion of Mootness App. 0098
       Case: 22-10077  Document: 284 Page: 262 Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 103 of 162 PageID 7604



                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

 U.S. NAVY SEALs 1-3; on behalf of
 themselves and all others similarly situated;
 U.S. NAVY EXPLOSIVE ORDNANCE
 DISPOSAL TECHNICIAN 1, on behalf of
 himself and all others similarly situated; U.S.
 NAVY SEALS 4-26; U.S. NAVY SPECIAL
 WARFARE COMBATANT CRAFT
 CREWMEN 1-5; and U.S. NAVY DIVERS
 1-3,
                                                                Case No. 4:21-cv-01236-O
                          Plaintiffs,
           v.

 LLOYD J. AUSTIN, III, in his official
 capacity as United States Secretary of
 Defense; UNITED STATES
 DEPARTMENT OF DEFENSE; CARLOS
 DEL TORO, in his official capacity as
 United States Secretary of the Navy,

                          Defendants.


                            DECLARATION OF U.S. NAVY SEAL 19
       Pursuant to 28 U.S.C. § 1746, I, U.S. Navy SEAL 19, under penalty of perjury declare as

follows:

   1. I am over the age of eighteen and am competent to make this declaration.

   2. I am one of the original Plaintiffs in this litigation.

   3. I submitted several declarations in this matter that outline my religious objections to the

COVID-19 vaccine and the adverse actions the Navy has taken against me. From January 3, 2022,

until my End of Active Obligated Service, I was protected from separation because of the

preliminary injunction.



                                                   1
                                                       Pls.' Opp. to Assertion of Mootness App. 0099
       Case: 22-10077  Document: 284 Page: 263 Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 104 of 162 PageID 7605



   4. I separated from the Navy in January of 2023. In doing so, I did not knowingly withdraw

my religious accommodation request. During the separation process, my religious accommodation

request was never mentioned.




                                             2
                                                 Pls.' Opp. to Assertion of Mootness App. 0100
       Case: 22-10077  Document: 284 Page: 264 Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 105 of 162 PageID 7606



       I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and

correct. Executed on February 13, 2023.

                                                       /s/ U.S. Navy SEAL 19
                                                       U.S. Navy SEAL 19




                                                  3
                                                      Pls.' Opp. to Assertion of Mootness App. 0101
       Case: 22-10077  Document: 284 Page: 265 Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 106 of 162 PageID 7607




                             Tab 15




                                       Pls.' Opp. to Assertion of Mootness App. 0102
       Case: 22-10077  Document: 284 Page: 266 Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 107 of 162 PageID 7608



                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

 U.S. NAVY SEALs 1-3; on behalf of
 themselves and all others similarly situated;
 U.S. NAVY EXPLOSIVE ORDNANCE
 DISPOSAL TECHNICIAN 1, on behalf of
 himself and all others similarly situated; U.S.
 NAVY SEALS 4-26; U.S. NAVY SPECIAL
 WARFARE COMBATANT CRAFT
 CREWMEN 1-5; and U.S. NAVY DIVERS
 1-3,
                                                                Case No. 4:21-cv-01236-O
                         Plaintiffs,
           v.

 LLOYD J. AUSTIN, III, in his official
 capacity as United States Secretary of
 Defense; UNITED STATES
 DEPARTMENT OF DEFENSE; CARLOS
 DEL TORO, in his official capacity as
 United States Secretary of the Navy,

                         Defendants.


                           DECLARATION OF U.S. NAVY SEAL 22

   Pursuant to 28 U.S.C. §1746, I, U.S. Navy SEAL 22, declare under penalty of perjury as

follows:

       1.       I am over the age of eighteen and competent to make this declaration.

       2.       I am one of the original Plaintiffs in this litigation.

       3.       I submitted several declarations in this matter that outline my religious objections

to the COVID-19 vaccine and the adverse actions the Navy has taken against me. Since January

3, 2022, I have been protected from separation because of the preliminary injunction.




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                                                        Pls.' Opp. to Assertion of Mootness App. 0103
       Case: 22-10077  Document: 284 Page: 267 Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 108 of 162 PageID 7609



       4.      Even though the COVID-19 mandate has now been repealed, consequences of the

mandate still exist and personally impact my career in the Navy.

       5.      Since September 2019, I have ranked as an E-7. In November 2021, I was officially

serving in a milestone position as Platoon Chief of SEAL Team 7. A milestone position is a

leadership position that must be successfully completed before promoting to the next rank. To be

eligible for a milestone, one must screen positive through interviews with Team Master Chiefs,

have a good reputation, and successfully complete prior leadership positions. This position was

incredibly meaningful to me, as I just deployed with these same men and began my career as a

Navy SEAL in the same Platoon and Team I was now leading. Serving as one of the Platoon Chiefs

of SEAL Team 7 was an honor.

       6.      To promote from an E-7 to an E-8, I must fulfill a series of requirements, including

service in a milestone position. Until the imposition of the COVID-19 requirements I was on track

to fulfill those requirements and complete my milestone, therefore becoming eligible to promote

to an E-8.

       7.      When I submitted my Religious Accommodation Request (RAR) in October of

2021, I was removed from that SEAL team and milestone position and sent back to a training

command. I was told by my Command Master Chief in December that regardless of whether my

religious accommodation request was granted, I could not serve on a SEAL team.

       8.      Transferring out of that position and back to a training command ended my

potential to promote from an E-7 to an E-8. If I remain non-operational because I am unvaccinated,

I will be unable to ever attain this promotion.

       9.      Prior to the COVID-19 vaccine mandate, I consistently received excellent

evaluations and awards, including Sailor of the Year for SEAL Team Seven. Therefore, I was




                                                  2
                                                      Pls.' Opp. to Assertion of Mootness App. 0104
       Case: 22-10077  Document: 284 Page: 268 Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 109 of 162 PageID 7610



being solicited by a Chief Warrant Officer 4 (W-4) to transition from being an enlisted member of

the Navy to an officer for a warrant package through the Warrant Officer Program. I was eligible

for this program as an E-7 with fourteen years of dedicated, exemplary service to the Navy and

excellent physical qualifications.

       10.     In support of my warrant package, I received recommendations from Officers,

Warrant Officers, and my Commanding Officer. I received this recommendation because I

demonstrated outstanding performance as a SEAL, excellent leadership abilities, and the capacity

to serve as an Officer of the United States Navy. True and correct copies of my recommendations

are attached to this declaration as Exhibit A. After this recommendation, my warrant package was

sent to a selection board at Naval Personnel Command.

       11.     Among those of us seeking warrant packages before the selection board, I screened

second in the group for a position, meaning it was incredibly likely that I would be selected.

Ultimately, I did not receive a warrant package, even though people that screened below me did. I

was told by a CWO3 that my name was removed from consideration because they assumed that I

was soon going to be separated from the military because of my RAR. I then received a phone call

from a CWO4 explaining how I had frustrated a lot of people that supported my package and that

my Commander would not be recommending me any longer. I reached out to the selection board

for further clarification about why I was not selected for appointment as a Warrant Officer, but I

did not receive a response.

       12.      There is a prime time for an enlisted sailor to seek appointment as a Warrant

Officer, of which I was in. Once an enlisted sailor is appointed as a Warrant Officer, promotion

and rank are based on time alone and not on merit or performance. Had I been selected to be a




                                                3
                                                    Pls.' Opp. to Assertion of Mootness App. 0105
       Case: 22-10077  Document: 284 Page: 269 Date Filed: 02/13/2023
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Warrant Officer, I would likely have retired as a W-4, which would have provided me and my

family with substantially higher retirement pay than my current position as an enlisted member.

       13.     Because I am unvaccinated and non-operational, it would be a near impossibility

for me to pursue the Warrant Officer program again or even to promote from an E-7 to an E-8.

Since submitting my RAR, I lost time necessary for promotion eligibility, regressed in my skills

as a SEAL, and have experienced personal hostility within my command that would make it

impossible to prepare another warrant package. Within my community, my reputation is so

negatively tarnished for being unvaccinated that I feel as if I have transitioned from an exemplary

SEAL to a problem that my leadership and command have no desire to deal with. Therefore, I

don’t believe I will be able to promote again in my career. There is nothing that I have the power

to do that can remedy this loss. Further, there is nothing in my personnel file that the Navy can

simply remove to remedy this loss of opportunity.

       14.     The stigma surrounding my unvaccinated status extends beyond my command and

my ability to promote. In March of 2022, I was in need of medical treatment and contacted my

hospital corpsman (HMC) to schedule an appointment. A HMC serves as a first step in the process

for seeking any sort of medical treatment and is able to approve certain treatments based on his or

her initial assessment. I was told by my HMC that he would not approve my requested appointment

because I was not vaccinated. I offered to test in advance of any medical appointments, yet my

treatment was still not approved. Eventually, I went around the HMC to seek medical care.

Although I eventually received the requested appointment, I have lost trust in my ability to receive

fair medical treatment because of the stigma surrounding my vaccination status.

       15.     I am in the process of officially transferring from Temporary Assigned Duty orders

at Training Detachment-One (Tradet-1) to Naval Special Warfare Group-One (NSWG-1). NSWG-




                                                 4
                                                     Pls.' Opp. to Assertion of Mootness App. 0106
       Case: 22-10077  Document: 284 Page: 270 Date Filed: 02/13/2023
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1 is historically where the Navy sends SEALs with family, character, or performance issues and

otherwise is seen as an assignment for those that cause trouble for other commands. I am one of

three unvaccinated NSW personnel transferring from Tradet-1 to NSWG-1. Currently, our role in

NSWG-1 is complete random tasks assigned to us within the command. I am currently working

for a Trident cell that, during the week of February 6, 2023, traveled to a cold weather training trip

to Montana that I was not allowed to attend. Instead, I remained at my command and was tasked

to move from our old building to a new one a few miles away.

       16.     I am specifically concerned about my inability to train as a SEAL during the

mandate. Because of the highly-specialized nature of Navy SEAL skills, it is nearly impossible to

lose two or more years of training opportunities and still maintain the skill level required of a Navy

SEAL. Not training prevents me from keeping my skills sharp and at the level my rank and job

duties would require.

       17.     Before the COVID-19 vaccine mandate, my skills were the sharpest they had ever

been, and I was teaching skydiving to west coast SEAL Teams and joining other blocks of tactical

training. Because I lost so much training time, I do not feel confident that my skills would be sharp

enough to lead a SEAL platoon right now, even if I were operational. In a position where I would

need to gain the trust and confidence of the men I would lead, I would need to be the tactical

subject matter expert. This is the main responsibility of a Platoon Chief. I would need to be

refreshed on my skills and new weapon systems before leading junior members of a platoon that

are current and up to date. A leader cannot be the weakest link in a platoon. Loss of leadership and

skills are quick ways to be fired from a position. These issues and concerns have not changed since

the Secretary of Defense rescinded the COVID-19 vaccination mandate on January 10, 2023.




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                                                      Pls.' Opp. to Assertion of Mootness App. 0107
       Case: 22-10077  Document: 284 Page: 271 Date Filed: 02/13/2023
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        18.    I have numerous NSW qualifications which are considered “critical qualifications,”

including Master Training Specialist, NSW Sniper, NSW Explosive Breacher, NSW Dive

Supervisor, Air Ops Trainer Examiner, Military Freefall Jumpmaster, among others. Each SEAL

team and SEAL platoon needs to have a certain number of members with these qualifications to

be considered fully mission capable. If I remain non-operational because I am not vaccinated, I am

jeopardizing the ability of my team to complete missions.

        19.    Because I remain unvaccinated, the leadership surrounding me is looking for me to

mess up or make a mistake so I can be reprimanded. The repeal of the mandate does not change

that.

        20.    My current status is uncertain to both my command and me. Despite the new Force

Health Protection Guidance regarding travel, my command still believes that I cannot travel. When

I asked my Senior Chief about travel, he sent me to a website that was last updated on November

30, 2022, and stated that this was the policies that Navy was working off of.

        21.    One of my most recent tasks assigned is moving laptops from one building to

another – a job that my command publicly demeaned. I have also been told that I will be heavy

task saturated and closely watched. I believe these tasks will be equally menial to those such as

moving buildings and transporting laptops.

        22.    While I was once a committed naval service member with excellent evaluations,

several service awards, and a progressing career, that has been lost because of the mandate. This

has caused me and my family many sleepless nights, anxiety, and loss of purpose. My career is

suffering and will continue to suffer if my leadership continues to make operational, assignment,

and deployment decisions while considering my unvaccinated status. These are the decisions that

have already damaged my career, and I expect they will continue based on the Secretary’s January




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                                                    Pls.' Opp. to Assertion of Mootness App. 0108
       Case: 22-10077  Document: 284 Page: 272 Date Filed: 02/13/2023
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10, 2023, memo rescinding the mandate but allowing vaccination status to continue to be

considered.




                                          7
                                              Pls.' Opp. to Assertion of Mootness App. 0109
       Case: 22-10077  Document: 284 Page: 273 Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 114 of 162 PageID 7615



       I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true

and correct. Executed on February 12, 2023.



                                               /s/ U.S. Navy SEAL 22
                                               U.S. NAVY SEAL 22




                                                  8
                                                      Pls.' Opp. to Assertion of Mootness App. 0110
       Case: 22-10077  Document: 284 Page: 274 Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 115 of 162 PageID 7616




                          Exhibit A




                                       Pls.' Opp. to Assertion of Mootness App. 0111
       Case: 22-10077  Document: 284 Page: 275 Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 116 of 162 PageID 7617




                                              SEAL 22




                          SEAL 22



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                SEAL 22




SEAL 22                                                                                 SEAL 22




      SEAL 22




                                                        Pls.' Opp. to Assertion of Mootness App. 0112
           Case: 22-10077  Document: 284 Page: 276 Date Filed: 02/13/2023
    Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 117 of 162 PageID 7618




SEAL 22




    SEAL 22




   SEAL 22
   SEAL 22


   SEAL 22




                                           Pls.' Opp. to Assertion of Mootness App. 0113
        Case: 22-10077  Document: 284 Page: 277 Date Filed: 02/13/2023
 Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 118 of 162 PageID 7619




SEAL 22




  SEAL 22



                   SEAL 22




  SEAL 22




                                        Pls.' Opp. to Assertion of Mootness App. 0114
       Case: 22-10077  Document: 284 Page: 278 Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 119 of 162 PageID 7620




                                       Pls.' Opp. to Assertion of Mootness App. 0115
       Case: 22-10077  Document: 284 Page: 279 Date Filed: 02/13/2023
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 SEAL 22




SEAL 22




SEAL 22




                                       Pls.' Opp. to Assertion of Mootness App. 0116
       Case: 22-10077  Document: 284 Page: 280 Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 121 of 162 PageID 7622




                                       Pls.' Opp. to Assertion of Mootness App. 0117
       Case: 22-10077  Document: 284 Page: 281 Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 122 of 162 PageID 7623




                             Tab 16




                                       Pls.' Opp. to Assertion of Mootness App. 0118
       Case: 22-10077  Document: 284 Page: 282 Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 123 of 162 PageID 7624



                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 U.S. NAVY SEALs 1-3; on behalf of
 themselves and all others similarly situated;
 U.S. NAVY EXPLOSIVE ORDNANCE
 DISPOSAL TECHNICIAN 1, on behalf of
 himself and all others similarly situated; U.S.
 NAVY SEALS 4-26; U.S. NAVY SPECIAL
 WARFARE COMBATANT CRAFT
 CREWMEN 1-5; and U.S. NAVY DIVERS
 1-3,
                                                                Case No. 4:21-cv-01236-O
                        Plaintiffs,
           v.

 LLOYD J. AUSTIN, III, in his official
 capacity as United States Secretary of
 Defense; UNITED STATES
 DEPARTMENT OF DEFENSE; CARLOS
 DEL TORO, in his official capacity as
 United States Secretary of the Navy,

                        Defendants.



                          DECLARATION OF U.S. NAVY SEAL 26
       Pursuant to 28 U.S.C. § 1746, I, U.S. Navy SEAL 26, under penalty of perjury declare as

follows:

   1. I am over the age of eighteen and am competent to make this declaration.

   2. I am one of the original Plaintiffs in this litigation.

   3. I submitted several declarations in this matter that outline my religious objections to the

COVID-19 vaccine and the adverse actions the Navy has taken against me. Since January 3, 2022,

I have been protected from separation because of the preliminary injunction.




                                                   1
                                                       Pls.' Opp. to Assertion of Mootness App. 0119
       Case: 22-10077  Document: 284 Page: 283 Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 124 of 162 PageID 7625



   4. I am currently attached to a training command, that is by definition non-operational,

meaning I likely will not deploy or attach to a deployable SEAL team in this billet.

   5. Because I am non-operational, I am unable to complete a Leading Petty Officer (LPO)

position, which is a milestone position that must be completed if I want to promote from an E-6 to

an E-7.

   6. When I access NSIPS, the Navy Standard Integrated Personnel System, there is no

information about my religious accommodation request (RA). I did not take any action to withdraw

my request. I was not contacted by anyone in the Navy about this change, nor did anyone request

approval to remove my RA from my account. A true and correct copy of my NSIPS religious

accommodation window in attached as Exhibit A.




                                                2
                                                    Pls.' Opp. to Assertion of Mootness App. 0120
       Case: 22-10077  Document: 284 Page: 284 Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 125 of 162 PageID 7626



       I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and

correct. Executed on February 12, 2023.

                                                       /s/ U.S. Navy SEAL 26
                                                       U.S. Navy SEAL 26




                                                  3
                                                      Pls.' Opp. to Assertion of Mootness App. 0121
       Case: 22-10077  Document: 284 Page: 285 Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 126 of 162 PageID 7627




                          Exhibit A




                                       Pls.' Opp. to Assertion of Mootness App. 0122
        Case: 22-10077  Document: 284 Page: 286 Date Filed: 02/13/2023
 Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 127 of 162 PageID 7628




SEAL 26




                                        Pls.' Opp. to Assertion of Mootness App. 0123
       Case: 22-10077  Document: 284 Page: 287 Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 128 of 162 PageID 7629




                             Tab 17




                                       Pls.' Opp. to Assertion of Mootness App. 0124
       Case: 22-10077  Document: 284 Page: 288 Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 129 of 162 PageID 7630



                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 U.S. NAVY SEALs 1-3; on behalf of
 themselves and all others similarly situated;
 U.S. NAVY EXPLOSIVE ORDNANCE
 DISPOSAL TECHNICIAN 1, on behalf of
 himself and all others similarly situated; U.S.
 NAVY SEALS 4-26; U.S. NAVY SPECIAL
 WARFARE COMBATANT CRAFT
 CREWMEN 1-5; and U.S. NAVY DIVERS
 1-3,
                                                                Case No. 4:21-cv-01236-O
                        Plaintiffs,
        v.

 LLOYD J. AUSTIN, III, in his official
 capacity as United States Secretary of
 Defense; UNITED STATES
 DEPARTMENT OF DEFENSE; CARLOS
 DEL TORO, in his official capacity as
 United States Secretary of the Navy,

                        Defendants.


     DECLARATION OF U.S. NAVY SPECIAL WARFARE COMBATANT CRAFT
                             CREWMAN 1
       Pursuant to 28 U.S.C. § 1746, I, U.S. Navy Special Warfare Combatant Craft Crewman

(SWCC) 1, under penalty of perjury declare as follows:

   1. I am over the age of eighteen and am competent to make this declaration.

   2. I am one of the original Plaintiffs in this litigation.

   3. I submitted several declarations in this matter that outline my religious objections to the

COVID-19 vaccine and the adverse actions the Navy has taken against me. Since January 3, 2022,

I have been protected from separation because of the preliminary injunction.




                                                   1
                                                       Pls.' Opp. to Assertion of Mootness App. 0125
       Case: 22-10077  Document: 284 Page: 289 Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 130 of 162 PageID 7631



   4. Even though the COVID-19 mandate has now been repealed, consequences of the mandate

still exist and personally impact my career in the Navy.

   5. I am currently non-operational. When I contacted the SWCC detailer regarding potential

reenlistment, I was told that so long as I am non-vaccinated, I will be non-operational. The detailer

is NSW specific, but he works for a Navy-wide command. A true and correct copy of this email is

included as Exhibit A.

   6. I want to reenlist and continue serving my country but having to serve in a non-operational

capacity will be detrimental to my career in a way that I am powerless to remedy myself.

   7. If I reenlist and am placed at an operational command while I am non-operational, I will

be limited to strictly administrative tasks, which will lead to a loss of special duty pay. Retention

at my current command, where I serve as an instructor, also limits my opportunities for

advancement. Both options equally stall my career and advancement in the military, which exerts

a coercive pressure on me to take the vaccine.

   8. I know that I am non-operational because during my five-year physical in May 2022, I was

marked as “Not Physically Qualified” for SO/NSW/MFF/JUMP because I am unvaccinated. To

my knowledge, this has not been amended since the repeal of the mandate or change to the

MANMED. As long as I stay in my capacity as an instructor, I am non-operational. Further,

multiple members of my chain of command have reiterated to me that unvaccinated service

members are non-operational.

   9. I am approaching the eleven-year mark as an E-6, which means that it is time for me to

assume the role of Lead Petty Officer (LPO). In a non-operational status, I am unlikely to be able

to complete this milestone at an operational Special Boat Team. The LPO milestone is also a key




                                                 2
                                                     Pls.' Opp. to Assertion of Mootness App. 0126
       Case: 22-10077  Document: 284 Page: 290 Date Filed: 02/13/2023
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element necessary to advance to E-7 under normal circumstances. To promote any further to an E-

8, I must fulfill a role as a post-deployed Team Chief as an E-7.




                                                 3
                                                     Pls.' Opp. to Assertion of Mootness App. 0127
       Case: 22-10077  Document: 284 Page: 291 Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 132 of 162 PageID 7633



       I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and

correct. Executed on February 11, 2023.



                                                       /s/ U.S. Navy SWCC 1
                                                       U.S. Navy SWCC 1




                                                  4
                                                      Pls.' Opp. to Assertion of Mootness App. 0128
       Case: 22-10077  Document: 284 Page: 292 Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 133 of 162 PageID 7634




                          Exhibit A




                                       Pls.' Opp. to Assertion of Mootness App. 0129
       Case: 22-10077  Document: 284 Page: 293 Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 134 of 162 PageID 7635




                      SWCC 1




                                                                       SWCC 1
                               SWCC 1




                                        Pls.' Opp. to Assertion of Mootness App. 0130
       Case: 22-10077  Document: 284 Page: 294 Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 135 of 162 PageID 7636




                             Tab 18




                                       Pls.' Opp. to Assertion of Mootness App. 0131
       Case: 22-10077  Document: 284 Page: 295 Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 136 of 162 PageID 7637



                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 U.S. NAVY SEALs 1-3; on behalf of
 themselves and all others similarly situated;
 U.S. NAVY EXPLOSIVE ORDNANCE
 DISPOSAL TECHNICIAN 1, on behalf of
 himself and all others similarly situated; U.S.
 NAVY SEALS 4-26; U.S. NAVY SPECIAL
 WARFARE COMBATANT CRAFT
 CREWMEN 1-5; and U.S. NAVY DIVERS
 1-3,
                                                                Case No. 4:21-cv-01236-O
                        Plaintiffs,
        v.

 LLOYD J. AUSTIN, III, in his official
 capacity as United States Secretary of
 Defense; UNITED STATES
 DEPARTMENT OF DEFENSE; CARLOS
 DEL TORO, in his official capacity as
 United States Secretary of the Navy,

                        Defendants.


     DECLARATION OF U.S. NAVY SPECIAL WARFARE COMBATANT CRAFT
                             CREWMAN 5

       Pursuant to 28 U.S.C. § 1746, I, U.S. Navy Special Warfare Combatant Craft Crewman

(SWCC) 5, under penalty of perjury declare as follows:

   1. I am over the age of eighteen and am competent to make this declaration.

   2. I am one of the original Plaintiffs in this litigation.

   3. I submitted several declarations in this matter that outline my religious objections to the

COVID-19 vaccine and the adverse actions the Navy has taken against me. Since January 3, 2022,

I have been protected from separation because of the preliminary injunction.




                                                   1
                                                       Pls.' Opp. to Assertion of Mootness App. 0132
       Case: 22-10077  Document: 284 Page: 296 Date Filed: 02/13/2023
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   4. Even though the COVID-19 mandate has now been repealed, consequences of the mandate

still exist and personally impact my career in the Navy.

   5. I serve with SWCC 1. Our SWCC detailer, who authorizes orders for SWCCs to attach and

detach from units, has stated that he is unable to provide me and the other unvaccinated members

with orders to operational units. My billet is a training command, so I am classified as non-

operational.

   6. My career is at a standstill, and I have no ability to correct it myself. My leadership has

told me that I can only be transferred to another non-operational unit, which halts my ability to

continue to promote through the Navy. I am now significantly behind my peers within my group

of enlistment.

   7. Typically, SWCCs and other service members alternate between “sea duty” at deployable

commands and “shore duty” at training commands. My command has told me that I can possibly

extend my “shore duty” again, despite it already being extended once before, instead of switching

to “sea duty.” This is not a normal career progression. I have also been told that I could transfer

from my current training command to another training command. Going from “shore duty” to

“shore duty” is normally disapproved, since it’s acknowledged by leadership as career stunting. It

is now becoming my reality, and my only alternative. To continue progressing in my career and in

my skill, I need to work “sea duty.”

   8. The longer I continue to serve in the capacity I am in now, the more that I fear I am growing

detached from evolving tactics, techniques, procedures, and technologies in operational billets.

This detachment makes my experience as a SWCC outdated and decreases my relevancy among

my operational peers.




                                                2
                                                    Pls.' Opp. to Assertion of Mootness App. 0133
       Case: 22-10077  Document: 284 Page: 297 Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 138 of 162 PageID 7639



       I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and

correct. Executed on February 11, 2023.

                                                       /s/ U.S. Navy SWCC 5
                                                       U.S. Navy SWCC 5




                                                  3
                                                      Pls.' Opp. to Assertion of Mootness App. 0134
       Case: 22-10077  Document: 284 Page: 298 Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 139 of 162 PageID 7640




                             Tab 19




                                       Pls.' Opp. to Assertion of Mootness App. 0135
       Case: 22-10077  Document: 284 Page: 299 Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 140 of 162 PageID 7641



                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 U.S. NAVY SEALs 1-3; on behalf of
 themselves and all others similarly situated;
 U.S. NAVY EXPLOSIVE ORDNANCE
 DISPOSAL TECHNICIAN 1, on behalf of
 himself and all others similarly situated; U.S.
 NAVY SEALS 4-26; U.S. NAVY SPECIAL
 WARFARE COMBATANT CRAFT
 CREWMEN 1-5; and U.S. NAVY DIVERS
 1-3,
                                                               Case No. 4:21-cv-01236-O
                       Plaintiffs,
        v.

 LLOYD J. AUSTIN, III, in his official
 capacity as United States Secretary of
 Defense; UNITED STATES
 DEPARTMENT OF DEFENSE; CARLOS
 DEL TORO, in his official capacity as
 United States Secretary of the Navy,

                       Defendants.


                DECLARATION OF U.S. NAVY EXPLOSIVE ORDNANCE
                          DISPOSAL TECHNICIAN 1
       Pursuant to 28 U.S.C. § 1746, I, U.S. Navy Explosive Ordnance Disposal Technician

(EOD) 1, under penalty of perjury declare as follows:

   1. I am over the age of eighteen and am competent to make this declaration.

   2. I serve as a Class Representative in this class action litigation.

   3. I submitted several declarations in this matter that outline my religious objections to the

COVID-19 vaccine and the adverse actions the Navy has taken against me. Since January 3, 2022,

I have been protected from separation because of the preliminary injunction.




                                                   1
                                                       Pls.' Opp. to Assertion of Mootness App. 0136
       Case: 22-10077  Document: 284 Page: 300 Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 141 of 162 PageID 7642



   4. Even though the COVID-19 mandate has now been repealed, consequences of the mandate

still exist and personally impact my career in the Navy.

   5. I am currently stationed in a Leading Chief Petty Officer (LCPO) billet at a non-operational

command. My executive officer made a comment that I am not deployable if I am unvaccinated.

   6. I am a Senior Chief Petty Officer (E-8). Without deploying, I will be unable to hit the career

milestone of Platoon Senior Enlisted Advisor, which would make me less competitive than my

peers for promotion to Master Chief Petty Officer (E-9).




                                                2
                                                    Pls.' Opp. to Assertion of Mootness App. 0137
       Case: 22-10077  Document: 284 Page: 301 Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 142 of 162 PageID 7643



       I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and

correct. Executed on February 11, 2023.

                                                       /s/ U.S. Navy EOD 1
                                                       U.S. Navy EOD 1




                                                  3
                                                      Pls.' Opp. to Assertion of Mootness App. 0138
       Case: 22-10077  Document: 284 Page: 302 Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 143 of 162 PageID 7644




                             Tab 20




                                       Pls.' Opp. to Assertion of Mootness App. 0139
       Case: 22-10077  Document: 284 Page: 303 Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 144 of 162 PageID 7645



                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 U.S. NAVY SEALs 1-3; on behalf of
 themselves and all others similarly situated;
 U.S. NAVY EXPLOSIVE ORDNANCE
 DISPOSAL TECHNICIAN 1, on behalf of
 himself and all others similarly situated; U.S.
 NAVY SEALS 4-26; U.S. NAVY SPECIAL
 WARFARE COMBATANT CRAFT
 CREWMEN 1-5; and U.S. NAVY DIVERS
 1-3,
                                                                Case No. 4:21-cv-01236-O
                        Plaintiffs,
           v.

 LLOYD J. AUSTIN, III, in his official
 capacity as United States Secretary of
 Defense; UNITED STATES
 DEPARTMENT OF DEFENSE; CARLOS
 DEL TORO, in his official capacity as
 United States Secretary of the Navy,

                        Defendants.


                           DECLARATION OF U.S. NAVY SEAL 5
       Pursuant to 28 U.S.C. § 1746, I, U.S. Navy SEAL 5, under penalty of perjury declare as

follows:

   1. I am over the age of eighteen and am competent to make this declaration.

   2. I am one of the original Plaintiffs in this litigation.

   3. I submitted several declarations in this matter that outline my religious objections to the

COVID-19 vaccine and the adverse actions the Navy has taken against me. Since January 3, 2022,

I have been protected from separation because of the preliminary injunction.




                                                   1
                                                       Pls.' Opp. to Assertion of Mootness App. 0140
       Case: 22-10077  Document: 284 Page: 304 Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 145 of 162 PageID 7646



   4. Even though the COVID-19 mandate has now been repealed, consequences of the mandate

still exist and personally impact my career in the Navy.

   5. I am currently a First-Class Petty Officer serving in an advanced training command.

Because I am serving “shore duty” in a school house command, I am considered non-operational.

   6. Being non-operational means that I will not be able to meet certain criteria for advancement

nor will I be able to gain the experience necessary through deployment to carry out the proper

duties of a SEAL. Both the lack of experience and the lack of advancement have stalled my career.

I have no assurance that I will be acceptable to a deployable command again without taking the

vaccine.

   7. I feel like my career as a SEAL is being cut short and that the Navy would rather have me

out of the service than remain as an unvaccinated SEAL.




                                                2
                                                    Pls.' Opp. to Assertion of Mootness App. 0141
       Case: 22-10077  Document: 284 Page: 305 Date Filed: 02/13/2023
Case 4:21-cv-01236-O Document 225 Filed 02/13/23 Page 146 of 162 PageID 7647



       I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and

correct. Executed on February 13, 2023.

                                                       /s/ U.S. Navy SEAL 5
                                                       U.S. Navy SEAL 5




                                                  3
                                                      Pls.' Opp. to Assertion of Mootness App. 0142
       Case: 22-10077  Document: 284 Page: 306 Date Filed: 02/13/2023
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                             Tab 21




                                       Pls.' Opp. to Assertion of Mootness App. 0143
       Case: 22-10077  Document: 284 Page: 307 Date Filed: 02/13/2023
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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

 U.S. NAVY SEALs 1-3; on behalf of
 themselves and all others similarly situated;
 U.S. NAVY EXPLOSIVE ORDNANCE
 DISPOSAL TECHNICIAN 1, on behalf of
 himself and all others similarly situated; U.S.
 NAVY SEALS 4-26; U.S. NAVY SPECIAL
 WARFARE COMBATANT CRAFT
 CREWMEN 1-5; and U.S. NAVY DIVERS
 1-3,
                        Plaintiffs,
                                                               Case No. 4:21-cv-01236-O
        v.

 LLOYD J. AUSTIN, III, in his official
 capacity as United States Secretary of
 Defense; UNITED STATES
 DEPARTMENT OF DEFENSE; CARLOS
 DEL TORO, in his official capacity as
 United States Secretary of the Navy,

                          Defendants.


    DECLARATION OF LEVI BEAIRD, LIEUTENANT COMMANDER (SEL), USN

       Pursuant to 28 U.S.C. §1746, I, Levi Beaird, declare under penalty of perjury as follows:

       1.      I am over the age of eighteen and competent to make this declaration.

       2.      I am a Lieutenant Commander (select) in the United States Navy presently assigned

to Surface Warfare Schools Command, a non-operational command, performing the duties of

Engineering Instructor.

       3.      I first joined the Navy in April of 2009 as a pilot select. During Officer Candidate

School (“OCS”), I fractured my right tibia and was medically separated in September of 2009.

       4.      On or about January 2013, I was again selected for Navy OCS and commissioned

in October of 2013.



                                                   1
                                                       Pls.' Opp. to Assertion of Mootness App. 0144
       Case: 22-10077  Document: 284 Page: 308 Date Filed: 02/13/2023
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       5.      After commissioning, I began as a Surface Warfare Officer (“SWO”) working on

the USS Roosevelt, a guided missile destroyer. Onboard, I was the Electrical Officer and

collaterally the Religious Lay Leader. This was my first deployment, which lasted nine months.

As the Religious Lay Leader, I was leading five services per week in the absence of chaplains.

       6.      During my second tour from February 2016 to February 2018, I served as

Navigator, Administrative Officer, Electrical Officer, and Training Officer onboard the USS

Devastator, a mine sweeper out of Manama, Bahrain. I also served as the command’s Religious

Lay Leader; however, due to being mostly pier-side, our Sailors had access to base chaplains on a

continual basis.

       7.      In 2017, I committed to serving in the Navy until on or about 2026. As part of that

commitment, I screened for Department Head on my first look and was accepted, which is very

difficult to accomplish because it is a highly competitive process. I also applied for a Talent

Management Selection Board and was selected to attend the Naval Postgraduate School.

       8.      As part of accepting my offer to attend Naval Postgraduate School, I obligated

myself to fulfill the role of a Department Head at sea for three years after graduation from

Department Head school and accepted a retention bonus of $105,000, that would be dispersed

incrementally, to do so. The NAVADMIN that applies to my Department Head Retention Bonus

is from 2016 and is entirely unrelated to any COVID-19 vaccination guidance.

       9.      The retention bonus I was awarded has been paid in installments since 2017. To

date, I have received six of eight total installments. The last installment I received was in

November of 2021. I expected to receive a $15,000 payment in November of 2022; however, it

was withheld for reasons explained below. No one in my chain of command has discussed with

me the fact that my bonus payments stopped. The total amount I have received so far is $75,000.




                                                2
                                                    Pls.' Opp. to Assertion of Mootness App. 0145
       Case: 22-10077  Document: 284 Page: 309 Date Filed: 02/13/2023
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       10.     From March 2018 until 2019, I attended the Naval Postgraduate School, Monterey

where I received a degree in National Security Studies writing a thesis paper comparing

contemporary Russian and Soviet Naval strategy and completed my Joint Professional Military

Education at the Navy War College. During my time in postgraduate school, I was the President

of the Surface Navy Association, Monterey Bay. In the Surface Warfare community, that’s a non-

governmental entity that meets for fellowship with a mission of promoting coordination and

communication between military professionals with a specific interest in Naval Surface Warfare.

       11.     After postgraduate school, in October 2019, I was assigned to Commander

Amphibious Squadron Eight out of Norfolk, Virginia as the Future Operations Officer. During my

deployment with that command from December 2019 through June of 2020, I was primarily

responsible for mission and exercise planning.

       12.     From the time COVID-19 began in March 2020 through May 2020, I was still

deployed and located in Bahrain, functioning as a naval liaison officer between Task Force 51.5

and Commander Amphibious Squadron Eight, and moved over 400 personnel to and from ships

back to the United States across multiple theaters of operations. My additional duties included

delivering meals to personnel who were quarantining coming to and from the United States to our

ships and from our ships to the United States, getting care for injured and mentally ill Sailors and

Marines, and finding ways to get service members home to their dying loved ones when

commercial air routes were non-existent.

       13.     In May through June of 2020, I traveled to Greece from Bahrain to intercept 21

passengers coming from the United States who needed quarantining before they were taken to their

respective ships.




                                                 3
                                                     Pls.' Opp. to Assertion of Mootness App. 0146
       Case: 22-10077  Document: 284 Page: 310 Date Filed: 02/13/2023
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       14.     I also moved approximately 200 Marines from their ships and quarantined them on

base in Greece before sending them to the United States.

       15.     Although I was constantly exposed, I did not catch COVID-19 until July 2022 and

had a very mild case, with symptoms lasting only three days. I have not had COVID-19 since.

       16.     After my deployment, in June 2020 until August of 2021, the same month the

Department of Defense COVID-19 vaccination mandate went into effect, I returned to Norfolk,

Virginia and assumed duties as the Staff Administrative Officer, Senior Watch Officer, and Anti-

Terrorism Officer. The Senior Watch Officer position is a highly regarded position that is normally

reserved for a higher-ranking officer, specifically a post-Department Head O-4, Lieutenant

Commander, at the Staff level, but was given to me in my current position as an O-3, Lieutenant.

       17.     In August of 2021, as part of my commitment to serve in the Navy until 2026, I

was transitioned to Department Head School in Newport, Rhode Island where I began my studies

in October of that year. I graduated in April of 2022. However, because my Religious

Accommodation Request (“RAR”) to not receive the COVID-19 vaccines was denied, my orders

to be Chief Engineer, which is a Department Head position, onboard LCS 11 were canceled,

Exhibit A, and I have since been stashed at the Surface Warfare School Command’s engineering

department (N74) as an instructor without a definitive set of orders or an end date in sight.

       18.     My orders for sea duty onboard LCS 11 were set to begin in December 2022. When

I am on sea duty, I receive special duty pay. But since I am presently stashed at a “shore command,”

I am not receiving special duty pay.

       19.     During my time at Department Head School, in November 2021, I submitted my

RAR.




                                                 4
                                                     Pls.' Opp. to Assertion of Mootness App. 0147
       Case: 22-10077  Document: 284 Page: 311 Date Filed: 02/13/2023
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         20.    My RAR was denied in December of 2021, and I submitted my appeal that same

month.

         21.    I received the final denial of my RAR in February of 2022.

         22.    After receiving my final denial, later in February 2022, I received a Page 13

counseling, a Report of Misconduct, and was given a Notice to Show Cause.

         23.    After receiving those documents, on March 4, 2022, I attempted to leave my

responsive statement package to my Notice to Show Cause with the Director of the Department

Head School, as required. The Director was expecting me to hand deliver papers that morning, so,

I knocked on the Director’s door to his office, said, “Sir . . . hello,” and received no response. Then

another officer walked into the Director’s office and he and the Director had a conversation. I

waited outside the Director’s office for him and the officer to complete their conversation. When

the Director finally walked out, he looked at me and then continued walking past me without

saying a word. This is typical of the treatment I have received from senior leadership throughout

the course of this litigation.

         24.    The Notice to Show Cause initiated my Board of Inquiry, which is the Navy’s

process for discharging Sailors. I had the option to be administratively separated in exchange for

an Honorable discharge (for Commission of a Serious Offense) but declined.

         25.    Thankfully, the Board of Inquiry process was suspended as a result of this Court’s

issuance of the class-wide preliminary injunction on March 29, 2022. It is only because of this

Court’s intervention that I have been able to maintain my career in the Navy. However, the

injunctive relief does not cure the fact that I could be forced to pay the Navy the bonus monies I

already received along with the costs of my post-graduate and Naval War College education.




                                                  5
                                                      Pls.' Opp. to Assertion of Mootness App. 0148
       Case: 22-10077  Document: 284 Page: 312 Date Filed: 02/13/2023
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       26.     Because I am not vaccinated, I have not been able to become a Department Head,

as originally expected when I signed my commitment in 2017, which triggers the Recoupment and

Repayment Policy referenced at paragraph 9 of NAVADMIN 206/16.

       27.     Pursuant to paragraph 5.j. of NAVADMIN 206/16, “Officers who fail to complete

DH [(Department Head)] and/or fail to report to their first DH tour will have all payments received

recouped as unearned.”

       28.     Subsequent guidance in NAVADMIN 102/22, which has not been canceled or

suspended, states that because I am unvaccinated, my bonus installment payments would end and

“become unearned.” This guidance was implemented after class-wide injunctive relief was granted

on March 29, 2022.

       29.     The relevant sections of NAVADMIN 102/22 that apply to me are as follows:

“RMKS/1. Purpose. To provide additional guidance regarding the actions directed in references

(a) through (h) for Navy service members who requested religious accommodation from the

COVID-19 vaccination requirement. These service members were certified by the U.S. District

Court order in reference (i) as members of a class action in the case of U.S. Navy SEALS 1-26, et

al., versus Secretary of Defense Lloyd J. Austin, III, et al. This message supersedes and replaces

guidance previously provided in reference (j).”

       30.     “2. Policy. To ensure compliance with the court order in reference (i), this

NAVADMIN continues to suspend separation processing and certain adverse administrative

consequences of COVID-19 vaccine refusal for Navy service members who submitted requests

for religious accommodation from the COVID-19 vaccine requirement. In line with a recent

decision of the U.S. Supreme Court, the Navy may continue to consider the unvaccinated status of

Navy service members when making deployment, assignment, and other operational decisions.”




                                                  6
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       31.     “3. Applicability. This NAVADMIN applies only to Navy service members who

have submitted requests for religious accommodation from the COVID-19 vaccine requirement in

line with references (k) and (l).”

       32.     “4.b.3. Bonus, Special Pays, and Incentive Pays. Bonuses, special pays and

incentive pays are considered unearned for personnel who have been removed from assignment

based on deployment and other operational decisions. Reference (c) [NAVADMIN 256/21, which

has not been canceled] provides guidance on required actions for members with unearned bonuses,

special pays and incentives.”

     33.       NAVADMIN 256/21 states at paragraph “8. [that] Bonuses, Special Pays and

Incentive Pays. Navy service members refusing the vaccine may not enter into any new agreements

for bonuses, special pays, or incentive pays and any unearned portion of current bonuses, special

pays and incentive pays will be recouped in accordance with references (r) through (u). Examples

include, but are not limited to, the following: career retention bonuses, enlistment bonuses and

incentive pays (such as flight pay). Bonuses, special pays and incentive pays become unearned

when a Navy service member refusing the vaccine is no longer performing duties for which they

are receiving such a bonus, special pay, or incentive pay (i.e. removed from assignment).”

     34.       NAVADMIN 256/21 further states at paragraph “9.a. [that] Institutional Education.

Navy service members refusing the vaccine who incurred a service obligation for an education

benefit (e.g. USNA, ROTC, Naval Postgraduate School, Health Professional Scholarship Program

or in-residence Professional Military Education), will have any unearned portion of that education

benefit recouped if separated before completing the service obligation. Navy service members

refusing the vaccine (as defined in para. 3) currently enrolled in such an education program will

be dis-enrolled from their program as soon as feasible and held at their institution or command




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pending administrative separation. Note: Current USNA and ROTC Midshipmen will be

adjudicated by governing instructions as discussed in para. 3.a.”

     35.       Because vaccination status is still being considered, current Navy policies indicate

that I will be required to reimburse the cost of the education received, plus my retention bonus,

which amounts to $75,000 and whatever the Navy determines I owe for studies at Naval

Postgraduate School and the Naval War College for Joint Professional Military Education.

       36.     I have ranked ahead of my peers since I commissioned in 2013 until submission of

my RAR.

       37.     While I was selected in May of 2022 for Lieutenant Commander, O-4, my

understanding is that my promotion will be withheld. I have reason to believe that it will be

withheld because I have firsthand knowledge of another Lieutenant, selected for Lieutenant

Commander, whose promotion is still being withheld as a result of submitting a RAR, despite the

mandate being rescinded. Further, I have not received any additional information or guidance from

my command or my detailer to suggest otherwise. My command had no idea that I was even

selected for Lieutenant Commander and did not celebrate that achievement with me, which is the

normal course of action when officers are selected to promote to the next grade.

       38.     Until the implementation of the August 24, 2021, vaccine mandate, throughout my

career, I have been very well-respected and held in high regard among my peers and those in

leadership positions.

       39.     The fact that I will be required to repay my bonus and cost of my postgraduate

education is discriminatory, will be damaging to my career and personally financially crippling,

and has caused me significant and officially documented anxiety and depression with PTSD-like




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symptoms. The cost of repayment will completely wipe out all of my investment accounts and

savings, which could further hamper my ability to provide for my wife and four children.

       40.     As indicated in Secretary of the Navy Carlos Del Toro’s speech on December 6,

2022 to the Navy League, the Navy will not allow me and others who are unvaccinated for COVID-

19 to return to full operational duty, despite the 2023 National Defense Authorization Act

rescinding the COVID-19 vaccination mandate. (https://news.usni.org/2022/12/07/pentagon-

unclear-how-military-would-handle-end-of-mandatory-covid-19-vaccines).             I    have     done

everything in my own power to complete the necessary schools and prepare myself for the job that

the Navy will not let me do, which is Department Head.

       41.     The fact that I cannot become a Department Head is discriminatory and is having a

detrimental impact on my entire career, my family’s financial security, and our mental wellbeing.

If my career continues down this path, I may be forced out of the military and may not promote. I

have spent the entirety of my career, up to this point, preparing to become a Department Head. As

Navigator, I was a non-billeted Department Head, i.e., a Department Head in practice but not

official title. I had all the rights and duties onboard the ship, which my second tour Division Officer

counterparts did not. As the Future Operations Officer (N5) and Administrative Officer (N1) at

Commander Amphibious Squadron Eight, I was treated as and functioned as a staff Department

Head, but like being a Navigator, I was not a billeted Department Head. I had the same duties and

responsibilities as my billeted staff Department Head counterparts; however, my time in those

positions did not count for me like it did for them.

       42.     What brings me sufficient anxiety and depression is that I know that if I am unable

to ever fulfill the role of Department Head, I will not be able to achieve my next career milestones

or take command of a warship, and I will have a heavy financial burden to pay back to the Navy,




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plus interest and as to the untaxed amount. When I received my bonuses, I paid taxes on those

bonuses. When the Navy claws back those bonuses, my understanding is that they will do so based

on the original amount – meaning I will be out even more than what I was paid. I will essentially

pay taxes on those sums of money, twice.

       43.     Like my career initially ended in 2009 due to an injury, I’m afraid that my career

has essentially ended again. It is my understanding that if I cannot promote by 2025, I may be

faced with meeting a career continuation board. My understanding is that this board convenes to

decide whether or not I can stay in the Navy and may eventually lead to my early separation from

the Navy because I have not been performing the job that I was trained to do. Because I have 10

more years before retirement, this means that I could lose out on all of my retirement benefits,

which includes retirement pay, medical benefits for me and my family, loss of my GI bill education

benefits if I receive a general discharge. A general discharge characterization could also have

negative collateral impacts beyond the military context.

       44.     Further, the treatment I have sustained as an unvaccinated member of the Navy has

given me enough anxiety and depression that it is now documented in my record, with PTSD-like

symptoms. I have been consistently sought after to update Page 13s, be counseled on my RAR,

RAR appeal, Report of Misconduct, Notice to Show Cause, and Board of Inquiry. The manner in

which I was discriminated against led to my peers constantly questioning what was going on, why

I was being targeted, etc.

       45.     Due to the small size of my family’s base housing, which was supposed to be

temporary, half of our belongings are required to be kept in Non-Temporary Storage (“NTS”). For

context, my wife and I are currently living in a 1,400 square foot home with four boys. Our NTS

has almost converted to be entirely our expense (not the Navy’s) on two occasions because the




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Navy will not issue me necessary orders because I am unvaccinated. I have asked my detailer, who

is my correspondent with personnel command and is the person who assists with managing my

career, a number of times about this and every time he claims it is impossible for me to be issued

orders. This has placed further stress on me and my family.

       46.     Finally, throughout this entire ordeal, neither the Commanding Officer nor

Executive Officer of Surface Warfare Schools Command have personally sat down with me to

discuss my RAR, my RAR denials, or my RAR appeal. With the exception of signing Page 13s

given to me by an O-5 Commander, as a result of the RAR denials, all conversations were

delegated to an O-4, Lieutenant Commander, who has no real positional significance in my

command. My upper-level leadership continuously demonstrates that I mean nothing to them as a

person or a SWO, despite the fact that I have continued to successfully perform my duties, albeit

with a tremendously heavy and anxious heart, but while also receiving high remarks from students,

peers, and my immediate leadership.

       47.     At one point during the mandate, I was required to wear stickers on my badge that

signified that I was unvaccinated and that I was allowed to enter the building.

       48.     Although the Secretary of Defense rescinded the COVID-19 vaccination mandate

on January 10, 2023, nothing about my above-referenced circumstances has changed. In light of

the fact that the Navy will continue to consider my vaccination status for deployment, assignment,

and operational decisions, I think that, without court intervention, all of the negative consequences

for being unvaccinated, as listed above, will persist.




                                                 11
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       I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and

correct. Executed on February 13, 2023.

                                              /s/ Levi Beaird
                                              LEVI BEAIRD




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                          Exhibit A




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       COMLCSRON TWO MAYPORT FL//JJJ//

       PERSUPP DET NAVSTA NORFOLK VA//JJJ//

       PERSUPP DET MAYPORT FL//JJJ//

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SUBJ/BUPERS ORDER//

RMKS/

  BUPERS ORDER: 0122 (01)         XXX-XX-                  (PERS-4128)

        OFFICIAL CANCELLATION OF ORDERS FOR

        LT LEVI WAYNE BEAIRD,    USN

- ORDERS AND ANY MODIFICATIONS(S) THERE TO CANCELLED.

CONTINUE PRESENT DUTY.

                                 (SIGNED)

                                 A. HOLSEY

                                 REAR ADMIRAL, U.S. NAVY

                                 COMMANDER NAVY PERSONNEL COMMAND

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                                          Pls.' Opp. to Assertion of Mootness App. 0158
